               Case: 23-1058          Document: 12       Page: 1      Filed: 12/19/2022
                                                2023-1058

                                                  In The
             United States Court of Appeals
                                     For The Federal Circuit



                        SMARTSKY NETWORKS, LLC,
                                                                              Plaintiff – Appellant,

                                                       v.



       GOGO BUSINESS AVIATION, LLC, GOGO INC.,
                                                                              Defendants – Appellees.



      APPEAL FROM THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF DELAWARE
  IN NO. 1:22-cv-00266-GBW, JUDGE GREGORY BRIAN WILLIAMS.

                NONCONFIDENTIAL BRIEF OF APPELLANT




Lance A. Lawson                       Ryan M. Corbett                         Jack B. Blumenfeld
BURR & FORMAN, LLP                    BURR & FORMAN, LLP                      Rodger D. Smith II
101 South Tyron Street, Suite 2610    201 North Franklin Street, Suite 3200   MORRIS, NICHOLS,
Charlotte, North Carolina 28280       Tampa, Florida 33602                      ARSCHT & TUNNELL LLP
(704) 347-1170                        (813) 221-2626                          1201 North Market Street
llawson@burr.com                      rcorbett@burr.com                       Post Office Box 1347
                                                                              Wilmington, Delaware 19899
                                                                              (302) 658-9200
                                                                              blumenfeld@morrisnichols.com
                                                                              rsmith@morrisnichols.com

Counsel for Appellant                 Counsel for Appellant                   Counsel for Appellant

      THE LEX GROUPDC i 1050 Connecticut Avenue, N.W. i Suite 500, #5190 i Washington, D.C. 20036
                             (202) 955-0001 i (800) 856-4419 i www.thelexgroup.com
           Case: 23-1058      Document: 12     Page: 2   Filed: 12/19/2022




Claims of U.S. Patent No. 9,312,947
1. A network base station within a network including at least one in-flight
communication node, the network base station comprising:
a radio configured via software defined radio to utilize beamforming to generate a
plurality of steerable beams, to enable multiple reuses of a same frequency to
communicate with respective different in-flight communication nodes via
respective different communication links,
wherein the respective different communication links are high speed data
communications links that are enabled to be maintained continuous and
uninterrupted in time while one of the respective different in-flight communication
nodes transitions between a first steerable beam associated with a first coverage
area defined by the network base station and a second steerable beam associated
with a second coverage area defined by another network base station, the first and
second coverage areas at least partially overlapping.
11. A network comprising a plurality of network base stations configured to
communicate with at least one in-flight node, the network base stations including
at least two base stations having coverage areas that at least partially overlap with
each other, each of the at least two base stations including:
a radio configured via software defined radio to utilize beamforming to generate a
plurality of steerable beams, to enable multiple reuses of a same frequency to
communicate with respective different in-flight communication nodes via
respective different communication links,
wherein the respective different communication links are high speed data
communications links that are enabled to be maintained continuous and
uninterrupted in time while one of the respective different in-flight communication
nodes transitions between corresponding steerable beams associated with
respective ones of the coverage areas defined by the at least two base stations.
Claims of U.S. Patent No. 11,223,417
1. A ground station among a network of ground stations configured to provide a
wirelessly transmitted high speed data communication link to a receiver station on
an in-flight aircraft, the ground station comprising:
an antenna; and
           Case: 23-1058      Document: 12     Page: 3   Filed: 12/19/2022




a software defined radio operably coupled to the antenna, the software defined
radio configuring the ground station to conduct a handover of the in-flight aircraft
to another ground station within the network of ground stations to maintain the
high speed data communication link continuous and uninterrupted in time;
wherein the software defined radio is configured to employ a wireless radio access
network protocol operating in a communication band from about 2 GHz to about 6
GHz,
wherein the ground station is configured to utilize beamforming to generate one or
more steerable beams used to form the high speed data communication link; and
wherein the ground station is configured to reuse a same frequency to
communicate with the receiver station and another receiver station on another in-
flight aircraft.
11. A wireless communication network configured to provide high speed
wirelessly transmitted data communication to an in-flight aircraft, the network
comprising:
a plurality of ground stations, the ground stations being located such that at least
some of the ground stations are within overlapping communication range of
respective other ones of the ground stations, the ground stations being configured
via software defined radio to:
communicate with a receiver station located onboard the in-flight aircraft to
provide a high speed data communication link continuous and uninterrupted in
time with the receiver station employing a wireless radio access network protocol
operating in a communication band from about 2 GHz to about 6 GHz, and
utilize beamforming to generate a plurality of steerable beams used to form the
high speed data communication link, and reuse a same frequency to communicate
with the receiver station and another receiver station on another in-flight aircraft,
wherein the high speed data communication link is maintained continuous and
uninterrupted in time while the in-flight aircraft moves from a coverage area
provided by one of the plurality of ground stations to a coverage area provided by
another of the plurality of ground stations.
            Case: 23-1058      Document: 12     Page: 4    Filed: 12/19/2022




Claims of U.S. Patent No. 10,257,717
1. A network for providing air-to-ground (ATG) wireless communication in
various cells, comprising:
a first base station including a first antenna array defining a first directional
radiation pattern that is oriented toward a horizon; and
a second base station including second antenna array defining a second directional
radiation pattern that at least partially overlaps with the first base station,
wherein the first base station employs unlicensed spectrum,
wherein the second base station employs licensed spectrum,
wherein the first and second base stations are each configured to wirelessly
communicate with a radio disposed on an aircraft flying through respective cell
coverage areas of the first and second base stations, and
wherein the first and second base stations are each configured to handover
communication with the radio as the aircraft moves between the respective cell
coverage areas of the first and second base stations.
12. A network for providing air-to-ground (ATG) wireless communication in
various cells, comprising:
a first base station including a first antenna array defining a first directional
radiation pattern that is oriented toward a horizon; and
a second base station including second antenna array defining a second directional
radiation pattern that at least partially overlaps with the first base station,
wherein one of the first base station or the second base station employs unlicensed
spectrum, and the other of the first base station and the second base station
employs licensed spectrum,
wherein the first and second base stations are each configured to wirelessly
communicate with a radio disposed on an aircraft flying through respective cell
coverage areas of the first and second base stations, and
wherein the first and second base stations are each configured to handover
communication with the radio as the aircraft moves between the respective cell
coverage areas of the first and second base stations.
           Case: 23-1058     Document: 12     Page: 5    Filed: 12/19/2022




Claims of U.S. Patent No. 9,730,077
1. An air-to-ground (ATG) network providing wireless communication to an in-
flight aircraft capable of passing through various cells of the ATG network, the
ATG network comprising:
a first ATG base station defining a first radiation pattern focusing energy toward
the horizon;
a second ATG base station defining a second radiation pattern focusing energy
toward the horizon; and
a plurality of additional ATG base stations, each of which defines a corresponding
radiation pattern focusing energy toward the horizon,
wherein the first, second and additional ATG base stations are spaced apart from
each other to define at least partially overlapping coverage areas to communicate
with an antenna assembly on the in-flight aircraft in an ATG communication layer
defined between a first altitude and a second altitude via the ATG network,
wherein a plurality of terrestrial base stations are configured to communicate
primarily in a ground communication layer below the first altitude via a terrestrial
communication network, and
wherein the first, second and additional ATG base stations are each configured to
communicate in the ATG communication layer using the same radio frequency
(RF) spectrum used by the terrestrial base stations in the ground communication
layer.
2. The ATG network of claim 1, wherein a serving ATG base station from among
the first, second and additional ATG base stations is in communication with the in-
flight aircraft while being geographically located outside a coverage area of each of
the terrestrial base stations in a portion of the ground communication layer above
which the in-flight aircraft is located.
               Case:
               Case:23-1058
                     23-1058        Document:
                                    Document:12
                                              3   Page:
                                                  Page:16   Filed:
                                                            Filed:10/28/2022
                                                                   12/19/2022



FORM 9. Certificate of Interest                                                 Form 9 (p. I)
                                                                                   July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT
                                  CERTIFICATE OF INTEREST

            Case Number 23-1058
   Short Case Caption SmartSky Networks, LLC v. Gogo Business Aviation, LLC
   Filing Party/Entity SmartSky Networks, LLC


 Instructions: Complete each section of the form. In answering items 2 and 3, be
 specific as to which represented entities the answers apply; lack of specificity may
 result in non-compliance. Please enter only one item per box; attach
 additional pages as needed and check the relevant box. Counsel must
 immediately file an amended Certificate of Interest if information changes. Fed.
 Cir. R. 4 7.4(b).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


  Date: 10/28/2022                                      Isl Lance A. Lawson
                                           Signature:

                                           Name:        Lance A. Lawson
               Case:23-1058
               Case: 23-1058          Document:12
                                      Document: 3      Page:
                                                       Page:27       Filed:
                                                                     Filed:10/28/2022
                                                                            12/19/2022



FORM 9. Certificate of Interest                                                               Form 9 (p. 2)
                                                                                                 July 2020


       1. Represented                     2. Real Party in            3. Parent Corporations
         Entities.                            Interest.                  and Stockholders.
   Fed. Cir. R. 47.4(a)(l).             Fed. Cir. R. 47.4(a)(2).        F ed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of       Provide the full names of
 all entities represented             all real parties in interest    all parent corporations
 by undersigned counsel in            for the entities. Do not        for the entities and all
 this case.                           list the r eal parties if       publicly held companies
                                      they are the same as the        that own 10% or more
                                      ent ities.                      stock in the entities.

                                      0 None/Not Applicable           D None/Not Applicable

 SmartSky Networks, LLC                                               SmartSky Networks, LLC is wholly
                                                                       owned by SmartSky MidCo, LLC
                                                                        SmartSky MidCo, LLC is wholly
                                                                      owned by SmartSky New HoldCo, LLC

                                                                      No publicly held company owns 10% or
                                                                      more stock in SmartSky Networks, LLC




                                  •      Additional pages attach ed
               Case:23-1058
               Case: 23-1058           Document:12
                                       Document: 3           Page:
                                                             Page:38       Filed:
                                                                           Filed:10/28/2022
                                                                                  12/19/2022



FORM 9. Certificate of Interest                                                                      Form 9 (p. 3)
                                                                                                        July 2020


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those wh o have already
 entered an appearance in this court. F ed. Cir. R. 47.4(a)(4).

 •        None/Not Applicable                         •       Additional pages attached
         ,Ja ck B. Blume nfeld               Rodger Da llery Smith, II            Sarah Elizabeth Simonetti
Morris, Nichols, Ars h t & Tunnell LLP Morris, Nichols, Arsht & T unnell LLP Morris, Nichols, Arsh t & Tunnell LLP




 5. Related Cases. Provide the case titles and numbers of any case known to be
 pending in this court or any other court or agency that will directly affect or be
 directly affected by this court's decision in the pending appea l. Do not include the
 originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
 R. 47.5(b).
 0        None/Not Applicable                         •       Additional pages attached




 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.l(b) (organizational victims in criminal cases)
 a nd 26.l(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 0        None/Not Applicable                         •       Additional pages attached
               Case:23-1058
               Case: 23-1058            Document:12
                                        Document: 3                   Page:
                                                                      Page:49              Filed:
                                                                                           Filed:10/28/2022
                                                                                                  12/19/2022



FORM 30. Certificate of Service                                                                                                       Form 30
                                                                                                                                    July 2020

                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT
                                  CERTIFICATE OF SERVICE

         Case Number 23-1058
                      --------------------------
   Short Case Caption SmartSky Networks, LLC v. Gogo Business Aviation, LLC


 NOTE: Proof of service is only required when the rules specify that service must
 be accomplished outside the court's electronic filing system. See Fed. R. App. P.
 25(d); Fed. Cir. R. 25(e). Attach additional pages as needed.

I certify that I served a copy of the foregoing filing on 10/28/2022

by
       •         U .S. Mail
                                  •
                                  Hand Delivery                                    ~ Email                  • Facsimile
       •         Other: - - - - - - - - - - -

on the below individuals at the following locations .

        Person Served                           Service Location (Address, Facsimile, Email)
1'homas D. Rein, Stephanie P. Koh,    Sid ley Austin LLP
                                      One Sou th Dearborn
Nathaniel C. Love, Julia G. 'l'abat   Ch icago, IL 60603
                                      Tel: (3 12) !!5~-7000; Email: trein('!)sidley.com, skoh(<!)sidley.com, nlove@sidley.com, jtabal@sidley.com

                                      Richa rds, Layton, & Finger, P.A.
Kelly E. Farnan, Tyler E.             One R,idney Square, 920 North King Street
Cragg, Griffin A. Schoenbaum          Wilmingwn, DE 19801
                                      Tel: (302) 65 1-7700; Ema il: farna n@rlf.com, cragg@rlf.com, schoenba um@rlf.com




D      Additional pages attached.
  Da te: 1012s12022                                       Signature:                /s/ Ryan M. Corbett

                                                          Name:                     Ryan M. Corbett
              Case: 23-1058           Document: 12           Page: 10        Filed: 12/19/2022




                                      TABLE OF CONTENTS
                                                                                                            Page
TABLE OF AUTHORITIES ................................................................................... iv

STATEMENT OF RELATED CASES ................................................................. viii

STATEMENT OF JURISDICTION..........................................................................1
STATEMENT OF ISSUES ON APPEAL ................................................................2

I.     INTRODUCTION ............................................................................................4

II.    STATEMENT OF THE CASE.........................................................................4
       A.        The Asserted Patents .............................................................................8

       B.        The Accused Product...........................................................................11

       C.        Preliminary Injunction Motion and Order...........................................12
III. SUMMARY OF THE ARGUMENT .............................................................15

IV. ARGUMENT ..................................................................................................17

       A.        Standard of Review .............................................................................17
       B.        The District Court’s Construction of “High Speed Data
                 Communications Links that are Enabled to be Maintained
                 Continuous and Uninterrupted in Time” is Erroneous........................18

                 1.       The District Court’s Construction Contradicts the
                          Intrinsic Evidence .....................................................................19

                 2.       Gogo’s Own Documents and Personnel Contradict the
                          District Court’s Construction ...................................................27

       C.        The District Court Erred in Construing the ‘717 Patent Claims .........28
       D.        The District Court Erred by Finding No Likelihood of Success
                 on the Merits Regarding the ‘077 Patent.............................................31




                                                         i
          Case: 23-1058         Document: 12            Page: 11          Filed: 12/19/2022




            1.     The ‘077 Patent Claims Do Not Require a Terrestrial
                   Network .....................................................................................31

            2.     Gogo’s Conclusory Obviousness Argument Lacks
                   Substantial Merit .......................................................................37

     E.     The District Court Erred By Finding No Likelihood of
            Irreparable Harm, and Not Crediting SmartSky’s Undisputed,
            Hallmark Evidence of Such Harm ......................................................42
            1.     The District Court Correctly Found That SmartSky and
                   Gogo Are Direct Competitors ...................................................46
            2.     The District Court Acknowledged that Gogo’s Customers
                   Are “Sticky” – After Gogo Equipment Is Installed, They
                   Remain Gogo Customers For At Least Seventeen Years .........48

            3.     The District Court Erred In Finding That Gogo’s
                   Accused 5G Network Was “Yet-To-Be Released” And
                   SmartSky Is Not Likely To Show Irreparable Harm From
                   Lost Sales and Lost Market Share ............................................49

            4.     The District Court Erred By Finding That SmartSky Was
                   Not Likely to Show Irreparable Harm From Price
                   Erosion ......................................................................................55

            5.     The District Court Erred By Finding That SmartSky Is
                   Not Likely to Show Irreparable Harm From Lost R&D
                   and Investments .........................................................................57
            6.     The District Court Erred By Finding That SmartSky Did
                   Not Suffer Irreparable Harm To Its Reputation As An
                   Innovator And To Its Goodwill With Customers ......................58

            7.     Gogo’s Infringement Is Causing The Irreparable Harm
                   To SmartSky ..............................................................................61

V.   CONCLUSION AND PRAYER FOR RELIEF .............................................62




                                                   ii
          Case: 23-1058     Document: 12      Page: 12   Filed: 12/19/2022




ADDENDUM

CERTIFICATE OF FILING AND SERVICE
CERTIFICATE OF COMPLIANCE

                  CONFIDENTIAL MATERIAL OMITTED

Confidential Material Subject to The Protective Order Entered by The District Court
in This Matter Has Been Omitted from The Memorandum Opinion Included At Page
Appx20 Of The Addendum, And From Appellant’s Brief At Pages 12, 27, 45, 57,
and 60. The Material Omitted Contains Confidential Business Information And
Confidential Deposition Testimony. The Confidential Version of The Memorandum
Order Is Included at Pages Appx2-21 Of The Addendum.




                                        iii
              Case: 23-1058          Document: 12         Page: 13        Filed: 12/19/2022




                                  TABLE OF AUTHORITIES

                                                                                                   Page(s)
Cases

3M Innovative Properties Co. v. Tredegar Corp.,
     725 F.3d 1315 (Fed. Cir. 2013) .....................................................................29

Advanced Software Design Corp. v. Fiserv, Inc.,
     641 F.3d 1368 (Fed. Cir. 2011) .....................................................................37

Apple Inc. v. Samsung Elecs. Co.,
      809 F.3d 633 (Fed. Cir. 2015) ................................................................ 47, 59

Aria Diagnostics, Inc. v. Sequenom, Inc.,
      726 F.3d 1296 (Fed. Cir. 2013) .............................................................. 29, 30

Avid Tech., Inc. v. Harmonic, Inc.,
      812 F.3d 1040 (Fed. Cir. 2016) .....................................................................24
Bio-Rad Laboratories, Inc. v. 10X Genomics Inc.,
     967 F.3d 1353 (Fed. Cir. 2020) ............................................................. passim
BlephEx, LLC v. Myco Industries, Inc.,
     24 F.4th 1391 (Fed. Cir. 2022) ......................................................... 18, 47, 56

Broadcom Corp. v. Emulex Corp.,
     732 F.3d 1325 (Fed. Cir. 2013) .............................................................. 52, 53

Butamax Advanced Biofuels LLC v. Gevo, Inc.,
     746 F.3d 1302 (Fed. Cir. 2014) .....................................................................28
C.R. Bard, Inc. v. M3 Sys.,
      157 F.3d 1340 (Fed. Cir. 1998) .............................................................. 34, 37

Celsis In Vitro, Inc. v. CellzDirect, Inc.,
       664 F.3d 922 (Fed. Cir. 2012) .......................................................................59
Comcast Cable Commc’ns, LLC v. Promptu Sys. Corp.,
    838 F. App’x 555 (Fed. Cir. 2021) ................................................................39
Douglas Dynamics, LLC v. Buyers Prods. Co.,
     717 F.3d 1336 (Fed. Cir. 2013) ............................................................. passim

                                                     iv
              Case: 23-1058          Document: 12         Page: 14        Filed: 12/19/2022




DSS Tech. Mgmt., Inc. v. Apple Inc.,
     885 F.3d 1367 (Fed. Cir. 2018) .....................................................................39

Eko Brands, LLC v. Adrian Rivera Maynez Enterprises, Inc.,
     946 F.3d 1367 (Fed. Cir. 2020) ........................................................ 33, 34, 35

Hypertherm, Inc. v. American Torch Tip Co.,
     2008 WL 268589 (D.N.H. 2008)...................................................................35

i4i Ltd. Partnership v. Microsoft Corp.,
       598 F.3d 831 (Fed. Cir. 2010) ................................................................ 51, 59

Innogenetics, N.V. v. Abbott Labs.,
      512 F.3d 1363 (Fed. Cir. 2008) .....................................................................39

INVT SPE LLC v. Int’l Trade Comm'n,
     46 F.4th 1361 (Fed. Cir. 2022) ......................................................................36
Kaneka Corp. v. Xiamen Kingdomway Grp. Co.,
     790 F.3d 1298 (Fed. Cir. 2015) .....................................................................21
Kaufman v. Microsoft Corp.,
     34 F.4th 1360 (Fed. Cir. 2022) ......................................................................19
Koninklijke Philips N.V. v. Thales DIS AIS USA LLC,
     39 F.4th 1377 (Fed. Cir. 2022) ......................................................................18
Liqwd, Inc. v. L'Oréal USA, Inc.,
     720 F. Appx. 623 (Fed. Cir. 2018) ................................................................48
Littelfuse, Inc. v. Mersen USA EP Corp.,
       29 F.4th 1376 (Fed. Cir. 2022) ......................................................................23

Metalcraft of Mayville, Inc. v. The Toro Co.,
      848 F.3d 1358 (Fed. Cir. 2017) .............................................................. 39, 49
M-I LLC v. FPUSA, LLC,
     626 F. App’x 995 (Fed. Cir. 2015) ................................................................53
Mylan Institutional LLC v. Aurobindo Pharma Ltd.,
     857 F.3d 858 (Fed. Cir. 2017) .......................................................... 42, 43, 47




                                                      v
              Case: 23-1058          Document: 12         Page: 15       Filed: 12/19/2022




Nazomi Commc’ns, Inc. v. Nokia Corp.,
     739 F.3d 1339 (Fed. Cir. 2014) ........................................................ 16, 33, 37

Network-1 Techs., Inc. v. Hewlett-Packard Co.,
     981 F.3d 1015 (Fed. Cir. 2020) .....................................................................21

Nevro Corp. v. Stimwave Techs., Inc.,
      2019 WL 3322368 (D. Del. Jul. 24, 2019) ............................................. 57, 59

Nippon Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc.,
     25 F. 4th 998 (Fed. Cir. 2022) ................................................................ 17, 18

Omega Eng’g, Inc. v. Raytek Corp.,
    334 F.3d 1314 (Fed. Cir. 2003) .............................................................. 24, 26

Phillips v. AWH Corp.,
       415 F.3d 1303 (Fed. Cir. 2005) .....................................................................19

Power Probe Grp., Inc. v. Innova Elecs. Corp.,
     2022 WL 1089910 (Fed. Cir. Apr. 12, 2022) ................................................18

Robert Bosch LLC v. Pylon Mfg. Corp.,
     659 F.3d 1142 (Fed. Cir. 2011) ........................................................ 47, 48, 56

S.-Tek Sys., LLC v. Engineered Corrosion Sols., LLC,
      748 F. App’x 1003 (Fed. Cir. 2018) ..............................................................40

TecSec, Inc. v. Adobe Sys. Inc.,
     658 F. App’x 570 (Fed. Cir. 2016) ................................................................21

TEK Glob. S.R.A. v. Sealant Sys. Int’l, Inc.,
     920 F.3d 777 (Fed. Cir. 2019) ................................................................ 51, 58
Tinnus Enterprises, LLC v. Telebrands Corp.,
      846 F.3d 1190 (Fed. Cir. 2017) .............................................................. 58, 59

Trebro Mfg., Inc. v. Firefly Equip., LLC,
      748 F.3d 1159 (Fed. Cir. 2014) .................................................. 48, 49, 51, 54

Trustees of Columbia U. in City of New York v. Symantec Corp.,
      811 F.3d 1359 (Fed. Cir. 2016) ........................................................ 15, 21, 23




                                                     vi
               Case: 23-1058             Document: 12            Page: 16         Filed: 12/19/2022




Ultimax Cement Mfg. Corp. v. CTS Cement Mfg. Corp.,
      587 F.3d 1339 (Fed. Cir. 2009) .....................................................................28

Woods v. DeAngelo Marine Exhaust, Inc.,
     692 F.3d 1272 (Fed. Cir. 2012) .....................................................................29

Wright Med. Tech., Inc. v. Osteonics Corp.,
     122 F.3d 1440 (Fed. Cir. 1997) .....................................................................23

Statutes

28 U.S.C. § 1292(a)(1) ...............................................................................................1
28 U.S.C. § 1292(c)(1) ...............................................................................................1

28 U.S.C. § 1295(a)(1) ...............................................................................................1

28 U.S.C. § 1331 ........................................................................................................1
28 U.S.C. § 2107(a) ...................................................................................................1
35 U.S.C. § 271 ..........................................................................................................1
Rule

Fed. R. App. P. 4(a)(1)(A) .........................................................................................1




                                                           vii
           Case: 23-1058      Document: 12       Page: 17   Filed: 12/19/2022




                      STATEMENT OF RELATED CASES

      Undersigned counsel is unaware of any case pending in this or any other

court that will directly affect or be directly affected by this Court’s decision in the

pending appeal.




                                          viii
          Case: 23-1058     Document: 12     Page: 18    Filed: 12/19/2022




                      STATEMENT OF JURISDICTION

      The district court had jurisdiction under 28 U.S.C. § 1331 because this civil

action alleges patent infringement under the patent statute, 35 U.S.C. § 271.

      This Court has jurisdiction under 28 U.S.C. § 1292(c)(1) to hear this appeal

of an order denying an injunction in a civil action arising under an Act of Congress

relating to patents. 28 U.S.C. § 1292(a)(1); 28 U.S.C. § 1295(a)(1).

      The district court entered an order denying a preliminary injunction on

September 26, 2022. A timely notice of appeal was filed on October 14, 2022. 28

U.S.C. § 2107(a); Fed. R. App. P. 4(a)(1)(A).




                                         1
     Case: 23-1058      Document: 12   Page: 19   Filed: 12/19/2022




             STATEMENT OF ISSUES ON APPEAL

1.    Whether the district court erred by denying a preliminary injunction

regarding the ‘947 and ‘417 Patents based on an erroneous preliminary claim

construction that the claim term “high speed data communications links that

are enabled to be maintained continuous and uninterrupted in time” requires

a “make-before-break” handoff, and does not include “break-before-make”

handoffs.

2.    Whether the district court erred by denying a preliminary injunction

regarding the ‘717 Patent based on an erroneous preliminary claim

construction that the claim terms “first base station employs unlicensed

spectrum” and “second base station employs licensed spectrum” mean “first

base station employs solely unlicensed spectrum” and “second base station

employs solely licensed spectrum.”

3.    Whether the district court erred by denying a preliminary injunction

regarding the ‘077 Patent by declining to decide whether the asserted claims

require Gogo to provide a terrestrial network in order to infringe, and by

finding that Gogo’s conclusory obviousness argument raised a substantial

question of validity.




                                   2
     Case: 23-1058   Document: 12    Page: 20     Filed: 12/19/2022




4.    Whether the district court erred by finding no irreparable harm while

misapplying Federal Circuit precedent and not crediting SmartSky’s

undisputed record evidence of irreparable harm.




                                 3
          Case: 23-1058     Document: 12     Page: 21    Filed: 12/19/2022




I.    INTRODUCTION
      The district court’s order denying SmartSky’s motion for preliminary

injunction (Appx1-21; “Preliminary Injunction Order”) rests on multiple

fundamental claim construction errors, and ignores numerous hallmark examples of

irreparable harm that this Court has found require preliminary injunctive relief.

SmartSky’s air-to-ground (ATG) network provides 10 times the performance of

Gogo’s legacy network, and only by copying SmartSky’s patented technology is

Gogo’s 5G network able to compete with SmartSky. Gogo’s ongoing infringement

is actively and irreparably harming SmartSky, and should be preliminarily enjoined.

II.   STATEMENT OF THE CASE
      This case is an interlocutory appeal from the district court’s order (Appx1-21)

denying a preliminary injunction sought by SmartSky to enjoin Gogo’s sale of its

“Gogo 5G” network for providing in-flight connectivity (IFC) to business aircraft.

For well over a decade, Gogo has enjoyed an effective monopoly in the business

aviation market for IFC with an ATG network using 3 MHz of licensed spectrum

for its exclusive use without interference from others. (Appx182, Appx189-190,

Appx280, Appx1202, Appx2762, Appx9603-9604).               Skyrocketing consumer

demand for better performance and data consumption quickly rendered Gogo’s

limited bandwidth insufficient.    (Appx1199, Appx995, Appx2762, Appx2961-

2962). While Gogo spent years trying to purchase more licensed spectrum to keep



                                         4
          Case: 23-1058     Document: 12    Page: 22   Filed: 12/19/2022




up with consumer demand (Appx284, Appx600-603, Appx621-622, Appx640-641,

Appx2969-2970, Appx3165, Appx3330, Appx3349-3350), SmartSky charted a

different course––developing a breakthrough ATG network that uses beamforming

and 60 MHz of unlicensed spectrum to achieve roughly 10 times the average

effective performance of Gogo’s legacy 3G/4G ATG network. (Appx182-188,

Appx198-199, Appx235-240).       Unlike Gogo’s exclusively licensed spectrum,

SmartSky’s network uses the unlicensed spectrum used by thousands of other

networks, such as Wi-Fi. But to do so, SmartSky developed a number of innovations

to avoid interference with other networks using unlicensed spectrum.

      SmartSky’s ATG network incorporates innovative features that are protected

by a robust patent portfolio of more than 100 U.S. patents. (Appx182). For example,

U.S. Patent No. 9,312,947 (“the ’947 Patent”) and U.S. Patent No. 11,233,417 (“the

’417 Patent”) describe and claim phased array beamforming antennas and software-

defined radios that generate multiple beams and direct them to a small area, which

increases range as compared to an omnidirectional signal. (Appx184, Appx233-

234). Because the beams are directed to a small area, multiple spatially-separated

beams can be generated at the same frequency with a range greater than 100 miles,

without creating harmful interference with each other or other unlicensed band

transmissions on the ground, such as Wi-Fi networks. (Id). The ‘947 and ‘417

Patents also claim seamless handoffs of communication links between beams


                                        5
          Case: 23-1058     Document: 12     Page: 23   Filed: 12/19/2022




originating from different ATG base stations as an aircraft moves. (Appx219-221,

Appx234-235).     By conducting seamless handoffs, the communication link is

maintained “continuous and uninterrupted in time,” which enables real-time

communications such as videoconferencing. Id. U.S. Patent No. 10,257,717 (“the

‘717 Patent”) and U.S. Patent No. 9,730,077 (the ‘077 Patent”) describe and claim a

ground antenna system that generates respective radiation patterns that are oriented

toward the horizon, and overlap to create a “wedge” architecture. (Appx222,

Appx225-226). By directing radiation patterns toward the horizon, interference

from and with ground-based Wi-Fi in the unlicensed spectrum is substantially

reduced. (Appx232).

      SmartSky has spent more than ten years and hundreds of millions of dollars

developing and building its nationwide ATG network. Throughout the development

of SmartSky’s network, the aviation industry, and especially Gogo, expressed deep

skepticism that an unlicensed ATG network would ever be commercially viable.

(Appx663, Appx669-670, Appx681, Appx691-692, Appx1426, Appx4317). Yet, in

2016, after more than eight years attempting to acquire additional licensed spectrum

and criticizing SmartSky’s approach, Gogo abruptly changed course and copied

SmartSky’s patented technology that enables use of unlicensed spectrum.

(Appx1189). On the same day SmartSky received FCC certification for its ATG

network using 60 MHz of unlicensed spectrum, Gogo announced it also intended to


                                         6
           Case: 23-1058     Document: 12    Page: 24    Filed: 12/19/2022




use the same unlicensed spectrum for its “Gogo 5G” network that is accused of

infringement in this case. (Appx186, Appx4399).

      Apparently realizing that its 5G network would infringe SmartSky’s patents,

in 2020—almost two years before Gogo made its first sale of its 5G Network—Gogo

launched a preemptive strike by filing a Petition for Inter Partes Review challenging

the validity of SmartSky’s ‘947 Patent. (Appx769-845). Notably, however, the

Patent Trial and Appeal Board denied Gogo’s Petition at the institution stage.

(Appx404-416).

      SmartSky commercially launched its ATG network in late 2021 to strong

reviews.   (Appx186).      During demo flights, passengers remarked about the

“seamless” web surfing, “flawless and consistent” live-streaming, and simultaneous

FaceTime® video calls that “never buffered, not even once.”          (Appx186-187,

Appx725-729, Appx737-740, Appx746-747). The same month SmartSky launched

its ATG network, Gogo announced that it made its first sale of its 5G system to a

customer for installation on 50 aircraft. (Appx190-191, Appx757-760).

      The drastically improved performance of SmartSky’s network compared to

Gogo’s legacy network has positioned SmartSky to capture a substantial portion of

the nearly 70% of the business aviation market that has yet to install broadband

connectivity, as well as customers looking to upgrade from their outdated legacy

systems. (Appx196, Appx284, Appx996, Appx1419). But Gogo’s infringing 5G


                                         7
            Case: 23-1058   Document: 12     Page: 25    Filed: 12/19/2022




network has forced SmartSky to compete against a much larger incumbent who has

enjoyed a near monopoly in the market for decades, and to compete against

SmartSky’s own far superior technology. (Appx195-200, Appx9610, Appx9616-

9617).     SmartSky therefore filed the instant action in the district court and

immediately requested a preliminary injunction.

      A.      The Asserted Patents

      The ‘947 and ‘417 Patents are from the same patent family, and share the same

specification1 relating to a broadband data communications system for in-flight

aircraft. (Appx32, Appx48-49). The ‘947 Patent explains that range and throughput

limitations make cellular wireless data links impractical for in-flight use, and that

satellite links require costly antennas and also suffer from throughput limitations.

(Appx41). To address these problems, the ‘947 Patent discloses a system having a

series of ground transmitters, each having a coverage area in which a respective

ground transmitter can establish a communications link with the aircraft. (Appx42).

As the aircraft moves across coverage areas, the aircraft transitions between ground

transmitters so the link is maintained without a loss of communications. Id. The

ground transmitters use a software-defined radio (SDR) to control and configure the

antenna to “beam form” the signal to such a narrow beam that interference with


      1
         References herein to the common specification of the ‘947 and ‘417 Patents
are to the ‘947 Patent, but apply equally to the ‘417 Patent.


                                         8
          Case: 23-1058     Document: 12     Page: 26   Filed: 12/19/2022




nearby signals on the same or very close frequencies is minimized. (Appx43). By

using beamforming, the same frequency can be re-used for different

communications links, and the range is greatly increased, allowing the aircraft to

communicate with ground transmitters further away.         Id.   The ‘947 Patent

specification states that embodiments may use present and future versions of the

IEEE 802.16 Air Interface Standard, such as the IEEE 802.16e (or 802.16-2005)

standard that addresses mobile (rather than just fixed) components or other

communication protocols such as the UTRAN Long Term Evolution (LTE)

Terrestrial Radio Access Network protocol. (Appx44).

      The ‘717 and ‘077 Patent relate to another aspect of SmartSky’s ATG network

that enables increased performance and reduced interference while using unlicensed

spectrum. The ‘717 Patent explains that antennas at a base station can transmit

“signals having a radiation pattern defined between two elevation angles resulting

in an increasing vertical beam width…to form a wedge-shaped sector.” (Appx71).

As shown below in Fig. 2 of the ‘717 Patent, the wedge-shaped sectors overlap to

progressively build in altitude. (Appx67).




                                         9
          Case: 23-1058     Document: 12       Page: 27      Filed: 12/19/2022




                                                                                   ,,,,,.--200
                                                       120




         45,000 ft




                                              FIG. 2

      The ‘717 Patent explains that the network can implement “frequency reuse”

so that adjacent base stations can use alternating channels between adjacent cell

coverage areas. (Appx73). For example, the base stations may include radios that

can communicate using licensed spectrum or unlicensed spectrum. (Appx75).

      The ‘077 Patent uses some of the same figures as the ‘717 Patent (such as Fig.

2 above) to describe an ATG network using a similar architecture, in which base

stations define radiation patterns focusing energy toward the horizon to create

overlapping wedge-shaped cells. (Appx82, Appx92). The in-flight aircraft may use

antennas that focus toward the horizon or just below the horizon so that the aircraft

can communicate with distant base stations instead of the base stations immediately

below.     (Appx92).      Therefore, the aircraft is essentially unaffected by

communications on the ground below the aircraft, which allows the aircraft to use

the same RF spectrum to communicate with a distantly located base station as the

RF spectrum used by terrestrial networks (e.g., Wi-Fi) directly below the aircraft.



                                         10
           Case: 23-1058     Document: 12     Page: 28   Filed: 12/19/2022




Id. For example, Fig. 3 of the ‘077 Patent (below), shows an ATG network having

ATG base stations 350, 355 enabling communication in an ATG communication

layer 335, using the same RF spectrum used by a separate terrestrial network having

terrestrial base stations 310 enabling communications in a ground communication

layer 320. (Appx83).




                                                         l_
                                                                             315
           370


                                             FJG.3

      As explained below, Gogo has incorporated these same claimed features into

its 5G network, which allows Gogo to unfairly compete with, and irreparably harm,

SmartSky using SmartSky’s own technology.

      B.         The Accused Product
      The accused Gogo 5G system includes a network of base stations that use a

combination of Gogo’s 3 MHz of licensed spectrum in the 850 MHz band, and 60

MHz of unlicensed spectrum in the 2.4 GHz band. (Appx6396, Appx6417).




                                        11
           Case: 23-1058      Document: 12    Page: 29   Filed: 12/19/2022
                       CONFIDENTIAL MATERIAL REDACTED


      The Gogo 5G base stations include software defined radios to implement

beamforming.           (Appx8081-8083, Appx9260, Appx9305, Appx9322-9323,

Appx9343). Gogo has touted that its use of beamforming enables communication

with six different aircraft in the same sector using the same frequency, and delivers

a stronger signal with less interference. (Appx895, Appx902, Appx243, Appx918-

919). Gogo’s confidential technical documents explain that during a handover

procedure from one base station to another base station, confidential details

confidential details                               (Appx4868) (emphasis added):

      As SmartSky’s technical expert, Dr. Steven Goldberg, explained, the 2.4 GHz

antennas on the Gogo 5G base stations have a radiation pattern oriented toward the

horizon.   (Appx8092-8095 (citing Appx6421); see also Appx9346-9347).            By

orienting the radiation pattern of the ATG base stations toward the horizon, Gogo’s

5G network is able to use the same 2.4 GHz spectrum as terrestrial networks, such

as Wi-Fi networks, on the ground. (Appx8100-8101).

      C.      Preliminary Injunction Motion and Order

      SmartSky’s motion for preliminary injunction, supported by multiple

technical expert declarations and economic expert declarations, explained how

Gogo’s 5G network infringes each of the Asserted Patents, and how that

infringement is irreparably harming SmartSky. Without holding a hearing, the

district court denied the motion, finding that SmartSky’s irreparable harm arguments



                                         12
              Case: 23-1058    Document: 12     Page: 30   Filed: 12/19/2022




are speculative, and that SmartSky failed to establish a likelihood of success on the

merits.      Regarding the ‘947 and ‘417 Patents, the district court found that

maintaining a data communications link “continuous and uninterrupted in time”

during a handover “is encompassed by” a make-before-break handover “rather than

a ‘continuous and interrupted in time’ connectivity link between the aircraft and the

user.”       (Appx11-12) (emphasis added). 2     The district court cited arguments

SmartSky made during prosecution distinguishing prior art that terminates the link

during handovers, as the basis for excluding “break-before-make” handoffs. See id.

         Regarding the ‘717 Patent, SmartSky argued that the Gogo 5G base stations

use both licensed and unlicensed spectrum, and therefore meet the claim limitation

requiring a handoff between base stations that employ licensed and unlicensed

spectrum. (Appx13). The district court narrowly construed the claims to require a

first base station that “employs solely licensed spectrum” and a second base station

that “employs solely unlicensed spectrum,” and on that basis found that SmartSky

failed to show a likelihood of success on infringement. (Appx15).

         Regarding the ‘077 Patent, the parties disagree about whether claim 1 requires

Gogo to provide a terrestrial network to infringe, or whether the terrestrial network



         2
        The district court apparently misunderstood SmartSky’s argument, as
SmartSky never argued that the “continuous and uninterrupted in time” link is
between the aircraft and the user.


                                           13
            Case: 23-1058    Document: 12      Page: 31    Filed: 12/19/2022




is merely a reference point for describing the claimed ATG network. The district

court declined to decide the issue, and found that SmartSky failed to meet its burden

regarding infringement. (Appx17). The district court further found that Gogo raised

a substantial question of invalidity by arguing that the asserted ‘077 Patent claims

are obvious in view of U.S. Patent App. Publ. No. 2006/0040660 to Cruz (“Cruz”),

which was considered by the Examiner during prosecution, and U.S. Patent No.

5,444, 762 to Frey (“Frey”), even though the district court acknowledged the

suggested motivation for combining the references was conclusory. (Appx17-18,

Appx7213-7248).

      Regarding irreparable harm, the district court further found that although the

parties are direct competitors, and that although lost market share due to customer

“stickiness” has the potential to harm SmartSky, that harm is not imminent because

Gogo’s 5G network is “yet-to-be released.” (Appx20-21). The district court further

found that SmartSky’s price erosion argument is speculative, and rests on conclusory

assertions. The district court also noted that SmartSky has not been harmed because

SmartSky has been able to secure some customers and investments despite Gogo’s

entry into the market. Id. But as explained below, the district court failed to consider

substantial evidence that Gogo’s infringement is actively, and irreparably, harming

SmartSky.




                                          14
           Case: 23-1058     Document: 12     Page: 32    Filed: 12/19/2022




III.   SUMMARY OF THE ARGUMENT
       The Preliminary Injunction Order relies on multiple claim construction legal

errors, and ignores concrete evidence of ongoing irreparable harm. Regarding the

‘947 and ‘417 Patents, the district court’s construction of “continuous and

uninterrupted” is inconsistent with the dependent claims, specification, prosecution

history, Gogo’s own technical documents, and the testimony of Gogo’s own expert.

The district court’s distinction between “make-before-break” and “break-before-

make” handoffs is unsupported in the record, and contrary to central canons of claim

construction, including claim differentiation. See, e.g., Trustees of Columbia U. in

City of New York v. Symantec Corp., 811 F.3d 1359, 1370 (Fed. Cir. 2016)

(construction of independent claim is erroneous when inconsistent with claims

depending therefrom). The district court also misinterpreted arguments made during

prosecution of the ‘947 Patent, which fall well short of the clear and unmistakable

standard required for prosecution disclaimer.

       Regarding the ‘717 Patent, the district court improperly re-wrote the claims to

require handoffs between a base station that employs “solely” licensed spectrum and

a base station that employs “solely” unlicensed spectrum. The district court erred as

a matter of law because nothing in the intrinsic evidence supports such a narrow

reading of the claims, which the district court based on a misreading of SmartSky’s

expert’s testimony.



                                         15
          Case: 23-1058     Document: 12     Page: 33   Filed: 12/19/2022




      The district court further erred by refusing to determine whether claim 1 of

the ‘077 Patent requires Gogo to provide terrestrial base stations to infringe, and

finding that SmartSky therefore failed to meet its burden regarding infringement.

This Court has “repeatedly distinguished a description of the environment in which

a claimed invention operates from a limitation on the claimed invention itself.”

Nazomi Commc’ns, Inc. v. Nokia Corp., 739 F.3d 1339, 1345 (Fed. Cir. 2014).

Claim 1 of the ’077 Patent claims an air-to-ground (ATG) network that uses the same

RF spectrum as separate terrestrial base stations, which are merely referenced to

describe the RF spectrum used by the claimed ATG network, and are not part of the

claimed ATG network itself. Regarding obviousness, Gogo’s proposed motivation

to combine Cruz and Frey merely notes that both references identify the same need

to avoid interference, but fails to explain how the alleged common frequency use of

Frey would avoid interference if implemented in the system disclosed in Cruz. Such

conclusory arguments do not raise a substantial question of validity needed to avoid

a preliminary injunction.

      Regarding irreparable harm, the district court erred in finding that Gogo’s

infringement is not harming SmartSky because Gogo’s 5G network has not yet

launched, and because SmartSky has been able to secure a handful of customers and

some investment. Gogo and SmartSky are direct competitors in a two-competitor

market. Gogo has been the only supplier of an ATG network in the U.S. for more


                                        16
           Case: 23-1058    Document: 12       Page: 34   Filed: 12/19/2022




than 15 years and currently has more than an 85% market share of all U.S. business

aviation aircraft with any form of in-flight connectivity, while SmartSky is

attempting to break into the ATG market with its groundbreaking technology that

provides 10 times the performance of Gogo’s legacy ATG network. Gogo’s sale of

its 5G system, components, and subscriptions are locking in customers that will keep

Gogo’s ATG system on each Gogo customer aircraft for at least 17 years on average.

There is no question that SmartSky would be able to secure significantly more

customers and greater investment on significantly better terms were it not for Gogo

copying SmartSky’s technology and infringing SmartSky’s patents. SmartSky’s

price erosion and loss of goodwill and reputation as an innovator are supported by

testimony from SmartSky’s President, which Gogo has not rebutted.

IV.   ARGUMENT

      The district court committed legal error by improperly construing multiple

terms of the asserted claims, and abused its discretion by making clearly erroneous

factual findings regarding irreparable harm.

      A.    Standard of Review

      The Federal Circuit generally reviews a denial of a preliminary injunction

according to the law of the regional circuit (here, the Third Circuit), but “give[s]

dominant effect to Federal Circuit precedent insofar as it reflects considerations

specific to patent issues,” such as likelihood of success on the merits. Nippon



                                        17
           Case: 23-1058     Document: 12    Page: 35   Filed: 12/19/2022




Shinyaku Co., Ltd. v. Sarepta Therapeutics, Inc., 25 F. 4th 998, 1004 (Fed. Cir.

2022); BlephEx, LLC v. Myco Industries, Inc., 24 F.4th 1391, 1398 (Fed. Cir. 2022).

“Both the Federal Circuit and the Third Circuit review a denial of a preliminary

injunction for abuse of discretion,” which may be established by showing a clear

error of judgment, an erroneous legal conclusion, or clearly erroneous factual

findings. Nippon, 25 F. 4th at 1004; Koninklijke Philips N.V. v. Thales DIS AIS USA

LLC, 39 F.4th 1377, 1379 (Fed. Cir. 2022). Factual findings are reviewed for clear

error, while legal conclusions, such as claim construction, are reviewed de novo.

Bio-Rad Laboratories, Inc. v. 10X Genomics Inc., 967 F.3d 1353, 1369 (Fed. Cir.

2020); Power Probe Grp., Inc. v. Innova Elecs. Corp., 2022 WL 1089910, at *2

(Fed. Cir. Apr. 12, 2022).

      B.     The District Court’s Construction of “High Speed Data
             Communications Links that are Enabled to be Maintained
             Continuous and Uninterrupted in Time” is Erroneous
      The district court erred by interpreting “high speed data communications links

that are enabled to be maintained continuous and uninterrupted in time” as limited

to “make-before-break” handoffs, and excluding “break-before-make” handoffs.

While both types of handoffs maintain the communication link continuously and

uninterrupted in time (which in this case does not cause a break in the overall data

link), “break-before-make” handoffs include a short break at the physical layer of

the link, while a “make-before-break” handoff does not. (Appx8056-8059). The



                                        18
          Case: 23-1058     Document: 12     Page: 36    Filed: 12/19/2022




district court’s construction is wrong because it is inconsistent with the dependent

claims, specification, and prosecution history, as well as Gogo’s own documents and

expert testimony.

            1.      The District Court’s Construction Contradicts the Intrinsic
                    Evidence
      The specification is “the single best guide to the meaning of a disputed term.”

Phillips v. AWH Corp., 415 F.3d 1303, 1321 (Fed. Cir. 2005). “A claim construction

that would exclude the preferred embodiment is rarely, if ever, correct.” Kaufman

v. Microsoft Corp., 34 F.4th 1360, 1372 (Fed. Cir. 2022).          The ‘947 Patent

specification provides multiple examples of protocols that require “break-before-

make” handoffs, and yet still maintain the high-speed data communication link

“continuous and uninterrupted” during a handoff.

      The “Summary of the Invention” section explains that “a continuous and

uninterrupted high speed data communications link” is provided “according to the

IEEE 802.16 Air Interface Standard.” (Appx41). The specification further explains

that this approach allows passengers to “have uninterrupted high speed data

communications while in the air” as the aircraft passes between ground transmitters.

Id. The ‘947 Patent specifically references the IEEE 802.16e standard, which Dr.

Goldberg explained requires “break-before-make” or “hard” handoffs. (Appx44,

Appx8069-8070, Appx8209). Dr. Goldberg cited to a textbook entitled “Current

Technology Developments of WiMax Systems,” which explains:


                                        19
          Case: 23-1058    Document: 12      Page: 37   Filed: 12/19/2022




            As defined in [an] IEEE 802.16e standard, three basic handover
      modes are supported to enable continuous data transmission and
      services when a MS [mobile station] moves across the cell boundaries
      of BSs [base stations], and they are Hard Handover (HHO), a Macro
      Diversity Handover (MDHO) and Fast Base Station Switching (FBSS).
      Among these handover modes, HHO is mandatory in [an] IEEE
      802.16e system, while MDHO and FBSS are option. HHO adopts a
      break-before-make approach…

(Appx8070-8071 (citing Appx9136)); see also (Appx9091 (Hard Handoff (HHO) is

“one of three handoff methods supported within the 802.16e standard…Of these, the

HHO 3 is mandatory”)). Thus, the ‘947 Patent specification references an IEEE

standard, which acknowledges that “break-before-make” handoffs support

continuous data transmission and services.

      The ‘947 Patent specification further explains that the UTRAN Long Term

Evolution (LTE) Terrestrial Radio Access Network protocol can be used, which Dr.

Goldberg explained also requires break-before-make handoffs.                (Appx44,

Appx8070-8071).     In particular, Dr. Goldberg cited a conference paper from

Ericsson Research entitled “Handover within 3GPP LTE: Design Principles and

Performance,” which confirms that “[i]n LTE only hard handover is supported.”

(Appx8071, Appx9127). The district court’s claim construction limiting the claims

to only make-before-break handoffs is incorrect because it excludes multiple


      3
         Gogo’s expert, Dr. Michalson, acknowledged that the hard handoff
referenced in the article cited by Dr. Goldberg corresponds to “break-before-make”
handoffs. (Appx8152-8153).


                                       20
          Case: 23-1058      Document: 12     Page: 38   Filed: 12/19/2022




preferred embodiments that require break-before-make handoffs. See Network-1

Techs., Inc. v. Hewlett-Packard Co., 981 F.3d 1015, 1024 (Fed. Cir. 2020) (reversing

claim construction that excluded preferred embodiment); Kaneka Corp. v. Xiamen

Kingdomway Grp. Co., 790 F.3d 1298, 1304 (Fed. Cir. 2015) (same).

      In addition to contradicting the ‘947 Patent specification, the district court’s

claim construction also renders multiple dependent claims inconsistent with the

independent claim from which they depend. The doctrine of claim differentiation

requires that “[a] limitation in the parent [claim] be at least broad enough to

encompass the limitation in the dependent claim.” TecSec, Inc. v. Adobe Sys. Inc.,

658 F. App’x 570, 577 (Fed. Cir. 2016) (citing Tr. of Columbia Univ., 811 F.3d at

1370).

      Claim 1 of the ‘947 Patent recites, inter alia,

              …high speed data communications links that are enabled to be
      maintained continuous and uninterrupted in time while one of the
      respective different in-flight communication nodes transitions between
      a first steerable beam… and a second steerable beam…

(Appx45) (emphasis added). Though the district court narrowly interpreted this

claim term as limited to “make-before-break” handoffs, claims 4 and 5 depend from

claim 1, and recite (emphasis added):

            4.    The network base station of claim 1, wherein the high
      speed data communications link is provided continuous and
      uninterrupted in time with the receiver station according to Long
      Term Evolution (LTE) terrestrial radio access network protocols.


                                         21
           Case: 23-1058     Document: 12      Page: 39   Filed: 12/19/2022




            5. The network base station of claim 1, wherein the high speed
      data communications link is provided continuous and uninterrupted
      in time with the receiver station according to IEEE 802.16 Air
      Interface Standard.

Id. As explained above, both the LTE terrestrial radio access network protocols and

the IEEE 802.16 Air Interface Standard require “break-before-make” or “hard”

handoffs. See, e.g., Appx9091 (“HHO [hard handoff] is mandatory”); Appx9136

(“HHO is mandatory in IEEE 802.16e system . . . HHO adopts a break-before-make

approach”); Appx9127 (“In LTE only hard handover is supported”). Because the

district court’s construction of “continuous and uninterrupted in time” in

independent claim 1 requires only “make-before-break” handoffs, dependent claims

4 and 5, which require “break-before-make” handoffs, are not encompassed within

the district court’s construction of claim 1. Hence, the district court’s construction

violates the doctrine of claim differentiation.

      Gogo’s expert, Dr. Michalson, agreed at his deposition that if the “continuous

and uninterrupted” claim term is interpreted as requiring “make-before-break”

handoffs, then claim 4 is “claiming something that’s impossible . . . because if LTE

has to use hard handovers, then it can’t, as a matter of technology, provide a link

that’s continuous and uninterrupted in time.” (Appx8155 (emphasis added); see also

Appx8156-8157 (“[I]f 802.16 requires hard handovers, then it would be the same

problem as claim 4 . . . [I]f 802.16 requires hard handovers, then claim 5 is, on its

face, impossible.”); Appx8157-8159 (acknowledging same inconsistency regarding

                                          22
           Case: 23-1058     Document: 12     Page: 40   Filed: 12/19/2022




dependent claim 2 of the ‘417 Patent)). The district court’s construction is erroneous

because courts “must not interpret an independent claim in a way that is inconsistent

with a claim which depends from it.” Wright Med. Tech., Inc. v. Osteonics Corp.,

122 F.3d 1440, 1445 (Fed. Cir. 1997); see also Littelfuse, Inc. v. Mersen USA EP

Corp., 29 F.4th 1376, 1379–82 (Fed. Cir. 2022) (reversing construction of a fuse end

cap that excluded single piece end caps where dependent claim specified that end

cap be “a single, contiguous piece of conductive material”); Tr. of Columbia, 811

F.3d at 1370 (reversing construction of independent claim term that was inconsistent

with dependent claims).

      The district court’s construction also contradicts the prosecution history,

which the district court misinterpreted as disclaiming break-before-make handoffs.

The district court found that because “SmartSky distinguished prior art that

contemplated termination of the communication link between the ground––the ATG

base station––and the aircraft,” the “continuous and uninterrupted in time” limitation

is limited to a “make-before-break” handover. (Appx11-12). Although SmartSky

distinguished prior art in which the communication link was completely terminated,

SmartSky did not disclaim “break-before-make” handoffs that maintain the link

continuous and uninterrupted despite short breaks at the physical layer.

      While the prosecution history “plays various roles in resolving uncertainties

about claim scope,” the standard for applying prosecution disclaimer is very high,



                                         23
          Case: 23-1058     Document: 12      Page: 41   Filed: 12/19/2022




and “the alleged disavowing actions or statements made during prosecution [must]

be both clear and unmistakable.” Omega Eng’g, Inc. v. Raytek Corp., 334 F.3d 1314,

1325–26 (Fed. Cir. 2003). “Where the alleged disavowal is ambiguous, or even

amenable to multiple reasonable interpretations, we have declined to find

prosecution disclaimer.” Avid Tech., Inc. v. Harmonic, Inc., 812 F.3d 1040, 1045

(Fed. Cir. 2016) (internal quotation marks and citation omitted).

      The arguments SmartSky made during prosecution of the ‘947 Patent fall far

short of constituting a “clear and unmistakable” disclaimer of “break-before-make”

handoffs. Claim 1 of the ‘947 Patent was rejected as allegedly being obvious in view

of, inter alia, U.S. Patent App. Publ. No. 2002/0160773 to Gresham (“Gresham”),

which the Examiner alleged discloses a communication link that is maintained

continuous and uninterrupted in time while the in-flight communication node

transitions between coverage areas. (Appx447-451).

      In response, SmartSky explained that in Gresham, a server 20 on the aircraft

connects with a base station on the ground at 15-minute intervals to periodically

upload and download data to and from a cache memory of the server 20 to form a

virtual world wide web. (Appx430-431). The server 20 “masquerades” as the

passenger’s usual domain name server to produce a “locally generated” worldwide

web page, but the original websites themselves are not accessed in flight by the

server 20. (Appx430-431, Appx1492). SmartSky argued that Gresham explicitly



                                         24
          Case: 23-1058      Document: 12     Page: 42   Filed: 12/19/2022




states that “there is no possibility for a passenger browsing the pages within the

cache on board the aircraft to visit Internet sites which have not been stored in the

cache.” (Appx431, Appx1496-1497). Importantly, SmartSky noted that the server

20 of Gresham connects to the base station at 15-minute intervals and “terminates

communication sessions” with the base stations in between connections. (Appx431,

Appx1496-1497).      Any messages the user attempts to transmit while the

communication session is terminated are stored in the cache until the next

connection. (Appx431, Appx1496-1497).

      When the aircraft reaches an overlap region of two coverage cells, the first

station (90) commands the server 20 to contact second station (120) for the next

connection. (Appx430-431, Appx1502). At the next 15-minute interval, the server

20 contacts the second station (120) to update the cache. (Appx431, Appx1502).

Because of these 15-minute intervals, SmartSky argued that Gresham does not

disclose a continuous and uninterrupted communication link with one base station,

much less a continuous and uninterrupted communication link during a handover

between base stations. (Appx432).

      Importantly, SmartSky never argued that every layer (e.g., particularly the

physical layer that is briefly broken during a break-before-make handoff) of the

communication link must be maintained continuous and uninterrupted during the

entire handover procedure.     As Dr. Goldberg explained, Gresham teaches the



                                         25
           Case: 23-1058     Document: 12      Page: 43   Filed: 12/19/2022




termination of the entire connection at all layers of the OSI stack. (Appx8062-

8063). In particular, Gresham’s termination of “communication sessions” indicates

termination of the communication link at higher layers, such that SmartSky’s

argument did not disclaim short breaks at the physical layer that would not interrupt

the higher layer connection. (Id). Moreover, SmartSky differentiated the claimed

“continuous and uninterrupted” communication links from the intermittent links of

Gresham based on the inability of “a passenger browsing the pages within the cache

on board the aircraft to visit Internet sites which have not been stored in the cache.”

(Appx431, Appx1496). Dr. Goldberg explained that one skilled in the art would

understand that this argument focuses on the higher layer connection with the base

station, as a short break in the physical layer during a “break-before-make” handoff

would not prevent the passenger from visiting Internet sites that have not been stored

in the cache, because such a short break in the physical layer does not interrupt

higher layer connections. (Appx8062-8063).

      The district court incorrectly interpreted the ‘947 Patent prosecution history

as disclaiming any break at any layer of the communication link.              Because

SmartSky’s prosecution arguments fall far short of a “clear and unmistakable”

disavowal of “break-before-make” handoffs, the district court’s construction

requiring “make-before-break” handoffs must be vacated. Omega Eng’g, 334 F.3d

at 1325–26.



                                          26
           Case: 23-1058       Document: 12     Page: 44   Filed: 12/19/2022
                       CONFIDENTIAL MATERIAL REDACTED


              2.       Gogo’s Own Documents and Personnel Contradict the District
                       Court’s Construction

      The district court’s claim construction is also undermined by Gogo’s own

documents and testimony. For example, U.S. Patent No. 10,200,111, assigned to

Gogo, LLC and issued in February 2019, explains that “Aircraft networks hand over

the Point-to-Point communication links between Radio Access Networks (RAN) in

different locations (different Ground Subsystems 1), in order to maintain continuity

of service . . . [and such] [h]andovers may be hard or soft.” (Appx9152). U.S.

Patent No. 11,153,005 (“the ‘005 Patent”), assigned to Gogo Business Aviation,

LLC and issued in October 2021, explains that “if the execution of the hard handoff

fails, the communication link between the end user(s) and the network 110 may be

disrupted or terminated” (Appx9170), which indicates that successful hard handoffs,

used during normal operation, would not disrupt the communication link.

      Perhaps most tellingly, Gogo’s own technical documents explaining the

“break-before-make” handover procedures performed by the Gogo Accused 5G

System explain that confidential details

               (Appx4868 (emphasis added); see also Appx8084-8087).

      A Gogo engineer, Mr. Yong Liu, testified that this portion of Gogo’s technical

document means that during Gogo’s “break-before-make” handover procedure,

confidential details
                                                                               •
                                                                          (Appx9546-

9547 (emphasis added); see also Appx9533, Appx9540, Appx9546-9555).


                                           27
           Case: 23-1058      Document: 12      Page: 45   Filed: 12/19/2022




      Therefore, the district court’s construction is also inconsistent with Gogo’s

own documents and the testimony of its engineer, which confirm that Gogo’s

“break-before-make”      handoff    maintains    a   continuous   and    uninterrupted

communications link. See Butamax Advanced Biofuels LLC v. Gevo, Inc., 746 F.3d

1302, 1309-12 (Fed. Cir. 2014) (relying in part on accused infringer’s description of

its patented technology to reject contention that patentee implicitly narrowly defined

disputed term); Ultimax Cement Mfg. Corp. v. CTS Cement Mfg. Corp., 587 F.3d

1339, 1348 (Fed. Cir. 2009) (relying in part on how accused infringer used disputed

claim term to support broader construction). Because Gogo’s sole non-infringement

defense for the ‘947 and ‘417 Patents relied on the district court’s erroneous

construction of the “continuous and uninterrupted” limitation, and Gogo’s

documents and its engineer unambiguously state that its handover procedures

“maintain the continuity of the connection,” this Court should find that SmartSky

has established a likelihood of success on the merits with respect to the ‘947 and

‘417 Patents.

      C.     The District Court Erred in Construing the ‘717 Patent Claims

      The district court’s finding regarding the likelihood of success on the merits

for the ‘717 Patent hinges on another erroneous claim construction. Claim 1 of the

‘717 Patent recites, in relevant part:




                                         28
          Case: 23-1058      Document: 12     Page: 46   Filed: 12/19/2022




             …wherein the first base station employs unlicensed spectrum,

             wherein the second base station employs licensed spectrum,…

             wherein the first and second base stations are each configured
      to handover communication with the radio as the aircraft moves
      between the respective cell coverage areas of the first and second base
      stations.

(Appx76). The district court erred by re-writing the claim language to require that

the first base station “solely employs unlicensed spectrum” and that the second base

station “solely employs licensed spectrum.” (Appx15). The district court summarily

concluded that the “plain and ordinary meaning” of the claim language supports

Gogo’s proposed construction of inserting the word “solely” into the claim terms.

Id.   But this Court has repeatedly refused to assign claim terms “a more

particularized meaning unless a narrower construction is required by the

specification or prosecution history.” 3M Innovative Properties Co. v. Tredegar

Corp., 725 F.3d 1315, 1329 (Fed. Cir. 2013) (refusing to limit “preferential

activation zone” to one that is “predetermined” or “identifiable”); Woods v.

DeAngelo Marine Exhaust, Inc., 692 F.3d 1272, 1285 (Fed. Cir. 2012) (declining to

limit “angularly disposed” to any specific angle).

      For example, in Aria Diagnostics, Inc. v. Sequenom, Inc., this Court vacated

an order denying a preliminary injunction motion based on the district court’s overly

narrow claim construction.     726 F.3d 1296, 1303 (Fed. Cir. 2013).         In Aria

Diagnostics, the district court improperly construed the term “amplifying a

                                         29
           Case: 23-1058     Document: 12      Page: 47   Filed: 12/19/2022




paternally inherited nucleic acid” to mean that only the paternally inherited nucleic

acid is increased, but that other types of nucleic acid could not be amplified. See id.

This Court explained that “the claim language requires ‘amplifying’ paternally

inherited nucleic acid, without any mention of an effect on the quantity of other

nucleic acid. Thus, the claim as written stands infringed without regard to whether,

or not, other nucleic acid is amplified . . . The claim does not state that paternally

inherited nucleic acid is ‘selectively’ or ‘only’ amplified.” Id. Like the claim term

in Aria Diagnostics, claim 1 of the ‘717 Patent recites the first base station “employs

unlicensed spectrum,” but does not state that “only” unlicensed spectrum is

employed. Nor does claim 1 specify that the second base station employs “only”

licensed spectrum. The district court did not identify any portion of the claims,

specification, or prosecution history that would indicate the claim language should

be limited to a first base station employing “only” unlicensed spectrum, and a second

base station employing “only” licensed spectrum.

      The only alleged support for the district court’s narrow construction are two

statements from Dr. Goldberg’s first declaration. (Appx15). But in those two

statements, Dr. Goldberg merely mirrored the claim language, stating that “The first

base station employs unlicensed spectrum, and the second base station employs

licensed spectrum,” and “[T]he asserted ‘717 patent claims further specify that one

base station employs unlicensed spectrum while another base station employs


                                          30
           Case: 23-1058     Document: 12      Page: 48   Filed: 12/19/2022




licensed spectrum.” (Appx223, Appx233). Neither of these statements provide any

indication whatsoever that Dr. Goldberg believed the claims should be limited to

two base stations that respectively employ “only” unlicensed and “only” licensed

spectrum. The district court’s construction of the ‘717 Patent claims is wholly

unsupported by the claim language, specification, prosecution history, and extrinsic

evidence, and therefore should be vacated. Because the district court’s erroneous

construction was the sole basis for finding that SmartSky failed to show a likelihood

of success on the merits regarding the ‘717 Patent, this Court should reverse the

district court’s finding regarding likelihood of success on the merits.

      D.     The District Court Erred by Finding No Likelihood of Success on
             the Merits Regarding the ‘077 Patent

      The district court made two errors in finding that SmartSky failed to show a

likelihood of success on the merits with respect to the ‘077 Patent: (1) failing to

construe the ‘077 Patent claims as not requiring Gogo to provide “terrestrial base

stations” to infringe; and (2) failing to consider the evidence and arguments

submitted by SmartSky and its technical expert, Dr. Goldberg, refuting Gogo’s

arguments that the asserted ‘077 Patent claims are obvious.

             1.     The ‘077 Patent Claims Do Not Require a Terrestrial Network

      Gogo’s only non-infringement argument regarding the ‘077 Patent is that the

asserted claims require providing a terrestrial network having terrestrial base

stations, and Gogo does not provide a terrestrial network or terrestrial base stations.


                                          31
           Case: 23-1058     Document: 12      Page: 49   Filed: 12/19/2022




(Appx4613). But claim 1 of the ‘077 Patent merely mentions the terrestrial network

as a reference point for describing the radio frequency (RF) spectrum used by the

claimed ATG network, which Gogo does provide. (Appx101). The district court

declined to decide this claim construction issue, and therefore found that SmartSky

failed to meet its burden of showing a likelihood of success on infringement.

(Appx17). The district court erred by refusing to address a claim construction issue

that is readily resolved by this Court’s precedent.

      Claim 1 of the ‘077 Patent recites:

             1. An air-to-ground (ATG) network providing wireless
             communication to an in-flight aircraft capable of passing
             through various cells of the ATG network; the ATG
             network comprising:

             a first ATG base station defining a first radiation pattern
             focusing energy toward the horizon;

             a second ATG base station defining a second radiation
             pattern focusing energy toward the horizon; and

             a plurality of additional ATG base stations, each of which
             defines a corresponding radiation pattern focusing energy
             toward the horizon,

             wherein the first, second and additional ATG base stations
             are spaced apart from each other to define at least partially
             overlapping coverage areas to communicate with an
             antenna assembly on the in-flight aircraft in an ATG
             communication layer defined between a first altitude and
             a second altitude via the ATG network;

             wherein a plurality of terrestrial base stations are
             configured to communicate primarily in a ground

                                          32
          Case: 23-1058     Document: 12      Page: 50   Filed: 12/19/2022




             communication layer below the first altitude via a
             terrestrial communication network; and

             wherein the first, second and additional ATG base
             stations are each configured to communicate in the ATG
             communication layer using the same radio frequency
             (RF) spectrum used by the terrestrial base stations in the
             ground communication layer.

(Appx101) (emphasis added).

      This Court has “repeatedly distinguished a description of the environment in

which a claimed invention operates from a limitation on the claimed invention

itself.” Nazomi Commc’ns, 739 F.3d at 1345. For example, in Eko Brands, LLC v.

Adrian Rivera Maynez Enterprises, Inc., the claim at issue recited, in part, “A

beverage brewing device for use with a single serve beverage brewer having a

brewing holster.” 946 F.3d 1367, 1377 (Fed. Cir. 2020) (emphasis added). The body

of the claim recited the elements of the beverage brewing device, several of which

reference the single serve beverage brewer, such as “a body removably receivable

with a brewing holster of a single serve beverage brewer,” “at least one outlet probe

. . . configured to receive an outlet probe of the single serve beverage brewer when

the body is received within the brewing holster,” and “an inlet probe opening . . .

configured to receive an inlet probe of the single serve beverage brewer in a brewing

position.” Id. at 1377 n.3. The accused infringer argued that it did not infringe the

claim because it sold only the brewing device and not the single serve beverage

brewer. Id. at 1377. This Court held that “on its face [the claim] does not require a

                                         33
           Case: 23-1058     Document: 12     Page: 51   Filed: 12/19/2022




beverage brewer.” Id. More specifically, despite three different elements in the

body of the claim referencing the beverage brewer, the beverage brewer is merely

“a ‘reference point’ to define the purpose and structure of the brewing device.” Id.

(quoting C.R. Bard, Inc. v. M3 Sys., 157 F.3d 1340, 1350 (Fed. Cir. 1998)). This

Court affirmed the district court’s ruling that the claim does not require a beverage

brewer. Id.

      Just as the “face” of the claim in Eko Brands did not require a “beverage

brewer,” claim 1 of the ‘077 Patent on its face is directed to “An air-to-ground (ATG)

network providing wireless communication to an in-flight aircraft capable of passing

through various cells of the ATG network,” and does not require any terrestrial

network components. (Appx101). The body of claim 1 recites that the ATG network

comprises three elements: a first ATG base station, a second ATG base station, and

a plurality of additional ATG base stations. Id. The remaining limitations of claim

1 merely further describe the recited ATG base stations. As relevant here, “wherein

a plurality of terrestrial base stations are configured to communicate primarily in a

ground communication layer below the first altitude via a terrestrial communication

network” describes the multi-layer environment in which the ATG network operates,

and provides a “reference point” to clarify that the ATG network operates in altitudes

above the terrestrial base stations (e.g., Wi-Fi) of the ground communication layer

below. Eko Brands, 946 F.3d at 1377. The limitation “using the same radio


                                         34
          Case: 23-1058      Document: 12     Page: 52   Filed: 12/19/2022




frequency (RF) spectrum used by the terrestrial base stations in the ground

communication layer” defines the RF spectrum used by the ATG network by

referencing the spectrum of the terrestrial network. (Appx101). Like the beverage

brewer was used as a reference point to further “define the purpose and structure of

the brewing device” in Eko Brands, the terrestrial network and terrestrial base

stations in claim 1 of the ‘077 Patent are used as reference points to further define

the operation of the claimed ATG network. Eko Brands, 946 F.3d at 1377.

      The remaining claims of the ‘077 Patent confirm that terrestrial base stations

are not a required element of claim 1. In contrast to claim 1, which recites “An ATG

network,” claim 12 recites “A system for supporting air-to-ground (ATG) wireless

communication in various cells” that positively recites both “a plurality of ATG base

stations” and “a plurality of terrestrial base stations.” Compare Appx101 with

Appx102 (emphasis added). Claim 12, which claims the combination of the ATG

and terrestrial networks, demonstrates that claim 1 covers only the ATG network.

See Hypertherm, Inc. v. American Torch Tip Co., 2008 WL 268589, at *4 (D.N.H.

2008) (claims directed to combination of electrode and coolant tube indicate claims

directed only to electrode do not require coolant tube, even where electrode claims

reference coolant tube to describe electrode).

      The specification further supports the separate nature of the ATG and

terrestrial networks. As discussed above, Figs. 1 and 2 of the ‘077 Patent illustrate


                                         35
           Case: 23-1058     Document: 12      Page: 53    Filed: 12/19/2022




an ATG network having a series of base stations having overlapping radiation

patterns oriented toward the horizon to create a “wedge” architecture. (Appx81-82,

Appx92-94). The radiation pattern of the aircraft antenna is also oriented toward the

horizon, which enables communication with distant ATG base stations (rather than

the one right below the aircraft), so the in-flight aircraft can use the same spectrum

as terrestrial networks below without interference. (Appx92).

      In contrast to Figs. 1 and 2, which do not reference a terrestrial network even

once, Fig. 3 illustrates a “network architecture” that includes both the ATG network

described in Figs. 1 and 2, and “a terrestrial network component of the architecture.”

(Appx94-95). By explaining that the ATG network and the terrestrial network are

separate “components” of a larger “network architecture,” the specification confirms

that the two networks are distinct. (Appx95).

      Nothing in the prosecution history indicates that claim 1 should be interpreted

as requiring Gogo to provide both an ATG network and a terrestrial network to

infringe. The ‘077 Patent claims were allowed in response to an amendment

specifying that the ATG network and terrestrial network use the same RF spectrum.

(Appx556-558). But specifying the nature of the RF spectrum used by the ATG

network in no way indicates that the terrestrial network is part of the claim. See

INVT SPE LLC v. Int’l Trade Comm’n, 46 F.4th 1361, 1375 (Fed. Cir. 2022) (“the

recited base station is not ‘a limitation on the claimed invention itself,’ in the sense


                                          36
           Case: 23-1058     Document: 12      Page: 54    Filed: 12/19/2022




that an infringer would not need to, for instance, use, make, or sell the base station”

(quoting Nazomi Commcn’s, 739 F.3d at 1345); Advanced Software Design Corp. v.

Fiserv, Inc., 641 F.3d 1368, 1373-74 (Fed. Cir. 2011) (distinguishing claim language

“defin[ing] the financial instrument that the claimed system validates” from steps

the accused system must perform to infringe); C.R. Bard, 157 F.3d at 1350 (in claims

to needle for biopsy gun, “reference points in the gun that aid in defining the needles”

are not part of claim). Because Gogo’s only non-infringement argument regarding

the ‘077 Patent relies on a flawed construction that reads the terrestrial network into

the claims, SmartSky has shown a likelihood of success under the correct

construction on the merits regarding infringement.

             2.     Gogo’s Conclusory Obviousness Argument Lacks Substantial
                    Merit

      The district court erred by finding that Gogo’s conclusory obviousness

arguments meet Gogo’s burden of showing a substantial question of validity.

Gogo’s lone obviousness argument relies on Cruz, which was considered by the

Examiner during prosecution, as allegedly disclosing every element of claim 1

except for the ATG and terrestrial networks using the same RF spectrum, which

Gogo alleges is disclosed by Frey. (Appx564-565, Appx4616). Though the district

court noted that Gogo’s motivation for combining Cruz and Frey was conclusory,

the district court found that SmartSky did not “meaningfully address” Gogo’s

alleged motivation to combine.        (Appx17-18).     The district court abused its


                                          37
            Case: 23-1058    Document: 12      Page: 55   Filed: 12/19/2022




discretion because Gogo’s conclusory motivation to combine fails to meet its

burden, and the district court failed to properly consider SmartSky’s arguments

explaining why Cruz does not disclose certain features of the ‘077 Patent claims,

why there is no motivation to combine Cruz and Frey, and how secondary indicia of

nonobviousness indicate that the ‘077 Patent claims are not obvious.

      First, in alleging that Cruz discloses first and second ATG base stations

defining first and second radiation patterns “focusing energy toward the horizon,”

Dr. Michalson merely parroted the portions of Cruz cited by the Examiner during

prosecution. (Appx4667). Dr. Goldberg pointed out that the cited portions of Cruz

(paragraphs 3, 4, 7-8, and Figs. 1, 3, 15) vaguely reference “specialized antenna

patterns well known in the art, but fail to disclose radiation patterns focusing energy

toward the horizon.” (Appx8101-8102). In fact, Dr. Goldberg noted that Cruz

teaches that one should “limit transmit power towards the horizon,” and that

“limiting the transmit power toward the horizon . . . is desirable.” (Appx8102,

Appx7234, Appx7231). Neither the district court nor Dr. Michalson addressed this

disclosure of Cruz, which teaches the opposite of “focusing energy toward the

horizon.”

      Second, Dr. Michalson fails to provide the required motivation for combining

Cruz and Frey. Dr. Michalson merely noted:

          [s]ince Cruz and Frey are both directed to enabling
      communications between devices in airplanes and ground based

                                          38
           Case: 23-1058     Document: 12     Page: 56   Filed: 12/19/2022




      cellular networks . . . use of the additional method of Frey in Cruz to
      use the same frequency spectrum for both types of communication
      would have been well within the level of ordinary skill in the art, would
      not have resulted in any unpredictable results, and could have been
      readily accomplished without undue experimentation and with a
      reasonable expectation of success.

(Appx4671). But simply stating that two references are directed to the same general

goal of enabling ATG communication fails to explain why one skilled in the art

would have made the specific proposed combination. See e.g., DSS Tech. Mgmt.,

Inc. v. Apple Inc., 885 F.3d 1367, 1374–77 (Fed. Cir. 2018) (motivation to modify

operation of one base station to match operation of mobile station not established

based on mobile station and base station sharing same physical structure).

      Dr. Michalson further noted that because both Cruz and Frey disclose the need

for avoiding interference between cellular base stations, one skilled in the art would

have been motivated “to implement the common frequency use of Frey in the setting

of Cruz.” (Appx4671). “However, ‘knowledge of a problem and motivation to solve

it are entirely different from motivation to combine particular references.’”

Metalcraft of Mayville, Inc. v. The Toro Co., 848 F.3d 1358, 1367 (Fed. Cir. 2017)

(quoting Innogenetics, N.V. v. Abbott Labs., 512 F.3d 1363, 1373 (Fed. Cir. 2008)).

Just because Cruz and Frey allegedly describe the same need (i.e., avoiding

interference) this does not establish why one skilled in the art would have been

motivated to combine the references as proposed. See Comcast Cable Commc’ns,

LLC v. Promptu Sys. Corp., 838 F. App’x 555, 557 (Fed. Cir. 2021), cert. denied,

                                         39
            Case: 23-1058    Document: 12     Page: 57    Filed: 12/19/2022




141 S. Ct. 2721 (2021) (affirming finding of no motivation to combine based on

mere allegation that “the references came from the same field of study and address

the same problem.”). For example, Dr. Michalson does not explain how the common

frequency use of Frey addresses the interference problem of Cruz, and has therefore

not met the burden of raising a substantial question of invalidity.

      Moreover, Cruz explains that it “solves the problems of inter-network

interference” “by trifurcating the air-to-ground cellular network spatial coverage

regions.”    (Appx8102, Appx7229).          To that end, Dr. Goldberg explained

(Appx8102-8103) that because Cruz already addresses the problem of inter-network

interference, there would be no need to consult Frey for interference avoidance

techniques. See S.-Tek Sys., LLC v. Engineered Corrosion Sols., LLC, 748 F. App’x

1003, 1007 (Fed. Cir. 2018) (no motivation to combine where primary reference

already solves problem allegedly providing motivation).

      Dr. Goldberg also explained that using a common frequency between

terrestrial and ATG networks does not avoid interference (as Dr. Michalson

apparently contends), but rather creates interference. (Appx8103). For example,

Gogo’s executives have made this precise point in criticizing SmartSky’s network,

arguing that Gogo’s use of licensed spectrum avoids the interference problems

associated with using the same unlicensed spectrum that is used by Wi-Fi networks

on the ground. (Appx8103, Appx691-692, Appx863 (“[SmartSky] will rely on an


                                         40
           Case: 23-1058     Document: 12     Page: 58   Filed: 12/19/2022




unlicensed spectrum which faces significant interference from ground-based usage

like Wi-Fi, Bluetooth, et cetera.”)). Dr. Goldberg also noted that Frey itself teaches

that interference between the terrestrial network and the ATG network can be

overcome by “shifting the frequency channels used by the aircraft to channels not

being used by the ground system.” (Appx8103, Appx7246). In other words, Dr.

Goldberg explained that Frey actually teaches not using the same frequency in order

to avoid interference. In contrast to Dr. Michalson’s vague reference to the allegedly

common problem faced by Cruz and Frey, Dr. Goldberg identified specific reasons

why one skilled in the art would not combine Cruz and Frey. The district court

therefore abused its discretion by finding that Gogo’s conclusory obviousness

arguments raise a substantial question of validity.

      Lastly, the district court did not properly weigh the secondary considerations

of nonobviousness identified by SmartSky. As Dr. Goldberg noted, Gogo’s first

ATG network relied on Gogo’s 3 MHz of licensed spectrum, which quickly became

insufficient to meet the growing need for more bandwidth. (Appx8104, Appx572-

573, Appx582, Appx602). Despite the availability of unlicensed spectrum, Gogo

tried for years to obtain additional licensed spectrum to satisfy customer’s unmet

need for more spectrum, while at the same time expressing skepticism that

SmartSky’s unlicensed spectrum-based network would work.                 (Appx8104,

Appx582, Appx602-603, Appx690-692, Appx863).               But the performance of


                                         41
           Case: 23-1058    Document: 12      Page: 59   Filed: 12/19/2022




SmartSky’s network, which relies on unlicensed spectrum, has received repeated

praise from the industry.      See (Appx186-187, Appx725-729, Appx737-740,

Appx746-747, Appx4428-4438). Dr. Goldberg explained that the dramatic, ten-fold

performance improvement of SmartSky’s network is based on several features

claimed in the asserted patents, such as radiation patterns focusing energy toward

the horizon, and using 60 MHz of the same unlicensed spectrum used by terrestrial

networks without substantial interference.       (Appx8104-8105, Appx232-240).

SmartSky’s unrebutted evidence of nonobviousness, coupled with Gogo’s failure to

provide the required motivation to combine Cruz and Frey, shows that Gogo has not

met its burden of establishing a substantial question of validity regarding the ‘077

Patent. See Mylan Institutional LLC v. Aurobindo Pharma Ltd., 857 F.3d 858, 871

(Fed. Cir. 2017) (affirming district court’s finding that accused infringer failed to

establish substantial question of validity based on patentee’s evidence of long-felt

but unmet need and praise of others).

      E.     The District Court Erred By Finding No Likelihood of Irreparable
             Harm, and Not Crediting SmartSky’s Undisputed, Hallmark
             Evidence of Such Harm

      The district court abused its discretion in finding that SmartSky did not show

a likelihood of irreparable harm because SmartSky’s “losses are not imminent” and

are “speculative.” (Appx21).




                                         42
           Case: 23-1058     Document: 12      Page: 60   Filed: 12/19/2022




      This case includes facts that this Court has ruled time and again are hallmark

examples of irreparable harm: direct competition—here in a two-player market—

where the patentee has developed breakthrough technology that is transforming an

entire industry, and the incumbent has copied the patentee’s new technology and the

infringement is causing lost sales, lost market share, price erosion, lost R&D, loss of

reputation as an innovator, and lost goodwill. See Mylan, 857 F.3d at 872-73

(affirming ruling that lost sales, lost R&D, price erosion, and that the patentee must

directly compete with an infringer are “hallmark examples” of irreparable harm).

Here, each relevant factor weighs strongly in favor of ruling that SmartSky is likely

to show that Gogo has been irreparably harming SmartSky at least since Gogo made

its first sale of its infringing 5G Network and component parts more than a year ago

(October 2021). The record evidence shows that SmartSky presented unrebutted

evidence of such harm. These facts include:

      x      SmartSky and Gogo are direct competitors (Appx21) and the only two

             competitors providing ATG networks for in-flight communications in

             business aviation aircraft. (Appx189-190, Appx198, Appx281-282,

             Appx286, Appx9584-9585, Appx9597-9598, Appx9602-9604).

      x      SmartSky’s patented ATG technology is game-changing, as Gogo

             admits the technology provides at least a “ten-fold” increase in in-flight

             communication data speeds over Gogo’s 3G/4G legacy network and


                                          43
    Case: 23-1058     Document: 12    Page: 61   Filed: 12/19/2022




     allows for “office in the air” performance. (Appx183-184, Appx193-

     194, Appx286, Appx291-292, Appx294-295, Appx1186).

x    Gogo has stated publicly that there is an “insatiable appetite” for more

     data streaming and bi-directional communication for business aviation

     customers, and data consumed by Gogo customers on aircraft has more

     than doubled since 2019.         (Appx1419, Appx9810 (“Our results

     demonstrate that demand for BA travel and connectivity continues to

     accelerate.”))

x    Gogo publicly touts that its business aviation customers are extremely

     “sticky” because once Gogo’s IFC equipment is installed on an aircraft,

     Gogo keeps that customer for an average of seventeen years.

     (Appx1366, Appx195-196).

x    For more than 14 years, Gogo has provided the only air-to-ground

     network in the U.S.; Gogo has its IFC equipment on more than 6,500

     business aviation aircraft in the U.S., which accounts for more than

     85% of all U.S. business aviation aircraft that currently have broadband

     IFC equipment. (Appx9803, Appx9604, Appx992, Appx1366-1370,

     Appx1418-1421).

x    SmartSky is new to the business aviation market and its patented ATG

     network is its flagship product—nearly all of SmartSky’s revenues and


                                 44
           Case: 23-1058    Document: 12     Page: 62   Filed: 12/19/2022
                  CONFIDENTIAL MATERIAL REDACTED


            marketing efforts are directly related to its patented ATG network.

            (Appx182, Appx188-189).

      Further, over the past 10 years, SmartSky has spent over $ amount          in

researching and developing its patented ATG network technology and more than

$ amount      building out its operational, nationwide ATG network. (Appx198-

199). SmartSky has never offered to license its technology for its ATG Network.

Instead, SmartSky is differentiating itself from Gogo by focusing on its patented,

game-changing technology and nationwide ATG network. (Appx201). But Gogo’s

infringement has given customers another option with comparable performance,

greatly diminished SmartSky’s return on its R&D, and inhibited its ability to fund

future R&D. (Apx9623, Appx198-199, Appx304, Appx8128).

      Gogo’s launch of its infringing 5G Network in October 2021 has caused

SmartSky to lose significant sales and market share to Gogo. (Appx9609-9612,

Appx9616-9619). Gogo is actively selling its “AVANCE L5” system, which

includes hardware required for upgrading to the Gogo 5G network. (Appx1368 (“A

key selling point for the AVANCE L5 platform is that the upgrade path to our Gogo

5G network is much simpler”), Appx191-194, Appx196-197, Appx291-293,

Appx299-301, Appx1383-1384, Appx1388-1389, Appx8121-8123, Appx9594-

9596, Appx9598, Appx9622). Gogo has sold approximately 123 AVANCE L5 units

in the first quarter of 2022 alone, and sold a total of about 1,900 of these units.


                                        45
          Case: 23-1058        Document: 12   Page: 63   Filed: 12/19/2022




(Appx9815, Appx9821).         Because customers crave the increased performance

provided by SmartSky’s technology, and given the stickiness of ATG customers, it

is exceptionally important to be the first mover with the new technology and capture

the market. (Appx9615-9616, Appx200, Appx306).

      In addition, Gogo’s sales of its infringing 5G Network has caused SmartSky

to lower its prices to attract customers. (Appx9584-9585, Appx9591, Appx9594-

9603, Appx9614, Appx8125). Further, SmartSky’s reputation as an innovator and

its goodwill with its customers have been significantly harmed because it must

compete against its own technology in Gogo’s infringing 5G Network. (Appx9577,

Appx9582-9596, Appx9616-9620, Appx9622-9623, Appx187-188, Appx196-199,

Appx304-305, Appx8125-8127).          Gogo’s infringing 5G Network has made it

significantly more difficult and expensive for SmartSky to attract new and additional

investors and investments.         (Appx9568-9569, Appx9610-9612, Appx9618,

Appx198-199, Appx304).

               1.      The District Court Correctly Found That SmartSky and Gogo
                       Are Direct Competitors
      The district court correctly found that SmartSky and Gogo are direct

competitors.        (Appx21, Appx167, Appx8040-8041).     Despite that finding, the

district court ruled that SmartSky was not likely to show irreparable harm. But this

Court has ruled time and again that forcing a patentee to compete against its own




                                         46
           Case: 23-1058     Document: 12     Page: 64     Filed: 12/19/2022




technology deployed by an infringing competitor is nearly always irreparable harm

and significantly impacts the irreparable harm analysis.

      Where two companies are in competition against one another, the
      patentee suffers the harm—often irreparable—of being forced to
      compete against products that incorporate and infringe its own patented
      inventions.

Douglas Dynamics, LLC v. Buyers Prods. Co., 717 F.3d 1336, 1345 (Fed. Cir. 2013)

(reversing trial court and finding irreparable harm where parties were direct

competitors); Bio-Rad Labs., 967 F.3d at 1378 (affirming irreparable harm where

parties were direct competitors); BlephEx, 24 F.4th at 1406 (affirming preliminary

injunction and irreparable harm where parties were direct competitors); Mylan, 857

F.3d at 872 (affirming preliminary injunction and irreparable harm because

“[patentee was] having to directly compete with an infringer”).                Moreover,

irreparable harm is inferred where it is only a two-competitor market. See Apple Inc.

v. Samsung Elecs. Co., 809 F.3d 633, 646 (Fed. Cir. 2015) (reversing district court

and granting injunction because of “substantial hardship” to the patentee “especially

where it is undisputed that it is essentially a two-horse race”); Robert Bosch LLC v.

Pylon Mfg. Corp., 659 F.3d 1142, 1151 (Fed. Cir. 2011) (“[The existence of a two-

player market] creates an inference that an infringing sale amounts to a lost sale for

the patentee.”). SmartSky and Gogo are in a two-competitor market as the only

players offering ATG network for broadband in-flight communications to business

aviation aircraft, with SmartSky attempting to break-in with its game-changing

                                         47
           Case: 23-1058     Document: 12     Page: 65    Filed: 12/19/2022




technology. (Appx198, Appx9577-9578, Appx286). As discussed below, the

district court abused its discretion by ruling that SmartSky was not likely to show

irreparable harm in this two-competitor market. See Robert Bosch, 659 F.3d at 1151;

Trebro Mfg., Inc. v. Firefly Equip., LLC, 748 F.3d 1159, 1170-71 (Fed. Cir. 2014)

(reversing district court and finding irreparable harm in a “small, niche market” with

only three players); Liqwd, Inc. v. L'Oréal USA, Inc., 720 F. Appx. 623, 632-33 (Fed.

Cir. 2018) (nonprecedential) (affirming irreparable harm because it was a two-

player, national market and was the patentee’s primary market).

             2.    The District Court Acknowledged that Gogo’s Customers Are
                   “Sticky” – After Gogo Equipment Is Installed, They Remain
                   Gogo Customers For At Least Seventeen Years

      The district court acknowledged the record evidence that once Gogo

equipment is installed on a new customer aircraft, Gogo keeps that customer for at

least 17 years. (Appx19). In fact, Gogo’s CEO confirmed the 17-year customer

retention, and that, after installation, Gogo customers almost never remove Gogo’s

equipment:

             From the time we started computing churn in 2017 until now,
      we’ve averaged a 0.5% monthly churn rate, which implies a 17-year
      equivalent life on an aircraft that’s driven by high customer satisfaction
      combined with the fact that it’s very expensive and time consuming to
      install a new system.

(Appx1366, Appx195-197).




                                         48
           Case: 23-1058     Document: 12     Page: 66   Filed: 12/19/2022




      This Court has consistently ruled that customer stickiness supports a finding

of irreparable harm. See Bio-Rad Labs., F.3d at 1378 (“It is undeniable that [the

patentee] has suffered harm from [the infringer’s] first mover advantage and “sticky”

customer relationships.”); Metalcraft of Mayville, 848 F.3d at 1368-69 (affirming

preliminary injunction and irreparable harm where patentee could lose a potentially

lifelong customer to infringer;); Trebro, 748 F.3d at 1170 (reversing denial of

preliminary injunction, and finding irreparable harm: “Once a [customer] buys a

[infringing product], they're not going to replace it for many years.”); Apple, 809

F.3d at 645 (finding irreparable harm because lost sales are “difficult to quantify”

because of “far-reaching effect” now and in the future). Indeed, one is hard-pressed

to find more irreparable harm from the sale of an infringing product by a direct

competitor than where, as here, the patentee has, in effect, no opportunity to compete

for that customer for nearly two full decades.

             3.    The District Court Erred In Finding That Gogo’s Accused 5G
                   Network Was “Yet-To-Be Released” And SmartSky Is Not
                   Likely To Show Irreparable Harm From Lost Sales and Lost
                   Market Share
      The district court erred in ruling that SmartSky had not demonstrated that its

loss of sales or market share “are imminent as a result of Gogo’s yet-to-be released

5G Network or that its losses are non-compensable.” (Appx21). The district court

noted that SmartSky has not been irreparably harmed because it has been able to

secure at least some investment and customers. Id. But SmartSky’s sales and


                                         49
           Case: 23-1058     Document: 12      Page: 67   Filed: 12/19/2022




number of customers pales in comparison to Gogo’s sales and customers.

(Appx9797-9798, Appx9604, Appx182, Appx199, Appx281-290, Appx1003,

Appx1366-1367, Appx1419). And since Gogo announced that it is offering its 5G

product for sale, SmartSky has experienced significantly more challenges raising

new investor capital.      (Appx9568-9569, Appx9610-9612, Appx198-199). The

district court erred by implicitly requiring SmartSky to show that it has been unable

to secure any investments or customers. See Douglas Dynamics, 717 F.3d at 1344.

      The district court also abused its discretion by ignoring undisputed evidence

that Gogo, in fact, has been selling its “yet-to-be-released” 5G Network since at least

October 13, 2021, when it announced its first sale of its 5G Network to Jet Edge for

installation on 50 business aviation aircraft. (Appx757-759). Gogo has sold and

continues to sell hundreds of its AVANCE L5 systems and 5G antennas that are

required components of Gogo’s infringing 5G system.                 (Appx9797-9798,

Appx9812, Appx8122, Appx9594-9596, Appx9598-9615). In fact, Gogo’s CEO

has explained that “[a] key selling point for the AVANCE L5 platform is that the

upgrade path to our Gogo 5G network is much simpler.” (Appx1368; see also

Appx299-301, Appx8121-8123, Appx9594-9596, Appx9599, Appx9615). So even

though the Gogo 5G network may not be operational yet, Gogo’s sales of the 5G

network and the AVANCE L5 system, which has exceeded Gogo’s own

expectations, are actively harming SmartSky. (Appx9810-9811, Appx9797-9798,


                                          50
          Case: 23-1058     Document: 12      Page: 68   Filed: 12/19/2022




Appx9615). Because SmartSky and Gogo are the only two players in the relevant

IFC ATG Network market, every sale Gogo makes is a lost sale and lost market

share for SmartSky for at least seventeen years. Indeed, SmartSky’s President

testified that SmartSky will continue to lose market share and sales to Gogo if Gogo

is not enjoined. (Appx9616-9617, Appx195-198).

      This Court has ruled that losing market share to a head-to-head competitor

regarding one’s flagship product strongly supports a finding of irreparable harm.

See TEK Glob. S.R.A. v. Sealant Sys. Int’l, Inc., 920 F.3d 777, 792 (Fed. Cir. 2019)

(affirming permanent injunction where parties were direct competitors, infringing

sales caused lost sales and market share, patentee’s patented product was its central

product, focus of marketing was on patented product, and quantifying loss of market

share, brand recognition, and customer goodwill were inherently difficult); Trebro,

748 F.3d at 1170-71 (reversing district court and finding irreparable harm due to

competition in small, niche market with few competitors, and because of insufficient

weight given to patentee’s evidence of likely loss of market share and customers

where customers were “sticky” and patentee may not have opportunity at lost

customers for “many years”); i4i Ltd. Partnership v. Microsoft Corp., 598 F.3d 831,

862 (Fed. Cir. 2010) (affirming irreparable harm where parties were direct

competitors, product was patentee’s central product).




                                         51
          Case: 23-1058     Document: 12     Page: 69   Filed: 12/19/2022




      The district court also overlooked the first mover advantage Gogo has

achieved via its infringement.      Gogo has acknowledged that the ten-fold

performance increase provided by SmartSky’s patented technology (and

incorporated in Gogo 5G) will “enable rapid growth in passenger adoption.”

(Appx1186). Thus, being the first to satisfy customers’ “insatiable appetite” for

bandwidth is critically important for SmartSky, who is attempting to break into the

ATG market that Gogo has dominated for years with its inferior legacy 3G product.

(Appx1419, Appx1366, Appx195-198). Being the first to capture customers looking

to upgrade their ATG system is particularly important in this case, where customers

are very “sticky,” and on average stay with their equipment provider for seventeen

years after installation on an aircraft. See id. By virtue of its infringement, Gogo

has seized the first mover advantage and is irreparably harming SmartSky. See Bio-

Rad Labs., 967 F.3d at 1378 (patentee suffered irreparable harm due to infringer’s

“first mover advantage and ‘sticky’ customer relationships”).

      Moreover, Gogo has the advantage of being the incumbent in the market and

SmartSky is the new entrant: since 2008, Gogo has operated the only ATG network

in the United States, and deployed its ATG network equipment on more than 6,500

business aviation aircraft, which is more than 85% of the business aviation aircraft

using IFC in the U.S. See Broadcom Corp. v. Emulex Corp., 732 F.3d 1325, 1337

(Fed. Cir. 2013) (incumbency effect in small, niche market with few competitors and


                                        52
           Case: 23-1058     Document: 12     Page: 70   Filed: 12/19/2022




limited number of customers/OEMs); M-I LLC v. FPUSA, LLC, 626 F. App’x 995,

998-99 (Fed. Cir. 2015) (nonprecedential) (affirming irreparable harm where

patentee was a new entrant in a two-player market).

      Gogo’s monopoly position in the business aviation market contributes to

SmartSky’s lost sales and lost market share from Gogo’s infringement. The market

for providing IFC services on private and regional jets is a relatively small, niche

market. (Appx200, Appx306). There are a small number of OEMs, MROs/dealers,

value-added resellers, airlines, management companies, fractional fleets, and

corporate fleets that either directly or indirectly make or strongly influence the IFC

purchase decisions on the majority of business aviation and regional jet aircraft in

North America (Appx200, Appx9570-9571, Appx9620-9621, Appx306). Because

of Gogo’ relationships with many of these entities, Gogo’s sale of Gogo 5G is

preventing or significantly delaying these entities from adopting SmartSky’s ATG

network and/or working on FAA certifications for SmartSky’s equipment required

to operate its ATG network. (Id). Thus, the more time Gogo has to promote and

sell its infringing product before being enjoined, the more SmartSky will lose in

market penetration and market share. Broadcom Corp., 732 F.3d at 1337.

      The district court also erred by finding that SmartSky’s lost sales and lost

market share are compensable or speculative. Lost market share reflects lost future

sales and profits potentially in perpetuity. It is not possible to quantify damages


                                         53
           Case: 23-1058     Document: 12      Page: 71   Filed: 12/19/2022




under these circumstances over an at least seventeen-year period. See Trebro, 748

F.3d at 1170-71 (reversing trial court and ruling it was error to rule irreparable harm

was “speculative” where parties were direct competitors in a small, niche market).

Moreover, the district court erred by not crediting the testimony of SmartSky’s

economic expert who explained that the harm caused to SmartSky by Gogo’s 5G

and AVANCE L5 is not readily quantifiable. While it may be possible to calculate

the number of customers who have purchased Gogo 5G and AVANCE L5 at trial,

even with a permanent injunction, it will not be possible to determine if those

customers, after being burned by Gogo 5G, will be willing (or even have the

financial capacity) to switch over to SmartSky’s network, or when that switchover

would occur. (Appx8115-8116).

      The district court stated that SmartSky’s expert allegedly “concedes that the

loss of equipment sales and service revenue associated with consumers choosing

Gogo through the date of the trial can be determined and quantified as damages.”

(Appx19). But this overlooks Mr. Cook’s explanation that the amount of revenue

may not be determined at trial due to, for example, holdout customers who would

have installed SmartSky’s system but for Gogo’s 5G and AVANCE L5 products.

(Appx8115-8116). Importantly, SmartSky’s expert also explained that the lost

revenue after trial is difficult to determine because there no way to reasonably

estimate the number of customers who would switch from Gogo to SmartSky after


                                          54
          Case: 23-1058      Document: 12      Page: 72   Filed: 12/19/2022




trial, when that switch might occur, and what the associated revenue would be over

the long life of the product. (Appx295-298).

            4.      The District Court Erred By Finding That SmartSky Was Not
                    Likely to Show Irreparable Harm From Price Erosion

      The district court ruled that SmartSky did not present evidence of price

erosion, but instead simply made conclusory statements, concluding that “without

such evidence, it is speculation to assert that competing with a disputed infringing

product will drive down SmartSky’s prices.” Appx20.

      But SmartSky did present uncontroverted evidence of price erosion.

SmartSky’s President, Ryan Stone, testified that SmartSky would be able to charge

significantly higher prices for its ATG service than it is now if SmartSky did not

have to compete against its own technology in Gogo’s infringing 5G Network.

(Appx195, Appx302-303). At his deposition, Mr. Stone testified as follows:

             Q.    Have any SmartSky customers or potential customers
      come back in price negotiations and specifically cited Gogo’s pricing
      as a reason for seeking a price reduction from SmartSky?

            A.      Yes.

            * * *

             Q. Did any of these customers specifically use Gogo pricing as
      a basis for seeking a price reduction from SmartSky below SmartSky’s
      listed prices as shown in table 2 of Mr. Cook’s declaration?

             A. Yes, they asked for discounts and extra discounts and things
      like that. . . . [W]hat makes it painful, is that in the case of Gogo 5G, I
      really feel like I’m competing with myself and our patented technology,


                                          55
          Case: 23-1058      Document: 12     Page: 73    Filed: 12/19/2022




      and it’s – I’m having to negotiate against myself. If that didn’t exist,
      then I wouldn’t be having that conversation. So yes.

             * * *

             A.    What the customer would say is I’m looking at your
      numbers here, and what I’m paying at Gogo, you’re not showing me
      something that’s really compelling, I need you to do better, you really
      need to sharpen your pencil. What I’m paying Gogo and what you are
      offering here, glad for the performance benefits you bring, but I need
      to see the economic side too. We’ve got options, right? It’s a two
      competitor market, so they can go to Gogo.

(Appx9594, Appx9597, Appx9599, Appx9602-9603).

      Contrary to the district court’s finding, Mr. Stone’s uncontroverted testimony

and Declaration establish that SmartSky has suffered price erosion due to Gogo’s

infringement. See Robert Bosch, 659 F.3d at 1155-56 (reversing district court and

finding irreparable harm where testimony of price erosion was unrebutted); BlephEx,

24 F.4th at 1405-06 (affirming finding of price erosion due to competition from

direct competitor).

      The relative positions of the parties further support a finding of price erosion.

SmartSky is the new market entrant, while Gogo has had an effective monopoly in

the ATG market for the past 14 years. (Appx9603-9604, Appx9620). For SmartSky

to compete against such an established incumbent (in addition to competing against

its own technology), it is forced to lower its prices more than it would otherwise to

attract customers. (Appx9598-9599).




                                         56
           Case: 23-1058     Document: 12      Page: 74   Filed: 12/19/2022
                   CONFIDENTIAL MATERIAL REDACTED


             5.     The District Court Erred By Finding That SmartSky Is Not
                    Likely to Show Irreparable Harm From Lost R&D and
                    Investments

      In a one sentence, the district court ruled that SmartSky’s assertions of lost

R&D and investments (past and future) were “speculative” and therefore “could not

be grounds for finding irreparable harm without additional evidence.” (Appx21).

The district court erred by ignoring SmartSky’s concrete, unrebutted evidence of

harm in the hundreds of millions of dollars. SmartSky presented unrebutted factual

evidence that it has spent more than $ amount         researching and developing its

proprietary ATG network technology. (Appx198-199). At the time of briefing in

May 2022, SmartSky had also spent about $ amount              building out its nationwide

ATG network with equipment on approximately 330 towers in order to enter the IFC

market. (Id). To recoup this investment will require many years of profits, of which

only a relatively small portion may be quantified at trial.

      As a startup attempting to break into the market and recoup its investments,

SmartSky’s nearly      $ amount       in investments to invent and develop the

technology, and build out its nationwide network establishes irreparable harm. See

Douglas Dynamics, 717 F.3d at 1344-45; Nevro Corp. v. Stimwave Techs., Inc., 2019

WL 3322368, *14 (D. Del. Jul. 24, 2019) (finding irreparable harm where patentee

“spent hundreds of millions of dollars to bring its [patented product] to market” and

“all of [its] research and development is directed towards” its patented product).



                                          57
          Case: 23-1058     Document: 12     Page: 75   Filed: 12/19/2022




SmartSky’s only competitor has stolen SmartSky’s groundbreaking technology and

thereby greatly reduced SmartSky’s ability to get a necessary and significant

foothold in the market that SmartSky created. The harm is particularly irreparable

because the infringement relates to SmartSky’s flagship product that is the focus of

its marketing. See TEK, 920 F.3d at 792 (finding irreparable harm where patented

product was patentee’s central product and focus of marketing).

      Also, by taking SmartSky’s market share and eroding prices, Gogo has

significantly impaired SmartSky’s ability to obtain investors for current and future

operations of its network and invest in future R&D. (Appx9568-9569, Appx9610-

9612, Appx9618).

            6.     The District Court Erred By Finding That SmartSky Did Not
                   Suffer Irreparable Harm To Its Reputation As An Innovator
                   And To Its Goodwill With Customers

      The district court erred by not crediting undisputed evidence that Gogo’s

infringing 5G system has caused irreparable harm to SmartSky’s reputation as an

innovator. Instead, the district court ruled that any harm to SmartSky’s reputation

was “speculative.” (Appx21).

      This Court has often ruled that a patentee’s “reputation as an innovator will

certainly be damaged if customers found the same ‘innovations’ appearing in

competitors’ [products].” Douglas Dynamics, 717 F.3d at 1344-45; see also Tinnus

Enterprises, LLC v. Telebrands Corp., 846 F.3d 1190, 1208 (Fed. Cir. 2017)



                                        58
           Case: 23-1058     Document: 12     Page: 76   Filed: 12/19/2022




(“persisting harm to [patentee]’s reputation and tarnishes its status as the innovator

in the market”) (citing Celsis In Vitro, Inc. v. CellzDirect, Inc., 664 F.3d 922, 930

(Fed. Cir. 2012)). This irreparable harm is particularly acute because of the head-

to-head competition, because this is SmartSky’s flagship product and its marketing

campaign is focused on its transformative technology with a ten-fold improvement

in performance covered by its patents, and because Gogo’s infringement is in the

market that SmartSky created. See Douglas Dynamics, 717 F.3d at 1345; Tinnus,

846 F.3d at 1208 (tarnished reputation as innovator is irreparable harm); i4i, 598

F.3d at 862; Nevro, 2019 WL 3322368 at *14; Apple, 809 F.3d at 648 (Reyna, J.

(concurring) ( “toe-to-toe competition between Apple and Samsung, Apple’s

reputation as an innovator, and the importance of the patents-in-suit to that

reputation—establishes that Apple will likely suffer irreparable harm to its

reputation”).

      SmartSky presented unrebutted evidence through deposition testimony and

declarations that Gogo and SmartSky are direct competitors and Gogo has caused

harm to SmartSky’s reputation. SmartSky spent ten years as a startup building its

reputation as an innovator and inventor of its patented, breakthrough technology.

(Appx198-199).     SmartSky’s breakthrough technology has garnered positive

attention from investors and the aviation industry who long awaited an IFC service

that offers broadband connectivity similar to that found on the ground. (Appx186-


                                         59
           Case: 23-1058     Document: 12      Page: 77    Filed: 12/19/2022
                   CONFIDENTIAL MATERIAL REDACTED


187, Appx725-729, Appx736-740, Appx746-747, Appx4486, Appx304). Because

of these technologies and the publicity surrounding them, SmartSky had been able

to raise more than $ amount        in capital—most of which occurred before Gogo

began selling its 5G system—from investors who expect SmartSky to make

significant gains in the IFC business aviation market. (Appx187-188. Appx196-197,

Appx304). But Gogo’s infringing 5G system, which uses SmartSky’s patented

technology to provide similarly improved performance, has made those gains less

certain, and hindered SmartSky’s ability to obtain further investment. (Appx9568-

9569, Appx9610-9611, Appx9618).           The importance of SmartSky’s patented

technology cannot be overstated, and is why SmartSky makes its patented

technology the overwhelming focus of all its marketing efforts. SmartSky also has

not offered to license its patents as it wants to be the exclusive provider of its game-

changing technology. (Appx201). It is only through these patented technologies

that SmartSky has an ATG network with which to enter the IFC business aviation

market. (Appx188-199, Appx304). SmartSky’s earned reputation as an innovator,

ability to secure new investors on favorable terms, and goodwill, will continue to

suffer permanent and irreparable damage from Gogo’s infringement. (Appx9611-

9613, Appx189, Appx198-199, Appx304-305, Appx9616).




                                          60
           Case: 23-1058     Document: 12      Page: 78   Filed: 12/19/2022




             7.     Gogo’s Infringement Is Causing The Irreparable Harm To
                    SmartSky

      Gogo has not disputed that a nexus exists between the alleged patent

infringement and SmartSky’s irreparable harm.          SmartSky’s patented features

relating to beamforming, reusing spectrum, seamless handoffs, increased speed and

capacity of the air-to-ground network from using unlicensed spectrum, and horizon-

oriented antenna patterns drive consumer demand for SmartSky’s ATG network and

Gogo’s infringing 5G network. (Appx232-240, Appx290-295, Appx8130). Gogo

acknowledges that consumers are demanding the increased speed with the ability to

use high-bandwidth applications such as videoconferencing, which requires not just

additional bandwidth, but increased speed in both upload and download directions,

as well as reduced latency and interference. (Appx282-283, Appx289-291). And

industry experts agree. (Appx294, Appx2671-2675, Appx4428-4439). The ability

to meet these consumer demands is made possible by SmartSky’s patented features.

Use of beamforming, which is recited in the asserted ‘947 and ‘417 Patent Claims,

allows base stations to allocate a single beam to a single aircraft, which allows users

on the aircraft to enjoy data rates that can accommodate high-bandwidth applications

without having to share signal with users on other planes. (Appx233-234.) In

addition, the base stations can generate multiple beams that reuse the same spectrum

without interfering with each other. (Id.) And the unlicensed spectrum opens up 60

MHz of bandwidth, which is 20 times larger than Gogo’s legacy operating


                                          61
          Case: 23-1058     Document: 12      Page: 79   Filed: 12/19/2022




bandwidth, as Gogo’s own marketing documents explain. (Appx285, Appx291-

292). Moreover, the use of seamless handoffs between beams of different base

stations allows consumers to maintain their videoconference regardless of which

beam or base station is enabling the communication link. (Appx233). Gogo again

cites the “uninterrupted connectivity” of its 5G network in its marketing materials

(Appx291, Appx247-248) and publicly states that its 5G product greatly enhances

performance and provides “a quality home or office like connectivity experience in-

flight.” (Appx9812). Thus, as confirmed by its own statements, Gogo’s infringing

use of SmartSky’s technology is irreparably harming SmartSky.

V.    CONCLUSION AND PRAYER FOR RELIEF

      This Court should reverse the district court’s Preliminary Injunction

Order. Alternatively, at a minimum, this Court should reverse the Preliminary

Injunction Order with respect to irreparable harm, and vacate and remand with

respect to likelihood of success on the merits, so the district court can assess this

factor under the correct constructions of the claim terms discussed herein.

Date: December 19th, 2022                     Respectfully submitted

                                              /s/ Lance A. Lawson
                                              Lance A. Lawson
                                              BURR & FORMAN, LLP
                                              101 South Tyron Street, Suite 2610
                                              Charlotte, NC 28280
                                              (704) 347-1170
                                              llawson@burr.com



                                         62
Case: 23-1058   Document: 12   Page: 80   Filed: 12/19/2022




                               Ryan M. Corbett
                               BURR & FORMAN, LLP
                               201 N. Franklin St, Suite 3200
                               Tampa, Florida 33602
                               (813) 221-2626
                               rcorbett@burr.com

                               Jack B. Blumenfeld
                               Rodger D. Smith II
                               1201 North Market Street
                               P.O. Box 1347
                               Wilmington DE 19899
                               (302) 658-9200
                               blumenfeld@morrisnichols.com
                               rsmith@morrisnichols.com

                               Attorneys for Plaintiff-Appellant
                               SmartSky Networks LLC




                          63
Case: 23-1058   Document: 12   Page: 81   Filed: 12/19/2022




           ADDENDUM
              Case: 23-1058           Document: 12         Page: 82        Filed: 12/19/2022




                                     TABLE OF CONTENTS

                                                                                          Appendix Page

Order of
The United States District Court for the District of Delaware
     filed September 26, 2022 ..................................................................... Appx1

Memorandum Opinion of
The United States District Court for the District of Delaware,
     filed September 26, 2022 ..................................................................... Appx2

U.S. Patent No. 9,312,947 B2
      dated April 12, 2016........................................................................... Appx31

U.S. Patent No. 11,223,417 B2
      dated January 11, 2022 ..................................................................... Appx47

U.S. Patent No. 10,257,717 B2
      filed April 9, 2019 ............................................................................... Appx63

U.S. Patent No. 9,730,077 B2
      filed August 8, 2017............................................................................ Appx78

                        CONFIDENTIAL MATERIAL OMITTED

Confidential Material Subject to The Protective Order Entered by The District
Court in This Matter Has Been Omitted from The Memorandum Opinion Included
At Page Appx20 Of The Addendum, And From Appellant’s Brief At Pages 12, 27,
45, 57, and 60. The Material Omitted Contains Confidential Business Information
And Confidential Deposition Testimony. The Confidential Version of The
Memorandum Order Is Included at Pages Appx2-21 Of The Addendum.




                                                    Addi
Case 1:22-cv-00266-GBW
           Case: 23-1058 Document 11412Filed
                           Document:         09/26/22
                                           Page:      Page 12/19/2022
                                                 83 Filed: 1 of 1 PageID #: 19187




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  SMARTSKY NETWORKS, LLC,

                                 Plaintiff,

                           V.
                                                         Civil Action No. 22-266-GBW
  GOGO BUSINESS AVIATION, LLC and
  GOGOINC.,

                                Defendants.



                                              ORDER

 At Wilmington this 26th day of September 2022:

        For the reasons set forth in the Memorandum Opinion issued this day, IT IS HEREBY

 ORDERED that Defendants Gogo Business Aviation, LLC, and Gogo Inc.' s Motion to Strike

 Improper Reply Arguments from D.I. 85 and D.I. 86 (D.I. 97) is DENIED. Plaintiff SmartSky

Networks, LLC's Motion for Preliminary Injunction (D.I. 6) also is DENIED.

        Because the Memorandum Opinion is filed under seal, the parties shall meet and confer

 and, no later than October 3, 2022, submit a joint proposed redacted version, accompanied by a

 supporting memorandum, detailing how, under applicable law, the Court may approve any

 requested redactions. In the absence of a timely, compliant requ st,        will unseal the entire

 opinion.



                                                                        GREGORYB. WILLIAMS
                                                                          U.S. DISTRICT JUDGE




                                              Appx1
¡¢£¤¤¥¦§Case:
           ¥¨¨¤©©23-1058
                  ¥ª«¬¡¡¡­®¦Document:
                            ¯° ±²¡¢¢©¡12¡¡³µ́¶Page:
                                               ¡¢¨·¨¸84·¤¤¡¡¡Filed:
                                                             ¹º ¡¢12/19/2022
                                                                    ¡®»¡¤¨¡¹º ¼­¡½£¡¢¾¤¿¿

                01234 2516378293 37928693 32 532
                     23 2893 3228 72
  9 3923 92 2
                     !"2
                        #$%
                                                    32456216728898::;&'2
  & & 2'59(7992)03612 2*+2
  & & , -2                                        8 3825'62)961
                                                   8 382 3 '22888
                  8./.+0122

 <4=2'>2'?@A.B.+26+C.D28>29A5E2F2 0921G 92H 9G32I2J511722
 AC0628.KL.M2*4.2N2K162'5O2I2 PQ 22EL6R.216STU2L6VM2
 WX2Y2 6SZR2'5O2I2 [ 223\]26S+^M27D=2_2@=W`a2b6c 7&12
 4 1879 12b ' d2&OOe332I28f eg2hh262i!62jklm2
              nopqrstouvwsxyz{y|v
 .W27N2} V23W.D27~2SCC2&D2N294E6.@A2 G 892 3 12I261&72
  2?AC0628.KL.M23E6A12872.290.]E.2726E215E*.2N263.2<@2&232
 972593122E4C620612
              nopqrvouvrrzzv




                              
 9.]0.AZS28:28882
 ?AC0628.KL.2

                                         ÀÁÁÂÃ
¡¢£¤¤¥¦§Case:
           ¥¨¨¤©©23-1058
                  ¥ª«¬¡¡¡­®¦Document:
                            ¯° ±²¡¢¢©¡12¡¡³µ́¶Page:
                                               ¡¢¨·¨¸85·¤¤¡¡¡Filed:
                                                             ¹º ¡¤12/19/2022
                                                                    ¡®»¡¤¨¡¹º ¼­¡½£¡¢¾¤¿¸


                                                                       GREGORY B. WILLIAMS
                                                                         U.S. DISTRICT mDGE

        Pending before this Court is Defendants Gogo Business Aviation, LLC, and Gogo Inc.' s

 ("Gogo") Motion to Strike sections from PlaintiffSmartSky Networks, LLC's ("SmartSky") reply

 brief in support of SmartSky' s Motion for a Preliminary Injunction and from the accompanying

 supplemental declaration of Dr. Steven Goldberg, SmartSky's technical expert (D.I. 97), and

 SmartSky's Motion for Preliminary Injunction (D.I. 6). For the reasons set forth below, the Court

 will deny Gogo's Motion to Strike and SmartSky's Motion for Preliminary Injunction.

 I.     BACKGROUND

        On February 28, 2022, SmartSky brought this lawsuit against Gogo alleging infringement

 of United States Patent Nos. 9,312,947 (the "'947 patent"), 11 ,223,417 (the "'417 patent"),

 10,257,717 (the "'717 patent"), and 9,730,077 (the "'077 patent"). D.I. 1. On the same day,

 SmartSky moved for a preliminary injunction seeking to enjoin Gogo from making, using, offering

 to sell, or selling its 5G Network. D.I. 6. Toe parties stipulated to a limited discovery schedule,

 permitting the parties to serve limited document requests and interrogatories and take the

 depositions of each parties' declarants. D.I. 40. Toe stipulation was entered by this Court on

 March 23, 2022. D.I. 41. Gogo filed its answering brief in opposition to SmartSky's Motion for

 Preliminary Injunction on May 5, 2022 (D.I. 76), and SmartSky filed its reply brief on June 3,

 2022 (D.I. 93). On June 17, 2022, Gogo filed a Motion to Strike Sections II.A.1 and II.A.2 from

 SmartSky's reply brief and 11 20-45, 47-57, 65-66, and 70-119 from Dr. Goldberg' s rebuttal

 declaration filed with SmartSky's reply brief. D.I. 97. SmartSky filed its answering brief in

 opposition to Gogo's Motion to Strike on July 1, 2022 (D.I. 106), and Gogo filed its reply brief on

 July 15, 2022 (D.I. 110).



                                                 1
                                              ÀÁÁÂÄ
¡¢£¤¤¥¦§Case:
           ¥¨¨¤©©23-1058
                  ¥ª«¬¡¡¡­®¦Document:
                            ¯° ±²¡¢¢©¡12¡¡³µ́¶Page:
                                               ¡¢¨·¨¸86·¤¤¡¡¡Filed:
                                                             ¹º ¡¿12/19/2022
                                                                    ¡®»¡¤¨¡¹º ¼­¡½£¡¢¾¤¿Å

 II.    LEGAL STANDARD

        Delaware Local Rule 7.1.3(c)(2) provides, in relevant part, that "[t]he party filing the

 opening brief shall not reserve material for the reply brief which should have been included in a

 full and fair opening brief." D. Del. LR 7 .1.3(c)(2). "This provision exists, in part, to prevent

 litigants from engaging in impermissible 'sandbagging,' reserving crucial arguments for a reply

 brief to which an opponent cannot respond." Fifth Mkt., Inc. v. CME, Grp., Inc., C.A. No. 08-520-

 GMS, 2013 WL 3063461, at *1 n.2 (D. Del. June 19, 2013) (citing Rockwell Techs., LLC v.

 Spectra-Physics Lasers, Inc., C.A. No. 00-589-GMS, 2002 WL 531555, at *3 (D. Del. Mar. 26,

 2002)). Arguments and evidence submitted in violation of this rule may be excluded. See Bos.

 Sci. Scimed, Inc. v. Cordis Corp., 434 F. Supp. 2d 308,314 (D. Del. June 15, 2006), rev'dinpart

 on other grounds, 554 F.3d 982 (Fed. Cir. 2009). But, a party does not violate this provision when

 the new material in its reply brief responds to arguments raised in the answering brief. Id. ; see

 also Cornell Univ. v. fllumina, Inc., C.A. No. 10-433-LPS-MPT, 2018 WL 11427960, at *4 n.48

 (D. Del. Feb. 23, 2018) ("[E]verything in plaintiffs' reply memorandum is either in the original

 brief or in response to defendants' arguments ... Therefore, defendants' motion is denied.") (citing

 In re Fleming Co., Inc., 316 B.R. 809, 815 n.3 (D. Del. 2004)).

        Preliminary injunctive relief is an "extraordinary" remedy appropriate only in "limited

 circumstances." Kos Pharms., Inc. v. Andrx Corp., 369 F.3d 700, 708 (3d Cir. 2004) (citation

 omitted); see also Intel Corp. v. ULSI Sys. Tech. , Inc., 995 F.2d 1566, 1568 (Fed. Cir. 1993) ("[A]

 preliminary injunction is a drastic and extraordinary remedy that is not to be routinely granted.")

 (citations omitted); accord Cordis Corp. v. Medtronic, Inc., 780 F.2d 991, 996 (Fed. Cir. 1985)

 ("Only a viable threat of serious harm which cannot be undone authorizes exercise of a court's

 equitable power to enjoin before the merits are fully determined.") (internal quotation marks and



                                                  2
                                              ÀÁÁÂÆ
¡¢£¤¤¥¦§Case:
           ¥¨¨¤©©23-1058
                  ¥ª«¬¡¡¡­®¦Document:
                            ¯° ±²¡¢¢©¡12¡¡³µ́¶Page:
                                               ¡¢¨·¨¸87·¤¤¡¡¡Filed:
                                                             ¹º ¡¸12/19/2022
                                                                    ¡®»¡¤¨¡¹º ¼­¡½£¡¢¾¤¿©

 citations omitted). However, the Patent Act expressly provides that courts "may grant injunctions

 in accordance with the principles of equity to prevent the violation of any right secured by patent,

 on such terms as the court deems reasonable." 35 U.S.C. § 283.

         A movant for a preliminary injunction pursuant to 35 U.S.C. § 283 must establish: "(1) a

 reasonable likelihood of success on the merits; (2) irreparable harm if an injunction is not granted;

 (3) a balance of hardships tipping in its favor; and (4) the injunction's favorable impact on the

 public interest." Amazon.com, Inc. v. Barnesandnoble.com, Inc., 239 F.3d 1343, 1350 (Fed. Cir.

 2001) (citation omitted). No one of these factors is dispositive; "rather, the district court must

 weigh and measure each factor against the other factors and against the form and magnitude of the

 relief requested." Id (quoting Hybritech, Inc. v. Abbott Labs., 849 F.2d 1446, 1451 (Fed. Cir.

 1988)). However, "a movant cannot be granted a preliminary injunction unless it establishes both

 of the first two factors, i.e., likelihood of success on the merits and irreparable harm." Id

 (emphasis in original) (citations omitted). Moreover, "[w]hile granting a preliminary injunction

 requires analysis of all four factors,   Da trial court may ... deny a motion based on a patentee's
 failure to show any one of the four factors-especially either of the first two-without analyzing

 the others[.]" Jack Guttman, Inc. v. KopyKake Enters. , Inc. , 302 F.3d 1352, 1356 (Fed. Cir. 2002)

 (citations omitted); see also Chrysler Motors Corp. v. Auto Body Panels of Ohio, Inc., 908 F.2d

 951, 953 (Fed. Cir. 1990) ("If the injunction is denied, the absence of an adequate showing with

 regard to any one factor may be sufficient, given the weight or lack of it assigned the other factors,

 to justify the denial.").




                                                    3
                                                 ÀÁÁÂÇ
¡¢£¤¤¥¦§Case:
           ¥¨¨¤©©23-1058
                  ¥ª«¬¡¡¡­®¦Document:
                            ¯° ±²¡¢¢©¡12¡¡³µ́¶Page:
                                               ¡¢¨·¨¸88·¤¤¡¡¡Filed:
                                                             ¹º ¡Å12/19/2022
                                                                    ¡®»¡¤¨¡¹º ¼­¡½£¡¢¾¤¿È

 III.   DISCUSSION

        SmartSky's reply brief in support of its Motion for Preliminary Injunction and the

 accompanying rebuttal declaration by Dr. Goldberg are responsive to Gogo's arguments raised in

 its answering brief. Thus, the Court will deny Gogo's Motion to Strike portions of SmartSky's

 reply brief in support of SmartSky's Motion for Preliminary Injunction and from the

 accompanying rebuttal declaration of Dr. Goldberg. With respect to SmartSky's Motion for

 Preliminary Injunction, SmartSky failed to carry its burden of demonstrating a likelihood of

 success on the merits and that it will be irreparably harmed if an injunction is not granted. Thus,

 the Court will deny SmartSky's Motion for Preliminary Injunction.

        A. Motion to Strike

        Gogo contends SmartSky's reply brief in support of its preliminary injunction "abandons

 SmartSky's original interpretations of its claims, and advances new infringement theories under

 new, and much broader, interpretations of its claims, none of which were mentioned in SmartSky's

 motion." D.I. 98 at 1. Gogo asserts two arguments. First, Gogo alleges portions of SmartSky's

 reply brief and Dr. Goldberg's rebuttal declaration present a new interpretation of the "continuous

 and uninterrupted" limitation in the '947 patent and the '417 patent. Id at 8-13. Second, Gogo

 alleges portions of SmartSky's and Dr. Goldberg's rebuttal declaration present an improper new

 theory of infringement for the '717 patent regarding the number of radios required by the claims

 and handovers between base stations. Id at 13-16.

        The infringement arguments contained in SmartSky's reply brief in support of its

 preliminary injunction and Dr. Goldberg's rebuttal declaration are consistent with SmartSky's

 opening brief and respond to arguments raised in Gogo' s answering brief. In SmartSky' s opening

 brief, it asserted that Gogo's 5G Network infringes claims 1 and 11 of the '947 patent because



                                                 4
                                              ÀÁÁÂÉ
¡¢£¤¤¥¦§Case:
           ¥¨¨¤©©23-1058
                  ¥ª«¬¡¡¡­®¦Document:
                            ¯° ±²¡¢¢©¡12¡¡³µ́¶Page:
                                               ¡¢¨·¨¸89·¤¤¡¡¡Filed:
                                                             ¹º ¡©12/19/2022
                                                                    ¡®»¡¤¨¡¹º ¼­¡½£¡¢¾¤¿Ê

                 [t]he different communication links provided by Gogo's 5G network
                 are high speed links that are "maintained continuous and
                 uninterrupted" while the aircraft transitions between steerable
                 beams of different base stations having overlapping coverage areas.
                 For example, Gogo's 5G system conducts "make before break"
                 handoffs, which allow for uninterrupted connectivity to passengers.

 D.I. 24 at 8.

         In support of SmartSky's opening brief, Dr. Goldberg stated:

                 Gogo' s "make before break" handoffs are one example of a
                 communication link that is "maintained continuous and
                 uninterrupted in time." Additionally, Gogo marketing literature
                 states that the system provides ''uninterrupted connectivity" to
                 passengers.

 D.I. 26 at 1 102.

         Gogo responded in its answering brief that "Gogo' s 5G Network will use a 'break-then-

 make' handover" and "[s]uch handovers are discontinuous and contain an interruption in time."

 D.I. 76 at 6. Gogo concludes that, because its 5G Network uses a "break-then-make" handover, it

 does not infringe SmartSky's asserted patents. Id In response, SmartSky states that, even if

 Gogo's 5G Network uses a "break-then-make" handover, "Gogo' s technical documents confirm

 that 5G network handovers are conducted to maintain the continuity of the connection between the

 base stations and the aircraft." D.I. 93 at 1. SmartSky also filed a rebuttal report by Dr. Goldberg

 providing details about how a "break-then-make" handover meets the claim requirement

 "continuous and uninterrupted in time." See D.I. 94.

         In support of its Motion to Strike, Gogo contends that SmartSky is asserting a new

 infringement theory and deviating from SmartSky' s original argument that "continuous and

 uninterrupted in time" requires a "make before break" handoff. D.I. 98 at 8. SmartSky and Dr.

 Goldberg never argued that the "continuous and uninterrupted in time" claim limitation requires a

 "make before break" handoff.     Dr. Goldberg stated that "make before break" handoffs "are one


                                                  5
                                              ÀÁÁÂË
¡¢£¤¤¥¦§Case:
           ¥¨¨¤©©23-1058
                  ¥ª«¬¡¡¡­®¦Document:
                            ¯° ±²¡¢¢©¡12¡¡³µ́¶Page:
                                               ¡¢¨·¨¸90·¤¤¡¡¡Filed:
                                                             ¹º ¡È12/19/2022
                                                                    ¡®»¡¤¨¡¹º ¼­¡½£¡¢¾¤¿¾

 example of a communication link that is 'maintained continuous and uninterrupted in time,"' and

 SmartSky noted that Gogo's 5G Network meets the claim elements of 1 and 11 of the '917 patent,

 ''for example," by conducting make before break handoffs. See D.I. 24 at 8; D.I. 26 at, 102

 (emphases added). SmartSky's reply brief and Dr. Goldberg's rebuttal declaration are responsive

 to Gogo's argument that Gogo's 5G Network does not infringe SmartSky's patents because Gogo's

 5G Network uses a "break then make" handover.

        With respect to the '717 patent, SmartSky argued in its opening brief in support of its

 preliminary injunction that Gogo's 5G Network meets claims 1 and 12 of the '717 patent because

 Gogo's 5G Network has "a base station that employs unlicensed spectrum in the 2.4 GHz band,

 and another base station that employs licensed spectrum in the 850 MHz band." D.I. 24 at 9. Dr.

 Goldberg submitted a declaration stating the same. See D.I. 26. In response, Gogo refutes

 SmartSky's infringement argument by asserting that the claim language in the '717 patent only

 requires the use of a single radio and contending the aircraft equipment used for Gogo's 5G

 Network "will consist of two radios, one communicating on unlicensed spectrum and other

 communicating on licensed spectrum." D.I. 76 at 8. Gogo also states that there are "no handovers

 in the Gogo 5G Network between a first base station employing unlicensed spectrum and a second

 base station employing licensed spectrum, or vice versa[.]" D.I. 76 at 8. Again, SmartSky's reply

 brief merely responds to Gogo's non-infringement arguments. Specifically, in SmartSky's reply

 brief, it refutes Gogo's argument that the claims in the '717 patent require a single radio and

 Gogo's handover argument. D.I. 93 at 3-4.

        Thus, because SmartSky and Dr. Goldberg's rebuttal declaration is responsive to Gogo's

 arguments made in its answering brief, SmartSky's reply brief does not violate Local Rule

 7.l.3(c)(2). Accordingly, Gogo's Motion to Strike is denied.



                                                6
                                             ÀÁÁÂÌ
¡¢£¤¤¥¦§Case:
           ¥¨¨¤©©23-1058
                  ¥ª«¬¡¡¡­®¦Document:
                            ¯° ±²¡¢¢©¡12¡¡³µ́¶Page:
                                               ¡¢¨·¨¸91·¤¤¡¡¡Filed:
                                                             ¹º ¡Ê12/19/2022
                                                                    ¡®»¡¤¨¡¹º ¼­¡½£¡¢¾¤¸¨

        B. Preliminary Injunction

                 i. Likelihood of Success on the Merits

        When seeking a preliminary injunction in an infringement suit, the patentee "must show

 that it will likely prove infringement, and that it will likely withstand challenges, if any, to the

 validity of the patent." Titan Tire Corp. v. Case New Holland, Inc., 566 F.3d 1372, 1376 (Fed.

 Cir. 2009). With respect to infringement, the court adheres to the same two-step analysis used at

 other stages of the case. See Waters Corp. v. Agilent Techs, Inc., 410 F. Supp. 3d 702, 708 (D.

 Del. 2019). First, the court determines the asserted claim scope. Amazon.com, Inc., 239 F.3d at

 1351. Second, "the properly construed claim is compared with the accused device to determine

 whether all of the claim limitations are present either literally or by a substantial equivalent." Id

 When examining invalidity, the court will compare the asserted claims, as construed, to the prior

 art. Waters Corp., 410 F. Supp. 3d at 708.

        A defendant may succeed in defeating a patentee's motion for a preliminary injunction if

 it raises a "substantial question" as to infringement or invalidity of the patent-in-suit. Amazon.com,

 Inc., 239 F.3d at 1350. A "substantial question" means that the defendant "asserts an infringement

 or invalidity defense that the patentee cannot prove 'lacks substantial merit."' Id at 1350-51

 (quoting Genentech, Inc. v. NovoNordiskAIS, 108 F.3d 1361, 1364 (Fed. Cir. 1997)).

        SmartSky argues that Oogo's 50 Network literally infringes claims 1 and 11 of the '947

 patent and the '41 7 patent, as well as literally infringing claims 1 and 12 of the '717 patent and

 claims 1 and 2 of the '077 patent. D.I. 24 at 7-10. However, rather than offering a substantive

 analysis of Oogo's accused 50 Network on a claim-by-claim basis, SmartSky's motion is littered

 with conclusory assertions and numerous citations to hundreds of pages of expert declarations.




                                                   7
                                               ÀÁÁÂÍ
¡¢£¤¤¥¦§Case:
           ¥¨¨¤©©23-1058
                  ¥ª«¬¡¡¡­®¦Document:
                            ¯° ±²¡¢¢©¡12¡¡³µ́¶Page:
                                               ¡¢¨·¨¸92·¤¤¡¡¡Filed:
                                                             ¹º ¡¾12/19/2022
                                                                    ¡®»¡¤¨¡¹º ¼­¡½£¡¢¾¤¸¢

        In response, Gogo asserts three noninfringement arguments. D.I. 76 at 5-8. First, Gogo's

 5G Network does not infringe claims 1 and 11 of the '947 patent and '417 patent because it does

 not maintain "continuous and uninterrupted in time" communication links between the aircraft and

 the air-to-ground ("ATG") base stations. Id. at 5-7. Second, and closely related to the first

 argument, Gogo's 5G Network cannot infringe claims 1 and 12 of the '717 patent because it

 utilizes two aircraft radios communicating with the ATG base stations that employ both licensed

 and unlicensed spectrum. Id at 7-8 (emphasis added). Third, Gogo's 5G Network does not

 infringe claims 1 and 2 of the '077 patent because it lacks the "plurality of terrestrial base stations"

 limitation. Id. at 8. In addition to its noninfringement positions, Gogo argues that the '717 patent

 and the '077 patent are invalid for indefiniteness pursuant to 35 U.S.C. § 112, while the '077 patent

 is further invalid as obvious in view of Gogo's own prior art.

                        1. The '947 and the '417 Patents

        The parties' respective briefing offers little argument as to the scope of the asserted claims

 of the '94 7 patent and the '417 patent. Nevertheless, the crux of the dispute on infringement is

 whether claims 1 and 11 of the '947 patent and the '417 patent encompass communication link

 handovers between an aircraft's radio and ATG base stations that are continuous and uninterrupted

 in time. SmartSky argues that Gogo's 5G Network infringes claim 1 and 11 because it uses "high

 speed links that are 'maintained continuous and uninterrupted' while the aircraft transitions

 between steerable beams of different base stations having overlapping coverages." D.I. 24 at 8.

 In response, Goga argues that claims 1 and 11 require the aircraft's radio to make a communication

 link with a subsequent ATG base station before breaking the link with the current ATG base

 station-a "break-then-make" handoff--to meet the continuous and uninterrupted in time

 limitation. D.I. 76 at 5-6. SmartSky responds that short physical layer breaks with the aircraft's



                                                    8
                                               ÀÁÁÂÎÏ
¡¢£¤¤¥¦§¥Case:
            ¨¨¤©©23-1058
                  ¥ª«¬¡¡¡­®¦Document:
                            ¯° ±²¡¢¢©¡¡12¡³µ́¶Page:
                                              ¡¢¨·¨¸93
                                                    ·¤¤¡¡¡¹ º ¡¢12/19/2022
                                                          Filed: ¨¡®»¡¤¨¡¹º ¼­¡½£¡¢¾¤¸¤

  radio and ATG base stations are continuous and uninterrupted in time because the higher layer

  communications links between the aircraft and the user is maintained. D.I. 93 at 1-3.

         On this record, there is no reason to depart from the plain and ordinary meaning of the

  claim language. See Aventis Pharm. Inc. v. Amino Chem. Ltd., 715 F.3d 1363, 1373 (Fed. Cir.

  2013) ("There is a heavy presumption that claim terms are to be given their ordinary and customary

  meaning."). Claim 1 recites, in relevant part:

                 wherein the respective different communication links are high speed
                  data communications links that are enabled to be maintained
                  continuous and uninterrupted in time while one of the respective
                  different in-flight communication nodes transitions between a first
                  steerable beam associated with a first coverage area defined by the
                  network base station and a second steerable beam associated with
                  a second coverage area defined by another network base station.

  '94 7 patent at claim 1; '417 patent at claim 1.

  Claim 11 recites, in relevant part:

                 wherein the respective different communication links are high speed
                  data communications links that are enabled to be maintained
                  continuous and uninterrupted in time while one of the respective
                  different in-flight communication nodes transitions between
                  corresponding steerable beams associate with respective ones of
                  the coverage areas defined by the at least two base stations.

  '94 7 patent at claim 11; '417 patent at claim 11.

         A "high speed data communications links" that is maintained "continuous and

  uninterrupted in time" is one that is continuously maintained between the aircraft and the

  ground-the ATG base stations. See, e.g., '947 patent at 4:67-5:2 ("The system may be

  accessed directly by an individual aboard an aircraft via a direct communication link that

  is continuous and uninterrupted in time with the ground."). This preliminary construction

  is consistent with the portions of the prosecution history cited by SmartSky. Specifically,

  during the prosecution of the '94 7 patent, SmartSky distinguished prior art that


                                                       9
                                                ÀÁÁÂÎÎ
¡¢£¤¤¥¦§¥Case:
            ¨¨¤©©23-1058
                  ¥ª«¬¡¡¡­®¦Document:
                            ¯° ±²¡¢¢©¡¡12¡³µ́¶Page:
                                              ¡¢¨·¨¸94
                                                    ·¤¤¡¡¡¹ º ¡¢12/19/2022
                                                          Filed: ¢¡®»¡¤¨¡¹º ¼­¡½£¡¢¾¤¸¿

  contemplated termination of the communication link between the ground-the ATG base

  station-and the aircraft. See D.I. 94 at 1 35; see also D.I. 77 at 11 57-80. Thus,

  considering the record before the Court, the "continuous and uninterrupted in time"

  limitation is encompassed by a continuous communication link between the aircraft and

  the ATG base station-a "make-before-break" handover-rather than a "continuous and

  uninterrupted in time" connectivity link between the aircraft and the user.

         Next, the parties offer differing analyses of how Gogo's 5G Network works.

  SmartSky's experts assert that Gogo's 5G Network employs a "make-before-break"

  handover between the aircraft and the first and second base stations, allowing for

  "continuous and uninterrupted" connectivity between the aircraft and the base stations.

  D.I. 24 at 8; D.I. 26 at 11 102-103.       Gogo argues that these conclusions rely on

  misinterpretations of non-technical panel discussions and third-party misstatements rather

  than Gogo's technical documents. D.I. 76 at 6-7. Instead, Gogo's own experts aver that

  its 5G Network implements "break-before-make" handovers that require a physical

  disconnection between the aircraft and the first base station prior to connecting to the

  second base station. Id; see also D.I. 79 at 11 12-24; D.I. 77 at 11 143-156. Although

  Gogo contends that this short disconnection is imperceivable to a network user and

  maintains the appearance of continuity, the short disconnection means that handovers are

  not "continuous and uninterrupted in time." Id. In reply, SmarkSky's expert concedes that

  Gogo's 50 Networks utilizes "break-before-make" handoffs between the aircraft and the

  base station (D.1. 94 at 1 73) but argues that Gogo still meets the "continuous and

  uninterrupted in time" limitation because the connection between the user and the aircraft

  is continuous and uninterrupted. D.I. 93 at 1-3; D.I. 94 at 1151-56.



                                                  10
                                              ÀÁÁÂÎÃ
¡¢£¤¤¥¦§¥Case:
            ¨¨¤©©23-1058
                  ¥ª«¬¡¡¡­®¦Document:
                            ¯° ±²¡¢¢©¡¡12¡³µ́¶Page:
                                              ¡¢¨·¨¸95
                                                    ·¤¤¡¡¡¹ º ¡¢12/19/2022
                                                          Filed: ¤¡®»¡¤¨¡¹º ¼­¡½£¡¢¾¤¸¸

         In light of SmartSky's cursory showing on infringement, SmartSky has failed to

  carry its burden of demonstrating a likelihood of success on the merits as to infringement

  of the '947 patent and the '417 patent. Gogo has raised substantial questions as to whether

  its accused 5G Network meets the "continuous and uninterrupted in time" limitation

  between the ATG base stations and the aircraft even though there is a short disconnection

  between the aircraft and the base station.

                         2. The '717 Patent

         The parties once again offer little argument as to the scope of the asserted claims. However,

  the dispute centers around whether claims 1 and 12 of the '717 patent encompass multiple radios

  on the aircraft, and whether the claims encompass handovers between a first base station

  employing only unlicensed spectrum and a second base station employing only licensed spectrum.

  SmartSky argues that the claims contemplate multiple radios on the aircraft (D.I. 24 at 9; see also

  D.I. 93 at 3), while Gogo asserts that a plain reading of the claim language requires a single radio

  (D.I. 76 at 7). Further, SmartSky argues that claims 1 and 12 do not require one base station solely

  employing the unlicensed spectrum and a second base station solely employing the licensed

  spectrum (D.I. 93 at 3-4), while Gogo asserts that a plain reading of the claims demonstrates that

  the first base station only employs unlicensed spectrum and the second base station only employs

  licensed spectrum. D.I. 76 at 7-8. Claim 1 recites, in relevant part:

                 a first base station including a first antenna array defining a first
                  directional radiation pattern that is oriented toward a horizon; and
                 a second base station including second antenna array defining a
                  second directional radiation pattern that at least partially overlaps
                  with the first base station,
                 wherein the first base station employs unlicensed spectrum,
                 wherein the second base station employs licensed spectrum,
                 wherein the first and second base stations are each configured to
                  wirelessly communicate with a radio disposed on an aircraft flying



                                                  11
                                               ÀÁÁÂÎÄ
¡¢£¤¤¥¦§¥Case:
            ¨¨¤©©23-1058
                  ¥ª«¬¡¡¡­®¦Document:
                            ¯° ±²¡¢¢©¡¡12¡³µ́¶Page:
                                              ¡¢¨·¨¸96
                                                    ·¤¤¡¡¡¹ º ¡¢12/19/2022
                                                          Filed: ¿¡®»¡¤¨¡¹º ¼­¡½£¡¢¾¤¸Å

                  through respective cell coverage areas of the first and second base
                  stations, and
                 wherein the first and second base stations are each configured to
                  handover communication with the radio as the aircraft moves
                  between the respective cell coverage areas of the first and second
                  base stations.

  '717 patent at claim 1.

  Claim 12 recites, in relevant part:

                 a first base station including a first antenna array defining a first
                  directional radiation pattern that is oriented toward a horizon; and
                 a second base station including second antenna array defining a
                  second directional radiation pattern that at least partially overlaps
                  with the first base station,
                 wherein one of the first base station or the second base station
                  employs unlicensed spectrum, and the other of the first base station
                  and the second base station employs licensed spectrum,
                 wherein the first and second base stations are each configured to
                  wirelessly communicate with a radio disposed on an aircraft flying
                  through respective cell coverage areas of the first and second base
                   stations, and
                 wherein the first and second base stations are each configured to
                  handover communication with the radio as the aircraft moves
                   between the respective cell coverage areas of the first and second
                   base stations.

  '717 patent at claim 12.

          Again, based on the record before the Court at this time, there is no reason to depart from

  the plain and ordinary meaning of the claim language. Aventis Pharm. Inc., 715 F.3d at 1373.

  Although the claim language recites "a radio," such a construction requiring "radio" to be limited

  to "a single radio disposed on the aircraft" is contrary to the general rule that the ''words 'a' or 'an'

  in a patent claim carry the meaning of 'one or more."' See, e.g., OJ Communique Lab., Inc. v.

  LogMeln, Inc., 687 F.3d 1292, 1297 (Fed. Cir. 2012) (quoting TiVo, Inc. v. Echostar Commc 'ns

  Corp., 516 F.3d 1290, 1303 (Fed. Cir. 2008)). This construction is supported by the claims' later

  recitation of"the radio," which reinvokes its non-singular meaning. OJ Communique, 687 F.3d at



                                                     12
                                                 ÀÁÁÂÎÆ
¡¢£¤¤¥¦§¥Case:
            ¨¨¤©©23-1058
                  ¥ª«¬¡¡¡­®¦Document:
                            ¯° ±²¡¢¢©¡¡12¡³µ́¶Page:
                                              ¡¢¨·¨¸97
                                                    ·¤¤¡¡¡¹ º ¡¢12/19/2022
                                                          Filed: ¸¡®»¡¤¨¡¹º ¼­¡½£¡¢¾¤¸©

  1297 (quoting Baldwin Graphic Sys., Inc. v. Siebert, Inc., 512 F.3dat 1338, 1342 (Fed. Cir. 2008)).

  Additionally, the '717 patent's specification contemplates multiple radios, further supporting

  SmartSky's construction that "a radio" can mean "one or more" radios. See '717 patent at 9:40-

  46 ("Moreover, it is to be appreciated that the radio(s) 416 can communicate using substantially

  any air interface in a licensed spectrum (e.g., third generation partnership project (3GPP) long term

  evolution (LTE), Wideband Code Division Multiple Access (WCDMA), and/or the like),

  unlicensed spectrum (e.g., 2.4 gigahertz (GHz), 5.8 GHz, and/or the like), etc."); see also id at

  6:25-28; 9:27-33.

         However, the '717 patent's plain and ordinary meaning of the first base station which

  employs "unlicensed" spectrum and a second base station which employs "licensed" spectrum

  supports Gogo's proposed construction that the first base station solely employs unlicensed

  spectrum while the second base station solely employs licensed spectrum. SmartSky's own

  expert's declaration supports this construction. See D.I. 26 at, 56 ("The first base station employs

  unlicensed spectrum, and the second base station employs licensed spectrum."); id. at, 83 ("[T]he

  asserted '717 patent claims further specify that one base station employs unlicensed spectrum

  while another base station employs licensed spectrum.").

         Next, in considering Gogo's accused 5G Network, the parties provide competing analyses

  of how Gogo' s aircraft radios and base stations operate. As Gogo concedes, its aircraft equipment

  consists of multiple radios (D.I. 76 at 8; D.I. 79 at,, 26-29; D.I. 77 at,, 165-171), thus meeting

  the "one or more radios" limitation based on this preliminary construction. Further, SmartSky

  argues that because Gogo' s base stations have antennas supporting both the unlicensed spectrum

  and the licensed spectrum, Gogo' s handoffs necessarily require a handoff between a first base

  station employing licensed spectrum and a second base station employing unlicensed spectrum,



                                                   13
                                               ÀÁÁÂÎÇ
¡¢£¤¤¥¦§¥Case:
            ¨¨¤©©23-1058
                  ¥ª«¬¡¡¡­®¦Document:
                            ¯° ±²¡¢¢©¡¡12¡³µ́¶Page:
                                              ¡¢¨·¨¸98
                                                    ·¤¤¡¡¡¹ º ¡¢12/19/2022
                                                          Filed: Å¡®»¡¤¨¡¹º ¼­¡½£¡¢¾¤¸È

  even if the base stations support both spectrums. See D.I. 93 at 3-4; D.I. 94 at ,r,r 110-113. Gogo

  refutes SmartSky' s characterization, arguing that there are no handoffs between a first base station

  employing solely unlicensed spectrum and a second base station solely employing licensed

  spectrum. D.I. 76 at 8; D.I. 77 at ,r,r 172-175, D.I. 79 at ,r 12. Further, Gogo contends that, although

  its base station antennas support both unlicensed and licensed spectrum, each of its two aircraft

  radios are solely dedicated to either the unlicensed or licensed spectrum. See D.I. 76 at 8; D.I. 79

  at ,r 9. Thus, Gogo asserts that the handoffs must be between licensed-licensed or unlicensed-

  unlicensed, rather than cross-network handoffs, i.e., unlicensed to licensed, as required by the

  claims 1 and 12 of the '717 patent. Id.

         Based on the preliminary claim construction and factual disputes regarding how Gogo' s

  5G Network operates its handoffs, SmartSky has failed to meet its burden of demonstrating a

  likelihood of success on the merits as to infringement of the '717 patent. Additionally, Gogo

  contends that the '717 patent is invalid pursuant to 35 U.S.C. § 112. The Court acknowledges the

  parties' arguments concerning the validity of the '717 patent but concludes that it is unnecessary

  to evaluate its validity in light of SmartSky' s failure to meet its burden of demonstrating a

  likelihood of success as to infringement. See Mylan Institutional LLC v. Aurobindo Pharma Ltd ,

  857 F.3d 858, 866 (Fed. Cir. 2017) (the patentee must show both that it will likely prove

  infringement and that the claims will likely withstand the alleged infringer' s invalidity challenge).

                         3. The '077 Patent

         The parties offer differing constructions of claims 1 and 2 of the '077 patent. SmartSky

  argues that the claims require a system comprised of ATG base stations functioning in an ATG

  network. D.I. 24 at 9-10; D.I. 93 at 4. SmartSky also contends that the asserted claims on its face

  do not require separately providing a terrestrial network comprised of terrestrial base stations. D.I.



                                                    14
                                                ÀÁÁÂÎÉ
¡¢£¤¤¥¦§¥Case:
            ¨¨¤©©23-1058
                  ¥ª«¬¡¡¡­®¦Document:
                            ¯° ±²¡¢¢©¡¡12¡³µ́¶Page:
                                              ¡¢¨·¨¸99
                                                    ·¤¤¡¡¡¹ º ¡¢12/19/2022
                                                          Filed: ©¡®»¡¤¨¡¹º ¼­¡½£¡¢¾¤¸Ê

  93 at 4. Gogo asserts that the plain language of the asserted claims require providing terrestrial

  base stations within the 5G system. D.I. 76 at 8; see also Gogo's Motion to Dismiss SmartSky's

  Complaint, D.I. 54, at 7-10. 1

         At this stage and based on the present record, the Court cannot conclude that SmartSky has

  carried its burden of demonstrating a likelihood of success as to its alleged infringement of the

  '077 patent in order to obtain the extraordinary relief of a preliminary injunction. The parties

  clearly contest the scope of claims 1 and 2 of the '077 patent, particularly whether the claims

  require providing terrestrial base stations. But, without the benefits of comprehensive claim

  construction briefing or a Markman hearing-especially considering the parties' scant briefing

  related to the scope of claims 1 and 2 of the '077 patent-the Court cannot conclude that SmartSky

  has met its burden.

         Moreover, Gogo raises, at a minimum, substantial questions of validity related to the '077

  patent. Gogo asserts that claims 1 and 2 of the '077 patent are likely obvious under 35 U.S.C. §

  103 and, thus invalid, over a combination of two prior art references, U.S. Patent Application No.

  2006/0040660 ("Cruz") and U.S. Patent No. 5,444,762 ("Frey"). D.I. 76 at 11; D.I. 77 at ,r,r 103-

  108. Cruz purportedly discloses operating an ATG network containing networks of WiFi base

  stations (e.g., terrestrial base stations) near airports (D.I. 77 at ,r,r 108-110), while Frey allegedly

  teaches that ATG networks may use the same spectrum (e.g., WiFi) employed by terrestrial base

  stations (D.I. 77 at   ,r,r 111-112).   Gogo contends, albeit in a conclusory fashion, that a skilled

  person would be motivated to combine Cruz and Frey, which supplies each limitation required by

  the '077 patent. D.I. 76 at 11; D.I. 77 at ,r,r 113-116. In response, SmartSky argues that Gogo's


  1
   For purposes of deciding Smarksky' s Motion for Preliminary Injunction, the Court has not
  evaluated any arguments for, or against, granting Gogo's Motion to Dismiss SmartSky's
  Complaint.


                                                      15
                                                  ÀÁÁÂÎË
¡¢£¤¤¥¦§Case:
           ¥¨¨¤©©23-1058
                  ¥ª«¬¡¡¡­®¦Document:
                            ¯° ±²¡¢¢©¡12¡¡³µ́¶Page:
                                               ¡¢¨·¨¸100
                                                      ·¤¤¡¡¡¹º ¡¢È12/19/2022
                                                             Filed: ¡®»¡¤¨¡¹º ¼­¡½£¡¢¾¤¸¾

  alleged motivation to combine Cruz and Frey is "nonsensical" because Cruz already solves the

  problem of using common frequencies to avoid interference, and thus there is no reason to consult

  Frey. D.I. 93 at 5. Having reviewed the record, the Court concludes that SmartSky has not

  demonstrated that Gogo's invalidity contention related to the '077 patent "lacks substantial merit."

  See Amazon.com, Inc., 239 F.3d at 1350. Particularly, the Court finds that SmartSky has failed to

  meaningfully address, beyond mere conclusory assertions, whether Cruz discloses a solution to

  the interference problem that would obviate the motivation for a person skilled in the art to

  combine the teachings of Frey to Cruz.

                 ii. Irreparable Harm

         The movant seeking the preliminary injunction must demonstrate "that it is likely to suffer

  irreparable harm if the preliminary injunction is not granted and there is a causal nexus between

  the alleged infringement and the alleged harm." Meta/craft ofMayville, Inc. v. Toro Co., 848 F.3d

  1358, 1368 (Fed. Cir. 2017). The alleged harm must not be compensable via monetary damages.

  Id. (stating that, where no monetary damage is calculable, "the harm cannot be adequately

  compensated and is irreparable.").

         SmartSky asserts three grounds of irreparable harm as a result of Gogo's alleged

  infringement: (1) SmartSky will lose sales, market share, and its goodwill and reputation in the

  business aviation industry; (2) Gogo competing for consumers would erode the price SmartSky

  could charge without Gogo's competition; and (3) Gogo's competition will reduce SmartSky's

  ability to recoup its research and development ("R&D") costs and impair its ability to invest in

  future R&D. D.I. 24 at 11-18; D.I. 93 at 6-10.

         SmartSky alleges that Gogo is the only other provider of comparable business aviation

  network services, and that allowing Gogo to compete with its allegedly infringing 5G Network



                                                   16
                                               ÀÁÁÂÎÌ
¡¢£¤¤¥¦§Case:
           ¥¨¨¤©©23-1058
                  ¥ª«¬¡¡¡­®¦Document:
                            ¯° ±²¡¢¢©¡12¡¡³µ́¶Page:
                                               ¡¢¨·¨¸101
                                                      ·¤¤¡¡¡¹º ¡¢Ê12/19/2022
                                                             Filed: ¡®»¡¤¨¡¹º ¼­¡½£¡¢¾¤Å¨

  would greatly reduce SmartSky's sales and profits. D.I. 24 at 12; D.I. 93 at 7-8. SmartSky further

  asserts that due to the nature of the consumer-provider relationship and the costs associated with

  switching network providers, known as "stickiness," lost sales and profits are incalculable. Id.

  Gogo estimates that its consumer-relationships will last 17 years. Id.; see also D.I. 95 at 11 5-20.

  Further, as a result of SmartSky and Gogo's head-to-head competition and SmartSky's identity as

  a "disruptor" in a small market, SmartSky claims it stands to lose a large share of the market. See

  D.I. 24 at 14-15; D.I. 93 at 8-9; D.I. 27 at 1134, 57. Due to SmartSky's loss of market exclusivity,

  it claims it will lose its earned reputation and goodwill as an "innovator" that arose from its years

  of developing a superior business aviation network. D.I. 24 at 15-16; D.I. 93 at 9.

         In response, Gogo argues that SmartSky has produced no evidence of lost sales, and, if

  sales are indeed lost, they are calculable. D.I. 76 at 12-15; D.I. 78 at 1122-23. Notably, Gogo

  cites to SmartSky's own expert, who concedes that the loss of equipment sales and service revenue

  associated with consumers choosing Gogo through the date of trial can be determined and

  quantified as damages. D.I. 76 at 12 (citing D.I. 27 at 1140-42); see Automated Merch. Sys., Inc.

  v. Crane Co., 357 F. Appx. 297, 300-01 (Fed. Cir. 2009) (without more, lost sales are "presumed

  to be compensable through damages."). Gogo further contends that any harm that may occur after

  trial, such as consumers remaining with Gogo even ifSmartSky prevails, is purely speculative and

  cannot support a preliminary injunction. D.I. 76 at 12-13; D.I. 78 at 1123-34; see IGTv. Aristocrat

  Teem., Inc., 646 F. Appx. 1015, 1018-19 (Fed. Cir. 2016) (multiple contingencies existing prior

  to a patentee experiencing alleged harm militates a finding of irreparable harm).

         Furthermore, Gogo asserts that SmartSky' s claim that it is a "disruptor" in the market and

  stands to lose a large share of the market are purely hypothetical claims about future market shares

  rather than supporting evidence oflost market share. D.I. 76 at 14-15; Abbott Cardiovascular Sys.,



                                                   17
                                               ÀÁÁÂÎÍ
¡¢£¤¤¥¦§Case:
           ¥¨¨¤©©23-1058
                  ¥ª«¬¡¡¡­®¦Document:
                            ¯° ±²¡¢¢©¡12¡¡³µ́¶Page:
                                               ¡¢¨·¨¸102
                    CONFIDENTIAL MATERIAL REDACTED
                                                      ·¤¤¡¡¡¹º ¡¢¾12/19/2022
                                                             Filed: ¡®»¡¤¨¡¹º ¼­¡½£¡¢¾¤Å¢

  Inc. v. Edwards Lifesciences Corp., 2019 WL 2521305, at *19 (D. Del. June 6, 2019)

  ("[S]peculative loss of market share cannot support issuance of a preliminary injunction."). Also,

  any potential loss of market share "correspond[s] to the same lost sales that were quantifiable as

  damages," and cannot be counted twice. D.I. 76 at 14 (citing D.I. 27 at ,i,i 56-57). Similarly, Gogo

  refutes SmartSky's claims that it will lose its earned goodwill and reputation in the industry by

  pointing to evidence demonstrating SmartSky's ability to secure investments and customers

  subsequent to Gogo's announcement of its competing network. D.I. 76 at 16; see also D.I. 78 at

  ,, 17, 26.

          Next, SmartSkyadvancesapriceerosionargument. D.I. 24at 13; D.I. 93 at6-7. Following

  the announcement of Gogo's competing network, SmartSky asserts that it must charge "less than

  Gogo and hence suffer   • price erosion on any sales that it makes while Gogo is in the market
  promoting and selling its infringing 50 service." D.I. 24 at 13; D.I. 27 at ,i 55. However, SmartSky

  offers no economic analysis, other than conclusory assertions, to support its price erosion theory,

  and, without such evidence, it is speculation to assert that competing with a disputed infringing

  product will drive down SmartSky's prices. Waters Corp., 410 F. Supp. 3d at 715-16 (price

  erosion argument without "concrete pricing evidence" was "too speculative").

         Lastly, SmartSky argues that, because it will lose market exclusivity, it will not be able to

  recover its nearly
                       $ amount    R&D investment, further hindering its ability to invest in future

  R&D, such as its complementary product "Skytelligence." D.I. 24 at 15; D.I. 93 at 9-10. Notably,

  SmartSky concedes that quantifying its lost R&D is not possible. See D.I. 95 at ,i 35. Gogo asserts

  that SmartSky's allegations concerning a return on R&D costs are purely speculative and

  duplicative of the alleged lost sales, which account for any proposed return-on-investment. D.I.

  76 at 16. Generally, courts give little weight, if any, to claims of lost opportunity to conduct future



                                                    18
                                                ÀÁÁÂÃÏ
¡¢£¤¤¥¦§Case:
           ¥¨¨¤©©23-1058
                  ¥ª«¬¡¡¡­®¦Document:
                            ¯° ±²¡¢¢©¡12¡¡³µ́¶Page:
                                               ¡¢¨·¨¸103
                                                      ·¤¤¡¡¡¹º ¡¤¨12/19/2022
                                                             Filed: ¡®»¡¤¨¡¹º ¼­¡½£¡¢¾¤Å¤

  research and development because such claims are highly speculative. See Eli Lilly & Co. v. Am.

  Cyanamid Co., 82 F.3d 1568, 1578 (Fed. Cir. 1996) ("If a claim of lost opportunity to conduct

  research were sufficient to compel a finding of irreparable harm, it is hard to imagine any

  manufacturer with a research and development program that could not make the same claim and

  thus be equally entitled to preliminary injunctive relief.").

         On this record, SmartSky has established that it competes directly with Gogo as a business

  aviation network provider, and that a loss of market share, and thus sales, to Gogo has the potential

  to be damaging due to the "stickiness" of the consumer. However, SmartSky has not demonstrated

  that such losses are imminent as a result of Gogo' s yet-to-be-released 5G Network or that its losses

  are non-compensable. In fact, Gogo has provided evidence demonstrating that regardless of

  Gogo's promotion of its 5G Network, SmartSky has still secured investments and customers. See

  D.I. 76 at 16. SmartSky's assertions that it stands to lose its reputation in the industry and its

  ability to recoup its R&D investments to fund its complementary product, Skytelligence, (D.I. 24

  at 15-16; D.I. 93 at 9-10) is speculative and cannot serve as the grounds for finding irreparable

  harm without additional evidence. See Eli Lilly & Co., 82 F .3d at 1578.

         Given the above conclusions on the likelihood of success on the merits and on irreparable

  harm, the Court need not make any findings concerning the third and fourth factors. Polymer

  Techs., Inc. v. Bridwell, 103 F.3d 970, 973-74 (Fed. Cir. 1996) ("[A] trial court need not make

  findings concerning the third and fourth factors if the moving party fails to establish either of the

  first two factors."). Thus, because SmartSky failed to establish the first two factors, i.e., likelihood

  of success on the merits and irreparable harm, the court denies SmartSky's Motion for Preliminary

  Injunction.

          The Court will issue an Order consistent with this Memorandum Opinion.



                                                    19
                                                ÀÁÁÂÃÎ
Case 1:22-cv-00266-GBW
         Case: 23-1058 Document
                       Document:1-1
                                 12 Filed 02/28/22
                                      Page:        Page12/19/2022
                                            104 Filed:  1 of 72 PageID #: 49




                             EXHIBIT 1




                                  Appx31
Case 1:22-cv-00266-GBW
         Case: 23-1058 Document
                       Document:1-1
                                 12 Filed Page:   02/28/22
                                                       105 Filed:     Page12/19/2022
                                                                                   2 of 72 PageID #: 50
                                  I 1111111111111111 11111 lllll lllll lllll 111111111111111 111111111111111 IIII IIII
                                                                                                 US009312947B2


c12)   United States Patent                                           (IO)   Patent No.:                       US 9,312,947 B2
       Alcorn                                                         (45)   Date of Patent:                      *Apr. 12, 2016

(54)   TERRESTRIAL BASED HIGH SPEED DATA                                           (2013.01); H04B 7118508 (2013.01); H04L
       COMMUNICATIONS MESH NETWORK                                               2712601 (2013.01); H04W 84/005 (2013.01);
                                                                                                        H04W 84/06 (2013.01)
(71)   Applicant: Smartsky Networks LLC, Charlotte,              (58)    Field of Classification Search
                  NC (US)                                                CPC ............. H04B 7/1851; H04B 7/18506; H04B
                                                                               7/18508; H04W 84/005; H04W 84/06; H04L
(72)   Inventor:    Donald L. Alcorn, Montgomery, AL                                                                   27/2601
                    (US)                                                 USPC ............ 455/431, 432.1, 436, 441, 405, 404.2
                                                                         See application file for complete search history.
(73)   Assignee: SMARTSKY NETWORKS, LLC,
                 Charlotte, NC (US)                              (56)                             References Cited

( *)   Notice:      Subject to any disclaimer, the term ofthis                              U.S. PATENT DOCUMENTS
                    patent is extended or adjusted under 35             2,418,961           A      4/1947   Wehner
                    U.S.C. 154(b) by 151 days.                          5,681,300           A     10/1997   Ahr et al.
                                                                        6,201,797           Bl     3/2001   Leuca et al.
                    This patent is subject to a terminal dis-           6,285,878           Bl     9/2001   Lai
                    claimer.
                                                                                                    (Continued)
(21)   Appl. No.: 13/862,508
                                                                                   FOREIGN PATENT DOCUMENTS
(22)   Filed:       Apr. 15, 2013
                                                                 EP                          1341327 Al       3/2003
(65)                   Prior Publication Data                                                OTHER PUBLICATIONS
       US 2014/0328421 Al           Nov. 6, 2014                 Office Action issued Nov. 29, 2013 in co-pending U.S. Appl. No.
                                                                 13/601,515, filed Aug. 31, 2012, all enclosed pages cited.
                 Related U.S. Application Data                                                      (Continued)

(63)   Continuation of application No. 13/601,452, filed on      Primary Examiner - Khai M Nguyen
       Aug. 31, 2012, now Pat. No. 8,442,520, and a
                                                                 (74) Attorney, Agent, or Firm - Nelson Mullins Riley &
       continuation of application No. 13/601,413, filed on
                                                                 Scarborough LLP
       Aug. 31, 2012, now Pat. No. 8,792,880, which is a
                          (Continued)                            (57)                              ABSTRACT
                                                                 A network for providing high speed data communications
(51)   Int. Cl.                                                  may include multiple terrestrial transmission stations that are
       H04W4/00               (2009.01)                          located within overlapping communications range and a
       H04B 71185             (2006.01)                          mobile receiver station. The terrestrial transmission stations
       H04L27/26              (2006.01)                          provide a continuous and uninterrupted high speed data com-
       H04W 84/00             (2009.01)                          munications link with the mobile receiver station employing
       H04W 84/06             (2009.01)                          a wireless radio access network protocol.
(52)   U.S. Cl.
       CPC .......... H04B 7118506 (2013.01); H04B 711851                                   20 Claims, 7 Drawing Sheets


                                                                                       1Q



                                               12                            14




                                ( ( r -r---t- \
                                    /    ..   •·-~'"/ - ~ -

                                ~•. ~-•·_>•••7-
                                     \ •-_1sz\_,A••---1~---/
                                                  \/)
                                                                                  16
                                                    18




                                                           Appx32
Case 1:22-cv-00266-GBW
         Case: 23-1058 Document
                       Document:1-1
                                 12 Filed 02/28/22
                                      Page:        Page12/19/2022
                                            106 Filed:  3 of 72 PageID #: 51


                                                            US 9,312,947 B2
                                                                       Page 2


                 Related U.S. Application Data                                  2005/0286451   Al   12/2005 Kim et al.
                                                                                2006/0007952   Al    1/2006 Oishi et al.
       continuation of application No. 13/552,896, filed on                     2006/0140572   Al    6/2006 Ruiz
       Jul. 19, 2012, now Pat. No. 8,311,533, said application                  2006/0219776   Al * 10/2006 Finn ........................ B60R25/25
       No. 13/601,452 is a continuation of application No.                                                                                   235/380
                                                                                2006/0229070   Al   10/2006 de La Chapelle et al.
       13/552,896, filed on Jul. 19, 2012, now Pat. No. 8,311,                  2006/0229077   Al   10/2006 Monk
       533, whichisacontinuationofapplicationNo.12/355,                         2006/0264210   Al   11/2006 Lovberg et al.
       341, filed on Jan. 16, 2009, now Pat. No. 8,254,913,                     2008/0090567   Al    4/2008 Gilbert
       which is a continuation-in-part of application No.                       2008/0233974   Al * 9/2008 Xu                           H04W 76/002
       11/622,811, filed on Jan. 12, 2007, now abandoned,                                                                                    455/458
                                                                                2008/0274734   Al   11/2008 Kostanic et al.
       which is a continuation-in-part of application No.                       2010/0073197   Al    3/2010 Eagleton et al.
       11/206,695, filed on Aug. 18, 2005, now abandoned.
                                                                                                OTHER PUBLICATIONS
(56)                     References Cited
                                                                            Office Action issued Nov. 29, 2013 in co-pending U.S. Appl. No.
                 U.S. PATENT DOCUMENTS                                      13/601,413, filed Aug. 31, 2012, all enclosed pages cited.
                                                                            Office Action issued Jan. 2, 2014 in co-pending U.S. Appl. No.
     6,377,802    Bl      4/2002   McKenna et al.                           13/601,413, filed Aug. 31, 2012, all enclosed pages cited.
     6,487,426    Bl     11/2002   Haber                                    Office Action from co-pending U.S. Appl. No. 13/601,515 mailed
     6,512,921    Bl      1/2003   Hadinger                                 Apr. 3, 2014, all enclosed pages cited.
     6,694,143    Bl      2/2004   Beamish et al.                           Leahman, Michael A., "Adaptive Band-Partioning of Interference
     6,757,712    Bl      6/2004   Bastian et al.                           Cancellation in Communications Systems," M. Eng. Thesis, MIT
     6,816,728    B2     11/2004   Igloi et al.                             EECS, 1997, pp. 1-70.
     7,043,225    Bl      5/2006   Patel et al.
                                                                            Mecham, Michael et al., "Meeting Expectations," Aviation Week and
     7,603,137    Bl     10/2009   Elliott
     7,751,815    B2      7/2010   McKenna et al.                           Space Technology (New York Feb. 28, 2005), vol. 162.
     7,933,599    B2      4/2011   F ernandez-Corbaton et al.               Taverna, Michael A., "From Seatback to Laptop," Aviation Week and
     8,249,586    B2      8/2012   Bosenbecker                              Space Technology (New York Jul. 19, 2004), vol. 161, No. 3.
     8,254,913    B2      8/2012   Alcorn                                   Martin, J.N., et al., "High-Speed Internet Access Via Stratospheric
 2001/0036822     Al     11/2001   Mead et al.                              HALO Aircraft," Raytheon Syst. Co., Plano, TX (Piscataway, NJ,
 2001/0039189     Al     11/2001   Cox                                      Apr. 10, 2000), from the 2000 EEEE Emerging Technologies Sym-
 2002/0072332     Al      6/2002   Chang et al.                             posium on Broadband, Wireless Internet Access, Digest of Papers,
 2002/0160773     Al *   10/2002   Gresham .               H04B 7/18506     Richardson, TX.
                                                                 455/431    UTRA-UTRAN Long Term Evolution (LTE) and 3GPP System
 2003/0046338     Al      3/2003   Runkis                                   Architecture Evolution (SAE), Nov. 2-3, 2004.
 2003/0055975     Al      3/2003   Nelson et al.
                                                                            Office Action issued Sep. 5, 2012 in co-pending (now patented) U.S.
 2003/0093798     Al      5/2003   Rogerson
 2003/0128681     Al      7/2003   Rauschmayer                              Appl. No. 13/552,896, filed Jul. 19, 2012 (U.S. Pat. No. 8,311,533).
 2003/0203736     Al     10/2003   Chi et al.                               Office Action issued Oct. 2, 2012 in co-pending (now patented) U.S.
 2004/0203706     Al     10/2004   Dietz et al.                             Appl. No. 13/601,381, filed Aug. 31, 2012 (U.S. Pat. No. 8,509,765).
 2004/0253949     Al     12/2004   Swensen et al.                           Office Action issued Oct. 31, 2012 in co-pending (now patented) U.S.
 2004/0253951     Al     12/2004   Chang et al.                             Appl. No. 13/601,452, filed Aug. 31, 2012 (U.S. Pat. No. 8,442,520).
 2005/0028214     Al      2/2005   Hall                                     Office Action issued Oct. 10, 2012 in co-pending (now allowed) U.S.
 2005/0053026     Al      3/2005   Mullan et al.                            Appl. No. 13/601,486, filed Aug. 31, 2012.
 2005/0059396     Al      3/2005   Chuah et al.                             Office Action issued Oct. 15, 2012 in co-pending U.S. Appl. No.
 2005/0074019     Al      4/2005   Handforth et al.                         13/601,515, filed Aug. 31, 2012.
 2005/0085249     Al      4/2005   Goldstein et al.                         Office Action issued Oct. 10, 2012 in co-pending U.S. Appl. No.
 2005/0108374     Al*     5/2005   Pierzga                 H04B 7/18504
                                                                            13/601,413, filed Aug. 31, 2012.
                                                                 709/223
 2005/0164664 Al*         7/2005   Difonzo ................. H04L 45/00     Office Action issued Dec. 28, 2012 in co-pending (now patented)
                                                               455/277.1    U.S. Appl. No. 13/601,381, filed Aug. 31, 2012 (U.S. Pat. No.
 2005/0255845 Al  11/2005          Leuca et al.                             8,509,765).
 2005/0256616 Al* 11/2005          Rhoads ................... H04L 67/06
                                                                   701/1    * cited by examiner




                                                                    Appx33
Case 1:22-cv-00266-GBW
         Case: 23-1058 Document
                       Document:1-1
                                 12 Filed 02/28/22
                                      Page:        Page12/19/2022
                                            107 Filed:  4 of 72 PageID #: 52


U.S. Patent         Apr. 12, 2016     Sheet 1 of 7        US 9,312,947 B2




                                                     16
                       18




                                    Figure 1




                                    Appx34
Case 1:22-cv-00266-GBW
         Case: 23-1058 Document
                       Document:1-1
                                 12 Filed 02/28/22
                                      Page:        Page12/19/2022
                                            108 Filed:  5 of 72 PageID #: 53


U.S. Patent                          Apr. 12, 2016     Sheet 2 of 7       US 9,312,947 B2




                                 I
                             I
                         I
                     I
                     I
                 I




                                                                      N
                                                                          .
                                                                      CJ
                                                                      LL




                                                     Appx35
                                                                                                                                               ~
                                                                                                                                               r:J)_
                                                                                                                                               •
                                                                                                                                               ~
                                                      ~
                                                                                     r~                                                        ~
                                                                                                                                               ~
                                                   l~ Greenland                        ~                                                       ~
                                                          ~                (Den)
                                                           c,f'
                                                                                     2-7                                                       ~
                                                                                                                                               =
                                                          l--.J
                   \                               ~                           ~     -
                                                    \                      {
                                           Labrador               \        ~                                                                   >
                                                                                                                                                        Case 1:22-cv-00266-GBW




                                                                                                                                               "0
                 (/                          Sea                                                                                               ~
                             Canada                                                                                                            ....
                                                                                                                                               N
                                                                                                                                               ~



                                                                                                                                               N
                                                                                                                                               0
                                                                                                                                               ....
                                                                                                                                               0'I
                                                                                                                                                                 Case: 23-1058 Document




            ---------
         United
                                                                                                                                                                               Document:1-1




                                                                                                                                               <J)
         States
         ~   ~          l,                                                                                                                     ~
                                                                                                                                               =-
                                                                                                                                               ~




Appx36
                                                                                                                                               .....
                                                                                                                                               (.,u
                                                                                                                                                                                         12 Filed




                                                                                                                                               0
                                                                                                                                                                                              Page:




                                                                                                                                               -.
                                                                                                                                               -...,l
                                                                                                                                                                                                  02/28/22
                                                                                                                                                                                                    109 Filed:




                                       I
                                                                      I                     I   \             I
                                                                                                                  ... ,...,,_._,...,...,
                                       I                                                                  I                                I   d
                                                                                                          I                                    r,:;
                 34                   32                              34                   30       32   30                                    \0
                                                                                                                                               ~
                                                                                                                                               ~
                                                                                                                                                                                                           Page12/19/2022




                                                                                   FIG. 3                                                      N
                                                                                                                                               \0
                                                                                                                                               ~
                                                                                                                                               --..l
                                                                                                                                               ec
                                                                                                                                               N
                                                                                                                                                                                                                6 of 72 PageID #: 54
Case 1:22-cv-00266-GBW
         Case: 23-1058 Document
                       Document:1-1
                                 12 Filed 02/28/22
                                      Page:        Page12/19/2022
                                            110 Filed:  7 of 72 PageID #: 55


U.S. Patent         Apr. 12, 2016                       Sheet 4 of 7                                                                                                                                              US 9,312,947 B2




                                                                            ~v)-. .·. . .,.  -                                             -           ','                                              ,                      ' -
                                                                                                                       ,·                                                                       .
                                                                                             ,                                         '           '            \                           •                         '         •     I


                                                                                             '                                                              ,               .                       '             '
                                                                                                              '                                                                                                       '
                                                                                         ~                        ·,              ''                                                                    '         ·,_'. . .
                                                                 , __:.._              Ir                               ,                                                                   ,                          ..,
                                                                            _/           .           .
                                                                                         '
                                                                                                         ..
                                                                                                                                                                            ,, ,,
                                                                     --;.__,,-.._                -.
                                                                                                                                                                                        .                     '           ',




                                                                                      • ,,   ..                                                                                                              ',       -        ·,•,

                                                                                                                                                                                    •           ' r               I
                                                                                                                                                       ', _., ,.'


                                                                                                                                                                                                                                                 .
                                                                                                 '            '   ~-        .::                                                                                                                 CJ
                                                                                                                                                        I           •
                                                                                                                                                                    '
                                                                                                                                                                            f

                                                                                                                                                                            ..
                                                                                                                                                                                    ,,          ,
                                                                                                                                                                                                                                                LL
                                                                 ..          -~··, ·:                                                                               .·                                       .        •·.,
                                                        '
                                                             '
                                                                        '                ''
                                                                                                                        \
                                                                                                                                               ,
                                                                                                                                                            •
                                                                                                                                                                -                                       .                  +
                                                                                                                                                                                                                                    .
                                                         -· ' '·, '. ,-                                           ~~~j_                                                                                                                   0
                                                                                                 '                 ,'                                                                                   ,.                                """
                                          j                                                  ',          ',                                             ~. .                    .           ,       .'       ~.'


                            .    ••1·) -· ' ·.
                                 .
                                .:.   :
                                                       •,' ..
                                                        . , ,'   .
                                                                                                                        .          '               ·,.                  '               ,
                                                                                                                                                                                                                      '
                                                                                                                                                                                                                          ., .




                                 I( .,_ ',·,..,·.
                                  I      . .,
                                          '        '             .


                                I I . -....
                                 I            ,-

                                                                              '
                                                                                  .          '.'              '




                                                   Appx37
Case 1:22-cv-00266-GBW
         Case: 23-1058 Document
                       Document:1-1
                                 12 Filed 02/28/22
                                      Page:        Page12/19/2022
                                            111 Filed:  8 of 72 PageID #: 56


U.S. Patent                                         Apr. 12, 2016                                  Sheet 5 of 7                                                                                                           US 9,312,947 B2




                                                                                               s ·
                                                                                               \
                                                                                               \:·"~.
                                                                                                                     -       .         '                 .            .    .         :       .                        -            '




                                                                i       c··-
                                                                    I <.~·-·:_ ·:· ·-.··_._.
                                                                                                           J                          . •'                   ·_   ..
                                                                                                                                                              ----< -_._ . -
                                                                                                                                                                                         ,

                                                                                                                                                                                                      ._: ,-.·-

                                                                en                                                               . , · ·:                                                                                 ,
                                                                                                                                                                                                                                   .-
                                                                -11)                                                     .                 ,,                                                ,                                     . '
       lD
       sq-
              ~   ... ,.
                  •.     *.
                  . r~ 5 s
                                 . .       '§
                                                            -
                                                                                                           \ ..-.-_.. ..,-·,
                                                                                                                 ~
                                                                                                                     ~
                                                                                                                                       ,             .


                                                                                                                                                                                                                 .,-                   ·.• ,




       ~- ~.~                                                               ·. 1 .·..·.·•··· . ·.·..··.                                                                                                                                              .
           -~               ,_                 ~                                                                 .. -                 •,                 '             ,             _
                                                                                                                                                                                                                                                C)
                                                                                                                                                                                                                                                LL
       ~ ·~                                                                                            ·         . .·.                                   · :
                       ,,                  ' ";\;                                                                                                                              .-;---_:_-:.:_:__:_-l:.__ _ - - -.--

                  .    ~         .: ·- : .                                                                       '               ,,
                                                                                                                                      '         ',
                                                                                                                                                                                                                                               sq-
                                                                                                                                                                                ',           .        ~        ...,
                                                I
                                               ;J
                                           )
                                                                                                                                                              •   •            \l        I




                                                                     ·,,
                                                                                                                                                                                                                              ·,
                                                                                                                                                                                                          '           .                -
                      i :             .\
                                                                                                                                                                                                           -              .
                      ·. . I

                                                                    r
                                                                                                                                                                                                 '.                            '         '

                                  l



             I
                                                                           •~        -   ' •   ~       '   I •               ,' '          . ..
       :oE~       , )                                                  .                       .            .
        ~             :,j                                       /.     '        •'                 '
                                                                                                                                                                                                          -..
                                                                                                                                                                                                               .,
                                                                                                                                                                                                                      :''
                                                                                                                                                                                                                          '


                                                                I
                       .I




                                                                                Appx38
Case 1:22-cv-00266-GBW
         Case: 23-1058 Document
                       Document:1-1
                                 12 Filed 02/28/22
                                      Page:        Page12/19/2022
                                            112 Filed:  9 of 72 PageID #: 57


U.S. Patent           Apr. 12, 2016        Sheet 6 of 7                   US 9,312,947 B2




                                                          ~ §a5
                                                          )   ,L-   C




                  .IID~
                     ~
                        ~~
                  '1 ....
                                       I




                                       _J                                          I.(')
                                                                                       .
                                                                                   CJ
                                                                                   LL




                                                                        co
                                                                        l()




                                                                              .J




                                      Appx39
                                                                                                                                              ~
                                                                                                                                              r:J)_
                                                                                                                                              •
                                                                      66                                                                      ~
                                                                                                                             r-               ~
                                                                                                                                              ~
                                                                                                                             1                ~
                                                                                                                   ·-=--===J~ -               ~
                                                                                                                                              =
                           62
                                            ~rr l,                                                                 '~ :J
                                            ~) ~~,1,
                                          ~-J
                                            -                  '~       -,.
                                                                                                          J;;;;;;;;;;:7;
                                                                                                          '------.--
                                                                                                                                                      Case 1:22-cv-00266-GBW




                 On-Board         Laptop Runninng          Laptop with                      Laptop with
                                                                                                          8                                   >
                                                                                                                                              "0
                                                                                                                                              ~
               Vehicle Network   Monitoring Software   Video Client,Skype                Video Coferencing                                    ....
                                                                                                                                              N
                                                                                                                                              ~
                                                                                             Software                                         N
                                                                                                                                              0
                                                                                                                                              ....
                                                                                                                                              0'I
                                                                                                                                                                Case: 23-1058 Document
                                                                                                                                                                               Document:
                                                                                                                                                                                       1-1




                                                                                                                                              <J)
                                                          Fast Ethernet
                                                                                                                                              ~
                                                                                                                                              =-
                                                             Switch                                                                           ~




Appx40
         60                                                                                                                                   .....
                                                                                                                                                                                         12 Filed




                                                                                                                                              --..J
                                                                                                                                              0
                                                                                                                                                                                               Page:




               Base Station-                                                        • - - - -··--                                             -.
                                                                 -   --       ,,-----Jl'--- """'-                                             --..J
               Network Core
                                                                            ~      og~                                 ------- 54
                                                                                                                                                                                                  02/28/22
                                                                                                                                                                                                     113 Filed:




         '--                                                                                                                                  d
                                                             ~¾                                                                               r,:;
                                                              A -
                                                                ~~ AB
                                             ~                                                 ---   - -·--·----   7 ..J                      \0
                                                                                                     - --                   -     --   __,I
                                                                                                                                              ~
                                                                                                                                              ~
                                                                                                                                                                                                           Page 12/19/2022




                                                                                                                                              N
                                        FIG. 6                                                                                                \0
                                                                                                                                              ~
                                                                                                                                              --..l
                                                                                                                                              ec
                                                                                                                                              N
                                                                                                                                                                                                                10 of 72 PageID #: 58
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               114 Filed: 11 of 72 PageID #: 59


                                                         US 9,312,947 B2
                                 1                                                                         2
      TERRESTRIAL BASED HIGH SPEED DATA                                     receiver station, where the plurality of terrestrial transmission
       COMMUNICATIONS MESH NETWORK                                          stations provide a continuous and uninterrupted high speed
                                                                            data communications link with the mobile receiver station
             CROSS-REFERENCE TO RELATED                                     according to the IEEE 802.16 Air Interface Standard.
                    APPLICATIONS                                               Other aspects and advantages of the invention will be
                                                                            apparent from the following description and the appended
    This application is a Continuation of U.S. patent applica-              claims.
 tion Ser. No. 13/601,452 filed on Aug. 31, 2012 and a Con-
 tinuation of U.S. patent application Ser. No. 13/601,413 filed                      BRIEF DESCRIPTION OF DRAWINGS
 on Aug. 31, 2012, each of which is a Continuation ofU.S. Pat.         10

 No. 8,311,533 which issued on Nov. 13, 2012, which is a                       It should be noted that identical features in different draw-
 Continuation of U.S. Pat. No. 8,254,913 which issued on                    ings are shown with the same reference numeral.
 Aug. 28, 2012, which is a Continuation-in-Part ofU.S. patent                  FIG. 1 shows a schematic view of a broadband communi-
 application Ser. No. 11/622,811 filed on Jan. 12, 2007, which              cation system for in-flight aircraft in accordance with one
 is a Continuation-in-Part of U.S. patent application Ser. No.         15   embodiment of the present invention.
 11/206,695 filed on Aug. 18, 2005, the contents of each of                    FIG. 2 shows an example of a broadband communication
 which are incorporated herein in their entireties.                         system for the continental United States in accordance with
                                                                            one embodiment of the present invention.
                 FIELD OF THE INVENTION                                        FIG. 3 shows a schematic view of a broadband communi-
                                                                       20   cation network over the ocean for in-flight aircraft and ship-
    The invention relates generally to wireless telecommuni-                ping in accordance with one embodiment of the present
 cations. More specifically, the present invention relates to a             invention.
 broadband data communications system for in-flight aircraft.                  FIGS. 4a and 4b show views of the results of computer
                                                                            simulations of the performance of the network in accordance
                     BACKGROUND ART                                    25   with one embodiment of the present invention.
                                                                               FIG. 5 shows a diagram of the actual test network that was
    High speed data communications are becoming more and                    simulated in FI GS. 4a and 4b in accordance with one embodi-
 more desirable and important to society. Most high speed data              ment of the present invention.
 connections are available through telephone lines, cable                      FIG. 6 shows a diagram of the internal network configura-
 modems or other such devices that have a physical wired               30   tions for the target craft shown in FIG. 5 in accordance with
 connection. Since such a wired connection has limited mobil-               one embodiment of the present invention.
 ity, wireless techniques for data communications are very
 attractive for airline passengers. However, cellular high speed                            DETAILED DESCRIPTION
 wireless data links have a range which in not practical for
 in-flight use due to throughput limitations. Alternatively, high      35      The present invention is a system of providing high speed
 speed links are available from satellites for in-flight aircraft.          data communications for in-flight airliners utilizing a series
 This option is costly since it requires a satellite link as well as        of ground based transmitters along established common flight
 specialized antennae and other equipment for the aircraft and              paths for multiple aircraft called "air corridors" that provides
 also consists of throughput limitations which impact useful-               an IEEE 802.16 Air Interface Standard or OFDM "WiMax"
 ness. Consequently, there is a need for a system that provides        40   connection. The ground transmitters are located in a pattern to
 high speed data communications link to an in-flight aircraft at            provide overlapping coverage as an aircraft passes from one
 a reasonable cost.                                                         transmitter to the other. This allows passengers on the aircraft
                                                                            to have uninterrupted high speed data communications while
              SUMMARY OF THE INVENTION                                      in the air. The high speed data communications link between
                                                                       45   the passenger and the ground allows for a direct link that is
    In some aspects, the invention relates to a network for                 continuous and uninterrupted in time. The direct link may be
 providing high speed data communications, comprising: a                    between the passenger and the ground station. Alternatively,
 plurality of terrestrial transmission stations that are located            the direct link may be between the aircraft and the ground
 within overlapping communications range; and a mobile                      station where the passenger accesses an on board network.
 receiver station, where the plurality of terrestrial transmission     50   The network would typically be run by an on-board server
 stations provide a continuous and uninterrupted high speed                 that would be in communication with the ground station and
 data communications link with the mobile receiver station                  the passenger and also be continuous and uninterrupted in
 according to the IEEE 802.16 Air Interface Standard terres-                time.
 trial radio access network protocol in a mesh network con-                    The IEEE 802.16 Air Interface Standard, often called
 figuration.                                                           55   "WiMax" and built upon OFDM protocols as part of the next
    In other aspects, the invention relates to a network for                generation wireless (4G), is a specification for fixed broad-
 providing high speed data communications, comprising: a                    band wireless access systems employing a point-to-multi-
 plurality of terrestrial transmission stations that are located            point (PMP) architecture. The IEEE 802.16 Air Interface
 within overlapping communications range; and an airborne                   Specification is a very capable, while complex, specification
 receiver station, where the plurality of terrestrial transmission     60   with current data transfer rates as high as 75 megabits per
 stations provide a continuous and uninterrupted high speed                 second (Mbps), and sometimes higher. There are allowances
 data communications link with the mobile receiver station                  for a number of physical layers for different frequency bands
 according to the IEEE 802.16 Air Interface Standard.                       and region-by-region frequency regulatory rules. There are
    In other aspects, the invention relates to a network for                features that allow an IP centric system or an ATM centric
 providing high speed data communications, comprising: a               65   system depending upon the needs of customers. The specifi-
 plurality of terrestrial transmission stations that are located            cation is designed to cover application to diverse markets
 within overlapping communications range; and a seaborne                    from very high bandwidth businesses to SOHO and residen-

                                                                Appx41
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               115 Filed: 12 of 72 PageID #: 60


                                                      US 9,312,947 B2
                               3                                                                        4
 tial users. The initial version was developed with the goal of         services. They can be polled individually or in groups. They
 meeting the requirements of a vast array of deployment sce-            can recycle bandwidth already allocated to make requests for
 narios for broadband wireless access (BW A) systems oper-              more. They can signal the need to be polled, and they can
 ating between 10-66 GHz. Revisions to the base IEEE 802.16             piggyback requests for bandwidth. This is made possible with
 standard targeting the sub 11 GHz are envisioned and              5    "beam forming" of the signal down to a 4 degree wide "pencil
 intended to be captured for use within the scope of the present        beam". Beam forming also enables the signal to be electroni-
 invention. The present invention envisions inclusion of the            cally adapted (null steering) to connect with a fast-moving
 technology and performance requirements of IEEE 802.16,                aircraft.
 i.e. OFDM, but may include other technology adaptations to                FIG. 1 shows an example of a broadband communication
 achieve connectivity with an aircraft in flight. OFDM is con-     10   system 10 for in-flight aircraft in accordance with one
 sidered to be a distinguishing feature of the next generation          embodiment of the present invention. The system 10 includes
 wireless radio technology, also known as "4G."                         a series of ground located transmitters 16 located along an air
     System Profiles, Protocol Implementation Conformance               corridor 12. As an airliner passes along its flight path 18, it
 Statement Proforma, Test Suite Structure & Test Purposes,              moves along different coverage areas 14 provided by the
 and Abstract Test Suite specifications for 10 to 66 GHz and       15   transmitters 16 without a loss of communications. It should
 sub 11 GHz, have been developed all according to the ISO/              be understood that a single transmitter 16 may cover all
 IEC 9464 series (equivalent to ITU-T x.290 series) of con-             aircraft within range in the air corridor 12. Through the
 formance testing standards. The 802 .16 standard covers both           unique properties of 4G OFDM technology envisioned in the
 the Media Access Control (MAC) and the physical (PHY)                  present invention, one base station is able to reuse the same
 layers access standard for systems in the frequency ranges        20   frequency to communication with multiple aircraft simulta-
 10-66 GHz and sub 11 GHz.                                              neously. Also, an aircraft may be simultaneously within the
    A number of PHY considerations were taken into account              overlapping range of multiple transmitters 16 as it travels
 for the target environment. At higher frequencies, line-of-            along its flight path 18. When an aircraft is in the coverage
 sight is a must. This requirement eases the effect of multi-           area, as well as when the aircraft is moving from one coverage
 path, allowing for wide channels, typically greater than 10       25   area to the next, the passenger is able to remain in contact with
 MHz in bandwidth. This gives IEEE 802.16 the ability to                the ground station through a direct link, continuous and with-
 provide very high capacity links on both the uplink and the            out interruption in time.
 downlink. For sub 11 GHz non line-of-sight capability is a                FIG. 2 shows an example of a WiMax broadband commu-
 requirement. The standard is designed to accommodate either            nication system 20 for the continental United States. It should
 Time Division Duplexing (TDD) or Frequency Division               30   be noted that the drawing is not to scale and the actual number
 Duplexing (FDD) deployments, allowing for both full and                of transmitters will be greater than shown. Transmission of
 half-duplex terminals in the FDD case. The current invention           WiMax signals typically requires a line-of-sight (LOS) link
 envisions utilizing multiple custom adaptations of the PHY             between the transmitter and receiver. While conventional
 layer of software.                                                     WiMax performance standards typically have a maximum
    The MAC is designed specifically for the PMP wireless          35   range of34 miles, it is important to note that this range is from
 access environment. It supports higher layer or transport pro-         ground point to ground point. WiMax has a range of well over
 tocols such as ATM, Ethernet or Internet Protocol (IP), and is         100 miles for a ground point to aircraft link due to the
 designed to easily accommodate future protocols that have              increased distance of a LOS link and other modifications to an
 not yet been developed. The MAC is designed for very high              OFDM-based radio.
 bit rates of the truly broadband physical layer, while deliver-   40      A great majority of passenger aircraft in the United States
 ing ATM compatible Quality of Service (QoS); UGS, rtPS,                travel in "air corridors" that function similar to highways. Air
 nrtPS, and Best Effort. The present invention envisions mul-           corridors typically exist along major east/west and north/
 tiple unique configurations of the MAC layer of the radio              south routes between high population areas (e.g., California,
 system.                                                                the northeastern corridor of the United States, etc.). Aircraft
    The frame structure allows terminals to be dynamically         45   are routed along these corridors in order to more efficiently
 assigned uplink and downlink burst profiles according to their         move air traffic to and from their final destinations. Since
 link conditions. This allows a tradeoffbetween capacity and            most air traffic passes through these paths, a system for pro-
 robustness in real-time, and provides roughly a two times              viding 4G WiMax access to in-flight aircraft could cover only
 increase in capacity on average when compared to non-adap-             the air corridors in lieu of trying to provide coverage for all
 tive systems, while maintaining appropriate link availability.    50   airspace in the country. This has the advantage of providing a
    The 802.16 MAC uses a variable length Protocol Data Unit            significant cost advantage by reducing the number of trans-
 (PDU) along with a number of other concepts that greatly               mitters while still covering the majority of flights. However,
 increase the efficiency of the standard. Multiple MAC PDUs             as the OFDM signal flows outward from the typical air cor-
 may be linked into a single burst to save PRY overhead.                ridors, the signal becomes weaker but nonetheless perceptible
 Additionally, multiple Service Data Units (SDU) for the same      55   by random-flying aircraft.
 service may be linked into a single MAC PDU, saving on                    The system provides high speed broadband communica-
 MAC header overhead. Fragmentation allows very large                   tions to an in-flight aircraft while the aircraft is within the air
 SDUs to be sent across frame boundaries to guarantee the               corridor. Technology to manage the user's transition from one
 QoS of competing services. And, payload header suppression             transmitter to another is well known to those of ordinary skill
 can be used to reduce the overhead caused by the redundant        60   in the art. The communications link may provide the user with
 portions of SDU headers.                                               such data communications as internet access, streaming
    The MAC uses a self-correcting bandwidth request/grant              video, voice-over IP, etc. Additionally, the system may pro-
 scheme that eliminates the overhead and delay of acknowl-              vide data on the aircraft to parties on the ground such as an air
 edgements, while simultaneously allowing better QoS han-               traffic controller. Examples of aircraft data include air traffic
 dling than traditional acknowledged schemes. Terminals have       65   control information, aircraft status and performance informa-
 a variety of options available to them for requesting band-            tion, video security surveillance of the aircraft interior, etc.
 width depending upon the QoS and traffic parameters of their           The system may be accessed directly by an individual aboard

                                                            Appx42
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               116 Filed: 13 of 72 PageID #: 61


                                                       US 9,312,947 B2
                                5                                                                         6
 an aircraft via a direct connnunication link that is continuous          Line of Site (LOS) transmission distance. The resultant plots
 and uninterrupted in time with the ground. In an alternative             were then incorporated in the STA application process and
 embodiment, the system may be accessed by the aircraft that              submitted to the FCC for approval of a Temporary authority to
 it in tum provides individual with direct access that is con-            utilize licensed frequencies in and around the subject test
 tinuous and uninterrupted in time via an onboard network            5    area.
 such as a LAN or in-cabin wireless network via a server                     In the present invention, reuse of frequencies made pos-
 relayed to the ground using the modified OFDM or WiMAX                   sible with "beam forming" of the signal down to a 4 degree
 connection.                                                              wide "pencilbeam" by a "software definable radio (SDR)". In
     FIG. 3 shows an alternate embodiment of the present                  these embodiments, the signal is transmitted down such a
 invention. Specifically, it shows a schematic view of a broad-      10   narrow beam that interference with nearby signals on the
 band connnunication network over the ocean for in-flight                 same or very close frequencies is minimized. By using a
 aircraft and surface shipping. In this embodiment, the net-              buffer range between beams of the signals, the same frequen-
 work utilizes "terrestrial" based stations that include land             cies may be recycled or re-used for different connnunications
 based stations 30, ocean shipping 32 and in-flight aircraft 34.          links between nodes. In optimum conditions, it is possible to
 Under this definition, any surface node (land or sea) or in-        15   achieve 288 reuses of the same frequency. This has the great
 flight node is considered terrestrial. These nodes interlink to          advantage of minimized the necessary frequency spectrum
 form a network "mesh" that may include: an air mesh; a sea               required to operate the network.
 mesh; or a combined air-sea mesh. Under this definition, the                Another advantage of the use of SDR involves a more
 nodes share interconnectivity where the individual nodes of              stable and manageable system of transitioning between com-
 the mesh network serve as repeaters in and among each other         20   munications links among moving nodes. With a narrow beam,
 to provide redundancy of connnunication links. Additionally,             a high quality connnunication link may be established with a
 it should be understood in this application that the use of the          more distant node rather than the closest node. This link will
 terms "aircraft" and "airliner" are interchangeable and should           conceivably last longer as the distant node moves through the
 include all types of aviation including: connnercial aviation,           transmission range towards the base station.
 military aviation, and general aviation of all types and pur-       25      FIG. 5 shows a schematic diagram of the actual test net-
 poses.                                                                   work that was simulated in FIG. 4 in accordance with one
     In order to understand and typify the expected radio cov-            embodiment of the present invention. An internet access link
 erage of the present invention, as well as prepare for the FCC           50 is provided through a land based computer network. The
 STA authorization process, a comprehensive Frequency Plot                link is connected to a base station antenna 52 that focuses the
 Map was created. FIG. 4a shows a schematic view of the              30   RF energy to the intended receiver. In this embodiment, the
 results of one Frequency Plot Map created by a computer                  antenna is a Proxim Wireless Flat Panel Model 3338-AOO-
 simulation of the performance of the network in accordance               060 external antenna. The antenna is part of Proxim's Wire-
 with one embodiment of the present invention. The diagram                less's Tsunami MP.16 Model 3500 products. These products
 shows a simulated network in a section of Puget Sound                    include a Model M3500-BSR-EU base station and a Model
 between the coast of Washington and British Columbia. A             35   3500-SSR-EU subscriber unit. The antenna 52 is vertically
 land based station 40 is making a communications link to a               polarized with a 17 dBi gain. It has an azimuth beamwidth of
 helicopter 42 and a boat 44. The smaller operating area 46               60°+/-4° and an elevation beamwidth of 10°.
 shows the range of connnunications links at an operating                    The test network comprised several discreet elements. At
 frequency of 5. 8 MHz. The largeroperating area 48 shows the             the core of the network, the Tsunami MP.16 Model 3 500 base
 range of connnunications links at an operating frequency of         40   station was mounted on top of a roof structure at a height of
 3.5 MHz                                                                  407 feet above sea level, as measured by GPS receivers. The
     FIG. 4b shows a second frequency plot map created by the             base station was connected via l00BaseT to an Ethernet
 same computer simulation. The map shows a base station 41                switch that hosted several data servers; a file server for large
 on land and a target helicopter 43. The simulated system                 file transfer, a network management/Data capture station, and
 utilizes the Proxim Networks Tsunami MP.16 Model 3500               45   a video server utilizing VLC's server side software to multi-
 and Model 3338-AOO-060 antenna operating at a frequency                  cast a movie file through the WiMAX link. The network core
 of3.5 GHz. The broader area 47 represents horizontal cover-              was also attached to the internet via a DSL router that had a
 age for antenna mounted at 407 foot elevation confined to 60             1.5 Mb downlink and 768 uplink connection.
 degree Azimuth Beamwidth. The more narrow area 45 rep-                      FIG. 6 shows a diagram of the internal network configura-
 resents vertical coverage area of 10 degree Elevation Beam-         50   tions for the target craft shown in FIG. 5 in accordance with
 width at target height of 10,800 feet.                                   one embodiment of the present invention. In each target
     Both frequency plot maps were generated with Radio                   vehicle 54 and 58, a Tsunami MP.16 Model 3500 subscriber
 Mobile Version 7 .1.1 software utilizing the plot transmission           unit was installed as well as a 17 dBi external Patch antenna
 characteristics of the raw RF signal. Radio Mobile is a Radio            62. An onboard switched network 64 was created to connect
 Propagation and Virtual Mapping computer simulation soft-           55   3 laptops 66, each running specific applications for the test
 ware that is listed as Freeware. The software uses digital               suite including: a video client/skype VOIP unit; a data col-
 terrain elevation data for automatic extraction of a path profile        lection/network monitoring unit; and a video conferencing
 between a transmitter and a receiver. The path data is added to          unit utilizing a Logitech 1.3 Megapixel QuickCam support-
 radio system specific attributes, environmental and statistical          ing both Yahoo and Microsoft messaging clients. Variations
 parameters to feed into an Irregular Terrain Model radio            60   were undertaken in some vehicles due to variations in
 propagation calculation. The software utilizes USGS Earth                onboard-power options and restrictions to mounting options
 Resource Observation and Science (EROS) data provided by                 and location of equipment.
 the United States Geological Survey. The data sets are in BIL               Wind-load survival for the Proxim Model 333S-AOO-060
 format at 1/4 arc second resolution (3 meter).                           antenna is calculated at 220 Km/h, and is operationally rated
     The use of Radio Mobile software, customized for the 3.5        65   at 160 Km/h, as such it was not possible to mount the antenna
 GHz frequency band as well as for the particular lobe char-              to the exterior of the aircraft as the aircraft's top speed is 230
 acteristics of the flat panel antenna, demonstrated a 20+ mile           Km/h. Instead the antenna was mounted inside the canopy in

                                                              Appx43
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               117 Filed: 14 of 72 PageID #: 62


                                                        US 9,312,947 B2
                                7                                                                        8
 the copilot's seat position which did have some effect on                modulation method called Scalable OFDMA (SOFDMA),
 antenna aiming/signal reception due to large nearby metal                the 802.16-2005 standard will make the older 802.16-2004
 objects such as the avionics instrument cluster, etc. This issue         standard which uses OFDM-256 outdated. However, there
 was partially mitigated by manual manipulation of the heli-              are plans for a migration path from the older version of the
 copter orientation in flight by the pilot after signal degrada-     5    standard to the more robust, mobile modulation scheme. In
 tion was noted, or manual movement of the antenna if flight              any case, compatibility between similar system profiles is a
 path reorientation was not practical.                                    distinct possibility. SOFDMA and OFDMA256 are typically
     The demonstration testing ofWiMAX capable equipment                  not compatible so most equipment may have to be replaced.
 in the 3.5 GHz and 5.8 GHz spectrum ranges successfully                  However, attempts are being made to provide a migration
 established communications with both airborne and water             10   path for older equipment to OFDMA256 compatibility which
 based vehicles. The initial test is targeted at the range of 20          would ease the transition for those networks which have
 miles, with later portions of the test at 50 miles. Both vehicles        already made the switch to SOFDMA.
 were initially stationary in position (PtP), but the airborne               SOFDMA will improve upon OFDM256 for NLOS appli-
 target also tested altitude targets up to two vertical miles. In         cations by improving NLOS coverage by utilizing advanced
 the final stages of testing, the airborne vehicle traveled at       15   antenna diversity schemes, and hybrid-Automatic Retrans-
 higher speeds (PtMP). The tests were conducted utilizing the             mission Request (hARQ). Also, system gain is increased by
 IEEE 802.15-2004 Standard for mobile applications. The                   use of denser sub-channelization, thereby improving indoor
 tests comprised multiple phases with increasing difficultly.             penetration. The newer standard introduces high-perfor-
 These phases were: (1.) 20mileLOS, PTP shot to boat; (2.) 20             mance coding techniques such as Turbo Coding and Low-
 mile LOS, PTP shot to helicopter, 200' above boat; (3.) 21          20   Density Parity Check (LD PC), enhancing security and NLOS
 mile LOS, PTP shot to helicopter, 10,572' (2 mi) above boat;             performance and introduces downlink sub-channelization,
 (4.) 20-mileradius speed tests to helicopter at 10,000; and(5.)          allowing network administrators to trade coverage for capac-
 LOS, PTP distance test at 10,000'.                                       ity or vice versa. It also improves coverage by introducing
     The Proxim equipment, though locked to QPSK-3/4                      Adaptive Antenna Systems (AAS) and Multiple Input-Mul-
 Modulation/FEC and below modulation types, was able to              25   tiple Output (MIMO) technology. It eliminates channel band-
 reliably operate at 30.52 statutory miles from the base station,         width dependencies on sub-carrier spacing, allowing for
 and was able to reliably operate at 140 MPH. Combined                    equal performance under any RF channel spacing (1.25-14
 transmit/receive data rates above 2 Mbps were realized in                MHz). Finally, SOFDMA's enhanced Fast Fourier Transform
 many portions of the test areas. Video conferencing via MSN              (FFT) algorithm can tolerate larger delay spreads and there by
 messenger, VOIP calls via Skype, remote streaming of movie          30   increasing resistance to multi path interference.
 files, and large file transfers were simultaneously executed at             WiMAX's equivalent in Europe is HIPERMAN. Efforts
 distances of 20+ miles, and during vehicle movement---even               are underway to make 802.16 and HIPERMAN interoperate
 at high speeds. Multi-megabit data transmission speeds were              seamlessly. Additionally, Korea's telecom industry has devel-
 achieved during multiple samples, as well as testing ofVOIP              oped its own standard, WiBro which is expected to be fully
 applications, high-speed file transfers, video conferencing to      35   interoperable with WiMAX. Consequently, it is fully
 various locations in the United States, and multi-media video            intended that the definition of "WiMax" and IEEE Standard
 streaming oflarge movie files.                                           802.16 cover any and all versions, modifications and equiva-
     Doppler shift and signal reflectivity from water were                lents of this wireless communication standard, inclusive of
 observed during testing. To rectify these factors, the sub-              OFDM technology, also known as next generation wireless or
 scriber antenna elevation was modified upward to reduce or          40   4G.
 eliminate water reflectivity causing signal interference. Dop-              In other embodiments of the present invention, alternative
 pler shift, though observed only at speed in excess ofapproxi-           communications protocols could be used. For example, one
 mately 100 mph, did not cause signal failure but marginally              embodiment of the invention could use the UTRAN Long
 impacted the rate of throughput. This variance is to be                  Term Evolution (LTE) Terrestrial Radio Access Network pro-
 expected with the version of gear employed in the test, which       45   tocol which is based on or utilizes OFDM technology. Ver-
 was designed and configured for point to point (PTP) trans-              sions ofLTE may utilize radio air interface technology known
 mission. The impact of Doppler shift is anticipated to be                as Orthogonal Frequency Division Multiple Access
 further minimized in newer versions of WiMAX gear, with                  (OFDMA) to provide several key benefits including signifi-
 the 802.16-2005 standard, which is designed with forward                 cantly increased peak data rates, increased cell edge perfor-
 error correction capability.                                        50   mance, reduced latency, scalable bandwidth, co-existence
     It is intended that embodiments of the present invention             with GSM/EDGE/UMTS systems, reduced CAPEX and
 include present and future versions ofIEEE 802.16 Air Inter-             OPEX. LTE is scalable to allow operation in a wide range of
 face Standard that are consistent with the present disclosure.           spectrum bandwidths, from 1.4-20 MHz, using both Fre-
 For example, the IEEE Standard 802.16-2004 (approved in                  quency Division Duplex (FDD) and Time Division Duplex
 June 2004) renders the previous (and 1st) version 802.16-           55   (TDD) modes of operation, thus providing flexibility to suit
 2001 obsolete, along with its amendments 802.16a and                     any user's existing or future frequency allocation.
 802.16c. However, IEEE Standard 802.16-2004 addresses                       The performance characteristics for LTE versions of next
 only fixed systems such as Local area networks (LAN s) and               generation of 4G technology include: peak download rates of
 metropolitan area networks (MANs).                                       326.4 Mbit/s for 4x4 antennas and 172.8 Mbit/s for 2x2
     IEEE Standard 802.16-2005 (approved December, 2005              60   antennas for every 20 MHz of spectrum; peak upload rates of
 and formerly named 802.16e) adds mobility components to                  86.4 Mbit/s for every 20 MHz of spectrum; at least 200 active
 the WiMax standard. This WiMAX mobility standard is an                   users in every 5 MHz cell. (i.e., 200 active data clients); sub-5
 improvement on the modulation schemes stipulated in the                  ms latency for small IP packets; spectrum flexibility for spec-
 original WiMAX standard. It allows for fixed wireless and                trum slices as small as 1.4 MHz (and as large as 20 MHz);
 mobile Non Line of Sight (NLOS) applications primarily by           65   optimal ground to ground cell size of 5 km, 30 km sizes with
 enhancing the Orthogonal Frequency Division Multiplexing                 reasonable performance, and up to 100 km cell sizes sup-
 Access (OFDMA). It is possible that by stipulating a new                 ported with acceptable performance (this will be increased

                                                               Appx44
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               118 Filed: 15 of 72 PageID #: 63


                                                        US 9,312,947 B2
                                 9                                                                        10
 for air to ground cells); co-existence with legacy standards                 What is claimed is:
 (users can transparently start a transfer of data in an area using           1. A network base station within a network including at
 an LTE standard, and, should coverage be unavailable, con-                least one in-flight communication node, the network base
 tinue the operation without any action on their part using                station comprising:
 GSM/GPRS or W-CDMA-based UMTS or even 3GPP2 net-                     5       a radio configured via software defined radio to utilize
 works such as CDMA or EV-DO; and support for a MBSFN                            beamforming to generate a plurality of steerable beams,
 (Multicast Broadcast Single Frequency Network) which can                        to enable multiple reuses of a same frequency to com-
 deliver services such as Mobile TV using the LTE infrastruc-                    municate with respective different in-flight communica-
 ture.                                                                           tion nodes via respective different communication links,
    Another alternative communications protocol that could be         10      wherein the respective different communication links are
 used is the IEEE Standard 802.20 which is known as "The                         high speed data communications links that are enabled
 Standard Air Interface for Mobile Broadband Wireless                            to be maintained continuous and uninterrupted in time
 Access Systems Supporting Vehicular Mobility-Physical                           while one of the respective different in-flight communi-
 and Media Access Control Layer Specification" (hereafter                        cation nodes transitions between a first steerable beam
 "802.20"). 802.20 is a variation of next generation wireless or      15         associated with a first coverage area defined by the net-
 4G technology, a mobility enhancement of 802.16. 802.20 is                      work base station and a second steerable beam associ-
 defined as a protocol for boosting IP-based data-transmission                   ated with a second coverage area defined by another
 rates for mobile users in wireless metropolitan area networks                   network base station, the first and second coverage areas
 (WMANs). It would be capable of supporting people and                           at least partially overlapping.
 devices sitting in trains, subways and automobiles traveling at      20      2. The network base station of claim 1, wherein the high
 up to 150 miles per hour. 802.20 would support transmission               speed data communications link is provided continuous and
 speeds of up to IM bit/sec in the 3-GHz spectrum band.                    uninterrupted in time with the receiver station employing
 802.20 is also based on OFDM. The 802.20 standard seeks to                Orthogonal Frequency Division Multiplexing (OFDM).
 boost real-time data transmission rates in wireless metropoli-               3. The network base station of claim 2, wherein the net-
 tan area networks connections based on cell ranges of up to 15       25   work base station employs communication bands in about a 2
 kilometers or more for ground to ground stations. This range              GHz to about a 6 GHz range utilizing OFDM.
 will be greater for ground to air connections.                               4. The network base station of claim 1, wherein the high
    802.20 shares some similarities with IEEE Standard                     speed data communications link is provided continuous and
 802.16e. The 802.16e and 802.20 standards both specify                    uninterrupted in time with the receiver station according to
 mobile air interfaces for wireless broadband. On the surface         30   Long Term Evolution (LTE) terrestrial radio access network
 the two standards are similar, but there are some important               protocols.
 differences between them. Specifically, 802.16e will add                     5. The network base station of claim 1, wherein the high
 mobility in the 2 to 6 GHz licensed bands while 802.20 aims               speed data communications link is provided continuous and
 for operation in licensed bands below 3.5 GHz. Typically,                 uninterrupted in time with the receiver station according to
 802.16e will be used by the mo bile user walking around with         35   IEEE 802.16 Air Interface Standard.
 a PDA or laptop, while 802.20 will address high-speed mobil-                 6. The network base station of claim 1, wherein the radio is
 ity issues. Another key difference will be the manner in which            further configured to generate the plurality ofbeams such that
 the two are deployed with users deploying 802.20 as an over-              at least one of the beams has a beamwidth ofless than about
 lay to their existing networks including existing 802.16 net-             4 degrees.
 works.                                                               40      7. The network base station of claim 1, wherein the net-
    While the invention has been described based on funda-                 work base station is one of a plurality of base stations in a land
 mental embodiments of the forms of next generation wireless               based mesh network serving in-flight nodes.
 or 4G technology, it also should be understood that all                      8. The network base station of claim 1, wherein the net-
 described embodiments may utilize hybrid or modified ver-                 work base station is one of a plurality of base stations in an air
 sions of the next generation wireless technology, 4G or              45   mesh network of in-flight nodes serving at least one surface
 802.16 (WiMAX) based on orutilizing OFDM as applicable.                   node.
 It is recognized that these embodiments describe only por-                   9. The network base station of claim 1, wherein the net-
 tions of the foundation components necessary in the construc-             work base station is one of a plurality of base stations in an air
 tion of a radio to communicate with an aircraft at true broad-            mesh network of in-flight nodes serving at least one other
 band data rates over extreme distances. Such a transceiver,          50   in-flight node on another aircraft.
 modified to the magnitude necessary to maintain an effective                 10. The network base station of claim 1, wherein the net-
 communication continuous and uninterrupted in time with                   work base station is one of a plurality of base stations in an air
 aircraft at jet speed and extreme distances from the terrestrial          and sea mesh network of in-flight nodes and sea based nodes
 station, will include protocols and code which are not pres-              serving at least one surface node or at least one air node.
 ently included within the definitions or standards of802.16 or       55      11. A network comprising a plurality of network base sta-
 WiMAX or LTE. Despite the modification of the 4G trans-                   tions configured to communicate with at least one in-flight
 ceivers, both terrestrial and airborne units, inclusion of the            node, the network base stations including at least two base
 component elements described in 802.16 or WiMAX or LTE,                   stations having coverage areas that at least partially overlap
 specifically to include OFDM, make such a radio subject to                with each other, each of the at least two base stations includ-
 the claims of this invention.                                        60   ing:
    While the invention has been described with respect to a                  a radio configured via software defined radio to utilize
 limited number of embodiments, those skilled in the art,                        beamforming to generate a plurality of steerable beams,
 having benefit of this disclosure, will appreciate that other                   to enable multiple reuses of a same frequency to com-
 embodiments can be devised which do not depart from the                         municate with respective different in-flight communica-
 scope of the invention as disclosed here. Accordingly, the           65         tion nodes via respective different communication links,
 scope of the invention should be limited only by the attached                wherein the respective different communication links are
 claims.                                                                         high speed data communications links that are enabled

                                                                Appx45
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               119 Filed: 16 of 72 PageID #: 64


                                                     US 9,312,947 B2
                              11                                                                      12
       to be maintained continuous and uninterrupted in time           rupted in time with the receiver station according to IEEE
       while one of the respective different in-flight communi-        802 .16 Airlnterface Standard.
       cation nodes transitions between corresponding steer-              16. The network of claim 11, wherein the radio is further
       able beams associated with respective ones of the cov-          configured to generate the plurality of beams such that at least
       erage areas defined by the at least two base stations.     5    one of the beams has a beamwidth of less than about 4
    12. The network of claim 11, wherein the high speed data           degrees.
 communications link is provided continuous and uninter-                  17. The network of claim 11, wherein mesh network is a
 rupted in time with the receiver station employing Orthogonal
                                                                       land based mesh network serving in-flight nodes.
 Frequency Division Multiplexing (OFDM).
                                                                          18. The network of claim 11, wherein the mesh network is
    13. The network of claim 12, wherein the radio employs        10
                                                                       an air mesh network of in-flight nodes serving at least one
 communication bands in about a 2 GHz to about a 6 GHz
 range utilizing OFDM.                                                 surface node.
    14. The network of claim 11, wherein the high speed data              19. The network of claim 11, wherein the mesh network is
 communications link is provided continuous and uninter-               an air mesh network of in-flight nodes serving at least one
 rupted in time with the receiver station according to Long       15
                                                                       other in-flight node on another aircraft.
                                                                         20. The network of claim 11, wherein the mesh network is
 Term Evolution (LTE) terrestrial radio access network proto-
 cols.                                                                 an air and sea mesh network of in-flight nodes and sea based
    15. The network of claim 11, wherein the high speed data           nodes serving at least one surface node or at least one air node.
 communications link is provided continuous and uninter-                                      *   *    *   *   *




                                                            Appx46
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               120 Filed: 17 of 72 PageID #: 65




                               EXHIBIT 2




                                   Appx47
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed Page: 02/28/22
                                                         121 Filed:   Page 12/19/2022
                                                                                18 of 72 PageID #: 66
                                    I 1111111111111111 1111111111 111111111111111 111111111111111 IIIIII IIII IIII IIII
                                                                                          US011223417B2


 c12)   United States Patent                                           (IO)   Patent No.:     US 11,223,417 B2
        Alcorn                                                         (45)   Date of Patent:       Jan.11,2022

 (54)   TERRESTRIAL BASED HIGH SPEED DATA                         (58)    Field of Classification Search
        COMMUNICATIONS MESH NETWORK                                       CPC .............. H04B 7/18506; H04B 7/1851; H04L
                                                                                                         27/2601; H04W 84/06
 (71)   Applicant: SMARTSKY NETWORKS LLC,                                 See application file for complete search history.
                   Morrisville, NC (US)

 (72)   Inventor:    Donald Alcorn, Montgomery, AL (US)           (56)                     References Cited
 (73)   Assignee: SmartSky Networks, LLC,                                            U.S. PATENT DOCUMENTS
                  Morrisville, NC (US)
                                                                           614,879 A        1111898 Miller
 ( *)   Notice:      Subject to any disclaimer, the term ofthis          2,418,961 A         4/1947 Wehner
                     patent is extended or adjusted under 35                                  (Continued)
                     U.S.C. 154(b) by O days.
                                                                                FOREIGN PATENT DOCUMENTS
 (21)   Appl. No.: 17/337,715
                                                                  EP                 1341327 Al      3/2003
                                                                  JP              2005159448 A       6/2005
 (22)   Filed:       Jun.3,2021                                   WO              2013089731 Al      6/2013

 (65)                  Prior Publication Data
                                                                                         OTHER PUBLICATIONS
        US 2021/0297146 Al          Sep. 23, 2021
                                                                  Leahman, Michael A., "Adaptive Band-Partioning of Interference
                 Related U.S. Application Data                    Cancellation in Communications System," M. Eng. Thesis, MIT
                                                                  EECS, 1997, all enclosed pages cited.
 (63)   Continuation of application No. 16/951,493, filed on
        Nov. 18, 2020, which is a continuation of application                                 (Continued)
        No. 16/599,519, filed on Oct. 11, 2019, now Pat. No.
        10,855,364, which is a continuation of application
        No. 15/964,694, filed on Apr. 27, 2018, now Pat. No.      Primary Examiner - Faruk Hamza
        10,484,079, which is a continuation of application        Assistant Examiner - Abusayeed M Haque
        No. 15/068,783, filed on Mar. 14, 2016, now Pat. No.      (74) Attorney, Agent, or Firm - Burr & Forman, LLP
        9,985,717, which is a continuation of application No.
                         (Continued)                              (57)                       ABSTRACT
 (51)   Int. Cl.                                                  A network for providing high speed data communications
        H04B 71185            (2006.01)                           may include multiple terrestrial transmission stations that
        H04W84/00             (2009.01)                           are located within overlapping communications range and a
        H04W84/06             (2009.01)                           mobile receiver station. The terrestrial transmission stations
        H04L 27126            (2006.01)                           provide a continuous and uninterrupted high speed data
 (52)   U.S. Cl.                                                  communications link with the mobile receiver station
        CPC ....... H04B 7118506 (2013.01); H04B 711851           employing a wireless radio access network protocol.
                 (2013.01); H04B 7118508 (2013.01); H04L
                2712601 (2013.01); H04W 84/005 (2013.01);
                                    H04W 84/06 (2013.01)                            20 Claims, 7 Drawing Sheets




                                    On-8Gard
                                  Vehicle Network




                                                                         Fast Ethernet
                                                                            Switch

                                   Base Stat1on-
                                   N0twork Core




                                                            Appx48
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               122 Filed: 19 of 72 PageID #: 67


                                                        US 11,223,417 B2
                                                                  Page 2


                Related U.S. Application Data                              2003/0203736   Al   10/2003 Chi et al.
                                                                           2004/0008253   Al    1/2004 Monroe
         13/862,508, filed on Apr. 15, 2013, now Pat. No.                  2004/0095907   Al    5/2004 Agee
         9,312,947, which is a continuation of application No.             2004/0132495   Al * 7/2004 Horton, Jr.             G08G 5/065
         13/601,452, filed on Aug. 31, 2012, now Pat. No.                                                                      455/562.1
                                                                           2004/0203706   Al    10/2004   Dietz et al.
         8,442,520, which is a continuation of application No.
                                                                           2004/0240590   Al    12/2004   Cameron
         13/601,413, filed on Aug. 31, 2012, now Pat. No.                  2004/0253949   Al    12/2004   Swensen et al.
         8,792,880, which is a continuation of application No.             2004/0253951   Al    12/2004   Chang et al.
         13/552,896, filed on Jul. 19, 2012, now Pat. No.                  2005/0028214   Al     212005   Hall
         8,311,533, said application No. 13/601,452 is a con-              2005/0053026   Al     3/2005   Mullan et al.
                                                                           2005/0059396   Al     3/2005   Chuah et al.
         tinuation of application No. 13/552,896, filed on Jul.            2005/0074019   Al     4/2005   Handforth et al.
         19, 2012, now Pat. No. 8,311,533, which is a contin-              2005/0085249   Al     4/2005   Goldstein et al.
         uation of application No. 12/355,341, filed on Jan. 16,           2005/0088980   Al     4/2005   Olkkonen et al.
         2009, now Pat. No. 8,254,913, which is a continu-                 2005/0108374   Al     5/2005   Pi erzga et al.
         ation-in-part of application No. 11/622,811, filed on             2005/0164664   Al     7/2005   Difonzo et al.
                                                                           2005/0197748   Al     9/2005   Holst
         Jan. 12, 2007, now abandoned, which is a continu-                 2005/0232579   Al    10/2005   Monroe
         ation-in-part of application No. 11/206,695, filed on             2005/0255845   Al    11/2005   Leuca et al.
         Aug. 18, 2005, now abandoned.                                     2005/0256616   Al    11/2005   Rhoades
                                                                           2005/0286451   Al    12/2005   Kim et al.
 (56)                    References Cited                                  2006/0007952   Al     1/2006   Oishi et al.
                                                                           2006/0035588   Al     2/2006   Chapelle
                  U.S. PATENT DOCUMENTS                                    2006/0040612   Al     2/2006   Min
                                                                           2006/0102798   Al     5/2006   Cox
                                                                           2006/0140572   Al     6/2006   Ruiz
        5,681,300 A   10/1997 Ahr et al.
                                                                           2006/0167598   Al     7/2006   Pennarola
        5,819,000 A   10/1998 Oshima
                                                                           2006/0219776   Al    10/2006   Finn
        6,047,165 A * 4/2000 Wright                   G05D 1/0055
                                                                           2006/0229070   Al    10/2006   de La Chapelle et al.
                                                          340/945          2006/0229077   Al    10/2006   Monk
        6,108,539 A *     8/2000 Ray.                H04B 7/18506          2006/0239537   Al    10/2006   Shragai
                                                          455/427          2006/0251507   Al    11/2006   Braswell
        6,201,797 Bl*     3/2001 Leuca               H04B 7/18508          2006/0264210   Al    11/2006   Lovberg et al.
                                                          370/316          2006/0265183   Al    11/2006   Jacques
        6,285,878 Bl      9/2001 Lai                                       2007/0130389   Al     6/2007   Petersson et al.
        6,345,186 Bl*     2/2002 Schultz              H04W36/24            2007/0184846   Al*    8/2007   Horton, Jr.           G08G 5/065
                                                         455/436                                                                 455/456.1
        6,377,802 Bl   4/2002 McKenna et al.                               2007/0226407   Al   9/2007     Radulescu et al.
        6,487,426 Bl  11/2002 Haber                                        2008/0090567   Al   4/2008     Gilbert
        6,507,739 Bl* 1/2003 Gross .                 H04B 7/18504          2008/0233974   Al   9/2008     Xu
                                                         455/11.1          2008/0274734   Al  11/2008     Kostanic et al.
      6,512,921   Bl      1/2003   Hadinger                                2010/0073197   Al   3/2010     Eagleton et al.
      6,675,013   Bl      1/2004   Gross et al.                            2010/0124210   Al   5/2010     Lo
      6,694,143   Bl      2/2004   Beamish et al.                          2011/0309979   Al  12/2011     Redford et al.
      6,757,712   Bl      6/2004   Bastian et al.                          2018/0124671   Al* 5/2018      Zhang .           H04B 7/18506
      6,779,476   Bl      8/2004   Sowell et al.
      6,781,513   Bl      8/2004   Korkosz et al.
      6,816,728   B2     11/2004   Igloi et al.                                            OTHER PUBLICATIONS
      6,940,426   Bl      9/2005   Vaida
      7,043,225   Bl      5/2006   Patel et al.                        Martin, J.N., et al., "High-Speed Internet Access via Stratospheric
      7,088,288   Bl      8/2006   Margolese                           HALO Aircraft," Raytheon Syst. Co., Plano, TX (Piscataway, NJ,
      7,356,389   B2      4/2008   Holst
      7,460,830   B2     12/2008   Moore                               Apr. 10, 2000), from the 2000 EEEE Emerging Technologies
      7,603,137   Bl     10/2009   Elliott                             Symposium on Broadband, Wireless Internet Access, Digest of
      7,715,853   Bl      5/2010   Frerking et al.                     Papers, Richardson, TX, all enclosed pages cited.
      7,751,815   B2      7/2010   McKenna et al.                      Taverna, Michael A., "From Seatback to Laptop," Aviation Week
      7,933,599   B2      4/2011   F ernandez-Corbaton et al.          and Space Technology (New York Jul. 19, 2004). vol. 161, No. 3,
      7,984,190   B2      7/2011   Rhoads                              all enclosed pages cited.
      8,023,936   B2      9/2011   Hudson                              UTRA-UTRAN Long Term Evolution (LTE) and 3GPP System
      8,032,135   Bl     10/2011   Redford et al.
                                                                       Architecture Evolution (SAE), Nov. 2-3, 2004, all enclosed pages
      8,249,586   B2      8/2012   Bosenbecker
      8,254,913   B2      8/2012   Alcorn                              cited.
      8,311,533   Bl     11/2012   Alcorn                              Mecham, Michael, et al., "Meeting Expectations," Aviation Week
      8,700,032   B2      4/2014   Redford et al.                      and Space Technology (New York Feb. 28, 2005), vol. 162, all
      8,744,360   B2      6/2014   Zheng                               enclosed pages cited.
  2001/0036822    Al     11/2001   Mead et al.                         IPR from related U.S. Pat. No. 9,312,947, dated Mar. 12, 2020, all
  2001/0039189    Al     11/2001   Cox                                 pages cited in its entirety.
  2002/0004393    Al *    1/2002   Heppe.            H04B 7/18508      IEEE Standard for Local and Metropolitan Area Networks, Part 16:
                                                            455/431    Air Interface for Fixed Broadband Wireless Access Systems.
  2002/0072332    Al      6/2002   Chang et al.                        Patent Owner's Preliminary Response from related U.S. Pat. No.
  2002/0101632    Al      8/2002   Meckler                             9,312,947, dated Jun. 22, 2020, all pages cited in its entirety.
  2002/0160773    Al     10/2002   Gresham et al.                      IPR Decision Denying Institution oflnter Partes Review, dated Sep.
  2003/0046338    Al      3/2003   Runkis
                                                                       16, 2020.
  2003/0052798    Al      3/2003   Hanson
  2003/0055975    Al      3/2003   Nelson et al.                       Office Action from U.S. Appl. No. 17/067,120 dated Aug. 23, 2021,
  2003/0093187    Al      5/2003   Walker                              all pages cited in its entirety.
  2003/0093798    Al      5/2003   Rogerson
  2003/0128681    Al      7/2003   Rauschmayer                         * cited by examiner


                                                                Appx49
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               123 Filed: 20 of 72 PageID #: 68


 U.S. Patent           Jan.11,2022     Sheet 1 of 7            US 11,223,417 B2




                  12                                  14
                                                      \




                                                          16
                        18




                                     Figure 1




                                     Appx50
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               124 Filed: 21 of 72 PageID #: 69


 U.S. Patent         Jan.11,2022      Sheet 2 of 7        US 11,223,417 B2




                                                           N
                                                               .
                                                           CJ
                                                           LL




                                   Appx51
                                                                                                                                                                                                                                                                                                                                                           e
                                                                                                                                                                                                                                                                                                                                                           •
                                                                                                                                                                                                                                                                                                                                                           00
                                                                                                                                                                                                                                                                                                                                                           •
                                                                                                                                                                                                                                                                                                             I
                                                                                -----,--------~                            \                                           _.- /·,.'s;;,                                                                                (;:.·                                                                                  ~
         ( Hudson                                                                                                                                                                                                                                                            ./l.,                </                                                       ~
                                                                                   ;                                                                                   ·~                                                                                                                                                                                  ~
                                                                         ·· ,,,.. .J                        "",,_.             •"                                    ·---- '"                                                                                 I /       ,_.,
          / Bay                                                       <'                                    .,0                v,             Green,1and            CCeci                                                                                  1-··' ', weden ~,),  s                                                                          ~
             :                          y·---....                           I'\                    .,                               -;.~~
             {
                                                                                                                                                                                                                                                                                '--2_                        ·-i..
                                        J       \                               .                    " 't...•                             .         (Den)              • //            ,. . , .) \, ,                                                 ./                             .                               ,                              ,      ~
             \                      (               )
                 '-\                \               "·,,                       \ , •\'", n\ \. o!b                              . f"'-,]                      ../,.~                   ' tCBiand
                                                                                                                                                                                       L.       ~1,                                           ;
                                                                                                                                                                                                                                                  <Norwavf~--                                                /',                        / ,.,
                                                                                                                                                                                                                                                                                                                                                           =
                  )                     )                   (                           \ j \ /J              ''-S·,           '<f:s                     ,J/..'                        .   (!!,,-·, , ;r                                     <"            ..                  (~ 1 . . . . . . _.. . ,' )                          I

           / ,--------·                                 J..                                      C                                    l                 ..          --=~                                                                                                                          h                      /
         /   :                                                \            {   .... '
         !                                                                          \                                                 "c                                                              I                                           '-"/,¼,       ..,.J             )""1                  1--""',
                             j                                    ~-- v-                                    Labrador                                    s ---------- ~
                                                                                                                                                                                                                                             " ', o
                                                                                                                                                                                                                                                                                                                                                                   Case 1:22-cv-00266-GBW




                                                                                                                                          .         i                                                                                                                                                                                                      ~
                         j                                                              ~                                                                                                                                                             "'--                      ·(L,,;                                   ·,,_...,-
         ·-.         /                                                                  I.                    Sea
                                                                                                                                                                                                                                                                                                                                                           ""'?
                                                                                        ,J                                                                                                                                                                                              ,.                                              1
                                                                                                                                                                                                                                 .• ,                                                  "-:·  I ,.       .-                                                 ,...
                 ~               Canada                                                     ·                                                                                                                            r       ,,,    .r                                               ,-S           I                     i..'                          ,...
                                                                                                                                                                                                                     / n;;'.,                                                       ,(       '····-;,-'                                                    ~


                                                                                                                                                                                                                ~            ;,i J '----,                                         <; j Germany -r:1·                                        >              N
                                                                                                                                                                                                                             C                                                                                                                             0
                                                                                        \
                                                                                        ,e---~                                                                                                                        ..,··,
                                                                                                                                                                                                                                   l/7.               ~, . )
                                                                                                                                                                                                                                                     ·0 -~              __/,.../ :>i,j
                                                                                                                                                                                                                                             UK -- .V _s.-,....,--,( ,.-0:                                                                                 N
                                                                                                     )                                                                                                                                                                                                                                                     N
                                                                                                                                                                                                                                                                                                                                                <
                                                                                                                                                                                                                                                                                                                                                                             Case: 23-1058 Document




                                                -, '---,                                             L)                                                                                                              ;,__,,~<                     · '\"~ y ,>Italy ·-
                                                        .            '-..... ~ __ .,.... . . . ,.... _ _j
                                                                                                                                                                                                                                                                                                                                                                                            Document:




                                                                                                                                                                                                                    'f) J                     _)y\ (,[
                                                                                                                                                                                                                                                                                                                                                                                                    1-1




                                                                                                                                                                                                                                             ,~            /
                                                                                                                                                                                                                                                          .,
                                                                                                                                                                                                                                                                              f                                  /
                                                                                                                                                                                                                                                                                                                                            r\
                                                                                                                                                                                                                                                                                                                                            .,,w           rJJ
                                                                                                                                                                                                                                                                                                                                                           ('D
                                                                                                                                                                                                                                                                                                                                                           =-
                                                                                                                                                                                                                                                  /' ,_.,.,_\:-                                     j~                                                     ('D
                                                                                                                                                                                                                                                                                                                                              <)




Appx52
                                                                                                                                                                                                                                                                                                                                                           .....
                                                                                                                                                                                                                                                                                                                                                                                                      12 Filed




                                                                                                                           .                  I \          "-                      /                                                                                             \      .,,,-~ ' /
                                                                                                                                                                                                                                                                              ,· ?-_,.,        I                                                    ,.,.   w
                                                                                                                       /                                                                                                                          \                  /                              I                                       ✓              0
                                                                                                                                                                                                                                                                                                                                                                                                            Page:




                                                                                                                     A                                                                                                                                __ /                                          <,                                      .              ....
                                                                                                                       tlantic                                                                                                                    ,~ ,_,.": Spain                                     J (                                                  --.J

                                                                                                                                                                                                                                                      \                                                                                         '
                                                                                                                     ocean
                                                                                                                                                                                                                                                                                                                                                                                                               02/28/22




                                                                                                                                                                                                                                                           . '•                              (' ) J ,'Algeria
                                                                                                                                                                                                                                                               \. /;J-·---r--·f ~-----
                                                                                                                                                                                                                                                                         !
                                                                                                                                                                                                                                                                         I
                                                                                                                                                                                                                                                                                             \I
                                                                                                                                                                                                                                                                        I                    I
                                                                                                                                                                                                                                                                                                                                                                                                                  125 Filed:




                                                                                                                                              I                                                                                                                     I                    (
                                                                                                                                                                                                                                                                                         f        Morocco                                                  d
                                                                                                                                              1
                                                                                                                                              i                                    /                                                              . -f          I                                                                                          r.,;_
                                                                                                                                                                                                           \                                                    (
                                                                                                                                                                                                                                                                                                                                                           I-"
         34                                                                       32                                                          34                               30                          32                                             30                                                                                               I-"
                                                                                                                                                                                                                                                                                                                                                           'N
                                                                                                                                                                                                                                                                                                                                                           N
                                                                                                                                                                                                                                                                                                                                                           w
                                                                                                                                                                                                                                                                                                                                                                                                                        Page 12/19/2022




                                                                                                                                                                  FIG. 3                                                                                                                                                                                   ~
                                                                                                                                                                                                                                                                                                                                                           I-"
                                                                                                                                                                                                                                                                                                                                                           --..l
                                                                                                                                                                                                                                                                                                                                                           t;c
                                                                                                                                                                                                                                                                                                                                                           N
                                                                                                                                                                                                                                                                                                                                                                                                                             22 of 72 PageID #: 70
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               126 Filed: 23 of 72 PageID #: 71


 U.S. Patent         Jan.11,2022      Sheet 4 of 7                  US 11,223,417 B2




                                                                    '   ~   \ '




                                                                                   .
                                                                                  CJ
                                                       I   , I,,/
                                                           '_,                    LL




                                             ',   ',




                                   Appx53
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               127 Filed: 24 of 72 PageID #: 72


 U.S. Patent                Jan.11,2022        Sheet 5 of 7                                                                                                                                         US 11,223,417 B2




                                              r'S•·· .· ..·.•..
                                                                                                                                   . ·. ..                         .


                                              ;~: · . '
                                                                                      .
                                                                                                                                                                                        '       .   . .   '

                                   ro
                                    0
                                   CD                                                                                                          .,   ~        \..
                                       C:
                                       a;,                                                                                             '
                                       ~                                                                                                                                   ,. ,, .
                                       ~
                                    0
                                   Cl)
                                                                                  . ' •·.




                                             <
                                                                              ,                                           ~

                                                                 .
                                                             '                    :                    '                  ;



                                                   '                  '       .                       ,,          . '.
                                                           '
                                                                 '
                                                                                  '
                                                                                              '                     .
                                                         a;,              '           .                   •           ,,
                                               \         ~
                                                         0
                                                                              '
                                                                                  .
                                                                                                  '           '
                                                                                                                      , ,
                                                                                                                              .
                                                       :r: ' ' •' .
                                                       ....:::.c:. ,                          ,                               '
                                                         o•
                                                           ct)                            I                       \                I

                                                                                                                                                        ,, .,,                 -        ,
                                                                                                                                                                                            .''
                                                       Cl
                                                         > '
                                                                                                                                                                                                               .
                                                                                                                                                                                                              CJ
                                                                                                                                                        . '
                                                                                                                                                         '
                                                                                                                                                                   . -·
                                                                                                                                                                   '       I       '~       '                 LL
                                                                                                                                  ',           .




                                                   .                      ,,
                                                                                              '               ',
                                                                     - ,'                 ..

                                                                                                                                                        ,'             '


             ,- :   '   (



        ~1(  .I
                                   /.
                                   I                                                      I           •               \
                                                                                                                                  ..       •




                                             Appx54
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               128 Filed: 25 of 72 PageID #: 73


 U.S. Patent          Jan. 11, 2022     Sheet 6 of 7      US 11,223,417 B2




                                                                  I..()
                                                                      .
                          N
                          LO                                      CJ
                                                                  LL



                          /

         I   ;
                 ~/
             cif
         rJ~                                                 _J




                                      Appx55
                                                                                                                                                                       (j
                                                                                                                                                                       •
                                                                                                                                                                       rJ).
                                                                                                                                                                       •
                                                                                                    66
                                                                                           _,,,//    \ "---                               [ .
                                                                                                                                                                       ~
                                                                                                                                                                       ~
                                                                                                                                                                       '~"""
                                                                         J~    ~-~~~
                                                                                   ; E-=J.
                                                                                       ---       ~-
                                                                                               l==--:::=:::::.::.~                       -1
                                                                                                                                    ~-==.J
                                                                                                                                                                      = '"""
                                                  62               ~
                                                                     c:=·=~./  ~I
                                                                              r-==
                                                                                 ~'                                          r-==
                                                                   ~                        ~                               ~/2
                                                                                                                                                                       ~
                                                                                                                                                                               Case 1:22-cv-00266-GBW




                                   On-Board                Laptop Runninng             Laptopwith                       Laptop with                                    =
                                 Vehicle Network          Monitoring Software       VideoClient,Skype                Video Co!erencing                                 =
                                                                                                                                                                       ,...
                                                                                                                         Software                                     ~
                                                                                                                                                                       ,...
                                                                                                                                                                       N
                                                      I                                                                                                                0
                                                                                                                                                                       N
                                                                                                                                                                       N
                                                                                                                                                                                         Case: 23-1058 Document




                                                                                                              --- 54
                                                                                                                                                                                                        Document:
                                                                                                                                                                                                                1-1




                                           j?
                                                /I✓                                   Fast Ethernet                                                                    <J)
                                      j'                                                                                                                               ~
                                                                                                                                                                       =-
                                 j'                                                      Switch                                                                        ~




Appx56
                                                                                                                                                                       .....
                                                                                                                                                                                                                  12 Filed




                                                                                                                                                                       -.l
                                  Base Station-                                                                                                                        0
                                                                                                                                                                                                                        Page:




                                  Network Core
                                                                                                                                                                       -.
                                                                                                                                                                       -.l
                                                                                                                                    ----- -- 54
                                                                                                                                                                                                                           02/28/22
                                                                                                                                                                                                                              129 Filed:




                                                                                                                                         58
                                                                                                                                                                       d
                                                                                                                                                                       r:J).

                                                                                                                            _ _ __ __             _   _   _   .__.!    '"""'
         '------ - --------· .                                        --y-·                                                                                            '"""'
                                                                                                                                                                      'N
                                                                                                                                                                       N
                                                                                                                                                                       ~
                                                                                                                                                                                                                                    Page 12/19/2022




                                                                 FIG. 6                                                                                               ~
                                                                                                                                                                       --..l
                                                                                                                                                                       '"""'
                                                                                                                                                                       ec
                                                                                                                                                                       N
                                                                                                                                                                                                                                         26 of 72 PageID #: 74
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               130 Filed: 27 of 72 PageID #: 75


                                                       US 11,223,417 B2
                                 1                                                                       2
      TERRESTRIAL BASED HIGH SPEED DATA                                    station according to the IEEE 802.16 Air Interface Standard
       COMMUNICATIONS MESH NETWORK                                         terrestrial radio access network protocol in a mesh network
                                                                           configuration.
            CROSS-REFERENCE TO RELATED                                        In other aspects, the invention relates to a network for
                   APPLICATIONS                                       5    providing high speed data communications, comprising: a
                                                                           plurality of terrestrial transmission stations that are located
    This application is a continuation of U.S. patent applica-             within overlapping communications range; and an airborne
 tion Ser. No. 16/951,493 filed on Nov. 18, 2020, which is a               receiver station, where the plurality of terrestrial transmis-
 continuation of U.S. patent application Ser. No. 16/599,519               sion stations provide a continuous and uninterrupted high
                                                                      10
 filed on Oct. 11, 2019, which is a continuation of U.S. patent            speed data communications link with the mobile receiver
 application Ser. No. 15/964,694 filed Apr. 27, 2018, which                station according to the IEEE 802.16 Air Interface Standard.
 is a continuation of U.S. patent application Ser. No. 15/068,                In other aspects, the invention relates to a network for
 783 filed Mar. 14, 2016 (now U.S. Pat. No. 9,985,717 which                providing high speed data communications, comprising: a
 issued on May 5, 2018), which is a continuation of Ser. No.          15
                                                                           plurality of terrestrial transmission stations that are located
 13/862,508 filed Apr. 15, 2013 (now U.S. Pat. No. 9,312,947               within overlapping communications range; and a seaborne
 which issued on Apr. 12, 2016), which is a continuation of                receiver station, where the plurality of terrestrial transmis-
 U.S. patent application Ser. No. 13/601,452 filed onAug. 31,              sion stations provide a continuous and uninterrupted high
 2012 (now U.S. Pat. No. 8,442,520 which issued on May 14,                 speed data communications link with the mobile receiver
 2013) and a continuation of U.S. patent application Ser. No.         20   station according to the IEEE 802.16 Air Interface Standard.
 13/601,413 filed on Aug. 31, 2012 (now U.S. Pat. No.                         Other aspects and advantages of the invention will be
 8,792,880 which issued on Jul. 29, 2014), each of which is                apparent from the following description and the appended
 a continuation of U.S. patent application Ser. No. 13/552,                claims.
 896 filed Jul. 19, 2012 (now U.S. Pat. No. 8,311,533 which
 issued on Nov. 13, 2012), which is a continuation of U.S.            25            BRIEF DESCRIPTION OF DRAWINGS
 patent application Ser. No. 12/355,341 filed Jan. 16, 2009
 (now U.S. Pat. No. 8,254,913 which issued on Aug. 28,                        It should be noted that identical features in different
 2012), which is a continuation-in-part of U.S. patent appli-              drawings are shown with the same reference numeral.
 cation Ser. No. 11/622,811 filed on Jan. 12, 2007, which is                  FIG. 1 shows a schematic view of a broadband commu-
 a continuation-in-part of U.S. patent application Ser. No.           30   nication system for in-flight aircraft in accordance with one
 11/206,695 filed on Aug. 18, 2005, the contents of each of                embodiment of the present invention.
 which are incorporated herein in their entireties.                           FIG. 2 shows an example of a broadband communication
                                                                           system for the continental United States in accordance with
                FIELD OF THE INVENTION                                     one embodiment of the present invention.
                                                                      35      FIG. 3 shows a schematic view of a broadband commu-
    The invention relates generally to wireless telecommuni-               nication network over the ocean for in-flight aircraft and
 cations. More specifically, the present invention relates to a            shipping in accordance with one embodiment of the present
 broadband data communications system for in-flight aircraft.              invention.
                                                                              FIGS. 4a and 4b show views of the results of computer
                     BACKGROUND ART                                   40   simulations of the performance of the network in accordance
                                                                           with one embodiment of the present invention.
    High speed data communications are becoming more and                      FIG. 5 shows a diagram of the actual test network that was
 more desirable and important to society. Most high speed                  simulated in FIGS. 4a and 4b in accordance with one
 data connections are available through telephone lines, cable             embodiment of the present invention.
 modems or other such devices that have a physical wired              45      FIG. 6 shows a diagram of the internal network configu-
 connection. Since such a wired connection has limited                     rations for the target craft shown in FIG. 5 in accordance
 mobility, wireless techniques for data communications are                 with one embodiment of the present invention.
 very attractive for airline passengers. However, cellular high
 speed wireless data links have a range which in not practical                             DETAILED DESCRIPTION
 for in-flight use due to throughput limitations. Alternatively,      50
 high speed links are available from satellites for in-flight                 The present invention is a system of providing high speed
 aircraft. This option is costly since it requires a satellite link        data communications for in-flight airliners utilizing a series
 as well as specialized antennae and other equipment for the               of ground based transmitters along established common
 aircraft and also consists of throughput limitations which                flight paths for multiple aircraft called "air corridors" that
 impact usefulness. Consequently, there is a need for a system        55   provides an IEEE 802.16 Air Interface Standard or OFDM
 that provides high speed data communications link to an                   "WiMax" connection. The ground transmitters are located in
 in-flight aircraft at a reasonable cost.                                  a pattern to provide overlapping coverage as an aircraft
                                                                           passes from one transmitter to the other. This allows pas-
             SUMMARY OF THE INVENTION                                      sengers on the aircraft to have uninterrupted high speed data
                                                                      60   communications while in the air. The high speed data
    In some aspects, the invention relates to a network for                communications link between the passenger and the ground
 providing high speed data communications, comprising: a                   allows for a direct link that is continuous and uninterrupted
 plurality of terrestrial transmission stations that are located           in time. The direct link may be between the passenger and
 within overlapping communications range; and a mobile                     the ground station. Alternatively, the direct link may be
 receiver station, where the plurality of terrestrial transmis-       65   between the aircraft and the ground station where the
 sion stations provide a continuous and uninterrupted high                 passenger accesses an on board network. The network would
 speed data communications link with the mobile receiver                   typically be run by an on-board server that would be in

                                                                Appx57
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               131 Filed: 28 of 72 PageID #: 76


                                                    US 11,223,417 B2
                               3                                                                     4
 communication with the ground station and the passenger               times increase in capacity on average when compared to
 and also be continuous and uninterrupted in time.                     non-adaptive systems, while maintaining appropriate link
    The IEEE 802.16 Air Interface Standard, often called               availability.
 "WiMax" and built upon OFDM protocols as part of the next                 The 802.16 MAC uses a variable length Protocol Data
 generation wireless (4G), is a specification for fixed broad-    5    Unit (PDU) along with a number of other concepts that
 band wireless access systems employing a point-to-multi-              greatly increase the efficiency of the standard. Multiple
 point (PMP) architecture. The IEEE 802.16 Air Interface               MAC PDUs may be linked into a single burst to save PRY
 Specification is a very capable, while complex, specification         overhead. Additionally, multiple Service Data Units (SDU)
 with current data transfer rates as high as 75 megabits per           for the same service may be linked into a single MAC PDU,
                                                                  10   saving on MAC header overhead. Fragmentation allows
 second (Mbps), and sometimes higher. There are allowances
                                                                       very large SDUs to be sent across frame boundaries to
 for a number of physical layers for different frequency bands
                                                                       guarantee the QoS of competing services. And, payload
 and region-by-region frequency regulatory rules. There are
                                                                       header suppression can be used to reduce the overhead
 features that allow an IP centric system or an ATM centric            caused by the redundant portions of SDU headers.
 system depending upon the needs of customers. The speci-         15       The MAC uses a self-correcting bandwidth request/grant
 fication is designed to cover application to diverse markets          scheme that eliminates the overhead and delay of acknowl-
 from very high bandwidth businesses to SOHO and resi-                 edgements, while simultaneously allowing better QoS han-
 dential users. The initial version was developed with the             dling than traditional acknowledged schemes. Terminals
 goal of meeting the requirements of a vast array of deploy-           have a variety of options available to them for requesting
 ment scenarios for broadband wireless access (BW A)              20   bandwidth depending upon the QoS and traffic parameters of
 systems operating between 10-66 GHz. Revisions to the                 their services. They can be polled individually or in groups.
 base IEEE 802.16 standard targeting the sub 11 GHz are                They can recycle bandwidth already allocated to make
 envisioned and intended to be captured for use within the             requests for more. They can signal the need to be polled, and
 scope of the present invention. The present invention envi-           they can piggyback requests for bandwidth. This is made
 sions inclusion of the technology and performance require-       25   possible with "beam forming" of the signal down to a 4
 ments of IEEE 802.16, i.e. OFDM, but may include other                degree wide "pencil beam". Beam forming also enables the
 technology adaptations to achieve connectivity with an                signal to be electronically adapted (null steering) to connect
 aircraft in flight. OFDM is considered to be a distinguishing         with a fast-moving aircraft.
 feature of the next generation wireless radio technology, also            FIG. 1 shows an example of a broadband communication
 known as "4G."                                                   30   system 10 for in-flight aircraft in accordance with one
                                                                       embodiment of the present invention. The system 10
    System Profiles, Protocol Implementation Conformance
                                                                       includes a series of ground located transmitters 16 located
 Statement Proforma, Test Suite Structure & Test Purposes,
                                                                       along an air corridor 12. As an airliner passes along its flight
 and Abstract Test Suite specifications for 10 to 66 GHz and
                                                                       path 18, it moves along different coverage areas 14 provided
 sub 11 GHz, have been developed all according to the             35   by the transmitters 16 without a loss of communications. It
 ISO/IEC 9464 series (equivalent to ITU-T x.290 series) of             should be understood that a single transmitter 16 may cover
 conformance testing standards. The 802.16 standard covers             all aircraft within range in the air corridor 12. Through the
 both the Media Access Control (MAC) and the physical                  unique properties of 4G OFDM technology envisioned in
 (PHY) layers access standard for systems in the frequency             the present invention, one base station is able to reuse the
 ranges 10-66 GHz and sub 11 GHz.                                 40   same frequency to communication with multiple aircraft
    A number of PHY considerations were taken into account             simultaneously. Also, an aircraft may be simultaneously
 for the target environment. At higher frequencies, line-of-           within the overlapping range of multiple transmitters 16 as
 sight is a must. This requirement eases the effect of multi-          it travels along its flight path 18. When an aircraft is in the
 path, allowing for wide channels, typically greater than 10           coverage area, as well as when the aircraft is moving from
 MHz in bandwidth. This gives IEEE 802.16 the ability to          45   one coverage area to the next, the passenger is able to remain
 provide very high capacity links on both the uplink and the           in contact with the ground station through a direct link,
 downlink. For sub 11 GHz non line-of-sight capability is a            continuous and without interruption in time.
 requirement. The standard is designed to accommodate                      FIG. 2 shows an example of a WiMax broadband com-
 either Time Division Duplexing (TDD) or Frequency Divi-               munication system 20 for the continental United States. It
 sion Duplexing (FDD) deployments, allowing for both full         50   should be noted that the drawing is not to scale and the actual
 and half-duplex terminals in the FDD case. The current                number of transmitters will be greater than shown. Trans-
 invention envisions utilizing multiple custom adaptations of          mission of WiMax signals typically requires a line-of-sight
 the PHY layer of software.                                            (LOS) link between the transmitter and receiver. While
    The MAC is designed specifically for the PMP wireless              conventional WiMax performance standards typically have
 access environment. It supports higher layer or transport        55   a maximum range of34 miles, it is important to note that this
 protocols such as ATM, Ethernet or Internet Protocol (IP),            range is from ground point to ground point. WiMax has a
 and is designed to easily accommodate future protocols that           range of well over 100 miles for a ground point to aircraft
 have not yet been developed. The MAC is designed for very             link due to the increased distance of a LOS link and other
 high bit rates of the truly broadband physical layer, while           modifications to an OFDM-based radio.
 delivering ATM compatible Quality of Service (QoS); UGS,         60      A great majority of passenger aircraft in the United States
 rtPS, nrtPS, and Best Effort. The present invention envisions         travel in "air corridors" that function similar to highways.
 multiple unique configurations of the MAC layer of the                Air corridors typically exist along major east/west and
 radio system.                                                         north/south routes between high population areas (e.g.,
    The frame structure allows terminals to be dynamically             California, the northeastern corridor of the United States,
 assigned uplink and downlink burst profiles according to         65   etc.). Aircraft are routed along these corridors in order to
 their link conditions. This allows a tradeoffbetween capacity         more efficiently move air traffic to and from their final
 and robustness in real-time, and provides roughly a two               destinations. Since most air traffic passes through these

                                                            Appx58
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               132 Filed: 29 of 72 PageID #: 77


                                                        US 11,223,417 B2
                                 5                                                                        6
 paths, a system for providing 4G WiMax access to in-flight                 of 3.5 GHz. The broader area 47 represents horizontal
 aircraft could cover only the air corridors in lieu of trying to           coverage for antenna mounted at 407 foot elevation confined
 provide coverage for all airspace in the country. This has the             to 60 degree Azimuth Beamwidth. The more narrow area 45
 advantage of providing a significant cost advantage by                     represents vertical coverage area of 10 degree Elevation
 reducing the number of transmitters while still covering the          5    Beamwidth at target height of 10,800 feet.
 majority of flights. However, as the OFDM signal flows                        Both frequency plot maps were generated with Radio
 outward from the typical air corridors, the signal becomes                 Mobile Version 7 .1.1 software utilizing the plot transmission
 weaker but nonetheless perceptible by random-flying air-                   characteristics of the raw RF signal. Radio Mobile is a Radio
 craft.                                                                     Propagation and Virtual Mapping computer simulation soft-
    The system provides high speed broadband communica-                10   ware that is listed as Freeware. The software uses digital
 tions to an in-flight aircraft while the aircraft is within the air        terrain elevation data for automatic extraction of a path
 corridor. Technology to manage the user's transition from                  profile between a transmitter and a receiver. The path data is
 one transmitter to another is well known to those of ordinary              added to radio system specific attributes, environmental and
 skill in the art. The communications link may provide the                  statistical parameters to feed into an Irregular Terrain Model
 user with such data communications as internet access,                15   radio propagation calculation. The software utilizes USGS
 streaming video, voice-over IP, etc. Additionally, the system              Earth Resource Observation and Science (EROS) data pro-
 may provide data on the aircraft to parties on the ground                  vided by the United States Geological Survey. The data sets
 such as an air traffic controller. Examples of aircraft data               are in BIL format at 1/4 arc second resolution (3 meter).
 include air traffic control information, aircraft status and                  The use of Radio Mobile software, customized for the 3.5
 performance information, video security surveillance of the           20   GHz frequency band as well as for the particular lobe
 aircraft interior, etc. The system may be accessed directly by             characteristics of the flat panel antenna, demonstrated a 20+
 an individual aboard an aircraft via a direct communication                mile Line of Site (LOS) transmission distance. The resultant
 link that is continuous and uninterrupted in time with the                 plots were then incorporated in the STA application process
 ground. In an alternative embodiment, the system may be                    and submitted to the FCC for approval of a Temporary
 accessed by the aircraft that it in turn provides individual          25   authority to utilize licensed frequencies in and around the
 with direct access that is continuous and uninterrupted in                 subject test area.
 time via an onboard network such as a LAN or in-cabin                         In the present invention, reuse of frequencies made pos-
 wireless network via a server relayed to the ground using the              sible with "beam forming" of the signal down to a 4 degree
 modified OFDM or WiMAX connection.                                         wide "pencilbeam" by a "software definable radio (SDR)".
    FIG. 3 shows an alternate embodiment of the present                30   In these embodiments, the signal is transmitted down such
 invention. Specifically, it shows a schematic view of a                    a narrow beam that interference with nearby signals on the
 broadband communication network over the ocean for in-                     same or very close frequencies is minimized. By using a
 flight aircraft and surface shipping. In this embodiment, the              buffer range between beams of the signals, the same fre-
 network utilizes "terrestrial" based stations that include land            quencies may be recycled or re-used for different commu-
 based stations 30, ocean shipping 32 and in-flight aircraft 34.       35   nications links between nodes. In optimum conditions, it is
 Under this definition, any surface node (land or sea) or                   possible to achieve 288 reuses of the same frequency. This
 in-flight node is considered terrestrial. These nodes interlink            has the great advantage of minimized the necessary fre-
 to form a network "mesh" that may include: an air mesh; a                  quency spectrum required to operate the network.
 sea mesh; or a combined air-sea mesh. Under this definition,                  Another advantage of the use of SDR involves a more
 the nodes share interconnectivity where the individual nodes          40   stable and manageable system of transitioning between
 of the mesh network serve as repeaters in and among each                   communications links among moving nodes. With a narrow
 other to provide redundancy of communication links. Addi-                  beam, a high quality communication link may be established
 tionally, it should be understood in this application that the             with a more distant node rather than the closest node. This
 use of the terms "aircraft" and "airliner" are interchangeable             link will conceivably last longer as the distant node moves
 and should include all types of aviation including: commer-           45   through the transmission range towards the base station.
 cial aviation, military aviation, and general aviation of all                 FIG. 5 shows a schematic diagram of the actual test
 types and purposes.                                                        network that was simulated in FIG. 4 in accordance with one
    In order to understand and typify the expected radio                    embodiment of the present invention. An internet access link
 coverage of the present invention, as well as prepare for the              50 is provided through a land based computer network. The
 FCC STA authorization process, a comprehensive Fre-                   50   link is connected to a base station antenna 52 that focuses the
 quency Plot Map was created. FIG. 4a shows a schematic                     RF energy to the intended receiver. In this embodiment, the
 view of the results of one Frequency Plot Map created by a                 antenna is a Proxim Wireless Flat Panel Model 3338-A00-
 computer simulation of the performance of the network in                   060 external antenna. The antenna is part of Proxim's
 accordance with one embodiment of the present invention.                   Wireless's Tsunami MP.16 Model 3500 products. These
 The diagram shows a simulated network in a section of                 55   products include a Model M3500-BSR-EU base station and
 Puget Sound between the coast of Washington and British                    a Model 3500-SSR-EU subscriber unit. The antenna 52 is
 Columbia. A land based station 40 is making a communi-                     vertically polarized with a 17 dBi gain. It has an azimuth
 cations link to a helicopter 42 and a boat 44. The smaller                 beamwidth of 60° +/-4 ° and an elevation beamwidth of 10°.
 operating area 46 shows the range of communications links                     The test network comprised several discreet elements. At
 at an operating frequency of 5.8 MHz. The larger operating            60   the core of the network, the Tsunami MP.16 Model 3500
 area 48 shows the range of communications links at an                      base station was mounted on top of a roof structure at a
 operating frequency of 3.5 MHz                                             height of 407 feet above sea level, as measured by GPS
    FIG. 4b shows a second frequency plot map created by the                receivers. The base station was connected via l00BaseT to
 same computer simulation. The map shows a base station 41                  an Ethernet switch that hosted several data servers; a file
 on land and a target helicopter 43. The simulated system              65   server for large file transfer, a network management/Data
 utilizes the Proxim Networks Tsunami MP.16 Model 3500                      capture station, and a video server utilizing VLC's server
 and Model 3338-A00-060 antenna operating at a frequency                    side software to multicast a movie file through the WiMAX

                                                                Appx59
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               133 Filed: 30 of 72 PageID #: 78


                                                      US 11,223,417 B2
                                7                                                                      8
 link. The network core was also attached to the internet via             to be expected with the version of gear employed in the test,
 a DSL router that had a 1.5 Mb downlink and 768 uplink                   which was designed and configured for point to point (PTP)
 connection.                                                              transmission. The impact of Doppler shift is anticipated to
    FIG. 6 shows a diagram of the internal network configu-               be further minimized in newer versions of WiMAX gear,
 rations for the target craft shown in FIG. 5 in accordance          5    with the 802.16-2005 standard, which is designed with
 with one embodiment of the present invention. In each target             forward error correction capability.
 vehicle 54 and 58, a Tsunami MP.16 Model 3500 subscriber                    It is intended that embodiments of the present invention
 unit was installed as well as a 17 dBi external Patch antenna            include present and future versions of IEEE 802.16 Air
 62. An onboard switched network 64 was created to connect                Interface Standard that are consistent with the present dis-
 3 laptops 66, each running specific applications for the test       10   closure. For example, the IEEE Standard 802.16-2004 (ap-
 suite including: a video client/skype VOIP unit; a data                  proved in June 2004) renders the previous (and 1st) version
 collection/network monitoring unit; and a video conferenc-               802.16-2001 obsolete, along with its amendments 802.16a
 ing unit utilizing a Logitech 1.3 Megapixel QuickCam                     and 802.16c. However, IEEE Standard 802.16-2004
 supporting both Yahoo and Microsoft messaging clients.                   addresses only fixed systems such as Local area networks
 Variations were undertaken in some vehicles due to varia-           15   (LANs) and metropolitan area networks (MANs).
 tions in onboard-power options and restrictions to mounting                 IEEE Standard 802.16-2005 (approved December, 2005
 options and location of equipment.                                       and formerly named 802.16e) adds mobility components to
    Wind-load survival for the Proxim Model 333S-AOO-060                  the WiMax standard. This WiMAX mobility standard is an
 antenna is calculated at 220 Km/h, and is operationally rated            improvement on the modulation schemes stipulated in the
 at 160 Km/h, as such it was not possible to mount the               20   original WiMAX standard. It allows for fixed wireless and
 antenna to the exterior of the aircraft as the aircraft's top            mobile Non Line of Sight (NLOS) applications primarily by
 speed is 230 Km/h. Instead the antenna was mounted inside                enliancing the Orthogonal Frequency Division Multiplexing
 the canopy in the copilot's seat position which did have                 Access (OFDMA). It is possible that by stipulating a new
 some effect on antenna aiming/signal reception due to large              modulation method called Scalable OFDMA (SOFDMA),
 nearby metal objects such as the avionics instrument cluster,       25   the 802.16-2005 standard will make the older 802.16-2004
 etc. This issue was partially mitigated by manual manipu-                standard which uses OFDM-256 outdated. However, there
 lation of the helicopter orientation in flight by the pilot after        are plans for a migration path from the older version of the
 signal degradation was noted, or manual movement of the                  standard to the more robust, mobile modulation scheme. In
 antenna if flight path reorientation was not practical.                  any case, compatibility between similar system profiles is a
    The demonstration testing ofWiMAX capable equipment              30   distinct possibility. SOFDMA and OFDMA256 are typically
 in the 3.5 GHz and 5.8 GHz spectrum ranges successfully                  not compatible so most equipment may have to be replaced.
 established communications with both airborne and water                  However, attempts are being made to provide a migration
 based vehicles. The initial test is targeted at the range of 20          path for older equipment to OFDMA256 compatibility
 miles, with later portions of the test at 50 miles. Both                 which would ease the transition for those networks which
 vehicles were initially stationary in position (PtP), but the       35   have already made the switch to SOFDMA.
 airborne target also tested altitude targets up to two vertical             SOFDMA will improve upon OFDM256 for NLOS appli-
 miles. In the final stages of testing, the airborne vehicle              cations by improving NLOS coverage by utilizing advanced
 traveled at higher speeds (PtMP). The tests were conducted               antenna diversity schemes, and hybrid-Automatic Retrans-
 utilizing the IEEE 802.15-2004 Standard for mobile appli-                mission Request (hARQ). Also, system gain is increased by
 cations. The tests comprised multiple phases with increasing        40   use of denser sub-channelization, thereby improving indoor
 difficultly. These phases were: (1.) 20 mile LOS, PTP shot to            penetration. The newer standard introduces high-perfor-
 boat; (2.) 20 mile LOS, PTP shot to helicopter, 200' above               mance coding techniques such as Turbo Coding and Low-
 boat; (3.) 21 mile LOS, PTP shot to helicopter, 10,572' (2               Density Parity Check (LDPC), enliancing security and
 mi) above boat; (4.) 20-mile radius speed tests to helicopter            NLOS performance and introduces downlink sub-channel-
 at 10,000; and (5.) LOS, PTP distance test at 10,000'.              45   ization, allowing network administrators to trade coverage
    The Proxim equipment, though locked to QPSK-3/4                       for capacity or vice versa. It also improves coverage by
 Modulation/FEC and below modulation types, was able to                   introducing Adaptive Antenna Systems (AAS) and Multiple
 reliably operate at 30.52 statutory miles from the base                  Input-Multiple Output (MIMO) technology. It eliminates
 station, and was able to reliably operate at 140 MPH.                    channel bandwidth dependencies on sub-carrier spacing,
 Combined transmit/receive data rates above 2 Mbps were              50   allowing for equal performance under any RF channel
 realized in many portions of the test areas. Video confer-               spacing (1.25-14 MHz). Finally, SOFDMA's enlianced Fast
 encing via MSN messenger, VOIP calls via Skype, remote                   Fourier Transform (FFT) algorithm can tolerate larger delay
 streaming of movie files, and large file transfers were                  spreads and there by increasing resistance to multi path
 simultaneously executed at distances of 20+ miles, and                   interference.
 during vehicle movement-even at high speeds. Multi-                 55      WiMAX's equivalent in Europe is HIPERMAN. Efforts
 megabit data transmission speeds were achieved during                    are underway to make 802 .16 and HIPERMAN interoperate
 multiple samples, as well as testing of VOW applications,                seamlessly. Additionally, Korea's telecom industry has
 high-speed file transfers, video conferencing to various                 developed its own standard, WiBro which is expected to be
 locations in the United States, and multi-media video                    fully interoperable with WiMAX. Consequently, it is fully
 streaming of large movie files.                                     60   intended that the definition of "WiMax" and IEEE Standard
    Doppler shift and signal reflectivity from water were                 802.16 cover any and all versions, modifications and equiva-
 observed during testing. To rectify these factors, the sub-              lents of this wireless communication standard, inclusive of
 scriber antenna elevation was modified upward to reduce or               OFDM technology, also known as next generation wireless
 eliminate water reflectivity causing signal interference. Dop-           or 4G.
 pler shift, though observed only at speed in excess of              65      In other embodiments of the present invention, alternative
 approximately 100 mph, did not cause signal failure but                  communications protocols could be used. For example, one
 marginally impacted the rate of throughput. This variance is             embodiment of the invention could use the UTRAN Long

                                                              Appx60
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               134 Filed: 31 of 72 PageID #: 79


                                                   US 11,223,417 B2
                              9                                                                    10
 Term Evolution (LTE) Terrestrial Radio Access Network                less or 4G technology, it also should be understood that all
 protocol which is based on or utilizes OFDM technology.              described embodiments may utilize hybrid or modified
 Versions of LTE may utilize radio air interface technology           versions of the next generation wireless technology, 4G or
 known as Orthogonal Frequency Division Multiple Access               802.16 (WiMAX) based on or utilizing OFDM as appli-
 (OFDMA) to provide several key benefits including signifi-      5    cable. It is recognized that these embodiments describe only
 cantly increased peak data rates, increased cell edge perfor-        portions of the foundation components necessary in the
 mance, reduced latency, scalable bandwidth, co-existence             construction of a radio to communicate with an aircraft at
 with GSM/EDGE/UMTS systems, reduced CAPEX and                        true broadband data rates over extreme distances. Such a
 OPEX. LTE is scalable to allow operation in a wide range of          transceiver, modified to the magnitude necessary to maintain
 spectrum bandwidths, from 1.4-20 MHz, using both Fre-           10   an effective communication continuous and uninterrupted in
 quency Division Duplex (FDD) and Time Division Duplex                time with aircraft at jet speed and extreme distances from the
 (TDD) modes of operation, thus providing flexibility to suit         terrestrial station, will include protocols and code which are
 any user's existing or future frequency allocation.                  not presently included within the definitions or standards of
    The performance characteristics for LTE versions of next          802.16 or WiMAX or LTE. Despite the modification of the
 generation of 4G technology include: peak download rates        15   4G transceivers, both terrestrial and airborne units, inclusion
 of 326.4 Mbit/s for 4x4 antennas and 172.8 Mbit/s for 2x2            of the component elements described in 802.16 or WiMAX
 antennas for every 20 MHz of spectrum; peak upload rates             or LTE, specifically to include OFDM, make such a radio
 of 86.4 Mbit/s for every 20 MHz of spectrum; at least 200            subject to the claims of this invention.
 active users in every 5 MHz cell. (i.e., 200 active data             While the invention has been described with respect to a
 clients); sub-5 ms latency for small IP packets; spectrum       20   limited number of embodiments, those skilled in the art,
 flexibility for spectrum slices as small as 1.4 MHz (and as          having benefit of this disclosure, will appreciate that other
 large as 20 MHz); optimal ground to ground cell size of 5            embodiments can be devised which do not depart from the
 km, 30 km sizes with reasonable performance, and up to 100           scope of the invention as disclosed here. Accordingly, the
 km cell sizes supported with acceptable performance (this            scope of the invention should be limited only by the attached
 will be increased for air to ground cells); co-existence with   25   claims.
 legacy standards (users can transparently start a transfer of
 data in an area using an LTE standard, and, should coverage             What is claimed is:
 be unavailable, continue the operation without any action on            1. A ground station among a network of ground stations
 their part using GSM/GPRS or W-CDMA-based UMTS or                    configured to provide a wirelessly transmitted high speed
 even 3GPP2 networks such as CDMA or EV-DO; and                  30   data communication link to a receiver station on an in-flight
 support for a MBSFN (Multicast Broadcast Single Fre-                 aircraft, the ground station comprising:
 quency Network) which can deliver services such as Mobile               an antenna; and
 TV using the LTE infrastructure.                                        a software defined radio operably coupled to the antenna,
    Another alternative communications protocol that could                  the software defined radio configuring the ground sta-
 be used is the IEEE Standard 802.20 which is known as "The      35         tion to conduct a handover of the in-flight aircraft to
 Standard Air Interface for Mobile Broadband Wireless                       another ground station within the network of ground
 Access Systems Supporting Vehicular Mobility-Physical                      stations to maintain the high speed data communication
 and Media Access Control Layer Specification" (hereafter                   link continuous and uninterrupted in time;
 "802.20"). 802.20 is a variation of next generation wireless            wherein the software defined radio is configured to
 or 4G technology, a mobility enhancement of 802.16. 802.20      40         employ a wireless radio access network protocol oper-
 is defined as a protocol for boosting IP-based data-transmis-              ating in a communication band from about 2 GHz to
 sion rates for mobile users in wireless metropolitan area                  about 6 GHz,
 networks (WMANs). It would be capable of supporting                     wherein the ground station is configured to utilize beam-
 people and devices sitting in trains, subways and automo-                  forming to generate one or more steerable beams used
 biles traveling at up to 150 miles per hour. 802.20 would       45         to form the high speed data communication link; and
 support transmission speeds of up to 1 M bit/sec in the                 wherein the ground station is configured to reuse a same
 3-GHz spectrum band. 802.20 is also based on OFDM. The                     frequency to communicate with the receiver station and
 802.20 standard seeks to boost real-time data transmission                 another receiver station on another in-flight aircraft.
 rates in wireless metropolitan area networks connections                2. The ground station of claim 1, wherein the wireless
 based on cell ranges of up to 15 kilometers or more for         50   radio access network protocol includes Long Term Evolu-
 ground to ground stations. This range will be greater for            tion (LTE) terrestrial radio access network protocols.
 ground to air connections.                                              3. The ground station of claim 1, wherein a frame struc-
    802.20 shares some similarities with IEEE Standard                ture utilized for the high speed data communication link
 802.16e. The 802.16e and 802.20 standards both specify               provides dynamically assignable uplink and downlink burst
 mobile air interfaces for wireless broadband. On the surface    55   profiles based on link conditions.
 the two standards are similar, but there are some important             4. The ground station of claim 3, wherein multiple media
 differences between them. Specifically, 802.16e will add             access control protocol data units are linkable to a single
 mobility in the 2 to 6 GHz licensed bands while 802.20 aims          burst.
 for operation in licensed bands below 3.5 GHz. Typically,               5. The ground station of claim 1, wherein the high speed
 802.16e will be used by the mobile user walking around with     60   data communication link is configured to provide internet
 a PDA or laptop, while 802.20 will address high-speed                access, streaming video, or voice-over IP to the receiver
 mobility issues. Another key difference will be the manner           station.
 in which the two are deployed with users deploying 802.20               6. The ground station of claim 1, wherein the high speed
 as an overlay to their existing networks including existing          data communication link is configured to transfer security
 802.16 networks.                                                65   data communications comprising video surveillance from
    While the invention has been described based on funda-            the in-flight aircraft to a ground station within the network
 mental embodiments of the forms of next generation wire-             of ground stations.

                                                           Appx61
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               135 Filed: 32 of 72 PageID #: 80


                                                     US 11,223,417 B2
                              11                                                                     12
    7. The ground station of claim 1, wherein at least one of                 in-flight aircraft moves from a coverage area provided
 said one or more steerable beams has an azimuth beamwidth                    by one of the plurality of ground stations to a coverage
 less than about 10 degrees, and an elevation beamwidth less                  are~ provided by another of the plurality of ground
 than about 10 degrees.                                                       stat10ns.
    8. The ground station of claim 1, wherein the high speed       5
                                                                           12. The network of claim 11, wherein the wireless radio
 data communication link employs Orthogonal Frequency                   access network protocol includes Long Term Evolution
 Division Multiplexing (OFDM).                                          (LTE) terrestrial radio access network protocols.
    9. The ground station of claim 1, wherein the ground                   13. The network of claim 11, wherein a frame structure
 station is further configured to provide the high speed data           utilized for the high speed data communication link provides
 communication link with a range of greater than 20 miles          10
                                                                        dynamically assignable uplink and downlink burst profiles
 and forward error correction.                                          based on link conditions.
    10. The ground station of claim 9, wherein the forward                 14. The network of claim 13 , wherein multiple media
 error correction is configured to maintain the high speed data         access control protocol data units are linkable to a sinale0


 communication link to the receiver station while the receiver          burst.
 station travels at speeds greater than 100 miles per hour.        15      15. The network of claim 11, wherein the high speed data
    11. A wireless communication network configured to                  communication link is configured to provide internet access
 provide high speed wirelessly transmitted data communica-              streaming video, or voice-over IP to the receiver station. '
 tion to an in-flight aircraft, the network comprising:                    16. The network of claim 11, wherein the high speed data
    a plurality of ground stations, the ground stations being           communication link is configured to transfer security data
       located such that at least some of the ground stations      20
                                                                        communications comprising video surveillance from the
       are within overlapping communication range of respec-            in-flight aircraft to one of the plurality of ground stations.
       tive other ones of the ground stations, the ground                  17. The network of claim 11, wherein at least one of said
       stations being configured via software defined radio to:         one or more steerable beams has an azimuth beamwidth Jess
       communicate with a receiver station located onboard              than about 10 degrees, and an elevation bean1width less than
          the in-flight aircraft to provide a high speed data      25
                                                                        about 10 degrees.
          communication link continuous and uninterrupted in               18. The network of claim 11, wherein the high speed data
          time with the receiver station employing a wireless           communication link employs Orthogonal Frequency Divi-
          radio access network protocol operating in a com-             sion Multiplexing (OFDM).
          munication band from about 2 GHz to about 6 GHz                  19. The network of claim 11, wherein the plurality of
          and                                                  '   30   ground stations are further configured to provide the high
       utilize beamforming to generate a plurality of steerable         speed data communication link with a range of greater than
          beams used to form the high speed data communi-               20 miles and forward error correction.
          cation link, and reuse a same frequency to commu-                20. The network of claim 19, wherein the forward error
          nicate with the receiver station and another receiver         correction is configured to maintain the high speed data
          station on another in-flight aircraft,                   35   communication link to the receiver station while the receiver
    wherein the high speed data communication link is main-             station travels at speeds greater than 100 miles per hour.
       tained continuous and uninterrupted in time while the                                  *   * *     *   *




                                                            Appx62
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               136 Filed: 33 of 72 PageID #: 81




                               EXHIBIT 3




                                   Appx63
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               137 Filed: 34 of 72 PageID #: 82
                                                                   I 1111111111111111 1111111111 1111111111 111111111111111 111111111111111 IIII IIII
                                                                                                US010257717B2


 c12)    United States Patent                                                (IO)   Patent No.:     US                 10,257,717 B2
         Hyslop                                                              (45)   Date of Patent:                      *Apr. 9, 2019

 (54)    WEDGE SHAPED CELLS IN A WIRELESS                               (56)                      References Cited
         COMMUNICATION SYSTEM
                                                                                          U.S. PATENT DOCUMENTS
 (71)    Applicant: SMARTSKY NETWORKS LLC,
                    Charlotte, NC (US)                                           5,365,516 A       11/1994 Jandrell
                                                                                 5,740,166 A        4/1998 Ekemark et al.
 (72)    Inventor:    Douglas Hyslop, Vienna, VA (US)                                                 (Continued)

 (73)    Assignee: SMARTSKY NETWORKS LLC,                                             FOREIGN PATENT DOCUMENTS
                   Morrisville, NC (US)
                                                                        CN                101176367 A            5/2008
                                                                        CN                101536566 A            9/2009
 ( *)    Notice:      Subject to any disclaimer, the term ofthis
                                                                                                      (Continued)
                      patent is extended or adjusted under 35
                      U.S.C. 154(b) by O days.
                                                                                             OTHER PUBLICATIONS
                      This patent is subject to a terminal dis-
                      claimer.                                         International Search Report and Written Opinion of corresponding
                                                                       application PCT/US2014/017273 dated Jun. 6, 2014, all enclosed
 (21)    Appl. No.: 15/877,625                                         pages cited.
                                                                                                      (Continued)
 (22)    Filed:       Jan. 23, 2018

 (65)                   Prior Publication Data                         Primary Examiner - Amancio Gonzalez
                                                                       (74) Attorney, Agent, or Firm - Burr Forman McNair
         US 2018/0160318 Al            Jun. 7, 2018
                  Related U.S. Application Data                         (57)                         ABSTRACT

 (63)    Continuation of application No. 15/345,527, filed on          Aspects described herein relate to a network for providing
         Nov. 8, 2016, now Pat. No. 9,913,149, which is a              air-to-ground wireless communication in various cells. The
                          (Continued)                                  network includes a first base station array, each base station
                                                                       of which includes a respective first antenna array defining a
 (51)    Int. Cl.                                                      directional radiation pattern that is oriented in a first direc-
         H04W 40100              (2009.01)                             tion, wherein each base station of the first base station array
         H04W 16130              (2009.01)                             is disposed spaced apart from another base station of the first
                           (Continued)                                 base station array along the first direction by a first distance.
                                                                       The network also includes a similar second base station
 (52)    U.S. Cl.
                                                                       array where the second base station array extends substan-
         CPC ........ H04W 16130 (2013.01); H04B 7118506
                                                                       tially parallel to the first base station array and is spaced
                           (2013.01); H04W 16112 (2013.01);
                                                                       apart from the first base station array by a second distance
                          (Continued)                                  to form continuous and at least partially overlapping cell
 ( 58)   Field of Classification Search                                coverage areas between respective base stations of the first
         CPC ..... H04W 16/00; H04W 16/02; H04W 16/12;                 and second base station arrays.
                    H04W 16/18; H04W 16/24; H04W 16/30;
                          (Continued)                                                     20 Claims, 5 Drawing Sheets




                                                                           E20




                                 140




                                                             Appx64
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               138 Filed: 35 of 72 PageID #: 83


                                                          US 10,257,717 B2
                                                                     Page 2


                 Related U.S. Application Data                                    6,618,016 Bl      9/2003 Hannan et al.
                                                                                  7,933,598 Bl*     4/2011 Agrawal           H04W 36/0022
         continuation of application No. 15/017,794, filed on                                                                     370/310
         Feb. 8, 2016, now Pat. No. 9,503,912, which is a                         8,447,292   B2    5/2013 Chari et al.
         continuation of application No. 14/681,429, filed on                     8,666,451   B2    3/2014 Engstrom et al.
                                                                                  8,848,605   B2    9/2014 Ohm et al.
         Apr. 8, 2015, now Pat. No. 9,294,933, which is a                         8,914,022   B2   12/2014 Kostanic et al.
         continuation of application No. 13/832,385, filed on                     9,008,669   B2    4/2015 Hyslop et al.
         Mar. 15, 2013, now Pat. No. 9,008,669.                                   9,294,933   B2    3/2016 Hyslop et al.
                                                                                  9,913,149   B2 * 3/2018 Hyslop               H04W 16/24
                                                                              2003/0160719    Al    8/2003 Hancock
 (51)    Int. Cl.                                                             2006/0019710    Al    1/2006 Ylitalo
         H04W 16124                    (2009.01)                              2006/0084474    Al    4/2006 Iacono et al.
         H04W 16112                    (2009.01)                              2008/0102813    Al    5/2008 Chari et al.
         H04B 71185                    (2006.01)                              2008/0234930    Al    9/2008 Cheok et al.
                                                                              2012/0200458    Al    8/2012 Jalali et al.
         H04W36/32                     (2009.01)
         H04W 88/08                    (2009.01)
                                                                                        FOREIGN PATENT DOCUMENTS
 (52)    U.S. Cl.
         CPC ........... H04W 16124 (2013.01); H04W 36132                 EP                 2278732 A2 *     1/2011   ......... H04B 7/18506
                               (2013.01); H04W 88/08 (2013.01)            WO              2011017576 A2       2/2011
 (58)    Field of Classification Search                                   WO              2011071470 Al       6/2011
         CPC ..... H04W 24/02; H04W 36/32; H04W 88/08;
                                                        H04B 7/18506                           OTHER PUBLICATIONS
         USPC .................................. 455/446; 370/328, 338
                                                                          Extended Search Report and Written Opinion of corresponding
         See application file for complete search history.
                                                                          European application No. 14768874.1 dated Sep. 21, 2016, all
 (56)                    References Cited                                 enclosed pages cited.
                                                                          Examination report from corresponding European application No.
                  U.S. PATENT DOCUMENTS                                   14768874.1 dated Jul. 12, 2017, all enclosed pages cited.
                                                                          Office Action from corresponding Chinese application No.
        5,878,345 A       3/ 1999 Ray et al.                              201480027629.3 dated Feb. 6, 2018, all enclosed pages cited.
        6,330,459 Bl     12/2001 Crichton et al.
        6,336,034 Bl      1/2002 Yamura et al.                            * cited by examiner




                                                                   Appx65
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               139 Filed: 36 of 72 PageID #: 84


 U.S. Patent          Apr. 9, 2019     Sheet 1 of 5       US 10,257,717 B2




           \




                                     Appx66
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               140 Filed: 37 of 72 PageID #: 85


 U.S. Patent          Apr. 9, 2019     Sheet 2 of 5       US 10,257,717 B2




                     \




                                     Appx67
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               141 Filed: 38 of 72 PageID #: 86


 U.S. Patent          Apr. 9, 2019                                                 Sheet 3 of 5                                     US 10,257,717 B2




                                                                               -----<::::::


                                                                               '\_-_-_,...,-----~:
                                                                                       _
                                                                                   t:.=::===:.1;: : : :
                                                                                       ----   ------------ =:     •=      •=




                                                                                        ';:.t====~- : :
                                                                                           \:l~====:t': ::



                                                                                       I
                                                                                   J
                                                                               I

                                                                           I
                                                                       I

                                                                   I
                                                               I
                                                           I
                                                       I
                                                   I
                                               I
                                           I
                                       I
                                   )
                               I                                                                       'i(
                                                                                                         .-. : ' . -
                           I                                                                           ~::-.~
                                                                                                         ::..i,..,....,..,..,
                                                                                                           ::~
                                                                                                            \·==
                                                                                                                 -
                                                                                                                 -
                                                                                                                  --
                                                                                                                 f--

                                                                                                                  , -.-..

                                                                                                                    =
                                                                                                                    .i------
                                                                                                                       ,___
                                                                                                                                M
                                                                                                                                e
                                                                                                                                M


                                                                                              1"t!fra.J
                                                                                              :::,•~J   ~ j


                                                                       Appx68
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               142 Filed: 39 of 72 PageID #: 87


 U.S. Patent             Apr. 9, 2019        Sheet 4 of 5      US 10,257,717 B2




                                                    400

                         402            BASE STATION                     408
                  PROCESSING ClRCUITR~                      TRANSCEIVER
          406                                     404
                                                                  410

                MEMORY           PROCESSOR                   ANTENNA 1


                                                                  412

                                                             ANTENNA2


                               4Hi            RADIO
                                             SWITCH

                                                                  414

                                                             ANTENNAN




                                           FIG. 4




                                          Appx69
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               143 Filed: 40 of 72 PageID #: 88


 U.S. Patent          Apr. 9, 2019          Sheet 5 of 5   US 10,257,717 B2



                                                           rsoo


                                     START


                                       ,,
           DEPLOY A FIRST BASE STATION PROVIDING A WEDGE             _
          SHAPED COVERA.GE AREA IN A VERTICAL PLANE OVER      ~      ~Ol
             A SEMICIRCULAR SHAPED COVERAGE AREA IN A
                         HORIZONTAL PLANE




          DEPLOY A SECOND BASE STATION ALIGNED WITH THE
             FIRST BASE STATION IN A FIRST DIRECTION TO
           FACILITATE PROVIDING OVERLAPPING COVERAGE ~ 504
              WITH THE FIRST BASE STATION IN THE FIRST
              DIRECTION TO ACHIEVE A PREDETERMINED
                             ALTITUDE




              DEPLOY A THIRD BASE STATION IN A SECOND
            DIRECTION FROM THE FIRST BASE STATION, AND        ~506
            O"FFSET IN THE FIRST DIRECTION, TO FACILITATE
              PROVU)ING CONTINUOUS COVERAGE AT THE
              PREDETERMINED ALTITUDE IN THE SECOND
                           DIRECTION


                                       1,
                            (         END        )



                                 FIG. 5


                                       Appx70
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               144 Filed: 41 of 72 PageID #: 89


                                                     US 10,257,717 B2
                               1                                                                       2
      WEDGE SHAPED CELLS IN A WIRELESS                                  aircraft at varying elevations using multiple antennas
          COMMUNICATION SYSTEM                                          installed at certain sites. A plurality of antennas at a base
                                                                        station can each transmit signals having a radiation pattern
            CROSS-REFERENCE TO RELATED                                  defined between two elevation angles resulting in an increas-
                   APPLICATIONS                                    5    ing vertical beam width and smaller azimuth to form a
                                                                        wedge shaped sector. These wedge shaped sectors may then
    This application is a continuation of U.S. application Ser.         be overlapped with each other to progressively build in
 No. 15/345,527 filed Nov. 8, 2016, which is a continuation             altitude for providing communications with continuous cov-
 of U.S. application Ser. No. 15/017, 794 filed Feb. 8, 2016,           erage at high altitudes. In one example, the plurality of
 (now patented as U.S. Pat. No. 9,503,912 which issued on          10   antennas are configured at the base station such that corre-
 Nov. 22, 2016), which is a continuation of U.S. application            sponding wedge shaped sectors are adjacent in a horizontal
 Ser. No. 14/681,429 filed Apr. 8, 2015, (now patented as               plane to form a substantially semicircular coverage area in
 U.S. Pat. No. 9,294,933 which issued on Mar. 22, 2016),                the horizontal plane that achieves at least a predetermined
 which is a continuation of U.S. application Ser. No. 13/832,           altitude within a predetermined distance from the base
 385 filed Mar. 15, 2013 (now patented as U.S. Pat. No.            15   station. In addition, multiple deployed base stations can be
 9,008,669 which issued on Apr. 14, 2015), the entire con-              substantially aligned in a first direction while substantially
 tents of which are hereby incorporated herein by reference.            offset in a second direction. Moreover, a distance between
                                                                        the deployed base stations in the first direction can be less
                    TECHNICAL FIELD                                     than the distance between the base stations in the second
                                                                   20   direction to facilitate providing continuous coverage up to
    Example embodiments generally relate to wireless com-               the predetermined altitude based on the wedge shaped
 munications and, more particularly, relate to employing                sectors.
 wedge shaped cells to provide continuous wireless commu-                  In the first direction, the base stations can be aligned and
 nication at various distances and altitudes.                           deployed at a distance such that the wedge shaped sectors of
                                                                   25   a first base station are overlapped by the wedge shaped
                       BACKGROUND                                       sectors of a second base station behind the first base station
                                                                        along the first direction. This allows the sectors of the second
    High speed data communications and the devices that                 base station to cover altitudes up to the predetermined
 enable such communications have become ubiquitous in                   altitude at the location of the first base station and extending
 modern society. These devices make many users capable of          30   therebeyond in the first direction for a predetermined dis-
 maintaining nearly continuous connectivity to the Internet             tance from the first base station until the sectors of the first
 and other communication networks. Although these high                  base station reach the predetermined altitude. In the second
 speed data connections are available through telephone                 direction, the base stations can be offset and deployed at a
 lines, cable modems or other such devices that have a                  distance such to allow continuous coverage based on a
 physical wired connection, wireless connections have revo-        35   horizontal plane coverage area of the sectors, as the cover-
 lutionized our ability to stay connected without sacrificing           age area is compensated for altitude deficiencies in the first
 mobility.                                                              direction, and thus may not need to be compensated by
    However, in spite of the familiarity that people have with          adjacent coverage areas in the second direction.
 remaining continuously connected to networks while on the                 In one example embodiment, a network for providing
 ground, people generally understand that easy and/or cheap        40   air-to-ground (ATG) wireless communication in various
 connectivity will tend to stop once an aircraft is boarded.            cells is provided. The network includes a first base station
 Aviation platforms have still not become easily and cheaply            array, each base station of which includes a respective first
 connected to communication networks, at least for the                  antenna array defining a directional radiation pattern that is
 passengers onboard. Attempts to stay connected in the air are          oriented in a first direction, wherein each base station of the
 typically costly and have bandwidth limitations or high           45   first base station array is disposed spaced apart from another
 latency problems. Moreover, passengers willing to deal with            base station of the first base station array along the first
 the expense and issues presented by aircraft communication             direction by a first distance. The network also includes a
 capabilities are often limited to very specific communication          second base station array, each base station of which
 modes that are supported by the rigid communication archi-             includes a respective second antenna array defining a direc-
 tecture provided on the aircraft.                                 50   tional radiation pattern that is oriented in the first direction,
    Conventional ground based wireless communications sys-              wherein each base station of the second base station array is
 tems use vertical antennas to provide coverage for device              disposed spaced apart from another base station of the
 connectivity. Antennas used in terrestrial systems typically           second base station array along the first direction by the first
 provide coverage in the azimuthal, or horizontal, plane with           distance, and wherein the second base station array extends
 a width of 65 to 90 degrees. The elevation, or vertical,          55   substantially parallel to the first base station array and is
 pattern is typically more narrow in order to maximize the              spaced apart from the first base station array by a second
 antenna performance in the horizontal plane, which can                 distance to form continuous and at least partially overlap-
 result in a larger coverage area, increased signal strength or         ping cell coverage areas between respective base stations of
 clarity in the coverage area, etc. With focus on the horizontal        the first and second base station arrays. Base stations of the
 plane, however, these existing antennas may be unable to          60   first base station array and the second base station array are
 support connectivity for aircraft traveling above an elevation         disposed to be located offset from each other along the first
 of the coverage area.                                                  direction by a third distance, and wherein the first distance
                                                                        is less than the second distance.
        BRIEF SUMMARY OF SOME EXAMPLES                                     In another example embodiment, a network for providing
                                                                   65   ATG wireless communication in various cells is provided.
    The continuous advancement of wireless technologies                 The network includes a first base station having a first
 offers new opportunities to provide wireless coverage for              antenna array providing a directional radiation pattern ori-

                                                            Appx71
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               145 Filed: 42 of 72 PageID #: 90


                                                      US 10,257,717 B2
                                3                                                                       4
 ented along a first direction, the directional radiation pattern         station to facilitate ATG wireless communications. The cell
 extending over a predetermined range in azimuth centered                 coverage area can be substantially semicircular in the hori-
 on the first direction, and extending between a first elevation          zontal plane, and can be provided by multiple antennas each
 angle and a second elevation angle over at least a predeter-             providing a wedge shaped sector over a portion of the
 mined distance to define a substantially wedge shaped               5    semicircular azimuth. The base stations can be deployed as
 radiation pattern. The network also includes a second base               substantially aligned in a first direction while offset in a
 station deployed spaced apart from the first base station by             second direction. For example, the base stations can also be
 a first distance in the first direction, the second base station         deployed in the first direction at a first distance to provide
 having a second antenna array having the same directional                coverage overlapping in elevation to achieve coverage over
 radiation pattern as the first antenna array such that coverage     10   the predetermined altitude, and within a second distance in
 areas of the first and second antenna arrays overlap at                  the second direction based on an achievable coverage area
 different altitude ranges moving along the first direction               distance of the sectors.
 from the second base station. The network further includes                   FIG. 1 illustrates a top view of a network 100 of deployed
 a third base station deployed spaced apart from the second               base stations for providing ATG wireless communication
 base station by the first distance along the first direction, the   15   coverage. Network 100 includes various base stations pro-
 third base station having a third antenna array having the               viding substantially semicircular cell coverage areas. The
 same directional radiation pattern as the first and second               cell coverage areas are each depicted in two portions. For
 antenna arrays such that coverage areas of the first, second             example, the cell coverage area for a first base station is
 and third antenna arrays overlap at different altitude ranges            shown as similarly patterned portions 102 and 104. The
 moving along the first direction from the third base station        20   portions 102 and 104 represent a single continuous cell
 to achieve continuous coverage to a predetermined altitude.              coverage area over a horizontal plane; however, FIG. 1
                                                                          depicts intervening portion 108 of another cell coverage area
        BRIEF DESCRIPTION OF THE SEVERAL                                  as providing overlapping coverage to achieve continuous
            VIEWS OF THE DRAWING(S)                                       coverage up to a predetermined altitude, as described further
                                                                     25   herein. Portion 102 is shown to represent the initial cell
    Having thus described the invention in general terms,                 coverage area from the location of the corresponding base
 reference will now be made to the accompanying drawings,                 station out to an arbitrary distance for illustrative purposes;
 which are not necessarily drawn to scale, and wherein:                   it is to be appreciated that this portion 102 also includes the
    FIG. 1 illustrates a top view of an example network                   overlapping coverage of portion 108 of another cell cover-
 deployment providing air-to-ground (ATG) wireless com-              30   age area to achieve coverage at the predetermined altitude.
 munication coverage areas;                                               Moreover, the coverage area represented by portions 106
    FIG. 2 illustrates an aspect of an example network deploy-            and 108 may extend beyond boundary 130 of coverage area
 ment of base stations providing overlapping cell coverage                portion 104; the coverage areas are limited in the depiction
 areas to achieve coverage up to a predetermined altitude;                to illustrate at least one point where the bordering coverage
    FIG. 3 illustrates an aspect of an example network deploy-       35   areas are able to provide ATG wireless communication
 ment of base stations providing overlapping cell coverage                coverage at the predetermined altitude. Further, the base
 areas and/or additional coverage areas;                                  stations are not depicted for ease of explanation, but it is to
    FIG. 4 illustrates a functional block diagram of a base               be appreciated that the base stations can be located such to
 station of an example embodiment; and                                    provide the cell coverage area indicated by portions 102 and
    FIG. 5 illustrates an example methodology for deploying          40   104, portions 106 and 108, portions 110 and 112, etc.
 base stations to provide ATG wireless communications at a                    The cell coverage areas 102/104 and 106/108 can be
 predetermined altitude.                                                  provided by respective base stations in a first base station
                                                                          array, where the base stations of one or more base station
                 DETAILED DESCRIPTION                                     arrays are substantially aligned in a first direction 120 (as
                                                                     45   depicted by the representative cell coverage areas). As
    Some example embodiments now will be described more                   shown, cell coverage areas 102/104 and 106/108 project a
 fully hereinafter with reference to the accompanying draw-               directional radiation pattern that is oriented in the first
 ings, in which some, but not all example embodiments are                 direction, and are aligned front to back along the first
 shown. Indeed, the examples described and pictured herein                direction. Such alignment can be achieved by substantially
 should not be construed as being limiting as to the scope,          50   aligning base stations in the base station array to provide the
 applicability or configuration of the present disclosure.                substantially aligned cell coverage areas, antenna rotation to
 Rather, these example embodiments are provided so that this              achieve alignment in the cell coverage areas in the first
 disclosure will satisfy applicable legal requirements. Like              direction 120, and/or the like. As described, in this regard, a
 reference numerals may be used to refer to like elements                 first base station that provides cell coverage area 102/104
 throughout. Furthermore, as used herein, the term "or" is to        55   can be overlapped by at least a cell coverage area 106/108
 be interpreted as a logical operator that results in true                of a second base station in front of the first base station in
 whenever one or more of its operands are true.                           the first direction 120. For example, a base station, or
    Some example embodiments described herein provide                     antennas thereof, can provide wedge shaped cell coverage
 architectures for improved air-to-ground (ATG) wireless                  areas defined by multiple elevation angles employed by
 communication performance. In this regard, some example             60   antennas transmitting signals to achieve a predetermined
 embodiments may provide for base stations having antenna                 altitude by a certain distance from the base station. Thus,
 structures that facilitate providing wireless communication              overlapping the cell coverage areas in the first direction 120
 coverage in vertical and horizontal planes with sufficient               allows cell coverage area 106/108 to achieve the predeter-
 elevation to communicate with aircraft at high elevations. A             mined altitude for at least the certain distance between the
 base station can provide a wedge shaped cell coverage area          65   base station providing cell coverage area 102/104 and a
 in a vertical plane that achieves coverage at a predetermined            point along line 130 where the cell coverage area 102/104
 altitude within a predetermined distance from the base                   achieves the predetermined altitude.

                                                               Appx72
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               146 Filed: 43 of 72 PageID #: 91


                                                     US 10,257,717 B2
                                5                                                                        6
    In addition, base stations in the first base station array           mitted signals that form the coverage areas or related sectors
 providing cell coverage areas 102/104 and 106/108 can be                thereof. Moreover, in this example, the distance 144 can be
 spaced apart in a second direction 122 from base stations of            around 7 5 km.
 a second base station array, which can provide additional                  In an example, the base stations providing cell coverage
 cell coverage areas 110/112, 114/116, etc., aligned in the first   5    areas 102/104, 106/108, 110/112, etc. can each include
 direction 120. The first and second base station arrays can             respective antenna arrays defining a directional radiation
 extend substantially parallel to each other in the first direc-         pattern oriented in the first direction. The respective antenna
 tion 120. In addition, base stations of the second base station         arrays can include multiple antennas providing a sector
 array can be offset from base stations of the first base station        portion of the radiation pattern resulting in a coverage area
                                                                    10   that is wedge shaped in the vertical plane. For example, the
 array in the first direction 120 (as depicted by the represen-
                                                                         cell coverage area provided by each antenna can have first
 tative cell coverage areas). The second direction 122 can be
                                                                         and second elevation angles that exhibit an increasing ver-
 substantially perpendicular to the first direction 120 in one
                                                                         tical beam width in the vertical plane, and fills a portion of
 example. In this example, the first and second base station             an azimuth in the horizontal plane. Using more concentrated
 arrays can be offset to provide the offsetting of respective       15   signals that provide smaller portions of the azimuth can
 cell coverage areas (e.g., the offset shown between cell                allow for achieving further distance and/or increased eleva-
 coverage areas 102/104 and 110/112), and any other cover-               tion angles without increasing transmission power. In the
 age areas of the base station arrays aligned in the first               depicted example, the cell coverage areas defined by the
 direction 120.                                                          antenna arrays include six substantially 30 degree azimuth
    The first and second base station arrays can be spaced          20   sectors that are substantially adjacent to form a directional
 apart at a greater distance in the second direction 122 than            radiation pattern extending substantially 180 degrees in
 base stations within the respective arrays spaced apart in the          azimuth centered on the first direction to define the semi-
 first direction 120. For example, the base stations can be              circular coverage area. Each sector can be provided by an
 spaced in the second direction 122 according to an achiev-              antenna at the corresponding base station, for example.
 able coverage distance of the base station providing the cell      25   Moreover, in one example, the base station can have a radio
 coverage areas. Because the base stations providing cell                per antenna, a less number of radios with one or more
 coverage areas 102/104 and 106/108 in the first base station            switches to switch between the antennas to conserve radio
 array are aligned in the first direction 120 such that cell             resources, and/or the like, as described further herein. It is to
 coverage area 106/108 provides overlapping coverage to cell             be appreciated that additional or a less number of sectors can
 coverage area 102/104 to achieve the predetermined alti-           30   be provided. In addition, the sectors can have an azimuth
 tude, the base station arrays themselves can be separated               more or less than 30 degrees and/or can form a larger or
 based on the achievable distance of the respective cell                 smaller total cell coverage area azimuth than the depicted
 coverage areas 102/104 and 110/112. In this regard, no                  semicircular cell coverage area.
 substantial overlapping is needed between the boundaries of                In yet other examples, the network 100 can implement
 cell coverage areas 102/104 and 110/112 provided by base           35   frequency reuse of two such that adjacent base stations can
 stations of adjacent base station arrays to reach the prede-            use alternating channels in providing the cell coverage areas.
 termined altitude since the altitude deficiencies near the              For example, a base station providing cell coverage areas
 respective base stations are covered by cell coverage areas             102/104 can use a first channel, and a base station providing
 of base stations in the base station array aligned in the first         cell coverage area 106/108 in the same base station array can
 direction 120.                                                     40   use a second channel. Similarly, the base station providing
    Moreover, offsetting the base stations providing the vari-           cell coverage area 110/112 in a different base station array
 ous cell coverage areas over the second direction 122 can               can use the second channel, etc. It is to be appreciated that
 allow for further spacing in the first direction 120 and/or             other frequency reuse patterns and/or number of reuse
 second direction 122 as the end portions of one cell coverage           factors can be utilized in this scheme to provide frequency
 area in the horizontal plane can abut to a middle portion of       45   diversity between adjacent cell coverage areas.
 another cell coverage area from a base station in an adjacent              Furthermore, in an example deployment of network 100,
 base station array to maximize the distance allowed between             the first direction 120 and/or second direction 122 can be, or
 the cell coverage areas while maintaining continuous cov-               be near, a cardinal direction (e.g., north, south, east, or west),
 erage, which can lower the number of base stations neces-               an intermediate direction (e.g., northeast, northwest, south-
 sary to provide coverage over a given area. In one example,        50   east, southwest, north-northeast, east-northeast, etc.), and/or
 the spacing in the second direction 122 can be more than                the like on a horizontal plane. In addition, the network 100
 twice the spacing in the first direction 120, depending on the          can be deployed within boundaries of a country, boundaries
 coverage distance of the cell coverage areas and the distance           of an air corridor across one or more countries, and/or the
 over which it takes a cell coverage area to reach the                   like. In one example, cell coverage area 106/108 can be
 predetermined altitude.                                            55   provided by an initial base station at a border of a country
    As depicted, the spacing of a first distance between base            or air corridor. In this example, a base station providing cell
 stations in a given base station array can be indicated as              coverage area 106/108, 110/112, and/or additional cell cov-
 distance 140 in the first direction 120. The spacing of a               erage areas at the border, can include one or more patch
 second distance between base station arrays in the second               antennas to provide coverage at the predetermined altitude
 direction 122 can be indicated as distance 142. Moreover,          60   from the distance between the base station to the point where
 the offset between the base station arrays can be indicated as          the respective cell coverage area 106/108, 110/112, etc.
 a third distance 144. In one specific example, the distance             reaches the predetermined altitude. For example, the one or
 140 can be near 150 kilometers (km), where distance 142                 more patch antennas can be present behind the cell coverage
 between the base stations providing cell coverage area                  areas 106/108, 110/112, etc., and/or on the base stations
 102/104 can be 400 km or more. In this example, the                65   thereof (e.g., as one or more antennas angled at an uptilt
 achievable cell coverage areas can be at least 200 km from              and/or parallel to the horizon) to provide cell coverage up to
 the corresponding base station in the direction of the trans-           the predetermined altitude.

                                                             Appx73
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               147 Filed: 44 of 72 PageID #: 92


                                                     US 10,257,717 B2
                                7                                                                       8
    FIG. 2 illustrates an example network 200 for providing              late to a cardinal direction, intermediate direction, and/or the
 overlapping cells to facilitate ATG wireless communication              like. In addition, in a deployment of network 200, additional
 coverage at least at a predetermined altitude. Network 200              base stations can be provided in front of base station 206
 includes base stations 202, 204, and 206 that transmit signals          along direction 120 until a desired coverage area is provided
 for providing the ATG wireless communications. Base sta-           5    (e.g., until an edge of a border or air corridor is reached).
 tions 202, 204, and 206 can each transmit signals that exhibit             FIG. 3 illustrates an example network 300 for providing
 a radiation pattern defined by a first and second elevation             overlapping cells to facilitate ATG wireless communication
 angle such to achieve a predetermined altitude. In this                 coverage at least at a predetermined altitude, as in FIG. 2.
 example, base stations 202, 204, and 206 provide respective             Network 300, thus, includes base stations 202, 204, and 206
 wedge shaped cell coverage areas 212, 214, and 216. The            10   that transmit signals for providing the ATG wireless com-
 base stations 202, 204, and 206 can be deployed as substan-             munications. Base stations 202, 204, and 206 can each
 tially aligned in a first direction 120 as part of the same base        transmit signals that exhibit a radiation pattern defined by a
 station array, as described above, or to otherwise allow for            first and second elevation angle such to achieve a predeter-
 aligning the cell coverage areas 212, 214, and 216 in the first         mined altitude. This results in providing respective wedge
 direction, such that cell coverage area 212 can overlap cell       15   shaped cell coverage areas 212, 214, and 216. The base
 coverage area 214 (and/or 216 at a different altitude range in          stations 202, 204, and 206 can be deployed as substantially
 the vertical plane), cell coverage area 214 can overlap cell            aligned in a first direction as part of the same base station
 coverage area 216, and so on. This can allow the cell                   array, as described above, or to otherwise allow for aligning
 coverage areas 212, 214, and 216 to achieve at least a                  the cell coverage areas 212, 214, and 216 in the first
 predetermined altitude (e.g., 45,000 feet (ft)) for a distance     20   direction, such that cell coverage area 212 can overlap cell
 defined by the various aligned base stations 202, 204, 206,             coverage area 214 (and/or 216), cell coverage area 214 can
 etc.                                                                    overlap cell coverage area 216, and so on. This can allow the
    As depicted, base station 202 can provide cell coverage              cell coverage areas 212, 214, and 216 to achieve at least a
 area 212 that overlaps cell coverage area 214 of base station           predetermined altitude (e.g., 45,000 ft) for a distance defined
 204 to facilitate providing cell coverage up to 45,000 ft near     25   by the various aligned base stations 202, 204, 206, etc., as
 base station 204 for a distance until signals transmitted by            described.
 base station 204 reach the predetermined altitude of 45,000                In addition, however, base station 202 can be deployed at
 ft (e.g., near point 130), in this example. In this example,            an edge of a desired coverage area, and can include one or
 base station 204 can be deployed at a position corresponding            more patch antennas to provide additional ATG wireless
 to the distance between which it takes cell coverage area 214      30   communication coverage. In an example, the edge of the
 of base station 204 to reach the predetermined altitude                 desired coverage area can include a border of a country, an
 subtracted from the achievable distance of cell coverage area           edge of an air corridor, etc. For example, the one or more
 212 of base station 202. In this regard, there can be sub-              patch antennas can be provided at an uptilt angle and/or with
 stantially any number of overlapping cell coverage areas of             additional elevation as compared to antenna(s) providing
 different base stations to reach the predetermined altitude        35   cell coverage area 202. In one example, at least one patch
 based on the elevation angles, the distance it takes to achieve         antenna can provide additional coverage areas 302 and/or
 a vertical beam width at the predetermined altitude based on            304 up to the target altitude to fill coverage gaps near the
 the elevation angles, the distance between the base stations,           border or edge in the network deployment configuration
 etc.                                                                    described herein, for example.
    In one specific example, the base stations 202, 204, and        40      FIG. 4 illustrates a functional block diagram of a base
 206 can be spaced apart by a first distance 140, as described.          station 400 in an example embodiment. In this regard, for
 The first distance 140 can be substantially 150 km along the            example, the base station 400 may include processing cir-
 first direction 120, such that base station 204 is around 150           cuitry 402 that may be configurable to perform control
 km from base station 202, and base station 206 is around 300            functions in accordance with example embodiments. The
 km from base station 202. Further, in an example, an aircraft      45   processing circuitry 402 may provide electronic control
 flying between base station 206 and 204 may be covered by               inputs to one or more functional units of an aircraft for
 base station 202 depending on its altitude, and in one                  providing ATG wireless communications thereto. The pro-
 example, altitude can be used in determining whether and/or             cessing circuitry 402 may be configured to perform data
 when to handover a device on the aircraft to another base               processing, control function execution and/or other process-
 station or cell provided by the base station.                      50   ing and management services according to an example
    Moreover, as described in some examples, base stations               embodiment.
 202, 204 and 206 can include an antenna array providing a                  In some examples, the processing circuitry 402 may be
 directional radiation pattern oriented along the first direction        embodied as a chip or chip set. In other words, the process-
 120, as shown in FIG. 1, where the directional radiation                ing circuitry 402 may comprise one or more physical
 pattern extends over a predetermined range in azimuth              55   packages (e.g., chips) including materials, components and/
 centered on the first direction 120, and extends between the            or wires on a structural assembly (e.g., a baseboard). The
 first elevation angle and the second elevation angle of the             structural assembly may provide physical strength, conser-
 respective coverage areas 212, 214, and 216 over at least a             vation of size, and/or limitation of electrical interaction for
 predetermined distance to define the substantially wedge                component circuitry included thereon. The processing cir-
 shaped radiation pattern. In this regard, FIG. 2 depicts a side    60   cuitry 402 may therefore, in some cases, be configured to
 view of a vertical plane of the base stations 202, 204, and             implement an embodiment of the disclosed subject matter on
 206, and associated coverage areas 212, 214, and 216. Thus,             a single chip or as a single "system on a chip." As such, in
 in one example, base station 202 can provide a cell coverage            some cases, a chip or chipset may constitute means for
 area 212 that is similar to cell coverage area 106/108 in FIG.          performing one or more operations for providing the func-
 1 in a horizontal plane, and base station 204 can provide a        65   tionalities described herein.
 cell coverage area 214 similar to cell coverage area 102/104               In an example embodiment, the processing circuitry 402
 in FIG. 1. Moreover, as described, direction 120 can corre-             may include one or more instances of a processor 404 and

                                                             Appx74
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               148 Filed: 45 of 72 PageID #: 93


                                                    US 10,257,717 B2
                               9                                                                    10
 memory 406 that may be in communication with or other-                software instructions, the instructions may specifically con-
 wise control a transceiver 408. The processing circuitry 402          figure the processor 404 to perform the operations described
 may be embodied as a circuit chip (e.g., an integrated circuit        herein.
 chip) configured (e.g., with hardware, software or a combi-              In an example embodiment, the processor 404 (or the
 nation of hardware and software) to perform operations           5    processing circuitry 402) may be embodied as, include or
 described herein. However, in some embodiments, the pro-              otherwise control the operation of the base station 400, as
 cessing circuitry 402 may be embodied as a portion of an              described herein. As such, in some embodiments, the pro-
 on-board computer. The transceiver 408 may include one or             cessor 404 (or the processing circuitry 402) may be said to
 more mechanisms for enabling communication with various               cause each of the operations described in connection with
                                                                  10
 devices. In some cases, the transceiver 408 can include               the base station 400 in relation to operation of the base
 device or circuitry embodied in either hardware, or a com-            station 400 by directing components of the transceiver 408
 bination of hardware and software that is configured to               to undertake the corresponding functionalities responsive to
 receive and/or transmit data from/to aircraft or other devices        execution of instructions or algorithms configuring the pro-
 in communication with the processing circuitry 402. Thus,        15   cessor 404 (or processing circuitry 402) accordingly.
 for example, the transceiver 408 may allow for communi-                  In an exemplary embodiment, the memory 406 may
 cation via different antennas, such as antenna 1 410, antenna         include one or more non-transitory memory devices such as,
 2 412, antenna N 414, where N is a positive integer, etc.             for example, volatile and/or non-volatile memory that may
    In an example embodiment, the processing circuitry 402             be either fixed or removable. The memory 406 may be
 may be configured to control configuration or operation of       20   configured to store information, data, applications, instruc-
 one or more instances of the transceiver 408 to facilitate            tions or the like for enabling the processing circuitry 402 to
 operation of one or more antennas, such as antenna 1 410,             carry out various functions in accordance with exemplary
 antenna 2 412, antenna N 414, etc. In one example, as                 embodiments described herein. For example, the memory
 depicted, the antennas 410,412, 414, etc. can be operated by          406 could be configured to buffer input data for processing
 a single radio 416, and the radio 416 can include a switch       25   by the processor 404. Additionally or alternatively, the
 418 to alternate between transmitting signals over the vari-          memory 406 could be configured to store instructions for
 ous antennas 410, 412, 414, etc. In another example, though           execution by the processor 404. As yet another alternative,
 not depicted, the antennas 410, 412, 414, etc. can use                the memory 406 may include one or more databases that
 independent radios, and/or can transmit signals concur-               may store a variety of data sets related to functions described
 rently. In any case, processing circuitry 402 can use trans-     30
                                                                       herein. Among the contents of the memory 406, applications
 ceiver 408 to provide cell coverage via communications
                                                                       may be stored for execution by the processor 404 in order to
 using the antennas 410, 412, 414, etc. to provide wedge
                                                                       carry out the functionality associated with each respective
 shaped cells, as described. In addition, the wedge shaped
                                                                       application. In some cases, the applications may include
 cells provided by the antennas can be substantially adjacent
 in a direction to provide multiple aligned sectors that form     35
                                                                       instructions for recognition of various input signals related
 semicircular coverage areas, as described. In some                    to component status or operational parameters and, if nec-
 examples, transceiver 408 can employ additional patch                 essary, applying timing control, encryption, channel control
 antennas (not shown) to provide additional coverage areas to          and/or the like associated with handling the reception of
 provide border coverage at the predetermined altitude.                such signals. The applications may further include instruc-
    Moreover, it is to be appreciated that the radio(s) 416 can   40   tions for operational control of the base station 400, as
 communicate using substantially any air interface in a                described above.
 licensed spectrum (e.g., third generation partnership project            Referring to FIG. 5, a methodology that can be utilized in
 (3GPP) long term evolution (LTE), Wideband Code Divi-                 accordance with various aspects described herein is illus-
 sion Multiple Access (WCDMA), and/or the like), unli-                 trated. While, for purposes of simplicity of explanation, the
 censed spectrum (e.g., 2.4 gigahertz (GHz), 5.8 GHz, and/or      45   methodology is shown and described as a series of acts, it is
 the like), etc.                                                       to be understood and appreciated that the methodology is not
    The processor 404 may be embodied in a number of                   limited by the order of acts, as some acts can, in accordance
 different ways. For example, the processor 404 may be                 with one or more aspects, occur in different orders and/or
 embodied as various processors, such as one or more of a              concurrently with other acts from that shown and described
 microprocessor or other processing element, a coprocessor,       50   herein. For example, those skilled in the art will understand
 a controller or various other computing or processing                 and appreciate that a methodology could alternatively be
 devices including integrated circuits such as, for example, an        represented as a series of interrelated states or events, such
 application specific integrated circuit (ASIC), a field pro-          as in a state diagram. Moreover, not all illustrated acts may
 grammable gate array (FPGA), or the like. In an example               be required to implement a methodology in accordance with
 embodiment, the processor 402 may be configured to               55   one or more aspects.
 execute instructions stored in the memory 406 or otherwise               FIG. 5 illustrates an example methodology 500 for pro-
 accessible to the processor 404. As such, whether configured          viding deploying a plurality of base stations to provideATG
 by hardware or by a combination of hardware and software,             wireless communication coverage areas. At 502, a first base
 the processor 404 may represent an entity (e.g., physically           station is deployed providing a wedge shaped coverage area
 embodied in circuitry-in the form of processing circuitry        60   in a vertical plane over a semicircular shaped coverage area
 402) capable of performing operations according to embodi-            in a horizontal plane. As described, an increasing vertical
 ments of the present invention while configured accordingly.          beam width over a distance, as effectuated by multiple
 Thus, for example, when the processor 404 is embodied as              elevation angles of signal transmissions by the base station,
 an ASIC, FPGA or the like, the processor 404 may be                   can result in the wedge shape of the coverage area. In
 specifically configured hardware for conducting the opera-       65   addition, the semicircular shape in the horizontal plane can
 tions described herein. Alternatively, as another example,            be effectuated by an azimuth of transmission by one or more
 when the processor 404 is embodied as an executor of                  antennas. As described, in an example, transmissions from a

                                                            Appx75
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               149 Filed: 46 of 72 PageID #: 94


                                                      US 10,257,717 B2
                               11                                                                       12
 plurality of antennas can form substantially adjacent sectors            specific terms are employed herein, they are used in a
 that together form the semicircular shaped cell coverage                 generic and descriptive sense only and not for purposes of
 area.                                                                    limitation.
    At 504, a second base station can be deployed aligned                    What is claimed is:
 with the first base station in a first direction to facilitate      5       1. A network for providing air-to-ground (ATG) wireless
 providing overlapping coverage with the first base station in            communication in various cells, comprising:
 the first direction to achieve a predetermined altitude. In this            a first base station including a first antenna array defining
 regard, as described, a second cell coverage area of the                       a first directional radiation pattern that is oriented
 second base station can be similarly shaped in the vertical                    toward a horizon; and
                                                                     10      a second base station including second antenna array
 and horizontal planes as the cell coverage area of the first
                                                                                defining a second directional radiation pattern that at
 base station, such that the second cell coverage area can fill
                                                                                least partially overlaps with the first base station,
 coverage gaps in the cell coverage area near the first base
                                                                             wherein the first base station employs unlicensed spec-
 station up to a predetermined altitude in a semicircular                       trum,
 coverage area shape in the horizontal plane. In this example,       15      wherein the second base station employs licensed spec-
 the second base station can be deployed at a distance that                     trum,
 allows the second base station to cover the cell coverage area              wherein the first and second base stations are each con-
 of the first base station at least at the predetermined altitude               figured to wirelessly communicate with a radio dis-
 and at least to a point where the cell coverage area of the first              posed on an aircraft flying through respective cell
 base station reaches the predetermined altitude. Moreover,          20         coverage areas of the first and second base stations, and
 as described, the first and second base stations can be                     wherein the first and second base stations are each con-
 deployed in the same base station array.                                       figured to handover communication with the radio as
    At 506, a third base station can be deployed in a second                    the aircraft moves between the respective cell coverage
 direction from the first base station, and offset in the first                 areas of the first and second base stations.
 direction, to facilitate providing continuous coverage at the       25      2. The network of claim 1, wherein at least one of the first
 predetermined altitude in the second direction. The second               directional radiation pattern or the second direction radiation
 direction can be substantially perpendicular to the first                pattern defines a substantially wedge shaped radiation pat-
 direction such that the third base station is deployed based             tern.
 on an achievable cell coverage area distance by the first base              3. The network of claim 2, wherein the first and second
 station and the third base station. As described, since the cell    30   directional radiation patterns overlap each other to provide
                                                                          continuous coverage up to a predetermined altitude.
 coverage area of the first base station is compensated for
                                                                             4. The network of claim 3, wherein coverage up to the
 altitude deficiency in the first direction (e.g., by the over-
                                                                          predetermined altitude immediately above the first base
 lapping cells of the second base station aligned in the first
                                                                          station is provided by the second base station.
 direction), no such compensation is needed in the second            35      5. The network of claim 4, wherein the predetermined
 direction, and thus the base stations in the second direction            altitude is about 45,000 feet.
 can be further spaced apart based on the achievable coverage                6. The network of claim 1, wherein one of the first antenna
 area distance of each base station. Moreover, as described,              array or the second antenna array forms a semicircular
 the third base station can be deployed in a base station array           radiation pattern.
 adjacent to the base station array to which the first and           40      7. The network of claim 1, wherein the first antenna array
 second base stations are associated.                                     and the second antenna array each form semicircular radia-
    Many modifications and other embodiments of the inven-                tion patterns.
 tions set forth herein will come to mind to one skilled in the              8. The network of claim 7, wherein the first antenna array
 art to which these inventions pertain having the benefit of the          and the second antenna array each include six sectors of
 teachings presented in the foregoing descriptions and the           45   about thirty degrees.
 associated drawings. Therefore, it is to be understood that                 9. The network of claim 1, wherein each of the first
 the inventions are not to be limited to the specific embodi-             directional radiation pattern and the second direction radia-
 ments disclosed and that modifications and other embodi-                 tion pattern define a substantially wedge shaped radiation
 ments are intended to be included within the scope of the                pattern.
 appended claims. Moreover, although the foregoing descrip-          50      10. The network of claim 9, wherein each of the first
 tions and the associated drawings describe exemplary                     directional radiation pattern and the second direction radia-
 embodiments in the context of certain exemplary combina-                 tion pattern form semicircular radiation patterns.
 tions of elements and/or functions, it should be appreciated                11. The network of claim 1, wherein the first directional
 that different combinations of elements and/or functions                 radiation pattern is differently shaped than the second direc-
 may be provided by alternative embodiments without                  55   tion radiation pattern.
 departing from the scope of the appended claims. In this                    12. A network for providing air-to-ground (ATG) wireless
 regard, for example, different combinations of elements                  communication in various cells, comprising:
 and/or functions than those explicitly described above are                  a first base station including a first antenna array defining
 also contemplated as may be set forth in some of the                           a first directional radiation pattern that is oriented
 appended claims. In cases where advantages, benefits or             60         toward a horizon; and
 solutions to problems are described herein, it should be                    a second base station including second antenna array
 appreciated that such advantages, benefits and/or solutions                    defining a second directional radiation pattern that at
 may be applicable to some example embodiments, but not                         least partially overlaps with the first base station,
 necessarily all example embodiments. Thus, any advan-                       wherein one of the first base station or the second base
 tages, benefits or solutions described herein should not be         65         station employs unlicensed spectrum, and the other of
 thought of as being critical, required or essential to all                     the first base station and the second base station
 embodiments or to that which is claimed herein. Although                       employs licensed spectrum,

                                                               Appx76
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               150 Filed: 47 of 72 PageID #: 95


                                                     US 10,257,717 B2
                              13                                                                      14
    wherein the first and second base stations are each con-               16. The network of claim 15, wherein the predetermined
       figured to wirelessly connnunicate with a radio dis-             altitude is about 45,000 feet.
       posed on an aircraft flying through respective cell                 17. The network of claim 12, wherein one of the first
       coverage areas of the first and second base stations, and        antenna array or the second antenna array forms a semicir-
    wherein the first and second base stations are each con-       5    cular radiation pattern.
       figured to handover connnunication with the radio as
       the aircraft moves between the respective cell coverage             18. The network of claim 12, wherein each of the first
       areas of the first and second base stations.                     directional radiation pattern and the second direction radia-
    13. The network of claim 12, wherein at least one of the            tion pattern define a substantially wedge shaped radiation
 first directional radiation pattern or the second direction            pattern.
                                                                   10
 radiation pattern defines a substantially wedge shaped radia-             19. The network of claim 18, wherein each of the first
 tion pattern.                                                          directional radiation pattern and the second direction radia-
    14. The network of claim 13, wherein the first and second           tion pattern form semicircular radiation patterns.
 directional radiation patterns overlap each other to provide
 continuous coverage up to a predetermined altitude.                       20. The network of claim 12, wherein the first directional
    15. The network of claim 14, wherein coverage up to the        15   radiation pattern is differently shaped than the second direc-
 predetermined altitude innnediately above the first base               tion radiation pattern.
 station is provided by the second base station.                                              *   *   *    *   *




                                                             Appx77
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               151 Filed: 48 of 72 PageID #: 96




                               EXHIBIT 4




                                   Appx78
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               152 Filed: 49 of 72 PageID #: 97
                                                                  I 1111111111111111 11111 1111111111 11111 11111 11111 1111111111111111 IIII IIII IIII
                                                                                                 US009730077B2


 c12)   United States Patent                                               (IO)   Patent No.:                           US 9,730,077 B2
        Stone et al.                                                       (45)   Date of Patent:                                 Aug. 8, 2017

 (54)   ARCHITECTURE FOR SIMULTANEOUS                                  (56)                       References Cited
        SPECTRUM USAGE BY AIR-TO-GROUND
        AND TERRESTRIAL NETWORKS                                                          U.S. PATENT DOCUMENTS

 (71)   Applicant: SMARTSKY NETWORKS LLC,                                     8,410,975 Bl          4/2013 Bell et al.
                                                                              8,477,062 Bl          7/2013 Kanellis
                   Charlotte, NC (US)
                                                                                                       (Continued)
 (72)   Inventors: Ryan M. Stone, Charlotte, NC (US);
                   Douglas Hyslop, Vienna, VA (US)                                           OTHER PUBLICATIONS

 (73)   Assignee: SMARTSKY NETWORKS LLC,                               ETSI Technical Connnittee Electromagnetic Compatibility and
                  Charlotte, NC (US)                                   Radio Spectrum Matters (ERM), "Electromagnetic Compatibility
                                                                       and Radio Spectrum Matters (ERM); System Reference Document
 ( *)   Notice:      Subject to any disclaimer, the term ofthis        (SRdoc); Broadband Direct-Air-To-Ground Connnunications Sys-
                     patent is extended or adjusted under 35           tem Employing Beamforming Antennas, Operating in the 2, 4 GHz
                     U.S.C. 154(b) by O days.                          and 5.8 GHz Bands," European Teleconnnunications Standards
                                                                       Institute, Jul. 2012, ETSI TR 101 599 Vl.1.1.
 (21)   Appl. No.: 15/287,914
                                                                       Primary Examiner - Cong Tran
 (22)   Filed:       Oct. 7, 2016
                                                                       (74) Attorney, Agent, or Firm - McNair Law Firm, P.A.
 (65)                   Prior Publication Data
                                                                       (57)                          ABSTRACT
        US 2017/0026849 Al          Jan. 26, 2017
                                                                       A network for providing air-to-ground (ATG) wireless com-
                 Related U.S. Application Data                         munication in various cells may include an in-flight aircraft
 (63)   Continuation of application No. 14/595,512, filed on           including an antenna assembly, a plurality of ATG base
        Jan. 13, 2015, now Pat. No. 9,491,635.                         stations, a plurality of terrestrial base stations. Each of the
                                                                       ATG base stations defines a corresponding radiation pattern,
 (51)   Int. Cl.                                                       and the ATG base stations are spaced apart from each other
        H04W 16114              (2009.01)                              to define at least partially overlapping coverage areas to
        H04B 71185              (2006.01)                              communicate with the antenna assembly in an ATG com-
                          (Continued)                                  munication layer defined between a first altitude and a
 (52)   U.S. Cl.                                                       second altitude. The terrestrial base stations are configured
                                                                       to communicate primarily in a ground communication layer
        CPC ........ H04W 16114 (2013.01); H04B 7118504
                                                                       below the first altitude. The terrestrial base stations and the
                       (2013.01); H04B 7118506 (2013.01);
                                                                       ATG base stations are each configured to communicate
                         (Continued)                                   using the same radio frequency (RF) spectrum in the ground
 (58)   Field of Classification Search                                 communication layer and ATG communication layer,
        CPC ..... H04W 16/14; H04W 16/28; H04W 24/02;                  respectively.
                               H04W 88/08; H04B 7/18504
                         (Continued)                                                     19 Claims, 10 Drawing Sheets




                                                                                                                             ~.-3!0

                                                                                                               300 ~ \                ""°\:
                                                                                                           T,:,1r1?s!ri~:i
                                                                                                           ti;.JC~h~lVl
                                                                                                          ~·!d Netwixk

                                                                                                                             ·· 31S
                 370-




                                                            Appx79
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               153 Filed: 50 of 72 PageID #: 98


                                                                 US 9,730,077 B2
                                                                            Page 2


 (51)    Int. Cl.
         H04W 16128              (2009.01)
         H04W24/02               (2009.01)
         H04W 88/08              (2009.01)
         H04W 84/06              (2009.01)
 (52)    U.S. Cl.
         CPC ........... H04W 16128 (2013.01); H04W 24102
                  (2013.01); H04B 7/18508 (2013.01); H04W
                       84/06 (2013.01); H04W 88/08 (2013.01)
 ( 58)   Field of Classification Search
         USPC ... 455/453, 454, 442, 12.1, 13.1, 431, 456.1
         See application file for complete search history.

 (56)                      References Cited

                  U.S. PATENT DOCUMENTS

      8,681,021   Bl        3/2014   Carrico
      9,014,704   B2        4/2015   Hyslop
      9,143,807   B2 *      9/2015   Keen
  2006/0040660    Al *      2/2006   Cruz            ...... H04B 7/18506
                                                                 455/431
  2006/0229076    Al       10/2006   Monk
  2010/0066616    Al        3/2010   Brady, Jr.
  2010/0189089    Al        7/2010   Lynch et al.
  2013/0182790    Al   *    7/2013   Jalali ........................ H0lQ 3/24
                                                                       375/285
 * cited by examiner




                                                                          Appx80
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-1
                         Document: 12 Filed 02/28/22
                                         Page:       Page 12/19/2022
                                               154 Filed: 51 of 72 PageID #: 99


 U.S. Patent          Aug. 8, 2017     Sheet 1 of 10       US 9,730,077 B2




           \



                                                               d
                                                               -~




                                     Appx81
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-112 Filed
                         Document:           02/28/22
                                          Page:  155 Page
                                                      Filed: 52 of 72 PageID #: 100
                                                             12/19/2022


 U.S. Patent           Aug. 8, 2017     Sheet 2 of 10         US 9,730,077 B2




                       \




                           -
                           Q
                           N




                                      Appx82
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-112 Filed
                         Document:           02/28/22
                                          Page:  156 Page
                                                      Filed: 53 of 72 PageID #: 101
                                                             12/19/2022


 U.S. Patent                    Aug. 8, 2017                                                                           Sheet 3 of 10   US 9,730,077 B2



                                                                                -:,
                                                                            <"l
                                                                                ~            I
                                                                                 t           I             :


                                                                                 ~           I
                                                                                             I
                                                                                             I
                                                                                             I




                    \
                                                                                      I
                        \                                                                II
                                                                                         I ~I
                            \    I                                                        • I
                                 I
                                \i                                                        Ii.,
                                ·I
                                 lI ,                                                     Ii.,
                                 i\
                                 I                                                           ~
                                        \                                                     l
                                            \                                                j
                                                                                             ·j·
                                                \                                                !I
                                                                                                 1';

                                                    \                                            !l
                                                                                                 I .•
                                                        \                                        !I    r
                                                            \
                                                                \
                                                                                                           I
                                                                                                           I
                                                                                                                           )
                                                                    \                                          I
                                                                        \
                                                                            \                                      \
                                                                                \                                  I             I
                                                                                     \
                                                                                                                   I
                                                                                         \
                                                                                                                    I
                                                                                             \:  ·1                    I

                                                                                                  '   l·
                                                                                                      !\
                                                                                                      I

                                                                                                      I \                  I

                                                                                                                ~\
                                                                                                                   I .
                                                                                                                   I
                                                                                                               ~ \ .
                                                                                                               t",         . \
                                                                                                                           \.    \



                                                                                                       Appx83
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-112 Filed
                         Document:           02/28/22
                                          Page:  157 Page
                                                      Filed: 54 of 72 PageID #: 102
                                                             12/19/2022


 U.S. Patent           Aug. 8, 2017              Sheet 4 of 10           US 9,730,077 B2




                           '\:,t5
                              N
                              ·c
                              0              \
                              I
                                  \              \
                                                     \
                                    ' \
                                       \
                                                         \
                                                             \
                                                                 \
                                        \                            \




                                            Appx84
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-112 Filed
                         Document:           02/28/22
                                          Page:  158 Page
                                                      Filed: 55 of 72 PageID #: 103
                                                             12/19/2022


 U.S. Patent                 Aug. 8, 2017        Sheet 5 of 10                         US 9,730,077 B2




                                              FIG. 5
                     406               402                - 404                        1 40s

             SELECTABLE         LEFT SIDE            HIGHT SIDE                  Bl.ADE
            DiRECT!VITY TX        PANEL                PANE'-                   ANTENNA
               ELEMENT          ELEMENT               ELEMENT                   ELEMENT




                                                                  430
                                       ,...... _ _ _ _ _ _ _ _ __,!1
                                                                   _____ _
                                                                                            -1
                                                                                              I
                                       I            REMOTE RADIO HEAD    434   ""°\           I
                                       1432
                                       I
                                                 L _______              -+I           DE     11
                                                                                           __ I



                                      440



                              BASE RADIO




                                       FIG. 6




                                              Appx85
                                                                                                                          e
                                                                                                                          •
                                                                                                                          00
                                                                                                                          •
                                                                                                                          ~
                                                                                 500\                                     ~
                                                                                                                          ~
                                                                                                 STEERING                 ~

                                    505--.._                    - - -                        -   ASSEMBLY
                                                                                                                          ~
                                                                                                                          =
         r---------                     -~-- _______ -                  ----,                                 ~


                                                                                         I                        /375
         · CONTROLLER                  510 ' \                                           I
                                                                                                                                     Case 1:22-cv-00266-GBW




                                                                                         I         ~I       Antenna
                                                                                         I                  Assembly      ~
                                                                                                                         ~
                        PROCESSING CIRCUITRY                                             I
                                                                                                                         '"CIO
                                                                                    I
                                                                                s2-,o
                                                                        ...L..r__        :                                 N
                          514\.          512 \                                                                            0
                                                                                                                          ....
                                                                                                                          -....J
                                                                                         I
                                                                                                                                               Case: 23-1058 Document




                                                      ,..__..     DEVICE                ,I
                                                                                                                                                              Document:




                  MEMORY                  PROCESSOR             INTERFACE
                                                                                                                          rJJ
                                                                                                                          ('D
                                                                                                                          =-
                                                                                                                          ('D




Appx86
                                                                                                                          .....
                                                                                                                                                                      1-112 Filed




                                                                                                                          O'I
                                                                                                        r518              0
                                                                                                                                                                               Page:




                             530~
                                        •
                                        ,t
                                                                                                                          ........
                                                                                                                          0
                                                                                                  SENSOR
                                                                                                                                                                                  02/28/22




                                       USER                                                      NETWORK
                                    INTERFACE
                                                                                                                                                                                      159 Page




         L _________________________________ _
                                                                                                                                                                                           Filed: 56




                                                                                                                          d
                                                                                                                          r.,;_
                                                                                                                         _."-0
                                                                                                                          -....l
                                                                FIG. 7                                                    w
                                                                                                                                                                                                  12/19/2022




                                                                                                                          =
                                                                                                                         =-....l
                                                                                                                          -....l

                                                                                                                          N
                                                                                                                          =
                                                                                                                                                                                                     of 72 PageID #: 104
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-112 Filed
                         Document:           02/28/22
                                          Page:  160 Page
                                                      Filed: 57 of 72 PageID #: 105
                                                             12/19/2022


 U.S. Patent               Aug. 8, 2017             Sheet 7 of 10                 US 9,730,077 B2




            Detennining an expected relative position of an ATG base station
                             relative to an in-flight aircraft
                                                                                  v··---   800




                                             ,,
                                                                                           810
            Selecting an antenna element to employ for communication with the ~
                 ATG base station based on the expected relative position



                                             ·~
                                                                                           820
             Receiving an indication of a change to the dynamic position (e.g.,   ~
                               aircraft attitude) inforn1ation



                                             ·•
           Adjusting the selected antenna element to compensate for the change ~ 930
                             to dynamic position information




                                        FlG. 8




                                                  Appx87
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-112 Filed
                         Document:           02/28/22
                                          Page:  161 Page
                                                      Filed: 58 of 72 PageID #: 106
                                                             12/19/2022


 U.S. Patent               Aug. 8, 2017                                                                 Sheet 8 of 10                                                          US 9,730,077 B2




                                                                                                    \
                                  \
                                      \                                                             \
                                          \
                                              \     I
                                                                                                        '

                                                                                                        \    .j


                                                                                                              I
                                                  . I
                                                  I.
                                                  11
                                                                                                            i..!
                                                                                                            · I
                                                   ·j

                                                    \                                                       li.,
                                                    I,

                                                    j\
                                                    I                                                         ~
                                                            \                                                 I
                                                                                                            "j
                                                                                                             -;.
                                                                    \                                             q
                                                                                                                  1·,
                                                                        \                                         I    I.
                                                                                                                  I,.

                                                                            \                                     If                             :        ~
                                                                                                                  I •                                     N')

                                                                                \                                           \ ',                                  j
                                                                                                                            '           '            ·./
                                                                                    \                                       I ·. _Ji
                                                                                        \                         I             l
                                                                                            \
                                                        l                                                                                                                  I
                                                        l                                                                           \                                      I


                                      ,,:
                                                                                                                                                                          I
                                                        I                                       \                                       \                               r
                                                                                                                                                                      0
                                                                                                    \                                                                 tr,
                                                    ·1--..,,                                                                                \                         f-f"}

                                                        !       \
                                                                I                                       \
                                                        I                                                                                   I
                      l       :                                                                                       '
                      \.'i. _:'                                                                              \ I
                                                                                                                  •j




                                                                                                                   ',.'\
                                                                                                                      I
                                                                                                                                                     l
                                                                                                                                \                     \
                                                                                                                                    ·\I .
                                                                                                                                    /                    \
                )'·
               r .
                                                                                                                                    {\
                                                                                                                                    i           .-
                                                                                                                                                          '
                                                                                                                                                          I
                                                                                                                                ~                    \        .
                                                                                                                                ff)                      ·\
                                                                                                    ..-;
                                                                                                    !"'";~                                               \.
                                                                                                .. !"!1
                                                                                                    · :• ,· • . I- ,.•,•

                                                                                                        \.... _ ~
                                                                                                                      'l




                                                                                            Appx88
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-112 Filed
                         Document:           02/28/22
                                          Page:  162 Page
                                                      Filed: 59 of 72 PageID #: 107
                                                             12/19/2022


 U.S. Patent           Aug. 8, 2017     Sheet 9 of 10            US 9,730,077 B2




                        Cavity                            1060
             1080        filter                Receiver



                      Transmitter
           1070                       FIG.10




                                      Appx89
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-112 Filed
                         Document:           02/28/22
                                          Page:  163 Page
                                                      Filed: 60 of 72 PageID #: 108
                                                             12/19/2022


 U.S. Patent                 Aug. 8, 2017                       Sheet 10 of 10                          US 9,730,077 B2




                                                                                          1 1100
                                                                ~ ~·- ~ ~ - ~ ~ ~ ~ - ~.vi ~I
                   I          1110                                                                       I
                   I                                                                                     I
                   I                                                  (lof 10}                           I
                   I                                                                  r-1120             I
                   I                                  But!er Combiner             /                      i
                   I                                                                                     I
                                                                                                         I
                   :Long                                                                                 I
                                                                                                         I
                     lade                                                                                I
                                                                                                         I
                                                                          Multi-pole                     i
                               1130                                     throw switch                     I
                                                                                                         I
                                                                                                         I
                                                                                                         I
                                                                                                         I
                                                                                                         I
                                                         Circulator                                      i1
                               1140                                                                      I
                                                                                                         I
                                                                                                         I
                                                                                                         i
                                                                                                         I
                                                                                          NA             I
                                                                                                         i1
                                                                                                         I
                                                                                                         I
                                                                                                         I
                                                                                                         I
                                                                         Rx Filter       r       1150
                                                                                                         :
                                                                                                         I
                                                                                                         I
                                                  1 1172                                                 I
                             1-»-·o:«            ~....                1-- - - -
                             I Switch :
                             l ssss ssss   .:sss,:   ssss.d
                                                                      I Switch
                                                                      t........
                                                                                             V
                                                                                  .... .... ,.
                                                                                                 1158
                                                                                                         :I
                                                                                                         I




             1180
                       -       Cavity
                           ~-f-ilt,_er_~r 1190



            1170


                                                               FIG. ll




                                                              Appx90
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-112 Filed
                         Document:           02/28/22
                                          Page:  164 Page
                                                      Filed: 61 of 72 PageID #: 109
                                                             12/19/2022


                                                    US 9,730,077 B2
                              1                                                                      2
       ARCHITECTURE FOR SIMULTANEOUS                                     In one example embodiment, a network for providing
      SPECTRUM USAGE BY AIR-TO-GROUND                                 air-to-ground (ATG) wireless communication in various
         AND TERRESTRIAL NETWORKS                                     communication volumes or cells is provided. The network
                                                                      may include an in-flight aircraft including an antenna assem-
           CROSS-REFERENCE TO RELATED                            5    bly, a plurality of ATG base stations, and a plurality of
                  APPLICATIONS                                        terrestrial base stations. Each of the ATG base stations
                                                                      defines a corresponding radiation pattern, and the ATG base
   This application is a continuation of U.S. application Ser.        stations are spaced apart from each other to define at least
 No. 14/595,512 filed Jan. 13, 2015, the entire contents of           partially overlapping coverage areas to communicate with
                                                                 10
 which are hereby incorporated herein by reference.                   the antenna assembly in an ATG communication layer
                                                                      defined between a first altitude and a second altitude. The
                    TECHNICAL FIELD                                   terrestrial base stations are configured to communicate pri-
                                                                      marily in a ground communication layer below the first
   Example embodiments generally relate to wireless com-              altitude to provide services independently of or in coopera-
                                                                 15
 munications and, more particularly, relate to techniques for         tion with the ATG base stations. The terrestrial base stations
 enabling dual usage of spectrum by wireless air-to-ground            and the ATG base stations are each configured to commu-
 (ATG) networks and terrestrial networks in the same geo-             nicate using the same radio frequency (RF) spectrum in the
 graphic area.                                                        ground communication layer and ATG communication
                                                                 20   layer, respectively.
                      BACKGROUND                                         In another example embodiment, a method of selecting
                                                                      antenna elements of an antenna assembly for communicat-
    High speed data communications and the devices that               ing in an ATG network and compensating for aircraft
 enable such communications have become ubiquitous in                 movement (e.g., pitch and roll) is provided. The method may
 modern society. These devices make many users capable of        25   include determining an expected relative position of an ATG
 maintaining nearly continuous connectivity to the Internet           base station relative to an in-flight aircraft, selecting an
 and other communication networks. Although these high                antenna element to employ for communication with the ATG
 speed data connections are available through telephone               base station based on the expected relative position, receiv-
 lines, cable modems or other such devices that have a                ing an indication of a change to the dynamic position
 physical wired connection, wireless connections have revo-      30   information (e.g., where the change is indicative of at least
 lutionized our ability to stay connected without sacrificing         a change in the pitch or roll of the aircraft), and adjusting the
 mobility.                                                            selected antenna element to compensate for the change to
    However, in spite of the familiarity that people have with        the dynamic position information.
 remaining continuously connected to networks while on the               In another example embodiment, an antenna assembly for
 ground, people generally understand that easy and/or cheap      35   an aircraft is provided. The antenna assembly may be
 connectivity will tend to stop once an aircraft is boarded.          capable of communicating with ATG base stations of an
 Aviation platforms have still not become easily and cheaply          ATG wireless communication network. The antenna assem-
 connected to communication networks, at least for the                bly may include a plurality of antenna elements, at least one
 passengers onboard. Attempts to stay connected in the air are        of which is tiltable to maintain the antenna assembly ori-
 typically costly and have bandwidth limitations or high         40   ented toward a focus region responsive to in-flight maneu-
 latency problems. Moreover, passengers willing to deal with          vering of the aircraft.
 the expense and issues presented by aircraft communication
 capabilities are often limited to very specific communication               BRIEF DESCRIPTION OF THE SEVERAL
 modes that are supported by the rigid communication archi-                      VIEWS OF THE DRAWING(S)
 tecture provided on the aircraft.                               45
    As improvements are made to network infrastructures to               Having thus described the invention in general terms,
 enable better communications with in-flight receiving                reference will now be made to the accompanying drawings,
 devices of various kinds, one prospect that may be consid-           which are not necessarily drawn to scale, and wherein:
 ered is the dedication of some amount of radio frequency                FIG. 1 illustrates a top view of an example network
 (RF) spectrum to in-flight communication. However, RF           50   deployment providing air-to-ground (ATG) wireless com-
 spectrum is extremely expensive due to the massive                   munication coverage areas in accordance with an example
 demands on this relatively limited resource. Accordingly,            embodiment;
 alternatives to the exclusive designation of a portion of RF            FIG. 2 illustrates an aspect of an example network deploy-
 spectrum to in-flight communication may be of interest.              ment of base stations providing overlapping cell coverage
                                                                 55   areas to achieve coverage up to a predetermined altitude in
       BRIEF SUMMARY OF SOME EXAMPLES                                 accordance with an example embodiment;
                                                                         FIG. 3 illustrates a side view of a layered approach to
    The continuous advancement of wireless technologies               providing wireless communication to in-flight aircraft while
 offers new opportunities to provide wireless coverage for            minimizing interference between the layers in accordance
 aircraft in-flight without dedicating RF spectrum to such       60   with an example embodiment;
 coverage. In this regard, for example, by employing various             FIG. 4 illustrates a side panel element disposed on an
 interference mitigation strategies, spectrum reuse may be            in-flight aircraft in accordance with an example embodi-
 employed. Some example embodiments may provide inter-                ment;
 ference mitigation techniques that may allow spectrum reuse             FIG. 5 illustrates a functional block diagram of antenna
 within a given area so that both terrestrial networks and       65   elements of an example embodiment;
 air-to-ground (ATG) networks can coexist in the same                    FIG. 6 illustrates a panel antenna vertical pattern in
 geographical area and employ the same spectrum.                      accordance with an example embodiment;

                                                           Appx91
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-112 Filed
                         Document:           02/28/22
                                          Page:  165 Page
                                                      Filed: 62 of 72 PageID #: 110
                                                             12/19/2022


                                                     US 9,730,077 B2
                               3                                                                     4
    FIG. 7 illustrates a functional block diagram of a control-        altitude limit and the upper and lower altitude limits may
 ler for selecting antenna elements and compensating for               increase (substantially linearly) as distance from the trans-
 aircraft movement to keep antenna elements oriented toward            mitters forming the wedge shaped cell increases. Thus, the
 a focus region in accordance with an example embodiment;              coverage areas may be defined between altitude bands that
    FIG. 8 illustrates a block diagram of a method of com-        5    increase in size and altitude as they proceed away from the
 municating in an ATG network in accordance with an                    transmission site. A plurality of sectors within each wedge
 example embodiment;                                                   shaped cell may combine to form the wedge shaped cell. In
    FIG. 9 illustrates a side view of a layered approach to            some cases, six sectors may be employed to cover about 30
 providing wireless communication to in-flight aircraft                degrees each for a total of 180 degrees of azimuth coverage
 including a high altitude service layer in accordance with an    10   provided by each wedge shaped cell. The cell coverage area
 example embodiment;                                                   may therefore be substantially semicircular in the horizontal
    FIG. 10 illustrates a full duplex radio architecture m             plane, and can be provided by multiple antennas each
 accordance with a first example; and                                  providing a wedge shaped sector over corresponding por-
    FIG. 11 illustrates a full duplex radio architecture m             tions of the semicircular azimuth. The base stations can be
 accordance with a second option.                                 15   deployed as substantially aligned in a first direction while
                                                                       offset in a second direction. For example, the base stations
                DETAILED DESCRIPTION                                   can also be deployed in the first direction at a first distance
                                                                       to provide coverage overlapping in elevation to achieve
    Some example embodiments now will be described more                coverage over the predetermined altitude, and within a
 fully hereinafter with reference to the accompanying draw-       20   second distance in the second direction based on an achiev-
 ings, in which some, but not all example embodiments are              able coverage area distance of the sectors. In some embodi-
 shown. Indeed, the examples described and pictured herein             ments, any number of sectors may be employed for as much
 should not be construed as being limiting as to the scope,            as 360 degrees of coverage.
 applicability or configuration of the present disclosure.                 FIG. 1 illustrates a top view of a network 100 of deployed
 Rather, these example embodiments are provided so that this      25   base stations for providing ATG wireless communication
 disclosure will satisfy applicable legal requirements. Like           coverage as described above. Network 100 includes various
 reference numerals may be used to refer to like elements              base stations providing substantially semicircular cell cov-
 throughout. Furthermore, as used herein, the term "or" is to          erage areas. The cell coverage areas are each depicted in two
 be interpreted as a logical operator that results in true             portions. For example, the cell coverage area for a first base
 whenever one or more of its operands are true.                   30   station is shown as similarly patterned portions 102 and 104.
    Some example embodiments described herein provide                  The portions 102 and 104 represent a single continuous cell
 architectures for improved air-to-ground (ATG) wireless               coverage area over a horizontal plane; however, FIG. 1
 communication performance. In this regard, some example               depicts intervening portion 108 of another cell coverage area
 embodiments may provide for the use of base stations on the           as providing overlapping coverage to achieve continuous
 ground having antenna structures configured to generate a        35   coverage up to a predetermined altitude, as described further
 wedge-shaped cell inside which directional beams may be               herein. Portion 102 is shown to represent the initial cell
 focused. The wedge shaped cells may be spaced apart from              coverage area from the location of the corresponding base
 each other and arranged to overlap each other in altitude             station out to an arbitrary distance for illustrative purposes;
 bands to provide coverage over a wide area and up to the              it is to be appreciated that this portion 102 also includes the
 cruising altitudes of in-flight aircraft. The wedge shaped       40   overlapping coverage of portion 108 of another cell cover-
 cells may therefore form overlapping wedges that extend out           age area to achieve coverage at the predetermined altitude.
 toward and just above the horizon. Thus, the size of the              Moreover, the coverage area represented by portions 106
 wedge shaped cells is characterized by increasing altitude            and 108 may extend beyond boundary 130 of coverage area
 band width (or increasing vertical span in altitude) as               portion 104; the coverage areas are limited in the depiction
 distance from the base station increases. Meanwhile, the         45   to illustrate at least one point where the bordering coverage
 in-flight aircraft may employ antennas that are capable of            areas are able to provide ATG wireless communication
 focusing toward the horizon and just below the horizon such           coverage at the predetermined altitude. Further, the base
 that the aircraft generally communicate with distant base             stations are not depicted for ease of explanation, but it is to
 stations instead of base stations that may be immediately             be appreciated that the base stations can be located such to
 below or otherwise proximal (e.g., nearest) the aircraft. In     50   provide the cell coverage area indicated by portions 102 and
 fact, for example, an aircraft directly above a base station          104, portions 106 and 108, portions 110 and 112, etc.
 would instead be served by a more distant base station as the             The cell coverage areas 102/104 and 106/108 can be
 aircraft antennas focus near the horizon, and the base station        provided by respective base stations in a first base station
 antennas focus above the horizon. This leaves the aircraft            array, where the base stations of one or more base station
 essentially unaffected by the communication transmitters         55   arrays are substantially aligned in a first direction 120 (as
 that may be immediately below the aircraft. Thus, for                 depicted by the representative cell coverage areas). As
 example, the same RF spectrum, and even the same specific             shown, cell coverage areas 102/104 and 106/108 project a
 frequencies the aircraft is using to communicate with a               directional radiation pattern that is oriented in the first
 distally located base station may be reused by terrestrial            direction, and are aligned front to back along the first
 networks immediately below the aircraft. As a result, spec-      60   direction. Such alignment can be achieved by substantially
 trum reuse can be practiced relative to terrestrial wireless          aligning base stations in the base station array to provide the
 communication networks and ATG wireless communication                 substantially aligned cell coverage areas, antenna rotation to
 networks in the same geographic area.                                 achieve alignment in the cell coverage areas in the first
    A plurality of base stations may be distributed to provide         direction 120, and/or the like. As described, in this regard, a
 a corresponding plurality of adjacent wedge shaped cell          65   first base station that provides cell coverage area 102/104
 coverage areas. Each wedge shaped cell may define a                   can be overlapped by at least a cell coverage area 106/108
 coverage area that extends between an upper and lower                 of a second base station in front of the first base station in

                                                            Appx92
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-112 Filed
                         Document:           02/28/22
                                          Page:  166 Page
                                                      Filed: 63 of 72 PageID #: 111
                                                             12/19/2022


                                                      US 9,730,077 B2
                                5                                                                      6
 the first direction 120. For example, a base station, or                   As depicted, the spacing of a first distance between base
 antennas thereof, can provide wedge shaped cell coverage                stations in a given base station array can be indicated as
 areas defined by multiple elevation angles employed by                  distance 140 in the first direction 120. The spacing of a
 antennas transmitting signals to achieve a predetermined                second distance between base station arrays in the second
 altitude by a certain distance from the base station. Thus,        5    direction 122 can be indicated as distance 142. Moreover,
 overlapping the cell coverage areas in the first direction 120          the offset between the base station arrays can be indicated as
 allows cell coverage area 106/108 to achieve the predeter-              a third distance 144. In one specific example, the distance
 mined altitude for at least the certain distance between the            140 can be near 100 kilometers (km), where distance 142
 base station providing cell coverage area 102/104 and a                 between the base stations providing cell coverage area
                                                                    10   102/104 can be 300 km or more. In this example, the
 point along line 130 where the cell coverage area 102/104
                                                                         achievable cell coverage areas can be at least 200 km from
 achieves the predetermined altitude.
                                                                         the corresponding base station in the direction of the trans-
    In addition, base stations in the first base station array
                                                                         mitted signals that form the coverage areas or related sectors
 providing cell coverage areas 102/104 and 106/108 can be                thereof, as a slant distance from a base station within one
 spaced apart (i.e., located at random, fixed or predetermined      15   array to the intersecting coverage from a base station in the
 intervals) in a second direction 122 from base stations of a            second array. Moreover, in this example, the distance 144
 second base station array, which can provide additional cell            can be around 7 5 km.
 coverage areas 110/112, 114/116, etc., aligned in the first                In an example, the base stations providing cell coverage
 direction 120. The first and second base station arrays can             areas 102/104, 106/108, 110/112, etc. can each include
 extend substantially parallel to each other in the first direc-    20   respective antenna arrays defining a directional radiation
 tion 120. In addition, base stations of the second base station         pattern oriented in the first direction. The respective antenna
 array can be offset from base stations of the first base station        arrays can include multiple antennas providing a sector
 array in the first direction 120 (as depicted by the represen-          portion of the radiation pattern resulting in a coverage area
 tative cell coverage areas). The second direction 122 can be            that is wedge shaped in the vertical plane. For example, the
 substantially perpendicular to the first direction 120 in one      25   cell coverage area provided by each antenna can have first
 example. In this example, the first and second base station             and second elevation angles that exhibit an increasing ver-
 arrays can be offset to provide the offsetting of respective            tical beam width, or span, in the vertical plane, and fills a
 cell coverage areas (e.g., the offset shown between cell                portion of an azimuth in the horizontal plane. Using more
 coverage areas 102/104 and 110/112), and any other cover-               concentrated signals that provide smaller portions of the
 age areas of the base station arrays aligned in the first          30   azimuth can allow for achieving further distance and/or
 direction 120.                                                          increased elevation angles without increasing transmission
    The first and second base station arrays can be spaced               power. In the depicted example, the cell coverage areas
 apart at a greater distance in the second direction 122 than            defined by the antenna arrays include six substantially 30
 base stations within the respective arrays spaced apart in the          degree azimuth sectors that are substantially adjacent to
 first direction 120. For example, the base stations can be         35   form a directional radiation pattern extending substantially
 spaced in the second direction 122 according to an achiev-              180 degrees in azimuth centered on the first direction to
 able coverage distance of the base station providing the cell           define the semicircular coverage area. Each sector can be
 coverage areas. Because the base stations providing cell                provided by an antenna at the corresponding base station, for
 coverage areas 102/104 and 106/108 in the first base station            example. Moreover, in one example, the base station can
 array are aligned in the first direction 120 such that cell        40   have a radio per antenna, a less number of radios with one
 coverage area 106/108 provides overlapping coverage to cell             or more switches to switch between the antennas to conserve
 coverage area 102/104 to achieve the predetermined alti-                radio resources, and/or the like, as described further herein.
 tude, the base station arrays themselves can be separated               It is to be appreciated that additional or a less number of
 based on the achievable distance of the respective cell                 sectors can be provided. In addition, the sectors can have an
 coverage areas 102/104 and 110/112. In this regard, no             45   azimuth more or less than 30 degrees and/or can form a
 substantial overlapping is needed between the boundaries of             larger or smaller total cell coverage area azimuth than the
 cell coverage areas 102/104 and 110/112 provided by base                depicted semicircular cell coverage area.
 stations of adjacent base station arrays to reach the prede-               In yet other examples, the network 100 can implement
 termined altitude since the altitude deficiencies near the              frequency reuse of one, three, four, seven, or other suitable
 respective base stations are covered by cell coverage areas        50   configurations (e.g., using formula N=t2+f2+ij where i=#
 of base stations in the base station array aligned in the first         cells over from the original cell and j=# cells down from the
 direction 120.                                                          original cell) such that nearby base stations can use the same
    Moreover, offsetting the base stations providing the vari-           channels in providing the cell coverage areas. For example,
 ous cell coverage areas over the second direction 122 can               a base station providing cell coverage areas 102/104 can use
 allow for further spacing in the first direction 120 and/or        55   a first channel, a base station providing cell coverage area
 second direction 122 as the end portions of one cell coverage           106/108 in the same base station array can use a second
 area in the horizontal plane can abut to a middle portion of            channel, and a base station providing cell coverage area
 another cell coverage area from a base station in an adjacent           114/116 can use a third channel. Similarly, an adjacent group
 base station array to maximize the distance allowed between             of three base stations providing cell coverage areas in a
 the cell coverage areas while maintaining continuous cov-          60   different base station array can use the same channels, etc.
 erage, which can lower the number of base stations neces-               It is to be appreciated that other frequency reuse patterns
 sary to provide coverage over a given area. In one example,             and/or number of reuse factors can be utilized in this scheme
 the spacing in the second direction 122 can be more than                to provide frequency diversity between adjacent cell cover-
 twice the spacing in the first direction 120, depending on the          age areas.
 coverage distance of the cell coverage areas and the distance      65      In a further example, a non-traditional frequency reuse
 over which it takes a cell coverage area to reach the                   scheme of two may be employed by the system. The wedge
 predetermined altitude.                                                 shape of the base station coverage areas in combination with

                                                             Appx93
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-112 Filed
                         Document:           02/28/22
                                          Page:  167 Page
                                                      Filed: 64 of 72 PageID #: 112
                                                             12/19/2022


                                                        US 9,730,077 B2
                                 7                                                                        8
 the directional aircraft antennas effectively achieve a reuse             ft (e.g., near point 130), in this example. In this example,
 of four with only two channel sets. In this example, an array             base station 204 can be deployed at a position corresponding
 of base stations alternate channel assignment between two                 to the distance between which it takes cell coverage area 214
 channels in the array, with Channel A on a first base station,            of base station 204 to reach the predetermined altitude
 Channel B on a second base station, Channel A on a third,            5    subtracted from the achievable distance of cell coverage area
 etc. The second array similarly alternates between the two                212 of base station 202. In this regard, there can be sub-
 channels, with Channel A offset from the similar Channel A                stantially any number of overlapping cell coverage areas of
 base station in the first array. The overlap area between the             different base stations to reach the predetermined altitude
 two arrays will occasionally present the same co-channel                  based on the elevation angles, the distance it takes to achieve
 frequency within the overlap area, but the angular directions        10   a vertical beam width at the predetermined altitude based on
 of arrival from the two co-channel base stations are suffi-               the elevation angles, the distance between the base stations,
 ciently distinct such that the aircraft antenna will focus on             etc.
 the closer base station, resulting in an aircraft antenna null               In one specific example, the base stations 202, 204, and
 in the direction of the second, weaker base station. Thus, a              206 can be spaced apart by a first distance 140, as described.
 non-traditional frequency reuse is achieved through the              15   The first distance 140 can be substantially 100 km along the
 design of the wedge-shaped base station coverage and the                  first direction 120, such that base station 204 is around 100
 design of the directional aircraft antennas.                              km from base station 202, and base station 206 is around 200
    Furthermore, in an example deployment of network 100,                  km from base station 202. Further, in an example, an aircraft
 the first direction 120 and/or second direction 122 can be, or            flying between base station 206 and 204 may be covered by
 be near, a cardinal direction (e.g., north, south, east, or west),   20   base station 202 depending on its altitude, and in one
 an intermediate direction (e.g., northeast, northwest, south-             example, altitude can be used in determining whether and/or
 east, southwest, north-northeast, east-northeast, etc.), and/or           when to handover a device on the aircraft to another base
 the like on a horizontal plane. In addition, the network 100              station or cell provided by the base station to provide for
 can be deployed within boundaries of a country, boundaries                uninterrupted handover of receivers on an aircraft.
 of an air corridor across one or more countries, and/or the          25      Moreover, as described in some examples, base stations
 like. In one example, cell coverage area 106/108 can be                   202, 204 and 206 can include an antenna array providing a
 provided by an initial base station at a border of a country              directional radiation pattern oriented along the first direction
 or air corridor. In this example, a base station providing cell           120, as shown in FIG. 1, where the directional radiation
 coverage area 106/108, 110/112, and/or additional cell cov-               pattern extends over a predetermined range in azimuth
 erage areas at the border, can include one or more patch             30   centered on the first direction 120, and extends between the
 antennas to provide coverage at the predetermined altitude                first elevation angle and the second elevation angle of the
 from the distance between the base station to the point where             respective coverage areas 212, 214, and 216 over at least a
 the respective cell coverage area 106/108, 110/112, etc.                  predetermined distance to define the substantially wedge
 reaches the predetermined altitude. For example, the one or               shaped radiation pattern. In this regard, FIG. 2 depicts a side
 more patch antennas can be present behind the cell coverage          35   view of a vertical plane of the base stations 202, 204, and
 areas 106/108, 110/112, etc., and/or on the base stations                 206, and associated coverage areas 212, 214, and 216. Thus,
 thereof (e.g., as one or more antennas angled at an uptilt                in one example, base station 202 can provide a cell coverage
 and/or parallel to the horizon) to provide cell coverage up to            area 212 that is similar to cell coverage area 106/108 in FIG.
 the predetermined altitude.                                               1 in a horizontal plane, and base station 204 can provide a
    FIG. 2 illustrates an example network 200 for providing           40   cell coverage area 214 similar to cell coverage area 102/104
 overlapping cells (e.g., in the vertical direction) to facilitate         in FIG. 1. Moreover, as described, direction 120 can corre-
 ATG wireless communication coverage at least at a prede-                  late to a cardinal direction, intermediate direction, and/or the
 termined altitude. Network 200 includes base stations 202,                like. In addition, in a deployment of network 200, additional
 204, and 206 that transmit signals for providing the ATG                  base stations can be provided in front of base station 206
 wireless communications. Base stations 202, 204, and 206             45   along direction 120 until a desired coverage area is provided
 can each transmit signals that exhibit a radiation pattern                (e.g., until an edge of a border or air corridor is reached).
 defined by a first and second elevation angle such to achieve                As mentioned above, the establishment of an ATG net-
 a predetermined altitude. In this example, base stations 202,             work with base stations deployed and configured in the
 204, and 206 provide respective wedge shaped cell coverage                manner described in FIGS. 1 and 2 provides the ability to
 areas 212, 214, and 216 that are offset in origin and overlap        50   create a layered approach to covering a given area, in which
 in the vertical direction. The base stations 202, 204, and 206            the layers define altitude bands in which distally located
 can be deployed as substantially aligned in a first direction             base stations provide coverage for aircraft with fore/aft and
 120 as part of the same base station array, as described                  side looking antenna arrays that are essentially shielded
 above, or to otherwise allow for aligning the cell coverage               from potentially interfering transmitters directly below
 areas 212, 214, and 216 in the first direction, such that cell       55   them. Accordingly, for example, a bottom layer (i.e., closest
 coverage area 212 can overlap cell coverage area 214                      to the ground) may reuse radio spectrum already employed
 (and/or 216 at a different altitude range in the vertical plane),         in the altitude bands defined in the layer or layers above.
 cell coverage area 214 can overlap cell coverage area 216,                Frequency reuse can therefore be employed for a given
 and so on. This can allow the cell coverage areas 212, 214,               region in distinct altitude bands.
 and 216 to achieve at least a predetermined altitude (e.g.,          60      FIG. 3 illustrates an example network architecture for
 45,000 feet (ft)) for a distance defined by the various aligned           providing overlapping cells with layered altitude bands to
 base stations 202, 204, 206, etc.                                         facilitate ATG wireless communication coverage with RF
    As depicted, base station 202 can provide cell coverage                spectrum that can be reused by a terrestrial network. FIG. 3
 area 212 that overlaps cell coverage area 214 of base station             shows only two dimensions (e.g., an X direction in the
 204 to facilitate providing cell coverage up to 45,000 ft near       65   horizontal plane and a Z direction in the vertical plane),
 base station 204 for a distance until signals transmitted by              however it should be appreciated that the wedge architecture
 base station 204 reach the predetermined altitude of 45,000               of the ATG network may be structured to extend coverage

                                                                Appx94
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-112 Filed
                         Document:           02/28/22
                                          Page:  168 Page
                                                      Filed: 65 of 72 PageID #: 113
                                                             12/19/2022


                                                       US 9,730,077 B2
                                9                                                                       10
 also in directions into and out of the page (i.e., in the Y              and second ATG base stations 350 and 355. The ATG
 direction). Although FIG. 3 is not drawn to scale, it should             backhaul and network control components 370 may gener-
 be appreciated that the wedge shaped cells generated by the              ally control allocation of RF spectrum and system resources,
 base stations for the ATG portion of the network architecture            and provide routing and control services to enable the
 are configured to have a much longer horizontal component           5    in-flight aircraft and any UEs and other wireless communi-
 than vertical component. In this regard, the wedge shaped                cation devices thereon to communicate with each other
 cells may have a horizontal range on the order of dozens to              and/or with a wide area network (WAN) such as the Internet.
 nearly or more than 100 miles. Meanwhile, the vertical                      Given the curvature of the earth and the distances between
 component expands with distance from the base stations, but              base stations of the ATG network, the layering of the wedge
 is in any case typically less than about 8 miles (e.g., about       10   shaped cells can be enhanced. Additionally, the first ATG
 45,000 ft).                                                              base station 350 and the second ATG base station 355 may
    As shown in FIG. 3, a terrestrial network component of                be configured to communicate with the in-flight aircraft 330
 the architecture may include one or more terrestrial base                using relatively small, directed beams that are generated
 stations 300. The terrestrial base stations 300 may generally            using beamforming techniques. The beamforming tech-
 transmit terrestrial network emissions 310 to serve various         15   niques employed may include the generation of relatively
 fixed or mobile communication nodes (e.g., UEs) and other                narrow and focused beams. Thus, the generation of side
 wireless communication devices dispersed on the ground.                  lobes (e.g., radiation emissions in directions other than in the
 The terrestrial base stations 300 may be operably coupled to             direction of the main beam) that may cause interference with
 terrestrial backhaul and network control components 315,                 communications in the ground communication layer 320
 which may coordinate and/or control operation of the ter-           20   may be reduced. In some cases, the terrestrial base stations
 restrial network. The terrestrial backhaul and network con-              300, which are generally only required to transmit in a
 trol components 315 may generally control allocation of RF               relatively narrow layer close to the ground, may also be
 spectrum and system resources, and provide routing and                   configured to employ antennas and/or arrays that employ
 control services to enable the UEs and other wireless com-               side lobe suppression techniques aimed at reducing the
 munication devices of the terrestrial network to communi-           25   amount of potential interference transmitted out of the
 cate with each other and/or with a wide area network (WAN)               ground communication layer 320 and into the ATG com-
 such as the Internet.                                                    munication layer 335.
    The UEs of the terrestrial network may also transmit their               Accordingly, the network architecture itself may help to
 own terrestrial network emissions, which may create the                  reduce the amount of cross-layer interference. In this regard,
 possibility for generation of a substantial amount of com-          30   the wedge shaped cell structure focuses energy just above
 munication traffic in a ground communication layer 320                   the horizon and leaves a layer on the ground that is usable
 extending from the ground to a predetermined minimum                     for terrestrial network operations without significant inter-
 altitude 325 above which only receivers on in-flight aircraft            ference from the ATG base stations, and create a separate
 330 are present. The in-flight aircraft 330 may operate in an            higher altitude layer for ATG network communications.
 ATG communication layer 335 that may extend from one or             35   Additionally, the use of directional antennas with beams-
 two miles in altitude up (e.g., the predetermined minimum                teering by the ATG base stations, and antennas with side
 altitude 325) to as far as about 8 miles in altitude (e.g., a            lobe suppression, reduces the amount of interference across
 predetermined maximum altitude 340). While, the predeter-                these layers. However, as will be described in greater detail
 mined minimum altitude 325 and predetermined maximum                     below, since all of the equipment in the ATG communication
 altitude 340 may bound a single ATG communication layer             40   layer 335 with which communication is desired will be on
 or, in the case where multiple ATG wedge shaped cells                    the in-flight aircraft 330, some embodiments may employ
 overlap, multiple ATG communication layers.                              further interference mitigation techniques associated with
    The architecture may also employ a first ATG base station             the antenna assembly 375 provided on the in-flight aircraft
 350 and a secondATG base station 355, which are examples                 330. Accordingly, for example, the UEs or other wireless
 of base stations employed as described in the examples of           45   communication devices on or associated with the in-flight
 FIGS. 1 and 2. Thus, for example, the first ATG base station             aircraft 330 may be communicatively coupled with the first
 350 may be deployed substantially in-line with the second                ATG base station 350 or the secondATG base station 355 via
 ATG base station 355 along the X axis and may generate a                 the antenna assembly 375 of the in-flight aircraft 330. In this
 first wedge shaped cell 360 that may be layered on top of a              regard, for example, the antenna assembly 375 may be
 second wedge shaped cell 365 generated by the secondATG             50   strategically mounted on the in-flight aircraft 330 and/or the
 base station 355. When the in-flight aircraft 330 is exclu-              antenna assembly 375 may be operated or controlled in a
 sively in the first wedge shaped cell 360, the in-flight aircraft        manner that facilitates interference mitigation as described
 330 may communicate with the first ATG base station 350                  in greater detail below.
 using assigned RF spectrum and when the in-flight aircraft                  By generally minimizing cross-layer interference, the
 330 is exclusively in the second wedge shaped cell 365, the         55   same RF spectrum can be reused in both the ground com-
 in-flight aircraft 330 may communicate with the secondATG                munication layer 320 and the ATG communication layer
 base station 355 using assigned RF spectrum. An area of                  335. As such, the network architecture of an example
 overlap between the first wedge shaped cell 360 and the                  embodiment may effectively act as a frequency spectrum
 second wedge shaped cell 365 may provide the opportunity                 doubler in that spectrum that is used in the terrestrial
 for handover of the in-flight aircraft 330 between the first        60   network may be reused by the ATG network with minimal
 ATG base station 350 and the second ATG base station 355,                interference therebetween. The base stations serving each
 respectively. Accordingly, uninterrupted handover of receiv-             respective layer may be distally located relative to each
 ers on the in-flight aircraft 330 may be provided while                  other such that, for example, a serving ATG base station in
 passing between coverage areas of base stations having                   communication with the in-flight aircraft 330 is geographi-
 overlapping coverage areas as described herein.                     65   cally located outside a coverage area of each of the terrestrial
    In an example embodiment, ATG backhaul and network                    base stations in a portion of the ground communication layer
 control components 370 may be operably coupled to the first              320 above which the in-flight aircraft 330 is located. The

                                                              Appx95
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-112 Filed
                         Document:           02/28/22
                                          Page:  169 Page
                                                      Filed: 66 of 72 PageID #: 114
                                                             12/19/2022


                                                       US 9,730,077 B2
                               11                                                                      12
 substantially horizontally focused nature of the ATG base                less interference to worry about from terrestrial network
 stations (350 and 355) enables them to be positioned far                 base stations directly (or nearly directly) below the in-flight
 outside of the region below which the in-flight aircraft 330             aircraft 330 even when the same spectrum used by the
 is located. The antenna assembly 375 can therefore "look" or             terrestrial network is reused by the ATG network.
 otherwise focus its communication efforts away from paten-          5       In an example embodiment, the antenna assembly 375
 tially interfering sources directly below the in-flight aircraft         may be configured to focus energy in an area from the
 330.                                                                     horizon to about 10 or 15 degrees below the horizon (from
    As mentioned above, cross-layer interference mitigation               the perspective of the in-flight aircraft 330). FIG. 4 illus-
 may be accomplished on the in-flight aircraft 330 by stra-               trates an example of the in-flight aircraft 330 having a side
 tegic positioning of the antenna assembly 375. For example,         10   panel element 400 as a portion of the antenna assembly 375.
 when the antenna assembly 375 is positioned on a vertical                The side panel element 400 is positioned on the vertical
 stabilizer of the in-flight aircraft 330, the antenna assembly           stabilizer, but could alternatively be positioned on a side,
 375 may generally have a narrow aspect relative to the                   top, bottom or other portion of the aircraft. Of note, the side
 ground and any transmissions directed from the ground,                   panel element 400 may, in some cases, be embodied in a
 while providing excellent control of the vertical antenna           15   form other than as a flat array (e.g., as a blade antenna
 pattern. Additionally, for certain side mountings of the                 element, a conformal array and/or the like). As can be
 antenna assembly on the body of the in-flight aircraft 330,              appreciated from the example of FIG. 4, by focusing mainly
 part of the airframe may shield the antenna assembly 375                 on areas between the horizon and 10 or 15 degrees below the
 from terrestrial network emissions 310 generated by terres-              horizon, the subset of ATG base stations with which com-
 trial base stations 300 below the in-flight aircraft 330. Such      20   munication can be established is somewhat limited. Accord-
 shielding may be even more pronounced if, for example, the               ingly, the side panel element 400 may need to be stabilized
 antenna assembly 375 is positioned on the top or roof of the             for ensuring that it remains oriented toward the horizon and
 in-flight aircraft 330. In these examples, the metal airframe            just below the horizon even when the aircraft pitches (i.e.,
 of the in-flight aircraft 330 may act as an extended ground-             moves its head up and down as shown by arrow 410) or rolls
 plane. The antenna assembly 375 in either (or both) of these        25   (i.e., turns side to side as shown by arrow 420).
 locations may therefore have limited ability to receive                     In some cases, the amount of pitch and roll that the
 transmissions that are not directed from locations with a                in-flight aircraft 330 may encounter may be limited based on
 substantially greater vertical component of distance from the            certain restrictions that are dependent upon altitude, speed
 in-flight aircraft 330 than the horizontal component of such             and passenger comfort. For example, pitch (i.e., the angle of
 distance. In other words, the antenna assembly 375 is               30   ascent or descent) may be limited to about 7 degrees above
 shielded from transmitters that are not near the horizon.                10,000 ft in altitude. Meanwhile, for example, roll (i.e., the
 These locations (e.g., on sides or tops of aircraft) are                 angle of bank right or left during a turn) may be limited to
 therefore advantageous for further mitigating cross-layer                less than 20 degrees above 10,000 ft in altitude and to less
 interference. However, such locations may generally be                   than 15 degrees above 20,000 ft in altitude. Accordingly, not
 better for communication with transmitters off to the side of       35   only may it be desirable to provide compensation and/or
 the in-flight aircraft 330, rather than in front of or behind the        stabilization of the antenna assembly 375 (e.g., the side
 in-flight aircraft 330. For better coverage in front of and              panel element 400), but such compensation and/or stabili-
 behind the in-flight aircraft 330, positioning of the antenna            zation may be dependent upon altitude or other environ-
 assembly 375 (or portions or components of the antenna                   mental factors.
 assembly 375) on the bottom of the in-flight aircraft 330 may       40      In embodiments in which the antenna assembly 375 is
 be employed. Thus, fewer antenna elements (e.g., only those              embodied as or includes a panel antenna (e.g., side panel
 on the bottom of the in-flight aircraft 330) may need to have            element 400), which may include a plurality of sector
 sophisticated side lobe suppression techniques employed                  antennas. In some cases, the panel antenna may be mechani-
 thereon to facilitate reduction of cross-layer interference.             cally and/or electrically steered or tilted to provide the
    In accordance with the general strategic positioning of the      45   compensation and/or stabilization described above. As such,
 antenna assembly 375 described above, the antenna assem-                 the panel antenna may also be referred to as a steerable
 bly 375 can be shielded (at least partially) from cross-layer            matrix antenna. FIG. 5 shows a block diagram of system
 interference by avoiding exposure to transmitters below the              components that may be employed in connection with
 in-flight aircraft 330. However, such strategy implies that the          controlling an antenna assembly of an example embodiment.
 antenna assembly 375 should instead look to transmitters            50   As shown in FIG. 5, the antenna assembly 375 may include
 closer to the horizon. This horizon-focused paradigm actu-               a left side panel element 402 and a right side panel element
 ally fits quite well with the corresponding layered network              404. The antenna assembly may also include one or more
 architecture described above since the ATG base stations are             blade, monopole or other antenna elements such as antenna
 generally configured to form wedge shaped cells that are                 elements 406 and 408. In an example embodiment, element
 focused just above the horizon. Thus, both the ground               55   408 may be a blade antenna configured for fore/aft recep-
 transmitters and the antenna assembly 375 of an example                  tion. Meanwhile, the right and left side panel elements 404
 embodiment are mutually optimized for focusing substan-                  and 402 may be receive elements for respective sides of the
 tially more energy in the horizontal plane than in the vertical          airplane. Antenna element 406 may be a blade antenna with
 plane. This enhances the ability to maximize spacing                     four or more transmission elements, and may have select-
 between ATG base stations (thereby reducing ATG base                60   able directivity. In some embodiments, such as for large
 station count and network build cost), and simplifies the                airframes, the receive elements may optionally each be
 architecture of the antenna assembly 375 (since natural                  coupled to a remote radio head 430 via one or multiple
 shielding of the airframe can be employed in some cases).                cables. However, if no remote radio head is employed, the
 As a result, corresponding ATG base stations focusing                    radio itself could perform functions described herein in
 energy above the horizon and airborne antenna assemblies            65   association with the remote radio head. In some cases, the
 focusing energy just below the horizon are mutually opti-                remote radio head 430 may be distributed in more than one
 mized to communicate with each other with substantially                  physical location (as shown by distributed elements (DEs)

                                                              Appx96
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-112 Filed
                         Document:           02/28/22
                                          Page:  170 Page
                                                      Filed: 67 of 72 PageID #: 115
                                                             12/19/2022


                                                       US 9,730,077 B2
                               13                                                                      14
 432 and 434. The remote radio head 430 may then be                       circuitry 510 may be configured to perform data processing,
 coupled (e.g., via fiber optic or other cables) to a base radio          control function execution and/or other processing and man-
 440 at which typical modulation, demodulation and other                  agement services according to an example embodiment of
 radio functions are conducted. The transmit element 406                  the present invention. In some embodiments, the processing
 may also be coupled to the base radio 440.                          5    circuitry 510 may be embodied as a chip or chip set. In other
    In an example embodiment, the remote radio head 430                   words, the processing circuitry 510 may comprise one or
 may provide for switching among the receive antennas. In                 more physical packages (e.g., chips) including materials,
 examples in which vertical beam steering of the array panels             components and/or wires on a structural assembly (e.g., a
 is conducted, four or more cables may be used to connect                 baseboard). The structural assembly may provide physical
 each of the left side panel element 402 and the right side          10
                                                                          strength, conservation of size, and/or limitation of electrical
 panel element 404 to the remote radio head 430. The remote
                                                                          interaction for component circuitry included thereon. The
 radio head 430 may include one or more cavity filters
                                                                          processing circuitry 510 may therefore, in some cases, be
 corresponding to the number of antenna outputs provided to
 the remote radio head 430. In cases in which vertical beam               configured to implement an embodiment of the present
 steering is conducted with a mechanical device adjusting the        15
                                                                          invention on a single chip or as a single "system on a chip."
 electrical tilt of the arrays, only one cable and cavity filter,         As such, in some cases, a chip or chipset may constitute
 bulk acoustic wave (BAW) filter, surface acoustic wave                   means for performing one or more operations for providing
 (SAW) filter, circulator or any other suitable filter may be             the functionalities described herein.
 employed for each array. In some cases, the remote radio                    In an example embodiment, the processing circuitry 510
 head 430 could be eliminated and filters, low noise amplifier       20   may include one or more instances of a processor 512 and
 (LNA) and switching components may be integrated into                    memory 514 that may be in communication with or other-
 antenna housings or in other housings proximate to the                   wise control a device interface 520 and, in some cases, a user
 antennas. Switching components (whether part of or exter-                interface 530. As such, the processing circuitry 510 may be
 nal to the remote radio head 430) would be used to select the            embodied as a circuit chip (e.g., an integrated circuit chip)
 best antenna for receipt or transmission of any given signal        25   configured (e.g., with hardware, software or a combination
 based on location of the target or source, the signal strength           of hardware and software) to perform operations described
 of the ATG base stations, and the level of interference from             herein. However, in some embodiments, the processing
 surrounding base stations or terrestrial stations. The antenna           circuitry 510 may be embodied as a portion of an on-board
 selection, then, has multiple triggers designed to maximize              computer. In some embodiments, the processing circuitry
 the signal to interference plus noise ratio.                        30   510 may communicate with various components, entities
    FIG. 6 illustrates a panel antenna vertical pattern. When             and/or sensors of the in-flight aircraft 330. Thus, for
 mounted on an aircraft such that the panel is focused                    example, the processing circuitry 510 may communicate
 generally perpendicular to the direction of travel, compen-              with a sensor network 518 of the in-flight aircraft 330 to
 sation for aircraft rolling maneuvers may be needed. As can              receive altitude information, location information (e.g., GPS
 be appreciated from FIG. 6, when the in-flight aircraft 330         35   coordinates, latitude/longitude, etc.), pitch and roll informa-
 (which is generally communicating with ATG base stations                 tion, and/or the like.
 at and slightly below the horizon) is rolling toward a ground               The device interface 520 may include one or more inter-
 station, the upper portion of the antenna pattern rolls toward           face mechanisms for enabling communication with other
 the ground station. Meanwhile, when rolling away from the                devices (e.g., modules, entities, sensors and/or other com-
 ground station, the antenna pattern provides less gain toward       40   ponents of the in-flight aircraft 330). In some cases, the
 the ground station. Thus, beam steering may be needed (or                device interface 520 may be any means such as a device or
 at least helpful) to focus the antenna gain on the ground                circuitry embodied in either hardware, or a combination of
 station by tilting the antenna assembly to compensate for the            hardware and software that is configured to receive and/or
 aircraft roll. For the panel elements, mechanical or electrical          transmit data from/to modules, entities, sensors and/or other
 steering may be employed.                                           45   components of the in-flight aircraft 330 that are in commu-
    Accordingly, in some embodiments, the antenna assembly                nication with the processing circuitry 510.
 375 may further be in communication with a control element                  The processor 512 may be embodied in a number of
 that may be configured to interface with various aircraft                different ways. For example, the processor 512 may be
 sensors to determine the amount of compensation to apply to              embodied as various processing means such as one or more
 compensate for aircraft maneuvering. FIG. 7 illustrates a           50   of a microprocessor or other processing element, a copro-
 block diagram of components that may be employed for                     cessor, a controller or various other computing or processing
 control of antenna assembly components (e.g., the side                   devices including integrated circuits such as, for example, an
 panels). As shown in FIG. 7, side panel element 400 may be               ASIC (application specific integrated circuit), an FPGA
 operably coupled to a steering assembly 500. The steering                (field progranimable gate array), or the like. In an example
 assembly 500 may be configured to mechanically or elec-             55   embodiment, the processor 512 may be configured to
 trically tilt at least a portion of the antenna assembly 375             execute instructions stored in the memory 514 or otherwise
 (e.g., the side panels (individually or collectively) of the side        accessible to the processor 512. As such, whether configured
 panel element 400) to maintain the side panels oriented to               by hardware or by a combination of hardware and software,
 communicate with ATG base stations proximate to the                      the processor 512 may represent an entity (e.g., physically
 horizon (e.g., within about 15 degrees below the horizon). A        60   embodied in circuitry-in the form of processing circuitry
 controller 505 may be provided in communication with the                 510) capable of performing operations according to embodi-
 steering assembly 500 to provide control over the steering               ments of the present invention while configured accordingly.
 assembly 500. The controller 505 may include processing                  Thus, for example, when the processor 512 is embodied as
 circuitry 510 configured to provide control outputs for                  an ASIC, FPGA or the like, the processor 512 may be
 steering of the side panel element 400 based on, for example,       65   specifically configured hardware for conducting the opera-
 knowledge of base station location and the relative position             tions described herein. Alternatively, as another example,
 and orientation of the in-flight aircraft 330. The processing            when the processor 512 is embodied as an executor of

                                                               Appx97
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-112 Filed
                         Document:           02/28/22
                                          Page:  171 Page
                                                      Filed: 68 of 72 PageID #: 116
                                                             12/19/2022


                                                      US 9,730,077 B2
                              15                                                                       16
 software instructions, the instructions may specifically con-          with a more narrow horizontal (azimuth) pattern (relative to
 figure the processor 512 to perform the operations described           that of the panel antenna) to focus gain toward the desired
 herein.                                                                base station and reduce gain in other interfering directions.
    In an example embodiment, the processor 512 (or the                 The blade results in a wider vertical antenna pattern (relative
 processing circuitry 510) may be embodied as, include or          5    to the panel antenna), which obviates the need for beam
 otherwise control the operation of the steering assembly 500           steering in the vertical direction to account for pitch or roll.
 based on inputs received by the processing circuitry 510               The more narrow horizontal pattern in combination with the
 indicative of ATG base station location and/or aircraft                wider vertical pattern delivers a smaller interference profile
 maneuvering or position information. As such, in some                  than the panel antenna, because less interference "surface
 embodiments, the processor 512 (or the processing circuitry       10
                                                                        area" is captured by the antenna pattern. However, the
 510) may be said to cause each of the operations described
                                                                        general horizon focus is maintained, and interference from
 in connection with the steering assembly 500 in relation to
                                                                        the ground communication layer 320 below the aircraft is
 adjustments to be made to antenna arrays to undertake the
 corresponding functionalities relating to array compensa-              substantially avoided.
 tion/stabilization based on execution of instructions or alga-    15
                                                                           The network 100 and its corresponding ATG base stations
 rithms configuring the processor 512 (or processing circuitry          employing the wedge shaped cell architecture described
 510) accordingly. In particular, the instructions may include          above in reference to FIGS. 1 and 2 may be employed to
 instructions for processing 3D position information the                provide coverage for communication with receivers on
 in-flight aircraft 330 (including orientation) along with posi-        aircraft over a very large geographical area, or even an entire
 tion information of fixed transmission sites in order to          20   country. Moreover, using such architecture may substan-
 instruct an antenna array to tilt or otherwise orient in a             tially reduce or even minimize the number of ATG base
 direction that will facilitate establishing a communication            stations that are needed to construct the network 100 since
 link between the antenna array and one of the fixed trans-             relatively large distances may be provided between ATG
 mission stations.                                                      base stations. Beamforming techniques (which may also be
    In an exemplary embodiment, the memory 514 may                 25   referred to as beam steering techniques) and frequency reuse
 include one or more non-transitory memory devices such as,             may be employed to further improve the ability of the
 for example, volatile and/or non-volatile memory that may              network 100 to provide quality service to multiple targets
 be either fixed or removable. The memory 514 may be                    without interference. Moreover, by providing a movable or
 configured to store information, data, applications, instruc-          steerable antenna array (e.g., antenna array 375) on the
 tions or the like for enabling the processing circuitry 510 to    30
                                                                        in-flight aircraft 330, particularly for an array that is shielded
 carry out various functions in accordance with exemplary
                                                                        relative to transmissions directly (or nearly directly) below
 embodiments of the present invention. For example, the
                                                                        the in-flight aircraft 330 or is otherwise configurable to have
 memory 514 could be configured to buffer input data for
                                                                        less gain anywhere other than near the horizon, both the
 processing by the processor 512. Additionally or alterna-
 tively, the memory 514 could be configured to store instruc-      35
                                                                        ATG base stations and the antenna array 375 may be
 tions for execution by the processor 512. As yet another               configured to avoid interference below the in-flight aircraft
 alternative, the memory 514 may include one or more                    330. This may permit spectrum reuse of, for example, ISM
 databases that may store a variety of data sets responsive to          band frequencies (e.g., 2.4 GHz and/or 5.8 GHz) that may be
 input sensors and components. Among the contents of the                unlicensed, or even licensed band frequencies at any desir-
 memory 514, applications and/or instructions may be stored        40   able frequency range.
 for execution by the processor 512 in order to carry out the              If airborne interference from ground transmitters such as,
 functionality associated with each respective application/             for example, ground based WiFi transmitters were relatively
 instruction. In some cases, the applications may include               low over the entirety of the geographic area to be covered,
 instructions for providing inputs to control operation of the          it could be expected that the wedge architecture of the
 steering assembly 500 as described herein. In an example          45   network 100 of FIGS. 1-2 could provide robust and cost
 embodiment, the memory 514 may store fixed position                    effective coverage without any further modification even
 information indicative of a fixed geographic location of ATG           though ground transmitters (e.g., terrestrial base stations
 base stations.                                                         300) may use onmi-directional antennas that are at least
    The processing circuitry 510 may also be configured to              partially oriented to transmit upward using the same fre-
 receive dynamic position information indicative of a three        50   quency.
 dimensional position and orientation of the in-flight aircraft            As mentioned above, the ATG base stations (350 and 355)
 330 to compute an adjustment to be applied (if needed) to              may employ beamforming (e.g., via a beamforming control
 the orientation of the side panel element 400 based on                 module that may employ both 2D knowledge of fixed base
 in-flight aircraft 330 dynamic position. The antenna assem-            station location and 3D knowledge of position information
 bly 375 may therefore be positioned optimally for engaging        55   regarding the in-flight aircraft 330 to assist in application of
 in continued communication with the corresponding ATG                  beamforming techniques). Likewise, beamforming and/or
 base station currently being used. The antenna assembly 375            beamsteering may be employed on the antenna array 375 of
 can also be optimally positioned to anticipate handover to a           the in-flight aircraft 330 to use knowledge of ATG base
 next ATG base station based on a predicted future in-flight            station location and aircraft maneuvering (e.g., turns or pitch
 aircraft 330 location and the known locations of the ATG          60   and roll) to maintain the antenna array 375 in an advanta-
 base stations.                                                         geous orientation to communicate with the ATG base sta-
    A further embodiment of the aircraft antenna may be as a            tions when the in-flight aircraft 330 maneuvers. The antenna
 long blade mounted on the aircraft, with multiple antenna              array 375 may therefore be adjusted in a compensatory
 elements within the blade. The multiple elements are                   manner responsive to maneuvering of the in-flight aircraft
 employed for beamforming that generally provides a hori-          65   330. The compensation employed may involve switching
 zon focused beam pattern. However, by using the long blade             between antenna elements that are best positioned for the
 design, the horizon focused beam pattern can be achieved               orientation of the aircraft relative to the location of a serving

                                                             Appx98
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-112 Filed
                         Document:           02/28/22
                                          Page:  172 Page
                                                      Filed: 69 of 72 PageID #: 117
                                                             12/19/2022


                                                     US 9,730,077 B2
                              17                                                                      18
 ATG base station and/or tilting of the antenna array 375 to               FIG. 8 illustrates a block diagram of one method that may
 maintain the array in an advantageous position relative to the         be associated with an example embodiment as described
 focus region of the array.                                             above. From a technical perspective, the processing circuitry
    Although not every element of every possible embodi-                510 described above may be used to support some or all of
 ment of the ATG network 100 is shown and described                5    the operations described in FIG. 8. As such, the platform
 herein, it should be appreciated that the communication                described in FIG. 7 may be used to facilitate the implemen-
 equipment on the aircraft 330 may be coupled to one or more            tation of several computer program and/or network commu-
 of any of a number of different networks through the ATG               nication based interactions. As an example, FIG. 8 is a
 network 100. In this regard, the network(s) can be capable             flowchart of a method and program product according to an
 of supporting communication in accordance with any one or         10   example embodiment of the invention. It will be understood
 more of a number of first-generation (lG), second-genera-              that each block of the flowchart, and combinations of blocks
 tion (2G), third-generation (3G), fourth-generation (4G)               in the flowchart, may be implemented by various means,
 and/or future mobile communication protocols or the like. In           such as hardware, firmware, processor, circuitry and/or other
 some cases, the communication supported may employ                     device associated with execution of software including one
 communication links defined using unlicensed band fre-            15   or more computer program instructions. For example, one or
 quencies such as 2.4 GHz or 5.8 GHz. Example embodi-                   more of the procedures described above may be embodied
 ments may employ time division duplex (TDD), frequency                 by computer program instructions. In this regard, the com-
 division duplex (FDD), or any other suitable mechanisms                puter program instructions which embody the procedures
 for enabling two way communication within the system.                  described above may be stored by a memory device of a
    As indicated above, a beamforming control module may           20   device (e.g., the controller 505, and/or the like) and executed
 be employed on wireless communication equipment at either              by a processor in the device. As will be appreciated, any
 or both of the network side or the aircraft side in example            such computer program instructions may be loaded onto a
 embodiments. Moreover, in some embodiments, the com-                   computer or other programmable apparatus (e.g., hardware)
 munications received at the aircraft side may be distributed           to produce a machine, such that the instructions which
 to equipment on the aircraft (e.g., such as telephone handsets    25   execute on the computer or other progranimable apparatus
 or UEs via a WiFi router or other wireless access point, or            create means for implementing the functions specified in the
 aircraft communication equipment). In some embodiments,                flowchart block(s). These computer program instructions
 information distributed from the wireless access point may             may also be stored in a computer-readable memory that may
 be provided to passenger devices or other aircraft commu-              direct a computer or other programmable apparatus to
 nications equipment with or without intermediate storage.         30   function in a particular manner, such that the instructions
    In an example embodiment, the processing circuitry 510              stored in the computer-readable memory produce an article
 may be configured to conduct switching to select an antenna            of manufacture which implements the functions specified in
 element among the antenna assembly for communication                   the flowchart block(s). The computer program instructions
 with an optimal or otherwise selected one of the ATG base              may also be loaded onto a computer or other programmable
 stations. This switching may be performed to select a             35   apparatus to cause a series of operations to be performed on
 particular antenna element (or sector) in a panel element or           the computer or other progranimable apparatus to produce a
 to select between panel elements and/or other antenna                  computer-implemented process such that the instructions
 elements (e.g., the blade antenna) based on the location of            which execute on the computer or other programmable
 the selected one of the ATG base stations relative to the              apparatus implement the functions specified in the flowchart
 in-flight aircraft 330. As mentioned above, the switching         40   block(s).
 may be performed using switch devices within the remote                   Accordingly, blocks of the flowchart support combina-
 radio head 430 or at another location. In some embodiments,            tions of means for performing the specified functions and
 the particular antenna element that is selected may addition-          combinations of operations for performing the specified
 ally or alternatively be tilted electrically or otherwise posi-        functions. It will also be understood that one or more blocks
 tionally adjusted to compensate or stabilize the particular       45   of the flowchart, and combinations of blocks in the flow-
 antenna element responsive to maneuvering of the in-flight             chart, can be implemented by special purpose hardware-
 aircraft. Thus, for example, the processing circuitry 510 may          based computer systems which perform the specified func-
 initially receive information indicative of dynamic position           tions, or combinations of special purpose hardware and
 information of the in-flight aircraft 330, which may include           computer instructions.
 a 3D position and/or orientation information (e.g., pitch and     50      In this regard, a method according to one embodiment of
 roll) and/or an estimated future position. The processing              the invention, as shown in FIG. 8, may include determining
 circuitry 510 may determine an expected relative position of           an expected relative position of an ATG base station relative
 a first network node (e.g., one of the ATG base stations)              to an in-flight aircraft at operation 800. The expected relative
 relative to the aircraft (e.g., based on the fixed position            position may be determined based on information indicative
 information indicating ATG base station location and the          55   of aircraft location and information indicative of the known
 dynamic position information). Tracking algorithms may be              fixed positions of ATG base stations. However, in some
 employed to track dynamic position changes and/or calcu-               cases, the ATG base station location may be discovered
 late future positions (relative or geographic) based on cur-           based on detection of a pilot signal or other transmissions
 rent location and rate and direction of movement. After an             from the ATG base station. The method may further include
 expected relative position is determined, the processing          60   selecting an antenna element to employ for communication
 circuitry 510 may be configured to provide instructions to             with the ATG base station based on the expected relative
 select an antenna element to communicate with the first                position at operation 810. The selected antenna element may
 network node in the focus region based on the expected                 be an element of an antenna assembly on the aircraft. The
 relative position. Thereafter, any changes in dynamic posi-            antenna assembly may include transmission and receive
 tion information, particularly related to pitch and roll, may     65   components, and may include blade antennas, panel anten-
 be compensated for by steering of the antenna element (e.g.,           nas and/or the like. Thus, a selected antenna element could
 mechanically or electrically).                                         be a particular panel antenna or blade antenna, or could be

                                                            Appx99
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-112 Filed
                         Document:           02/28/22
                                          Page:  173 Page
                                                      Filed: 70 of 72 PageID #: 118
                                                             12/19/2022


                                                      US 9,730,077 B2
                               19                                                                      20
 a particular sector of a panel antenna. The selected antenna            being serviced by ATG base stations or high altitude service
 element could be chosen based on signal strength measured               craft based on signal strength or other such factors in
 or estimated, or other factors for base stations within a focus         association with a handover managed between the ATG base
 region (e.g., horizon to about 15 degrees below the horizon)            stations and high altitude service craft (or vice versa). The
 relative to the aircraft. At operation 820, an indication of a     5    high altitude service craft 900 may also include antennas
 change to the dynamic position information may be                       focused toward the horizon (e.g., focusing energy in an area
 received, and the change may be indicative of at least a                from the horizon to about 10 or 15 degrees below the
 change in the pitch or roll of the aircraft. The selected               horizon (from the perspective of the high altitude service
 antenna element may then be adjusted (e.g., by mechanical               craft 900) and the service craft antenna assembly may also
 or electrical tilting) to compensate for the change to the         10   be vertically steerable to account for turning or banking of
 dynamic position information at operation 830 (e.g., to keep            the high altitude service craft 900 in similar fashion to the
 the selected antenna element substantially oriented toward              way the antenna assembly 375 of the in-flight aircraft 330 is
 the focus region based on the change to the dynamic position            steerable (as described above). Thus, the high altitude ser-
 information).                                                           vice craft 900 may also use horizon-focused antenna assem-
    In an example embodiment, the layered approach                  15   blies for communication with aircraft, other drones and/or
 described above could be augmented to include an addi-                  with the ground. Moreover, the same frequencies can be
 tional layer above the ATG communication layer. The layer               used for each of these links, and it may also be the same
 above the ATG communication layer may be a high altitude                frequency used in the ground communication layer 320
 service layer. The high altitude service layer may be popu-             given that the beams for such communication are steerable
 lated with high altitude service craft such as drones or other     20   ( e.g., employing spatial filtering and vertical beamsteering)
 devices capable of flying (or orbiting) at high altitude. The           to extend substantially parallel to the surface of the earth and
 high altitude service craft may be in communication with                avoid interference with communications in the ground com-
 ground stations receiving communication signal from ATG                 munication layer 320. In some cases, however, the high
 base stations (or satellites) and relaying such communica-              altitude service craft 900 may use a first frequency to
 tions on to the in-flight aircraft. However, the high altitude     25   communicate to aircraft and ground stations, and the aircraft
 service craft with which the in-flight aircraft communicate             (where it does not use high altitude service craft 900 for
 may be located proximate to the horizon. The communica-                 connectivity) may use a second frequency to communicate
 tion with high altitude service craft proximate to the horizon          from the aircraft to ground and ground to ground.
 allows the same vertical beam steering antennas described                   The employment of the high altitude service layer 910
 above to be employed except the vertical beam steering             30   may effectively create a sandwich mesh architecture. High
 antennas are steered to maintain the focus area just above the          altitude service craft 900 may link to other high altitude
 horizon to locate distant high altitude service craft instead of        service craft to provide a GB/s wireless backhaul network
 being steered to maintain the focus area just below the                 that may only selectively touch or access ground stations or
 horizon. The additional altitude may extend the spacing                 satellites in a handful of places. The high altitude service
 between service stations (e.g., drones and/or ATG stations)        35   craft 900 may therefore generally be above the weather and
 that can be provided to give continuous coverage. Coverage              connections to the ground may be selectively made in areas
 can therefore be provided over sparsely populated areas                 that have good weather to minimize negative impacts of
 and/or oceans.                                                          weather on communications at higher frequencies, whether
    As shown in FIG. 9, the network of FIG. 3 may be                     RF or optical. Furthermore, at high altitudes, physics may
 provided with one or more high altitude service craft 900 in       40   enable ready use of free space optics or high frequency RF
 a high altitude service layer 910. The high altitude service            to further enhance network performance. Meanwhile, the
 layer 910 may extend above the ATG communication layer                  antenna assembly 375 of the in-flight aircraft 330 is steer-
 335 (e.g., above the predetermined maximum altitude 340)                able+/-10 to 15 degrees from the horizon to selectively
 to high altitudes including low earth orbit and beyond. In              communicate with the ATG base stations (350 and 355),
 some examples, drones or balloons acting as high altitude          45   with other in-flight aircraft 330 and/or with the high altitude
 service craft 900 may loiter or otherwise operate as high as            service craft 900.
 (or higher than) 50,000 ft to 75,000 ft. However, it should be              As an alternative to the architecture of FIG. 5, in which
 noted that the specific example altitudes described herein              separate receive and transmit elements are provided, some
 may change over time as aircraft capabilities change. The               embodiments may employ a single steerable antenna ele-
 high altitude service craft 900 may communicate with the           50   ment (or panel) that handles both transmit and receive
 ATG base stations (350 and 355) via an ATG link 920, with               functions by employing duplexing. By employing an
 the in-flight aircraft 330 via an aircraft link 930 and/or with         antenna element that can handle both transmit and receive
 a satellite via a satellite link 940. Accordingly, the high             functions, the size, weight, number and cost of antenna
 altitude service craft 900 may be enabled to service the                elements employed may be reduced. Maximal ratio com-
 in-flight aircraft 330 over vast distances and in different        55   bining may also be employed. With employment of full
 communication environments.                                             duplexing, receiver filtering becomes important to allow
    Accordingly, uninterrupted handover of receivers on the              signals to be differentiated. BAW filters, in-line cavity filters
 in-flight aircraft 330 may be provided while passing between            or a BAW duplexer may therefore be employed. A BAW
 coverage areas of ATG base stations and high altitude                   duplexer may be a relatively straightforward option for such
 service craft having overlapping coverage areas as described       60   a full duplex solution.
 herein. When employed in a network that includes a high                     FIG. 10 illustrates a full duplex radio architecture in
 altitude service layer 910, the antenna assembly 375 may be             accordance with a first option. In this regard, FIG. 10 shows
 configured to focus energy in an area from the horizon to               an architecture for a relatively long blade antenna 1000 that
 about 10 or 15 degrees above the horizon (from the per-                 may be provided in some embodiments. The antenna 1000
 spective of the in-flight aircraft 330) to communicate with        65   may include one or more elements 1010 (e.g., 10 in some
 the high altitude service craft 900. Moreover, the antenna              cases) that may provide signals to a Butler combiner 1020,
 assembly 375 can be vertically steered to shift between                 which may be operably coupled to a multi-pole throw switch

                                                            Appx100
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-112 Filed
                         Document:           02/28/22
                                          Page:  174 Page
                                                      Filed: 71 of 72 PageID #: 119
                                                             12/19/2022


                                                     US 9,730,077 B2
                              21                                                                     22
 1030 (e.g., a ten pole switch). The switch 1030 may be                 embodiments or to that which is claimed herein. Although
 operably coupled to a circulator 1040. The circulator 1040             specific terms are employed herein, they are used in a
 may isolate signals among ports so that signals on port 1 go           generic and descriptive sense only and not for purposes of
 to port 2, signals on port 2 go to port 3, etc. The circulator         limitation.
 1040 may provide as much as 18 dB of isolation port-to-port       5       What is claimed is:
 with a relatively low insertion loss of0.6 dB. The circulator             1. An air-to-ground (ATG) network providing wireless
 1040 may be operably coupled to a receive filter 1050 and              communication to an in-flight aircraft capable of passing
 ultimately to receiver circuitry 1060 via a low noise ampli-           through various cells of the ATG network, the ATG network
 fier (LNA) 1054 and a switch 1058. In this architecture, the           comprising:
 receive filter 1050 is in front of the LNA 1054 for enhanced      10      a first ATG base station defining a first radiation pattern
 receiver overload protection (e.g., for a transmit signal level               focusing energy toward the horizon;
 at the LNA input of -34 dBm, overall noise figure may be                  a second ATG base station defining a second radiation
 7.9 dB). The circulator 1040 is also operably coupled to                      pattern focusing energy toward the horizon; and
 transmitter circuitry 1070 through a switch 1072, a cavity                a plurality of additional ATG base stations, each of which
 filter 1080 and a power amplifier 1090.                           15          defines a corresponding radiation pattern focusing
     FIG. 11 illustrates a full duplex radio architecture in                   energy toward the horizon,
 accordance with a second option. In this regard, FIG. 11                  wherein the first, second and additional ATG base stations
 shows an architecture for a relatively long blade antenna                     are spaced apart from each other to define at least
 1100 that may be provided in some embodiments. The                            partially overlapping coverage areas to communicate
 antenna 1100 may include one or more elements 1110 (e.g.,         20          with an antenna assembly on the in-flight aircraft in an
 10 in some cases) that may provide signals to a Butler                        ATG communication layer defined between a first
 combiner 1120, which may be operably coupled to a multi-                      altitude and a second altitude via the ATG network,
 pole throw switch 1130 (e.g., a ten pole switch). The switch              wherein a plurality of terrestrial base stations are config-
 1130 may be operably coupled to a circulator 1140. The                        ured to communicate primarily in a ground communi-
 circulator 1140 may isolate signals among ports so that           25          cation layer below the first altitude via a terrestrial
 signals on port 1 go to port 2, signals on port 2 go to port 3,               communication network, and
 etc. The circulator 1140 may provide as much as 18 dB of                  wherein the first, second and additional ATG base stations
 isolation port-to-port with a relatively low insertion loss of                are each configured to communicate in the ATG com-
 0.6 dB, as described above. However, in this example, an                      munication layer using the same radio frequency (RF)
 LNA 1154 is provided prior to a receive filter 1150. The          30          spectrum used by the terrestrial base stations in the
 receive filter 1150 is then operably coupled to the receiver                  ground communication layer.
 circuitry 1160 via switch 1158. In this architecture, the                 2. The ATG network of claim 1, wherein a serving ATG
 receive filter 1150 is behind the LNA 1154 for reduced noise           base station from among the first, second and additional
 figure, but higher transmit signal level at the LNA 1154 (e.g.,        ATG base stations is in communication with the in-flight
 for a transmit signal level at the LNA input of +6 dBm,           35   aircraft while being geographically located outside a cover-
 overall noise figure may be 6.1 dB). The circulator 1140 is            age area of each of the terrestrial base stations in a portion
 also operably coupled to transmitter circuitry 1170 through            of the ground communication layer above which the in-flight
 a switch 1172, a cavity filter 1180 and a power amplifier              aircraft is located.
 1190. In some alternative embodiments, either the architec-               3. TheATG network of claim 1, further comprising a high
 ture of FIG. 10 or the architecture of FIG. 11 could be           40   altitude service layer disposed above the second altitude.
 duplicated with two duplexer elements replacing the circu-                4. The ATG network of claim 3, wherein a high altitude
 lators of each respective figure for an alternative approach.          service craft is disposed above the second altitude to support
     Many modifications and other embodiments of the inven-             wireless communication with at least one asset outside the
 tions set forth herein will come to mind to one skilled in the         high altitude service layer.
 art to which these inventions pertain having the benefit of the   45      5. The ATG network of claim 4, wherein the at least one
 teachings presented in the foregoing descriptions and the              asset comprises the in-flight aircraft in the ATG communi-
 associated drawings. Therefore, it is to be understood that            cation layer.
 the inventions are not to be limited to the specific embodi-              6. The ATG network of claim 4, wherein the at least one
 ments disclosed and that modifications and other embodi-               asset comprises a selected one of the first, second or addi-
 ments are intended to be included within the scope of the         50   tional ATG base stations.
 appended claims. Moreover, although the foregoing descrip-                7. The ATG network of claim 3, wherein a high altitude
 tions and the associated drawings describe exemplary                   service craft is disposed above the second altitude to support
 embodiments in the context of certain exemplary combina-               wireless communication with a satellite.
 tions of elements and/or functions, it should be appreciated              8. The ATG network of claim 3, wherein a high altitude
 that different combinations of elements and/or functions          55   service craft is disposed above the second altitude to form an
 may be provided by alternative embodiments without                     aircraft link with the in-flight aircraft in the ATG commu-
 departing from the scope of the appended claims. In this               nication layer and a satellite link to a satellite.
 regard, for example, different combinations of elements                   9. The ATG network of claim 8, wherein the high altitude
 and/or functions than those explicitly described above are             service craft forms an ATG link with a selected one of the
 also contemplated as may be set forth in some of the              60   first, second or additional ATG base stations.
 appended claims. In cases where advantages, benefits or                   10. The ATG network of claim 3, wherein a high altitude
 solutions to problems are described herein, it should be               service craft is disposed above the second altitude to form an
 appreciated that such advantages, benefits and/or solutions            ATG link with a selected one of the first, second or addi-
 may be applicable to some example embodiments, but not                 tional ATG base stations and an aircraft link with the
 necessarily all example embodiments. Thus, any advan-             65   in-flight aircraft in the ATG communication layer.
 tages, benefits or solutions described herein should not be               11. The ATG network of claim 10, wherein the high
 thought of as being critical, required or essential to all             altitude service craft forms a satellite link to a satellite.

                                                           Appx101
Case 1:22-cv-00266-GBW
          Case: 23-1058 Document 1-112 Filed
                         Document:           02/28/22
                                          Page:  175 Page
                                                      Filed: 72 of 72 PageID #: 120
                                                             12/19/2022


                                                     US 9,730,077 B2
                              23                                                                    24
    12. A system for supporting air-to-ground (ATG) wireless           communication with the in-flight aircraft while being geo-
 communication in various cells, the system comprising:                graphically located outside a coverage area of each of the
    an in-flight aircraft including an antenna assembly;               terrestrial base stations in a portion of the ground commu-
    a plurality of ATG base stations, each of which defines a          nication layer above which the in-flight aircraft is located.
       corresponding radiation pattern focusing energy toward     5       14. The system of claim 13, the high altitude service craft
       the horizon, wherein the base stations are spaced apart         supports wireless communication with at least one asset
       from each other to define at least partially overlapping        outside the high altitude service layer.
       coverage areas to communicate with the antenna                     15. The system of claim 14, wherein the at least one asset
       assembly in an ATG communication layer defined                  comprises the in-flight aircraft in the ATG communication
       between a first altitude and a second altitude via an      10   layer.
       ATG communication network;                                         16. The system of claim 14, wherein the at least one asset
    a high altitude service craft disposed in a high altitude          comprises a selected one of the first, second or additional
       service layer above the second altitude; and                    ATG base stations.
    a plurality of terrestrial base stations configured to com-           17. The system of claim 13, wherein the high altitude
       municate primarily in a ground communication layer         15   service craft is disposed above the second altitude to support
       below the first altitude via a terrestrial communication        wireless communication with a satellite.
       network;                                                           18. The system of claim 13, wherein the high altitude
    wherein the terrestrial base stations and the ATG base             service craft is disposed above the second altitude to form an
                                                                       aircraft link with the in-flight aircraft in the ATG commu-
       stations are each configured to communicate using the
       same radio frequency (RF) spectrum in the ground           20   nication layer and a satellite link to a satellite.
       communication layer and ATG communication layer,                   19. The system of claim 18, wherein the high altitude
       respectively.                                                   service craft forms an ATG link with a selected one of the
    13. The system of claim 12, wherein a serving ATG base             plurality of ATG base stations.
 station from among the plurality of ATG base stations is in                                 * * * * *




                                                           Appx102
          Case: 23-1058    Document: 12     Page: 176    Filed: 12/19/2022




                 CERTIFICATE OF FILING AND SERVICE

      I hereby certify that on this 19th day of December, 2022, I caused this

Non-Confidential Brief of Appellant to be filed electronically with the Clerk of the

Court using the CM/ECF System, which will send notice of such filing to the

following registered CM/ECF users:

      Stephanie P. Koh, Esquire
      Nathaniel C. Love, Esquire
      Julia G. Tabat, Esquire
      SIDLEY AUSTIN LLP
      One South Dearborn
      Chicago, IL 60603

      Counsel for Appellees

                                             /s/ Lance A. Lawson
                                             Counsel for Appellant
         Case: 23-1058     Document: 12    Page: 177   Filed: 12/19/2022




                     CERTIFICATE OF COMPLIANCE

1.   This brief complies with type-volume limits because, excluding the parts of
     the document exempted by Fed. R. App. R. 32(f) (cover page, disclosure
     statement, table of contents, table of citations, statement regarding oral
     argument, signature block, certificates of counsel, addendum, attachments):

     [ X ] this brief contains [13,398] words.

     [ ] this brief uses a monospaced type and contains [state the number of]
     lines of text.

2.   This brief complies with the typeface and type style requirements because:

     [ X ] this brief has been prepared in a proportionally spaced typeface using
     [Microsoft Word 365] in [14pt Times New Roman]; or

     [ ] this brief has been prepared in a monospaced typeface using [state
     name and version of word processing program] with [state number of
     characters per inch and name of type style].


Dated: December 19, 2022                    /s/ Lance A. Lawson
                                            Counsel for Appellant
